Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 1 of 388




          EXHIBIT B
    Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 2 of 388




Dell EMC OpenManage Essentials Version 2.5
User's Guide
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 3 of 388




Notes, cautions, and warnings
      NOTE: A NOTE indicates important information that helps you make better use of your product.

      CAUTION: A CAUTION indicates either potential damage to hardware or loss of data and tells you how to avoid the
      problem.
      WARNING: A WARNING indicates a potential for property damage, personal injury, or death.




© 2018 Dell Inc. or its subsidiaries. All rights reserved. Dell, EMC, and other trademarks are trademarks of Dell Inc. or its subsidiaries. Other
trademarks may be trademarks of their respective owners.


2018 - 10


Rev. A00
              Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 4 of 388




Contents
1 About OpenManage Essentials....................................................................................... 19
    New in this release............................................................................................................................................................ 19
    Other information you may need....................................................................................................................................... 19
    Contacting Dell.................................................................................................................................................................20

2 Installing OpenManage Essentials.................................................................................. 21
    Installation prerequisites and minimum requirements......................................................................................................... 21
    Terms and conditions for using Relational Database Management Systems...................................................................... 21
    Minimum login roles for Microsoft SQL Server................................................................................................................. 22
    Recommended database size........................................................................................................................................... 22
    Download OpenManage Essentials...................................................................................................................................23
    Installing OpenManage Essentials.....................................................................................................................................23
         Custom Setup Installation...........................................................................................................................................25
    Setting up OpenManage Essentials Database on a Remote SQL Server.......................................................................... 25
    Retargeting the OpenManage Essentials Database.......................................................................................................... 26
         Backing up the OpenManage Essentials Database..................................................................................................... 26
         Restoring the OpenManage Essentials Database....................................................................................................... 26
         Creating a new user in SQL Server............................................................................................................................. 27
         Connecting to the OpenManage Essentials Database................................................................................................ 27
    Installing OpenManage Essentials on a domain controller................................................................................................. 28
         Installing OpenManage Essentials on a domain controller with a remote database..................................................... 28
         Installing OpenManage Essentials on a domain controller with a local database ........................................................ 29
         Adding users to the OpenManage Essentials user groups.......................................................................................... 30
         Enabling SQL Server and Windows Authentication Mode in SQL Server .................................................................. 30
         Verifying SQL Server TCP or IP Status ...................................................................................................................... 31
    Installing SupportAssist Enterprise.................................................................................................................................... 31
    Installing Repository Manager...........................................................................................................................................32
    Installing License Manager................................................................................................................................................32
    Upgrading OpenManage Essentials.................................................................................................................................. 33
         Reconfiguring OpenManage Essentials version 2.5 after upgrading............................................................................34
    Uninstalling OpenManage Essentials................................................................................................................................ 35
    Migrating IT Assistant to OpenManage Essentials............................................................................................................36

3 Getting started with OpenManage Essentials................................................................37
    Launching OpenManage Essentials.................................................................................................................................. 37
    Configuring OpenManage Essentials................................................................................................................................ 37
    Configuring the Discovery Wizard.................................................................................................................................... 38
    Configuring Discovery Settings........................................................................................................................................ 38
    Using the OpenManage Essentials Home Portal...............................................................................................................39
    OpenManage Essentials Heading Banner......................................................................................................................... 40
    Customizing the portals................................................................................................................................................... 40
    Displaying additional reports and graphs............................................................................................................................41



                                                                                                                                                                                         3
              Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 5 of 388




         Drilling down charts and reports for more information.................................................................................................41
    Saving and loading the portal layout................................................................................................................................. 42
    Updating the portal data...................................................................................................................................................42
    Hiding graphs and reports—Components........................................................................................................................ 42
    Rearranging or resizing graphs and reports—Components.............................................................................................. 43
    Filtering data.................................................................................................................................................................... 43
    Using the Search Bar........................................................................................................................................................43
         Searching items..........................................................................................................................................................44
         Using the search drop-down list................................................................................................................................. 44
         Search results and the default actions........................................................................................................................44
    Map View—Home Portal................................................................................................................................................. 45
    Viewing the user information............................................................................................................................................45
    Logging in as a different user............................................................................................................................................45
    Using the Update Available Notification Icon.................................................................................................................... 46
    Using the Warranty Scoreboard Notification Icon.............................................................................................................46

4 OpenManage Essentials Home Portal — Reference...................................................... 47
    Dashboard........................................................................................................................................................................ 47
         Home Portal Reports.................................................................................................................................................. 47
         Device by Status........................................................................................................................................................ 48
         Alerts by Severity....................................................................................................................................................... 48
         Discovered Versus Inventoried Devices...................................................................................................................... 48
         Task Status.................................................................................................................................................................49
    Schedule View..................................................................................................................................................................49
         Schedule View Settings..............................................................................................................................................49
    Device Warranty Report...................................................................................................................................................50
    Map View Interface—Home Portal................................................................................................................................... 51

5 Discovering and inventorying devices............................................................................52
    Supported devices, protocols, and features matrix—SNMP, WMI, and WS-Man.............................................................52
    Supported devices, protocols, and features matrix—IPMI, CLI, and SSH.........................................................................56
    Supported storage devices, protocols, and features matrix.............................................................................................. 58
    Setting up and configuring VMware ESXi 5......................................................................................................................59
    Legend and definitions..................................................................................................................................................... 60
    Using the Discovery and Inventory Portal.........................................................................................................................60
    Protocol support matrix for discovery............................................................................................................................... 61
    Protocol support matrix for system update...................................................................................................................... 62
    Devices not reporting Service Tag....................................................................................................................................62
    Creating a discovery and inventory task........................................................................................................................... 63
         Changing the default SNMP port...............................................................................................................................64
         Discovering and inventorying devices by using WS-Man or REST protocol with a root certificate............................. 65
    Discovering a chassis and its components by using Guided Wizard.................................................................................. 66
    Excluding ranges...............................................................................................................................................................67
    Viewing configured discovery and inventory ranges..........................................................................................................67
    Scheduling discovery........................................................................................................................................................ 67
         Discovery Speed Slider...............................................................................................................................................68



4
              Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 6 of 388




         Multithreading............................................................................................................................................................ 68
    Scheduling inventory........................................................................................................................................................ 68
    Configuring status polling frequency................................................................................................................................ 69
    Task pop-up notifications................................................................................................................................................. 69
         Configuring task pop-up notifications.........................................................................................................................70
         Enabling or disabling task pop-up notifications........................................................................................................... 70

6 Discovery And Inventory — Reference.......................................................................... 71
    Discovery and Inventory Portal Page Options....................................................................................................................71
    Discovery and Inventory Portal..........................................................................................................................................71
         Last Discovery and Inventory...................................................................................................................................... 71
         Discovered Versus Inventoried Devices...................................................................................................................... 72
         Task Status.................................................................................................................................................................72
    Viewing Device Summary................................................................................................................................................. 73
         Viewing Device Summary Filter Options..................................................................................................................... 73
    Add Discovery Range........................................................................................................................................................74
    Discovery Configuration....................................................................................................................................................74
         Discovery Configuration Options................................................................................................................................ 74
    Device Type Filtering........................................................................................................................................................ 75
    ICMP Configuration..........................................................................................................................................................76
         ICMP Configuration Options.......................................................................................................................................76
    SNMP Configuration........................................................................................................................................................ 76
         SNMP Configuration Options..................................................................................................................................... 77
    WMI Configuration........................................................................................................................................................... 78
         WMI Configuration Options........................................................................................................................................ 78
    Storage Configuration.......................................................................................................................................................78
         Storage Configuration Options................................................................................................................................... 78
    WS-Man Configuration.....................................................................................................................................................78
         WS-Man Configuration Options................................................................................................................................. 79
    REST configuration.......................................................................................................................................................... 79
         REST configuration options........................................................................................................................................80
    SSH Configuration........................................................................................................................................................... 80
         SSH Configuration Options........................................................................................................................................ 80
    IPMI Configuration............................................................................................................................................................ 81
         IPMI Configuration Options......................................................................................................................................... 81
    Discovery Range Action.................................................................................................................................................... 81
    Summary..........................................................................................................................................................................82
    Add Exclude Range.......................................................................................................................................................... 82
         Add Exclude Range Options....................................................................................................................................... 82
    Discovery Schedule.......................................................................................................................................................... 82
         Viewing Discovery Configuration................................................................................................................................ 83
         Discovery Schedule Settings...................................................................................................................................... 83
    Inventory Schedule...........................................................................................................................................................84
         Inventory Schedule Settings.......................................................................................................................................84
    Status Schedule............................................................................................................................................................... 84
         Status Polling Schedule Settings................................................................................................................................ 84



                                                                                                                                                                                          5
              Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 7 of 388




    Discovery Ranges.............................................................................................................................................................85
    Exclude Ranges................................................................................................................................................................85

7 Managing devices..........................................................................................................86
    Viewing devices................................................................................................................................................................86
         Device Summary Page............................................................................................................................................... 86
         Nodes and symbols description.................................................................................................................................. 88
         Device details............................................................................................................................................................. 88
    Viewing device inventory..................................................................................................................................................89
    Viewing alerts summary................................................................................................................................................... 90
    Viewing noncompliant devices associated with a catalog baseline....................................................................................90
    Viewing noncompliant devices associated with a configuration baseline.......................................................................... 90
    Viewing System Event Logs............................................................................................................................................. 90
    Searching for Devices...................................................................................................................................................... 90
    Creating a New Group...................................................................................................................................................... 91
    Adding Devices to a New Group....................................................................................................................................... 91
    Adding Devices to an Existing Group................................................................................................................................ 92
    Hiding a Group................................................................................................................................................................. 92
    Deleting a Group...............................................................................................................................................................92
    Associating a catalog baseline to custom device groups...................................................................................................92
         Disassociating a catalog baseline from custom device groups.................................................................................... 93
    Single Sign-On................................................................................................................................................................. 93
    Creating a Custom URL....................................................................................................................................................93
         Launching the Custom URL....................................................................................................................................... 93
    Configuring Warranty Email Notifications......................................................................................................................... 94
    Configuring Warranty Scoreboard Notifications................................................................................................................94
    Configuring Warranty Pop-Up Notifications..................................................................................................................... 95
    Configuring Warranty Update Settings.............................................................................................................................95
    Using Map View............................................................................................................................................................... 95
         Map Providers............................................................................................................................................................ 97
         Configuring Map Settings...........................................................................................................................................98
         General Navigation and Zooming................................................................................................................................98
         Home View.................................................................................................................................................................99
         Tool Tip.......................................................................................................................................................................99
         Selecting a Device on Map View................................................................................................................................ 99
         Health and Connection Status....................................................................................................................................99
         Multiple Devices at the Same Location..................................................................................................................... 100
         Setting a Home View................................................................................................................................................ 100
         Viewing All Map Locations......................................................................................................................................... 101
         Adding a Device to the Map...................................................................................................................................... 101
         Moving a Device Location Using the Edit Location Details Option............................................................................. 101
         Importing Licensed Devices...................................................................................................................................... 102
         Using the Map View Search Bar............................................................................................................................... 103
         Removing All Map Locations.....................................................................................................................................104
         Editing a Map Location............................................................................................................................................. 105
         Removing a Map Location........................................................................................................................................ 105



6
              Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 8 of 388




         Exporting All Device Locations..................................................................................................................................105
    PowerEdge FX Chassis View.......................................................................................................................................... 106
         Tool Tip and Device Selection................................................................................................................................... 106
         Overlays....................................................................................................................................................................107
         Right-Click Actions....................................................................................................................................................107
         Navigation Trail..........................................................................................................................................................107
    Support For PowerEdge FX Chassis Sleds..................................................................................................................... 108
    VLAN Configuration Management.................................................................................................................................. 108
         Requirements for VLAN Configuration Management................................................................................................ 108
         Viewing the VLAN Configuration Inventory...............................................................................................................109
         Assigning VLAN IDs.................................................................................................................................................. 109
         Resetting all VLAN IDs...............................................................................................................................................110
         Setting the Default VLAN ID Values...........................................................................................................................110
    Dell NAS Appliance Support............................................................................................................................................ 110
    OEM Device Support....................................................................................................................................................... 111

8 Devices — Reference...................................................................................................112
    Viewing Inventory............................................................................................................................................................ 112
         Viewing Alerts............................................................................................................................................................112
    Viewing Hardware Logs................................................................................................................................................... 113
         Hardware Log Details.................................................................................................................................................113
    VLAN Configuration.........................................................................................................................................................113
    VLAN Configuration Task.................................................................................................................................................114
    Task Results.....................................................................................................................................................................115
    Alert Filters...................................................................................................................................................................... 116
    Viewing noncompliant systems—Devices ...................................................................................................................... 116
         Non-Compliant Firmware and Drivers........................................................................................................................116
         Non-Compliant Configurations...................................................................................................................................117
    Device Search..................................................................................................................................................................117
         Query Results............................................................................................................................................................ 118
    Creating Device Group.....................................................................................................................................................118
         Device Group Configuration.......................................................................................................................................119
         Device Selection........................................................................................................................................................ 119
         Summary — Group Configuration............................................................................................................................ 120
    Map View Interface—Devices Tab..................................................................................................................................120
         Devices at this location.............................................................................................................................................. 121
         Map Settings............................................................................................................................................................. 121

9 Deployment and reprovisioning.................................................................................... 123
    Server Configuration Management license......................................................................................................................124
         Licensable servers.....................................................................................................................................................124
         Purchasing license.....................................................................................................................................................124
         Deploying the license................................................................................................................................................ 124
         Verifying license information..................................................................................................................................... 124
         Viewing unlicensed server targets.............................................................................................................................125
    Device requirements for deployment and compliance tasks............................................................................................ 125



                                                                                                                                                                                              7
              Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 9 of 388




    Getting started for device configuration deployment...................................................................................................... 126
    Viewing the Deployment Portal.......................................................................................................................................126
    Configuring the deployment file share.............................................................................................................................126
    Adding devices to repurpose and bare-metal devices group............................................................................................127
    Overview of bare-metal deployment............................................................................................................................... 127
    Creating a device deployment template.......................................................................................................................... 128
         Creating a device deployment template from a device configuration file................................................................... 128
         Creating a device deployment template from a reference device.............................................................................. 129
    Managing device deployment templates......................................................................................................................... 130
         Viewing device deployment template attributes........................................................................................................130
         Cloning a device deployment template......................................................................................................................130
         Editing a device deployment template....................................................................................................................... 131
         Exporting a device deployment template.................................................................................................................. 132
    Deploying a device deployment template—Bare-metal deployment................................................................................132
    Creating a chassis deployment template from a chassis..................................................................................................134
    Managing chassis deployment templates........................................................................................................................ 135
         Viewing and editing chassis deployment template attributes.....................................................................................136
         Exporting a chassis deployment template................................................................................................................. 136
         Cloning a chassis deployment template.....................................................................................................................136
    Deploying a chassis infrastructure template.................................................................................................................... 136
    Deploying IOA configuration template............................................................................................................................. 138
         IOA operational modes and the deployment task status............................................................................................140
    Deploying a network ISO image...................................................................................................................................... 140
    Removing devices from the repurpose and bare-metal devices group............................................................................. 141
    Auto deploying device configurations...............................................................................................................................141
         Configuring Auto Deployment Settings..................................................................................................................... 142
         Setting up device configuration auto deployment—Bare-metal deployment.............................................................142
         Managing Auto Deployment Credentials................................................................................................................... 144
         Adding a Discovery Range for Auto Deployment.......................................................................................................145
         Removing Devices From an Auto Deployment Task.................................................................................................. 145
    Importing Device Specific Attributes...............................................................................................................................146
    Import File Requirements................................................................................................................................................ 146
    Exporting Device Specific Attributes...............................................................................................................................146
    Viewing the Deployment Tasks........................................................................................................................................147
    Managing the Virtual Input-Output Identities of a Server—Stateless Deployment..........................................................147
    Overview of Stateless Deployment................................................................................................................................. 147
    Virtual Input-Output Pools.............................................................................................................................................. 148
         Creating a Virtual Input-Output Pool.........................................................................................................................148
         Editing a Virtual Input-Output Pool............................................................................................................................ 151
         Viewing the Definitions of a Virtual Input-Output Pool ..............................................................................................151
         Renaming a Virtual Input-Output Pool...................................................................................................................... 152
         Deleting a Virtual Input-Output Pool......................................................................................................................... 152
         Viewing the Virtual Input-Output Identities Assigned or Deployed on a Device......................................................... 152
    Compute Pools............................................................................................................................................................... 153
         Creating a Compute Pool..........................................................................................................................................153




8
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 10 of 388




         Deploying a device configuration template—Stateless deployment.......................................................................... 154
         Automatic Locking of a Compute Pool......................................................................................................................156
         Unlocking a Compute Pool........................................................................................................................................ 157
         Editing the Definitions of a Compute Pool.................................................................................................................157
         Viewing the Definitions of a Compute Pool .............................................................................................................. 157
         Removing a Server From a Compute Pool................................................................................................................ 158
         Renaming a Compute Pool........................................................................................................................................158
         Deleting a Compute Pool.......................................................................................................................................... 158
         Replacing a Server....................................................................................................................................................158
         Reclaiming Deployed Virtual Input-Output Identities of a Server...............................................................................160
         Reclaiming Assigned Virtual Input-Output Identities................................................................................................. 160
         Setting up device configuration auto deployment—Stateless deployment................................................................ 161
         Viewing device profiles..............................................................................................................................................163
    Known limitations for stateless deployment.................................................................................................................... 163
    Additional information..................................................................................................................................................... 163

10 Deployment—Reference............................................................................................ 165
    Icons and descriptions.................................................................................................................................................... 166
    Repurpose and Bare Metal Devices.................................................................................................................................167
    Auto Deployment............................................................................................................................................................ 168
    Tasks...............................................................................................................................................................................168
    Task Execution History....................................................................................................................................................169
    Device Configuration Template Details............................................................................................................................ 169
    IOA VLAN Attributes.......................................................................................................................................................170
    Device Configuration Setup Wizard................................................................................................................................. 171
         File Share Settings.....................................................................................................................................................171
         Add devices to repurpose and bare-metal devices group........................................................................................... 171
    Add Network................................................................................................................................................................... 171
    Network Types................................................................................................................................................................172
    Create Template Wizard.................................................................................................................................................. 172
    Create Virtual Input-Output Pool Wizard.........................................................................................................................173
         Name and Description...............................................................................................................................................173
         Ethernet Identities.....................................................................................................................................................173
         FCoE Node Name Identities...................................................................................................................................... 174
         FCoE Port Name Identities........................................................................................................................................174
         iSCSI IQN Identities...................................................................................................................................................175
         Summary.................................................................................................................................................................. 175
    Virtual Input-Output Pools.............................................................................................................................................. 176
    Virtual Input-Output Pool Summary................................................................................................................................ 176
         Summary...................................................................................................................................................................177
         Devices with Identities.............................................................................................................................................. 177
    Create Compute Pool Wizard.......................................................................................................................................... 178
         Name and Description...............................................................................................................................................178
         Select Template.........................................................................................................................................................178
         Select ISO Location...................................................................................................................................................178
         Select Virtual Input-Output Pool............................................................................................................................... 179



                                                                                                                                                                                              9
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 11 of 388




          Select Devices.......................................................................................................................................................... 179
          Edit Attributes...........................................................................................................................................................179
          Summary.................................................................................................................................................................. 184
     Compute Pool Summary................................................................................................................................................. 184
     Compute Pool Details......................................................................................................................................................185
     Server Details................................................................................................................................................................. 185
     Deploy Template Wizard..................................................................................................................................................186
          Name and Deploy Options........................................................................................................................................ 186
          Select Template........................................................................................................................................................ 186
          Select Devices...........................................................................................................................................................187
          Select ISO Location...................................................................................................................................................187
          Select Virtual Input-Output Pool............................................................................................................................... 188
          Edit Attributes...........................................................................................................................................................188
          Options..................................................................................................................................................................... 192
          Set Schedule.............................................................................................................................................................193
          Preview.....................................................................................................................................................................193
          Summary.................................................................................................................................................................. 194
     Setup Auto Deployment Wizard......................................................................................................................................195
          Select Deploy Options.............................................................................................................................................. 195
          Select Template........................................................................................................................................................ 195
          Select ISO Location.................................................................................................................................................. 196
          Select Virtual Input-Output Pool...............................................................................................................................196
          Import Service Tags or Node IDs...............................................................................................................................197
          Edit Attributes...........................................................................................................................................................197
          Execution Credentials............................................................................................................................................... 201
          Summary..................................................................................................................................................................203
     Manage Auto Deployment Credentials........................................................................................................................... 203
          Credentials............................................................................................................................................................... 203
          Devices.................................................................................................................................................................... 204
     Replace Server Wizard...................................................................................................................................................204
          Name....................................................................................................................................................................... 204
          Source and Target....................................................................................................................................................205
          Review Source Attributes.........................................................................................................................................205
          Options.....................................................................................................................................................................207
          Credentials............................................................................................................................................................... 208
          Summary..................................................................................................................................................................208
     Reclaim Identities Wizard............................................................................................................................................... 209
          Name....................................................................................................................................................................... 209
          Select Devices......................................................................................................................................................... 209
          Identity Assignments.................................................................................................................................................210
          Options..................................................................................................................................................................... 210
          Credentials.................................................................................................................................................................211
          Summary................................................................................................................................................................... 211

11 Managing device configuration baseline...................................................................... 212
     Viewing the Device Compliance Portal............................................................................................................................212



10
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 12 of 388




    Getting started for device configuration compliance.......................................................................................................212
    Device configuration compliance overview..................................................................................................................... 213
    Configuring the credentials and device configuration inventory schedule........................................................................213
    Viewing the device configuration inventory.....................................................................................................................214
    Creating a device compliance baseline for servers and chassis....................................................................................... 214
    Associating target devices with a baseline...................................................................................................................... 215
    Viewing compliance status of devices.............................................................................................................................215
    Remediating noncompliant devices................................................................................................................................. 216
    Viewing compliance tasks............................................................................................................................................... 216
    Viewing server backup profiles........................................................................................................................................217
    Replacing a server from backup profile........................................................................................................................... 217

12 Configuration – Reference......................................................................................... 219
    Device Compliance.........................................................................................................................................................220
         Device Compliance Graph........................................................................................................................................ 220
         Device Compliance Table..........................................................................................................................................220
    Tasks..............................................................................................................................................................................220
    Task Execution History....................................................................................................................................................221
    Associate Devices To a Baseline Wizard......................................................................................................................... 222
         Select Baseline......................................................................................................................................................... 222
         Select Devices..........................................................................................................................................................222
    Make Devices Compliant................................................................................................................................................222
         Name....................................................................................................................................................................... 222
         Select Devices..........................................................................................................................................................222
         Options.................................................................................................................................................................... 223
         Set Schedule............................................................................................................................................................223
         Summary..................................................................................................................................................................224
    Configuration Inventory Schedule Wizard.......................................................................................................................224
         Inventory Credentials................................................................................................................................................224
         Schedule.................................................................................................................................................................. 225
    Backed-Up Devices........................................................................................................................................................225
         Devices Table........................................................................................................................................................... 225
         Attributes Table........................................................................................................................................................ 226

13 Viewing inventory reports...........................................................................................227
    Choosing predefined reports.......................................................................................................................................... 227
         Predefined reports....................................................................................................................................................227
    Filtering report data........................................................................................................................................................230
    Exporting reports........................................................................................................................................................... 230

14 Reports — Reference.................................................................................................231
    Server Inventory Reports................................................................................................................................................ 231
         Agent and Alert Summary........................................................................................................................................ 232
         Agent Health Status.................................................................................................................................................233
         Server Overview...................................................................................................................................................... 233
         Field Replaceable Unit Information........................................................................................................................... 234



                                                                                                                                                                                             11
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 13 of 388




          Hard Drive Information............................................................................................................................................. 234
          iDRAC Performance Minimum or Maximum............................................................................................................. 235
          iDRAC Performance Average or Peak...................................................................................................................... 236
          Memory Information.................................................................................................................................................236
          Modular Enclosure Information................................................................................................................................. 237
          NIC Information........................................................................................................................................................ 237
          PCI Device Information............................................................................................................................................ 238
          Processor Information.............................................................................................................................................. 238
          Storage Controller Information................................................................................................................................. 239
          Virtual Disk Information............................................................................................................................................ 239
     Server Configuration Reports.........................................................................................................................................239
          Server Components and Versions............................................................................................................................ 240
          BIOS Configuration.................................................................................................................................................. 240
          iDRAC Network Configuration.................................................................................................................................. 241
          Device Configuration Compliance.............................................................................................................................242
          Baseline Association................................................................................................................................................. 242
          Assigned Identity Attributes..................................................................................................................................... 242
          All Identity Attributes................................................................................................................................................243
     Warranty and License Reports....................................................................................................................................... 243
          Warranty Information................................................................................................................................................244
          License Information.................................................................................................................................................. 244
     Virtualization Reports.....................................................................................................................................................245
          ESX Information....................................................................................................................................................... 245
          HyperV Information..................................................................................................................................................245
     Asset Reports................................................................................................................................................................ 246
          Asset Acquisition Information................................................................................................................................... 246
          Asset Maintenance Information................................................................................................................................ 247
          Asset Support Information....................................................................................................................................... 248
          Device Location Information.....................................................................................................................................248

15 Viewing warranty reports...........................................................................................250
     Extending warranty........................................................................................................................................................250

16 Managing alerts..........................................................................................................251
     Viewing alerts and alert categories..................................................................................................................................251
          Viewing alert logs......................................................................................................................................................251
          Understanding alert types.........................................................................................................................................251
          Viewing internal alerts.............................................................................................................................................. 252
          Viewing alert categories........................................................................................................................................... 252
          Viewing alert source details...................................................................................................................................... 252
     Viewing previously configured alert actions.................................................................................................................... 252
          Viewing application launch alert action.....................................................................................................................252
          Viewing email alert action.........................................................................................................................................252
          Viewing alert ignore action....................................................................................................................................... 253
          Viewing alert trap forward action............................................................................................................................. 253
     Handling alerts............................................................................................................................................................... 253



12
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 14 of 388




         Flagging an alert.......................................................................................................................................................253
         Creating and editing a new view.............................................................................................................................. 253
    Configuring alert actions................................................................................................................................................ 253
         Setting up email notifications................................................................................................................................... 253
         Ignoring alerts.......................................................................................................................................................... 254
         Running a custom script.......................................................................................................................................... 255
         Forwarding alerts..................................................................................................................................................... 255
         Forwarding alerts use case scenarios....................................................................................................................... 256
    Working with sample alert action use cases................................................................................................................... 256
         Use cases in alert actions.........................................................................................................................................256
    Configuring alert log settings..........................................................................................................................................257
    Renaming alert categories and alert sources.................................................................................................................. 257
    Alert pop-up notifications............................................................................................................................................... 257
         Configuring alert pop-up notifications...................................................................................................................... 258
         Enabling or disabling alert pop-up notifications........................................................................................................ 258
    Managing MIB files........................................................................................................................................................ 258
         About importing MIBs.............................................................................................................................................. 259
         Importing MIBs........................................................................................................................................................ 260
         Removing MIBs from OpenManage Essentials.........................................................................................................260
    Managing traps.............................................................................................................................................................. 260
         Customizing trap definitions.....................................................................................................................................260
         Resetting built-in trap definitions.............................................................................................................................. 261
         Configuring SNMPv3 traps.......................................................................................................................................261

17 Alerts — Reference................................................................................................... 263
    Alert Logs.......................................................................................................................................................................263
         Predefined Alert View Filters.................................................................................................................................... 264
         Alert Logs Fields.......................................................................................................................................................264
         Alert Details..............................................................................................................................................................265
    Alert Log Settings.......................................................................................................................................................... 265
    Alert View Filters............................................................................................................................................................266
         Alert Filter Name......................................................................................................................................................266
         Severity....................................................................................................................................................................266
         Acknowledgement....................................................................................................................................................267
         Summary — Alert View Filter...................................................................................................................................267
    Alert Actions...................................................................................................................................................................267
         Name and Description..............................................................................................................................................268
         Severity Association.................................................................................................................................................268
         Application Launch Configuration.............................................................................................................................268
         E-Mail Configuration.................................................................................................................................................270
         Trap Forwarding....................................................................................................................................................... 270
         SNMP V3 Configuration............................................................................................................................................271
         SNMP V3 Configuration Wizard................................................................................................................................271
         Category and Sources Association........................................................................................................................... 272
         Device Association................................................................................................................................................... 272
         Date and Time Range............................................................................................................................................... 273



                                                                                                                                                                                           13
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 15 of 388




          Alert Action — Duplicate Alert Correlation............................................................................................................... 273
          Summary — Alert Action Details.............................................................................................................................. 273
     Alert Categories..............................................................................................................................................................274
          Alert Categories Options...........................................................................................................................................274
          Edit Trap Definitions................................................................................................................................................. 276
     Alert Source................................................................................................................................................................... 276
     Manage MIBs................................................................................................................................................................. 277
          Manage MIBs Pane.................................................................................................................................................. 277
          Manage Traps Pane.................................................................................................................................................. 277
          Import MIB............................................................................................................................................................... 277
          Remove MIB............................................................................................................................................................ 279
          Troubleshooting MIB Import..................................................................................................................................... 279
     Manage Traps................................................................................................................................................................ 280
          Custom Trap Definitions........................................................................................................................................... 280
          Reset Built-in Trap Definitions................................................................................................................................... 281

18 Updating BIOS, firmware, drivers, and system applications........................................282
     Viewing the System Update page.................................................................................................................................. 282
     Understanding sources of system updates.....................................................................................................................283
     Choosing the right source of system updates................................................................................................................ 283
     Selecting an update catalog source................................................................................................................................283
     Viewing comparison results............................................................................................................................................ 284
          Viewing compliant systems...................................................................................................................................... 284
          Viewing noncompliant systems................................................................................................................................ 284
          Viewing non-inventoried systems............................................................................................................................. 284
          Viewing systems with issues and resolutions............................................................................................................284
     Creating a catalog baseline.............................................................................................................................................284
     Viewing the Default Catalog...........................................................................................................................................284
     System Update Use Case Scenarios.............................................................................................................................. 285
     Applying system updates by using the Non-Compliant Systems tab...............................................................................287
     Applying System Updates by using the System Update Task wizard.............................................................................. 288
     Viewing status of the System Update task.................................................................................................................... 290
     Updating systems without OpenManage Server Administrator.......................................................................................291
     Issues and Resolutions Use Case Scenarios....................................................................................................................291
     Configuring automatic purging of downloaded system update files.................................................................................291

19 System Update — Reference.................................................................................... 292
     Filter Options................................................................................................................................................................. 293
     System Update.............................................................................................................................................................. 293
          Compliance Report.................................................................................................................................................. 293
          Compliant Systems.................................................................................................................................................. 295
          Non-Compliant Firmware and Drivers...................................................................................................................... 295
          System Update Task................................................................................................................................................ 296
          Non-Inventoried Systems.........................................................................................................................................298
          Inventory Systems................................................................................................................................................... 298
          All System Update Tasks.......................................................................................................................................... 298



14
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 16 of 388




         Issues and Resolutions............................................................................................................................................. 298
         Task Execution History.............................................................................................................................................299
    Select a Catalog Source.................................................................................................................................................299
         Dell Update Package................................................................................................................................................ 300
         OpenManage Server Update Utility......................................................................................................................... 300
         Repository Manager.................................................................................................................................................300
    Viewing the Default Catalog...........................................................................................................................................300
    View MX Chassis Default Catalog...................................................................................................................................301
    View Catalog Baseline Associations................................................................................................................................ 301
    List of Catalog Baselines................................................................................................................................................. 301
         Create Catalog Baseline wizard.................................................................................................................................301
    Baseline Details.............................................................................................................................................................. 302

20 Managing remote tasks............................................................................................. 303
    About remote tasks........................................................................................................................................................303
    Managing command line tasks....................................................................................................................................... 303
         Managing RACADM command line tasks................................................................................................................. 304
         Managing generic command line tasks.....................................................................................................................304
    Managing server power options.....................................................................................................................................306
    Deploying OpenManage Server Administrator................................................................................................................306
         Supported Windows and Linux Packages................................................................................................................. 307
         Arguments............................................................................................................................................................... 308
    Deploying iDRAC Service Module...................................................................................................................................308
         Supported Windows and Linux Packages.................................................................................................................309
    Collecting Firmware and Driver Inventory....................................................................................................................... 310
    Updating the inventory collector component................................................................................................................... 311
    Working With Sample Remote Tasks Use Cases.............................................................................................................. 311
         Use Cases in Remote Tasks...................................................................................................................................... 312
    Device Capability Matrix................................................................................................................................................. 313

21 Remote Tasks — Reference....................................................................................... 316
    Remote Tasks Home....................................................................................................................................................... 316
    Remote Tasks .................................................................................................................................................................317
         All Tasks.................................................................................................................................................................... 317
         Task Execution History..............................................................................................................................................318
         Server Power Options...............................................................................................................................................318
         Deployment Task......................................................................................................................................................320
    Command Line Task....................................................................................................................................................... 322
         Remote Server Administrator Command..................................................................................................................322
         Generic Command................................................................................................................................................... 324
         IPMI Command........................................................................................................................................................ 325
         RACADM Command Line......................................................................................................................................... 326
    Firmware and Driver Inventory Collection Task............................................................................................................... 328

22 Managing security settings....................................................................................... 330
    Using security roles and permissions.............................................................................................................................. 330



                                                                                                                                                                                             15
              Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 17 of 388




     Microsoft Windows authentication................................................................................................................................. 331
     Assigning user rights....................................................................................................................................................... 331
     Using Custom SSL Certificates—Optional......................................................................................................................331
          Configuring IIS Services............................................................................................................................................ 331
     Supported protocols and ports in OpenManage Essentials.............................................................................................332
          Supported protocols and ports on management stations......................................................................................... 332
          Supported protocols and ports on managed nodes.................................................................................................. 332
          Supported Protocols and Ports on Management Stations........................................................................................333
          Supported Protocols and Ports on Managed Nodes.................................................................................................333
     Dell EMC OpenManage Framework............................................................................................................................... 334

23 Troubleshooting.........................................................................................................336
     OpenManage Essentials Troubleshooting Tool................................................................................................................336
     Troubleshooting Procedures........................................................................................................................................... 336
          Troubleshooting Inventory........................................................................................................................................ 336
          Troubleshooting Device Discovery............................................................................................................................ 337
          Troubleshooting Receiving SNMP Traps .................................................................................................................. 337
          Troubleshooting Discovery of Windows Server 2008–Based Servers...................................................................... 338
          Troubleshooting SNMP Traps for ESX or ESXi Versions 3.5, 4.x, or 5.0.................................................................... 338
          Troubleshooting Problems With Microsoft Internet Explorer.....................................................................................338
          Troubleshooting Map View....................................................................................................................................... 339

24 Frequently Asked Questions...................................................................................... 340
     Installation .....................................................................................................................................................................340
     Upgrade......................................................................................................................................................................... 340
     Tasks...............................................................................................................................................................................341
          Optional Command Line Settings..............................................................................................................................341
          Customization Parameters....................................................................................................................................... 342
          MSI Return Code..................................................................................................................................................... 343
     E-mail Alert Action......................................................................................................................................................... 344
     Discovery....................................................................................................................................................................... 344
     Inventory........................................................................................................................................................................ 347
     System Update.............................................................................................................................................................. 348
     Managing Device Configurations....................................................................................................................................349
     Device Group Permissions..............................................................................................................................................349
          Device Group Permissions Portal............................................................................................................................. 349
          Remote and System Update Tasks...........................................................................................................................350
          Custom Device Groups............................................................................................................................................ 350
          Deployment and Configuration Compliance............................................................................................................. 350
     Deployment and Configuration Compliance................................................................................................................... 350
     Logs................................................................................................................................................................................351
          Log Levels................................................................................................................................................................ 352
     Backup and Restore....................................................................................................................................................... 352
     Troubleshooting..............................................................................................................................................................352

25 Managing Device Group Permissions.........................................................................354


16
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 18 of 388




    Adding Users to the OmeSiteAdministrators Role.......................................................................................................... 354
    Assigning Device Groups to a User................................................................................................................................ 355
    Removing Users From the OmeSiteAdministrators Role................................................................................................ 355

26 OpenManage Mobile Settings................................................................................... 357
    Enabling or Disabling Alert Notifications For OpenManage Mobile................................................................................. 357
    Enabling or Disabling OpenManage Mobile Subscribers..................................................................................................357
    Deleting an OpenManage Mobile Subscriber..................................................................................................................358
    Viewing the Alert Notification Service Status.................................................................................................................358
         Notification Service Status...................................................................................................................................... 358
    Viewing the OpenManage Mobile Subscriber Information..............................................................................................359
         Mobile Subscriber Information................................................................................................................................. 359
    Troubleshooting OpenManage Mobile............................................................................................................................ 360

27 Settings — Reference............................................................................................... 361
    Alert Settings..................................................................................................................................................................361
    Custom URL Settings.................................................................................................................................................... 362
    Deployment Settings......................................................................................................................................................362
    Device Tree Settings...................................................................................................................................................... 363
    Discovery Settings......................................................................................................................................................... 363
    Feature Usage Settings..................................................................................................................................................364
    Email Settings................................................................................................................................................................ 364
    General Settings............................................................................................................................................................ 365
    Task Settings..................................................................................................................................................................366
    Warranty Notification Settings....................................................................................................................................... 366
    Permissions....................................................................................................................................................................368
         Common Tasks.........................................................................................................................................................368
         Manage Device Group Permissions.......................................................................................................................... 368
         Device Groups for Tasks and Patch Targeting.......................................................................................................... 368
    Purge Download Settings...............................................................................................................................................368

28 Logs — Reference.....................................................................................................370
    User Interface Logs........................................................................................................................................................ 370
    Application Logs............................................................................................................................................................. 370

29 Dell EMC Solutions.................................................................................................... 371

30 Right-Click Actions....................................................................................................372
    Schedule View................................................................................................................................................................372
    Device Status................................................................................................................................................................. 372
    Associate Catalog Baseline............................................................................................................................................. 373
    Discovery Range Summary.............................................................................................................................................374
         Managing Include Ranges.........................................................................................................................................374
    View Filters.....................................................................................................................................................................374
    Alerts..............................................................................................................................................................................374
    Remote Tasks.................................................................................................................................................................375




                                                                                                                                                                                              17
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 19 of 388




     Custom URL ..................................................................................................................................................................375
     System Update Tasks..................................................................................................................................................... 375
     Attributes Tab.................................................................................................................................................................376
     Templates....................................................................................................................................................................... 376
     Compute Pools...............................................................................................................................................................376
          Repurpose and Bare Metal ...................................................................................................................................... 376
          Compute Pool...........................................................................................................................................................376
          Devices.....................................................................................................................................................................377
     Virtual Input-Output Pools..............................................................................................................................................377
          Virtual I/O Pool.........................................................................................................................................................377
          Devices with Identities..............................................................................................................................................377
     Compliance by Template.................................................................................................................................................378
     Device Compliance......................................................................................................................................................... 378

31 Tutorials..................................................................................................................... 379

32 Using OpenManage Essentials Command Line Interface........................................... 380
     Launching the OpenManage Essentials Command Line Interface.................................................................................. 380
     Creating an input file for Discovery Profile..................................................................................................................... 380
     Specifying IPs, ranges, or host names by using XML or CSV files................................................................................... 381
     Specifying input files in PowerShell.................................................................................................................................381
     Command Line Interface commands...............................................................................................................................381
          Creating a discovery range.......................................................................................................................................382
          Editing a discovery range......................................................................................................................................... 382
          Removing a discovery range.....................................................................................................................................382
          Creating a discovery range group.............................................................................................................................382
          Editing a discovery range group............................................................................................................................... 383
          Removing a discovery range group.......................................................................................................................... 383
          Enabling a discovery range or discovery range group............................................................................................... 383
          Disabling a discovery range or discovery range group.............................................................................................. 384
          Creating a discovery exclude range.......................................................................................................................... 384
          Removing a discovery exclude range........................................................................................................................384
          Running discovery, inventory, and status polling tasks..............................................................................................385
          Removing devices ................................................................................................................................................... 385
          Retrieving the status execution progress of a discovery range.................................................................................385
          Stopping discovery range or group tasks................................................................................................................. 386
          Creating a custom device group...............................................................................................................................386
          Adding devices to a custom group........................................................................................................................... 386
          Deleting a custom device group................................................................................................................................387




18
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 20 of 388




                                                                                                                              1
About OpenManage Essentials
OpenManage Essentials is a hardware management application that provides a comprehensive view of systems, devices, and
components in the enterprise’s network. With OpenManage Essentials, a web-based and one‑to‑many systems management
application for systems and other devices, you can:

•   Discover and inventory systems
•   Monitor the health of systems
•   View and manage system alerts
•   Perform system updates and remote tasks
•   View hardware inventory and compliance reports
•   Deploy or reprovision a server, chassis, or an I/O Aggregator (IOA)
•   Manage the configuration baseline of a server or chassis
•   Manage the virtual I/O identity of a server

New in this release
•   Support for the following features of a MX7000 chassis—as a standalone chassis and as a lead chassis in a Multi-Chassis
    Management (MCM) group:

    – Discovery, inventory, monitoring, and status polling
    – Alerts recognition and traps classification
    – System updates
    – Configuration template creation and deployment
    – Configuration compliance and remediation
    – Configuring VLANs on MX7000 chassis by using the blade server template deployment feature
•   Support for the following devices:

    – Latest 14th generation PowerEdge servers including new blade servers of MX7000 chassis.
    – PowerEdge MX7000 modular enclosure
    – VxFlex Ready Nodes

    For a complete list of supported device models, see the Dell EMC OpenManage Essentials Support Matrix at Dell.com/
    OpenManageManuals.
•   Enhancement:

    – Enhanced view to display catalog baselines associated to the custom device groups.

Other information you may need
Table 1. Other information you may need

Document                         Description                                    Availability
                                                                                1.   Visit Dell.com/OpenManageManuals.
Dell EMC OpenManage              Lists the devices that are supported by
Essentials Support Matrix        OpenManage Essentials.                         2. Click OpenManage Essentials, and select
                                                                                     the required version of OpenManage
                                                                                     Essentials.
Dell EMC OpenManage              Provides information about known issues and
Essentials Readme                workarounds in OpenManage Essentials.          3. Click Manuals & documents to access
                                                                                     these documents.



                                                                                                                              19
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 21 of 388


 Document                        Description                                       Availability
 Dell EMC OpenManage             Provides information about installing and using
 Mobile User’s Guide             the OpenManage Mobile application.

 Dell EMC License Manager        Provides information about managing licenses
 User's Guide                    and troubleshooting the License Manager.

 Dell EMC Repository             Provides information about using the
 Manager User's Guide            Repository Manager to manage system
                                 updates.

 Dell EMC OpenManage             Provides information about integrating        Dell.com/OpenManageManuals or
 Essentials REST API Guide       OpenManage Essentials using                   DellTechCenter.com/OME
                                 Representational State Transfer (REST) APIs
                                 and also includes examples of using REST APIs
                                 to perform common tasks.

 Dell EMC SupportAssist          Provides information about installing,            Dell.com/ServiceabilityTools
 Enterprise User's Guide         configuring, using, and troubleshooting
                                 SupportAssist Enterprise.

 Troubleshooting Tool Online     Provides information about using the tool,        Integrated with the Troubleshooting Tool. From
 Help                            related protocols, devices, and so on.            the Troubleshooting Tool, click the Help icon to
                                                                                   launch the online help.

 Dell EMC OpenManage             Provides information about the tool, importing    Integrated with the MIB Import Utility. From the
 Essentials MIB Import Utility   and removing MIBs, troubleshooting                MIB Import Utility, click the Help icon to launch
 Online Help                     procedures, and so on.                            the online help.


Contacting Dell
      NOTE: If you do not have an active Internet connection, you can find contact information on your purchase invoice,
      packing slip, bill, or Dell product catalog.
Dell provides several online and telephone-based support and service options. Availability varies by country and product, and some
services may not be available in your area. To contact Dell for sales, technical support, or customer service issues:

1.   Go to Dell.com/support.
2.   Select your support category.
3.   Verify your country or region in the Choose a Country/Region drop-down list at the bottom of the page.
4.   Select the appropriate service or support link based on your need.




20
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 22 of 388




                                                                                                                                       2
Installing OpenManage Essentials
Related links
  Download OpenManage Essentials
  Installation prerequisites and minimum requirements
  Installing OpenManage Essentials
  Migrating IT Assistant to OpenManage Essentials


Installation prerequisites and minimum requirements
For a list of supported platforms, operating systems, and browsers, see the Dell EMC OpenManage Essentials Support Matrix at
Dell.com/OpenManageManuals.
To install OpenManage Essentials, you require local system administrator rights and the system you are using must meet the criteria
mentioned in the Minimum Requirements for OpenManage Essentials section of the Dell EMC OpenManage Essentials Support
Matrix available at Dell.com/OpenManageManuals.
Related link
   Installing OpenManage Essentials


Terms and conditions for using Relational Database Management
Systems
The Relational Database Management System (RDBMS) used for installing OpenManage Essentials is Microsoft SQL Server. SQL
Server has configuration settings separate from the OpenManage Essentials database. The server has logins (SQL or Windows) that
may or may not have access to the OpenManage Essentials database.
When OpenManage Essentials is installed, Internet security is modified by adding registry entries to the ZoneMaps for HKLM and
HKCU. This ensures that Internet Explorer identifies the fully qualified domain name as an intranet site.
A self-signed certificate is created and this certificate is installed in the root Certificate Authorities (CA) and My certificates.
To prevent certificate errors, remote clients must either install OpenManage Essentials certificate in both CA and Root Certificate
Stores or have a custom certificate published to client systems by the domain administrator.
For a typical installation of OpenManage Essentials:

•   Use the local instance of SQL Server that has all supported components.
•   The RDBMS is altered to support both SQL and Windows authentication.
•   An SQL Server login user is generated for OpenManage Essentials’ services. This login is added as a RDBMS SQL login with the
    dbcreator role and given the db_owner role over the ITAssist and OMEssentials databases.

      NOTE: The password for the typical install, auto generated SQL Server login account, is controlled by the application and
      different on every system.

For the highest level of security, it is recommended that you use a domain service account that is specified during custom installation
for SQL Server.
At runtime, when the OpenManage Essentials website determines that it has an invalid certificate or certificate binding; the self-
signed certificate is regenerated.
Related link
   Minimum login roles for Microsoft SQL Server




                                                                                                                                       21
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 23 of 388



Minimum login roles for Microsoft SQL Server
The following table provides information about the minimum permissions for SQL Server based on different installation and upgrade
use cases:
Table 2. Minimum login roles for Microsoft SQL Server

Number      Use Case                                                       Minimum Login Roles for SQL Server
1           Installing OpenManage Essentials for the first time and you    sysadmin access on the installed instance.
            select the Typical option during the installation process.

2           Installing OpenManage Essentials for the first time, you       db_owner access on the OpenManage Essentials
            select the Custom option during the installation process       database.
            and an empty OpenManage Essentials database is present
            (locally or remotely).

                  NOTE: If you select the Custom install option and
                  do not enter any credentials then the installation is
                  considered as a Typical installation and sysadmin
                  rights are required.

3           You are installing OpenManage Essentials for the first time,   dbcreator access on the server.
            you select the Custom option during the installation
            process, and an empty OpenManage Essentials database is
            not present.

4           Upgrading OpenManage Essentials from an earlier version        db_owner access on the OpenManage Essentials
            to the latest version and an OpenManage Essentials             database.
            database is present (locally or remotely).


Recommended database size
The following table provides information about the recommended database size for common use cases. However, it is recommended
that you configure the database size based on the environment with different hardware configurations, and also regularly monitor the
growth of the database size.
Table 3. Recommended database size

Recommende Large deployments              Large deployments        Large deployments         Medium deployments         Small
d database                                                                                                              deployments
size
Number of        8000                     5500                     2000                      500                        100
devices

SQL Server       14 GB                    10 GB                    6 GB                      2 GB                       1 GB
database size

During the daily maintenance, OpenManage Essentials compresses and optimizes the database. Also, for optimal performance of
OpenManage Essentials, monitor the database size and configure the Autogrowth/ Maxsize setting accordingly. It is recommended
that the size of the log database must be 1.5 times the maximum size of the database. OpenManage Essentials also downloads
updates for managed servers. These updates are saved in the local file system (not in the database) where OpenManage Essentials
is installed.




22
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 24 of 388


         NOTE: OpenManage Essentials can maintain up to 175,000 task execution history details without any issues. If the task
         execution history details exceed 175,000, you may experience problems starting OpenManage Essentials. The earlier task
         execution history records are purged when the limit set under Task Settings → Task Execution History Records to be
         Retained is exceeded. The task execution history details of few tasks are not purged. For more information, see Task
         Settings. It is recommended that you periodically delete task execution history details that you may no longer require or
         change the purge settings of task execution history details.

         NOTE: For more information, see the OpenManage Essentials Scalability and Performance technical white paper at
         DellTechCenter.com/OME.


Download OpenManage Essentials
Do keep the Service Tag of your Dell EMC PowerEdge server handy. It is recommended that you use the Service Tag to access all
support on the Dell Support Website. This ensures that you download the appropriate version of the software for your platform.
To download OpenManage Essentials:

1.   Go to Dell.com/support.
2.   Perform one of the following actions:

     •     Enter the Service Tag of your Dell EMC PowerEdge server, and then select Search.
     • Select Browse all products → Servers → PowerEdge, and select the appropriate model of your PowerEdge server .
3.   On the support page of your server, select Drivers & downloads.
4.   From the Category list, select Systems Management.
     The supported version of OpenManage Essentials is displayed.
5.   Click Download or select the check box to add the software to your download list.


Installing OpenManage Essentials
Before you install OpenManage Essentials, ensure that you have local administrator rights on the system.
         NOTE: OpenManage Essentials 2.5 use TLS version 1.2 to support Feature Usage Settings and the following features of
         MX7000 chassis—discovery, system update, device configuration template creation and deployment, and remediation.
         For more information about the best practices to be followed to secure .NET framework applications that use the TLS
         protocol on the management station, see www.docs.microsoft.com/en-us/dotnet/framework/network-programming/tls.
To install OpenManage Essentials:

1.   Extract the OpenManage Essentials installation package.
2.   Double-click the Autorun.exe file available in the folder where you extracted the installation package.
     The OpenManage Install screen is displayed. The following options are available:

     •     Dell EMC OpenManage Essentials — Select this option to install OpenManage Essentials, and Troubleshooting Tool.
     •     Dell EMC Repository Manager — Select to install Repository Manager. Using Repository Manager, you can create
           customized bundles and repositories of Update Packages, software utilities such as update drivers, firmware, BIOS, and
           other applications.
     •     Dell EMC License Manager — Select to install License Manager. The License Manager is a one-to-many license
           deployment and reporting tool for the integrated Dell Remote Access Controller (iDRAC), Chassis Management Controller
           (CMC), OpenManage Essentials, and the PowerEdge storage sled licenses.
     •     Dell EMC SupportAssist Enterprise — Select to install SupportAssist Enterprise. The SupportAssist Enterprise provides
           proactive support capabilities for supported server, storage, and networking solutions.
     •     Documentation — Click to view the online help.
     • View Readme — Click to view the readme file. To view the latest readme, go to DellTechCenter.com/OME.
3.   In OpenManage Install, select Dell EMC OpenManage Essentials, and click Install.
     The OpenManage Essentials Prerequisites window displays the following requirement types:

     •     Critical — This error condition prevents the installation of a feature.



                                                                                                                                    23
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 25 of 388


      •   Warning — This warning condition may disable the Typical installation but not an Upgrade of the feature later during
          installation. Also, later during installation, use the Custom installation setup type to select the feature.
      •   Information — This informational condition does not affect the Typical selection of a feature.

      There are two options for resolving critical dependencies:

      •   Click Install All Critical Prerequisites to immediately begin installing all critical prerequisites without further interaction.
          Install All Critical Prerequisites may require a restart depending on the configuration and the prerequisites installation will
          resume automatically after restart.
      •   Install each prerequisite individually by clicking the associated link with the required software.

            NOTE: Ensure that KB2919355 update is installed on Windows 2012 R2 systems to run OpenManage Essentials 2.5.
            To install KB2919355 update manually, see the Microsoft Knowledge Base article ID 2919355 at
            support.microsoft.com.

            NOTE: The latest iDRAC and chassis firmware require TLS 1.1 and TLS 1.2 protocols to be enabled on Windows 2008
            R2 and Windows 2012 systems. To enable TLS 1.1 and TLS 1.2 as the default secure protocols in WinHTTP, see the
            Microsoft Knowledge Base article ID 3140245 at support.microsoft.com.
            NOTE: To configure a remote database, you do not require an SQL Express installation on the local system. See
            Setting Up OpenManage Essentials Database on a Remote SQL Server. If you are not configuring a remote
            database, then install SQL Express by clicking the warning prerequisite link. Selecting Install All Critical Prerequisites
            does not install SQL Express.
4.    Click Install Essentials.
            NOTE: If you are installing OpenManage Essentials for the first time, a dialog box is displayed prompting you to
            select if you want to install OpenManage Essentials on a local or remote database. If you choose to install
            OpenManage Essentials on a local database, Microsoft SQL Server 2014 SP2 Express is installed on the system. If
            you choose to install OpenManage Essentials on a remote database, the installation follows the Custom Setup
            Installation steps.
5.    In the install wizard for OpenManage Essentials, click Next.
6.    In the License Agreement page, read the license agreement, select I accept the terms in the license agreement, and then
      click Next.
7.    In Setup type select either Typical or Custom installation.

      •   If you selected Typical, click Next. Verify the installation settings in the Ready to Install the Program page and the click
          Install.
                NOTE: If the default ports assigned to the OpenManage Essentials services are either blocked or used by
                another application, a message is displayed prompting you to either unblock the ports or select the Custom
                installation where you can specify another port.
                NOTE: The parameters of all tasks that you create are encrypted and saved. During a reinstallation, if you choose
                to use a database that was retained from a previous OpenManage Essentials installation, the existing tasks will
                not run successfully. To resolve this issue, you must recreate all tasks after the installation.
      • If you selected Custom, in Custom Setup, click Next and follow the instructions in Custom Setup Installation.
8.    After the installation is complete, click Finish.

If you have installed OpenManage Essentials on a virtual machine (VM), the following are the suggested settings for the
OpenManage Essentials VM:

•    Increase CPU settings based on resource availability.
•    Disable Dynamic Memory.
•    Increase Memory Weight to high.




24
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 26 of 388



Custom Setup Installation
To install OpenManage Essentials using custom setup:

1.    In Custom Setup, click Change to change the installation location, and then click Next.
2.    In custom settings for port numbers, if required, change default values for Network Monitoring Service port number, Task
      Manager Service port number, Package Server Port, and Console Launch port and then click Next.
3.    In Database Server, do any of the following and then click Next:

      •   Local database—If you have multiple SQL Server versions available on the management system and you want to select an
          SQL Server on which you want to set up the OpenManage Essentials database, then select the SQL server from the
          Database Server list, the type of authentication, and provide the authentication details. If you do not select a database
          server, by default, a supported version of SQL Server Standard, Enterprise, or Express that is available is selected for the
          installation. For more information, see the Installing Dell OpenManage Essentials technical white paper at
          DellTechCenter.com/OME.
      •   Remote database— Complete the prerequisites. For more information, see Setting Up OpenManage Essentials Database on
          a Remote SQL Server. After the prerequisites are complete, click Browse and select the remote system and then provide
          the authentication details. You can also set up the OpenManage Essentials database on a remote system by providing the IP
          address or host name and the database instance name of the remote system in Database Server.

            NOTE: If you select the Custom install option and do not enter any credentials, the installation is considered as a
            typical installation and sysadmin rights are required.
            NOTE: If you have multiple database instances running on a selected database server, you can specify the required
            database instance name to configure the Essentials database with it. For example, using (local)\MyInstance, you are
            configuring Essentials database on a local server and MyInstance named database instance.

            NOTE: The parameters of all tasks that you create are encrypted and saved. During a reinstallation, if you choose to
            use a database that was retained from a previous OpenManage Essentials installation, the existing tasks will not run
            successfully. To resolve this issue, you must recreate all tasks after the installation.

            NOTE: If you select the Custom install option, you can customize the database name. You can enter any name of
            your choice in the Database Name field. If you do not enter a database name, by default, OMEssentials is selected.
            Typically, you can use the database name field in a scenario where you have a dedicated remote SQL server that you
            want to use for installing multiple OpenManage Essentials instances. For example, you can assign the database name
            as DB_OME_Site1, DB_OME_Site2, and DB_OME_Site3 while installing the respective OpenManage Essentials
            instances.

            NOTE: The database name must start with an alphabet and it should not exceed 80 characters in length. You may
            also include special characters in the database name, except square brackets ([]), apostrophe ('), and curly brackets
            ({}).
4.    Verify the installation settings in the Ready to Install the Program page and the click Install.


Setting up OpenManage Essentials Database on a Remote SQL Server
You can configure OpenManage Essentials to use an SQL Server present on a remote system. Before setting up the OpenManage
Essentials database on the remote system, check for the following prerequisites:

•    Network communication between the OpenManage Essentials system and the remote system is functioning.
•    SQL connection works between the OpenManage Essentials system and the remote system for the specific database instance.
     You can use the Microsoft SQL Server Express 2012 Management Studio tool to verify the connection. On the remote
     database server, enable TCP/IP protocol and if you are using SQL Authentication, enable mixed mode on the remote SQL Server.

You can retarget the database if:

•    SQL credential to the SQL Server fails.
•    Windows credential to the SQL Server fails.
•    Login credentials have expired.




                                                                                                                                     25
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 27 of 388


•    Database is moved.

Retargeting the OpenManage Essentials Database
You can setup the OpenManage Essentials console to connect to an OpenManage Essentials database available on a remote system.
For example, after installing OpenManage Essentials with a local database, you can back up and restore the OpenManage Essentials
database on a remote system. After the database is restored on the remote system, you can setup OpenManage Essentials to
connect to the restored database available on the remote system.
To retarget the OpenManage Essentials database:

1.    Back up the OpenManage Essentials database. See Backing up the OpenManage Essentials Database.
2.    Restore the OpenManage Essentials database. See Restoring the OpenManage Essentials Database.
3.    Create a new user in SQL Server. See Creating a new user in SQL Server.
4.    Connect to the OpenManage Essentials database. See Connecting to the OpenManage Essentials Database.

Backing up the OpenManage Essentials Database
Before you back up the OpenManage Essentials database:

•    Ensure that OpenManage Essentials is installed on the system using the Typical installation method.
•    Ensure that Microsoft SQL Server Management Studio is installed on the system where OpenManage Essentials is installed.
•    Ensure that you stop Internet Information Services (IIS) and all OpenManage Essentials services.

To back up the OpenManage Essentials database:

1.    Open SQL Server Management Studio.
2.    In Object Explorer, expand the Databases node.
3.    Right-click the OMEssentials database and then click Tasks → Back Up.
      The Back Up Database - OMEssentials window is displayed.
4.    Click OK to start the database back up.

A confirmation message is displayed after the database back up is completed. The OpenManage Essentials database backup file,
OMEssentials.bak, is saved at C:\Program Files\Microsoft SQL Server\MSSQL11.SQLEXPRESSOME\MSSQL\Backup.

Restoring the OpenManage Essentials Database
Before you begin to restore the OpenManage Essentials database:

•    Ensure that OpenManage Essentials database back up file, OMEssentials.bak, is available on the system. If required, you must
     copy and paste the OpenManage Essentials database back up file from the system where you created the back up file.
•    Ensure that Microsoft SQL Server Management Studio is installed on the system.
•    Ensure that you have sysadmin access for SQL Server.

To restore the OpenManage Essentials database:

1.    Open SQL Server Management Studio on the system where you want to restore the OpenManage Essentials database.
2.    In Object Explorer, right-click Databases → Restore Database.
      The Restore Database window is displayed
3.    Under Source, select Device and click the browse button.
      The Select backup devices window is displayed.
4.    Click Add and then browse to select the OpenManage Essentials database back up file.
5.    Click OK to close the Select backup devices window.
6.    Click OK in the Restore Database window to start restoring the database.

A confirmation message is displayed after the database is restored. The restored OMEssentials database is displayed under
Databases in Object Explorer.



26
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 28 of 388


      NOTE: The database restoration may not be successful if multiple instances of the backup file, OMEssentials.bak, are
      available on the system. To resolve the issue, rename both the files (OMEssentials and OMEssentials_log) in the Restore
      database file as section of the Restore Database window, and then try restoring the database.

Creating a new user in SQL Server
To create a new user in SQL Server:

1.   Open SQL Server Management Studio on the system where you restored the OpenManage Essentials database.
2.   In Object Explorer expand the Security node.
3.   Click Login → New Login.
     The Login - New window is displayed.
4.   In the General page:
     a.   Type a name in the Login name field.
     b.   Select Windows authentication or SQL Server authentication based on your preference.
     c.   Type the password and reconfirm the password in the appropriate fields.
     d.   Optional: If you want to enforce password policy options for complexity, select Enforce Policy Password.
     e.   From the Default database list, select OMEssentials.
     f.   From the Default language list, select a default language for the login.
5.   In the Server Roles page, select public.
6.   In the User Mappings page:
     a. Under Users mapped to this login, select OMEssentials.
     b. Under Database role membership for: OMEssentials, select db_owner and public.
7.   Click OK.

The new user that you created is displayed under Security → Logins in Object Explorer.

Connecting to the OpenManage Essentials Database
To connect to the OpenManage Essentials database:

1.   On the system where OpenManage Essentials is installed, open the command prompt, and run the following command:
     sqlcmd -E -S ".\SQLEXPRESSOME" -Q "ALTER LOGIN [OMEService] WITH
     PASSWORD='DummyPassword'"

            NOTE: Verify that the OpenManage Essentials database instance that was created during the typical installation is
            SQLEXPRESSOME.

            NOTE: Copying and pasting the command may result in incorrect characters. Therefore, it is recommended that you
            type the complete command.
2.   Open OpenManage Essentials.
     The database login error window is displayed.
3.   Click OK on the database login error window.
     The Database Connection Error window is displayed.
4.   In the Database Connection Error window:
     a.   In the Server Name field, type the name of the system where you restored the OpenManage Essentials database.
     b.   From the Authentication list, select the authentication method for the database.
     c.   Type the user name and password of the new user you created in the appropriate fields.
     d.   Type the name of the database that you have already created in SQL Server.
     e.   Click Connect.
5.   Close and reopen OpenManage Essentials.
6.   Restart the Internet Information Services (IIS).
7.   Restart the OpenManage Essentials services or restart the server.




                                                                                                                                27
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 29 of 388


After the database retargeting is completed successfully, if required, you can delete the OpenManage Essentials database from the
system on which OpenManage Essentials is installed.


Installing OpenManage Essentials on a domain controller
When installing OpenManage Essentials on a domain controller, it is recommended that you install OpenManage Essentials with a
remote database. There are specific restrictions when running SQL Server on a domain controller, and considering the resources
demands of a domain controller, SQL Server performance may be degraded which will affect the performance of OpenManage
Essentials. For more information on the restrictions when running SQL Server on a domain controller, see the Microsoft Knowledge
Base article ID 2032911 at support.microsoft.com.
       NOTE: For security reasons, it is recommended that you do not install SQL Server 2012 on a domain controller. SQL
       Server Setup will not prevent you from installing SQL Server on a domain controller, however, the following limitations
       apply:

       •   You cannot run SQL Server services on a domain controller under a local service account.
       •   After SQL Server is installed on a system, you cannot change the system from a domain member to a domain controller.
           You must uninstall SQL Server before you change the host system to a domain controller
       •   SQL Server failover cluster instances are not supported where cluster nodes are domain controllers.
       •   SQL Server Setup cannot create security groups or provision SQL Server service accounts on a read-only domain
           controller. In this scenario, Setup will fail.
When setting up OpenManage Essentials on a domain controller, ensure that the following prerequisites are met:

•    Ensure that network communication between the system on which OpenManage Essentials is installed and the remote database
     system is functional.
•    Ensure that the SQL Server user has permission to backup, create, and configure databases.
•    When using SQL Server authentication, ensure that SQL Server and Windows authentication mode is enabled within SQL
     Server. See Enabling SQL Server Authentication and Windows Authentication in SQL Server
•    Ensure that TCP/IP is enabled in SQL Server. See Verifying the SQL Server TCP/IP status.

After OpenManage Essentials is installed on a domain controller:

•    By default, the Domain Admins group is added as a member of the OmeAdministrators and OmePowerUsers roles.
•    Local Windows user groups are not included in the OpenManage Essentials roles. OmeAdministrators, OmePowerUsers, or
     OmeUsers rights can be granted to users or user groups by adding them to the OpenManage Essentials Windows groups.
     OmeSiteAdministrators rights can be granted by OmeAdministrators through the Device Group Permissions portal.

The following sections provide instructions to install and setup OpenManage Essentials on a domain controller with a remote or local
database.

Installing OpenManage Essentials on a domain controller with a remote database
Before you begin installing OpenManage Essentials on a domain controller, ensure that you are logged in to the domain controller
with administrator rights.
To install OpenManage Essentials on a domain controller with a remote database:

1.   Extract the OpenManage Essentials installation package.
2.   Double-click the Autorun.exe file available within the folder where you extracted the installation package.
     The OpenManage Install window is displayed.
3.   Select Dell EMC OpenManage Essentials and click Install.
     The OpenManage Essentials Prerequisites window is displayed.
4.   Click Install All Critical Prerequisites.




28
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 30 of 388


             NOTE: If SQL Server is not already installed on the domain controller, the Prerequisites window displays a warning
             message with a link that allows you to install SQL Express on the domain controller (local) with an OpenManage
             Essentials-specific SQLEXPRESSOME database instance. If you ignore the warning message, when the
             OpenManage Essentials installation begins, a message is displayed requesting you to confirm whether you want to
             install OpenManage Essentials with a local or remote database
5.   When the confirm database location message is displayed, click No to install OpenManage Essentials on a remote database.
     The Custom Setup window is displayed.
6.   Click Next.
     The OpenManage Essentials Custom Settings window is displayed.
7.   If required, change the default port numbers based on your requirement, and click Next.
     The Database Server window is displayed.
8.   Perform one of the following:

     •     Click Browse and select the remote database.
     • Type the host name and database instance name in the Database Server field.
9.   Click Windows authentication or SQL Server authentication.
             NOTE: For Windows authentication, if you are using a non-domain Windows account, the credentials must exist on
             both the domain controller and the remote system, and should also be identical. The Windows user account must
             have the privileges required to create databases in SQL Server.
10. Type the user name and password in the appropriate fields and click Next.
     The Ready to Install the Program window is displayed.
11. Click Install.

After the installation of OpenManage Essentials is completed, add the logged in administrator to the OMEAdministrators user group.
See Adding Users to the OpenManage Essentials Groups.
         NOTE: After the OpenManage Essentials database is set up on the remote system, if the database is either moved or
         altered, open OpenManage Essentials to re-target using the new database connection settings.

Installing OpenManage Essentials on a domain controller with a local database
Before you begin installing OpenManage Essentials on a domain controller, ensure that you are logged in to the domain controller
with administrator rights.
To install OpenManage Essentials on a domain controller with a local database:

1.   Extract the OpenManage Essentials installation package.
2.   Double-click the Autorun.exe file available within the folder where you extracted the installation package.
     The OpenManage Install window is displayed.
3.   Select Dell EMC OpenManage Essentials and click Install.
     The OpenManage Essentials Prerequisites window is displayed.

             NOTE: If SQL Server is not already installed on the domain controller, the Prerequisites window displays a warning
             message with a link that allows you to install SQL Express on the domain controller (local) with an OpenManage
             Essentials-specific SQLEXPRESSOME database instance.
4.   In the Prerequisites window, click the link to install SQL Express on the domain controller.
5.   Create a domain service account required to run SQL Server on the domain controller. See Creating a Domain Service Account.
6.   Configure the SQLEXPRESSOME instance to run using the domain service account. See Configuring the Database Instance.
7.   Click Install Essentials on the Prerequisites window, and follow the instructions on the screen to complete the installation of
     OpenManage Essentials.

After the installation of OpenManage Essentials is completed, add the logged in administrator to the OMEAdministrators user group.
See Adding Users to the OpenManage Essentials User Groups.




                                                                                                                                       29
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 31 of 388



Creating a Domain Service Account
A domain service account is required to run SQL Server on the domain controller.
To create a domain service account:

1.   Click Start → Administrative Tools.
2.   Select Active Directory Users and Computers.
3.   On the left pane, right-click Managed Service Account → New → User.
     The New Object – User window is displayed.
4.   Type the first name and user logon name in the appropriate fields, and click Next.
5.   Type a password and reconfirm the password in the appropriate fields, and click Finish.

Configuring the database instance
The SQL Server service will not start if you are using the default NETWORK SERVICE or LOCAL SYSTEM accounts. Therefore, you
must configure the SQLEXPRESSOME database instance to run using a domain service account.
To configure the SQLEXPRESSOME database instance:

1.   Open Microsoft SQL Server Configuration Manager.
2.   On the left pane, click SQL Server Services.
3.   On the right-pane, right-click SQL Server (SQLEXPRESSOME) and click Properties.
     The SQL Server (SQLEXPRESSOME) Properties window is displayed.
4.   In the Log on tab, select This account.
5.   Type the domain service account name, password, and confirm the password in the appropriate fields.
6.   Click Restart.
7.   Click Apply

Adding users to the OpenManage Essentials user groups
To add users to the OpenManage Essentials user groups:
      NOTE: The users you add to the OpenManage Essentials user group must also belong to the built-in local Administrator
      group. For information on adding a Windows user account to a group, see Adding a user account to a group at
      support.microsoft.com

1.   Open Server Manager.
2.   Click Tools → Computer Management.
3.   In the left pane, click Local Users and Groups → Groups.
4.   In the right-pane, right-click OmeAdministrators and select Add to Group.
5.   In the OmeAdministrator Properties window, click Add.
     The Select Users window is displayed.
6.   In the Enter the object names to select field, type the user name.
7.   Click Check Names and then click OK.
     The user name is displayed in the Members list within the OmeAdministrator Properties window.
8.   Click OK.

Enabling SQL Server and Windows Authentication Mode in SQL Server
To enable SQL Server and Windows authentication mode:

1.   Open SQL Server Management Studio.
2.   In Obejct Explorer, right-click the top-level SQL Server object and click Properties.
     The Server Properties window is displayed.
3.   In the left pane, click Security.
4.   In the right pane, under Server authentication, click SQL Server and Windows Authentication mode.




30
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 32 of 388


5.   Click OK.
6.   In Obejct Explorer, right-click the top-level SQL Server object and click Restart.

Verifying SQL Server TCP or IP Status
To verify the TCP/IP status of SQL Server:

1.   Click Start → All Programs → SQL Server Configuration Manager
           NOTE: If multiple versions of SQL Server Configuration Manager are installed, ensure that you select the latest
           version.
2.   On the left pane, click to expand SQL SQL Native Client 11.0 Configuration.
3.   Click Client Protocols.
4.   On the right pane, ensure that the status of TCP/IP is Enabled.
5.   If TCP/IP is not enabled, right-click TCP/IP and select Enable.


Installing SupportAssist Enterprise
SupportAssist Enterprise integrates with OpenManage Essentials to provide proactive support capabilities for enterprise servers,
storage, and networking solutions using the existing environment data. SupportAssist collects information from supported devices,
and automatically creates support cases when issues arise. This helps Dell EMC to provide you an enhanced, personalized, and
efficient support experience.
To install SupportAssist:
      NOTE: Before you begin, make sure that:

      •   The system is able to connect to the Internet.
      •   You have the Administrator rights on the system.
      •   On the firewall, port 443 is open to access https://ftp.dell.com.

1.   Extract the OpenManage Essentials installation package.
2.   In the folder where you extracted the installation package, double-click the Autorun.exe file.
     The OpenManage Install window is displayed.
3.   If OpenManage Essentials version 2.5 is not installed on the system, make sure that Dell EMC OpenManage Essentials is
     selected.
4.   Select Dell EMC SupportAssist Enterprise, and then click Install.
     If you selected Dell EMC OpenManage Essentials and Dell EMC SupportAssist Enterprise, installation of OpenManage
     Essentials is completed and then SupportAssist Enterprise is installed. The system prerequisites for installing SupportAssist
     Enterprise are verified. If the system prerequisites are met, the Welcome to Dell EMC SupportAssist Enterprise Installer
     window is displayed.
5.   Click Next.
     The License Agreement window is displayed.
6.   Read the terms in the communication requirements and click I Agree.
           NOTE: SupportAssist Enterprise installation requires that you allow Dell EMC to save certain Personally Identifiable
           Information (PII) such as your contact information, administrator credentials of the devices to be monitored, and so
           on. SupportAssist installation cannot proceed unless you allow Dell EMC to save your PII.
7.   Read the software license agreement, click I Agree, and then click Next.
     If the system connects to the Internet through a proxy server, the Proxy Settings window is displayed. Else, the Installing
     SupportAssist Enterprise window is displayed briefly, and then the Installation Completed window is displayed.
8.   If the Proxy Settings window is displayed, provide the following:
     a. In the Server Address field, type the proxy server address or name.
     b. In the Port field, type the proxy port number.




                                                                                                                                     31
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 33 of 388


               NOTE: If the proxy server credentials are not provided, SupportAssist Enterprise connects to the proxy server as
               an anonymous user.
     c. If the proxy server requires authentication, select Proxy requires authentication, and then provide the following information
        in the corresponding fields:

         •   Username — The user name must contain one or more printable characters, and must not exceed 104 characters.
         •   Password — The password must contain one or more printable characters, and must not exceed 127 characters.
        • Confirm Password — Re-enter the password. The password must match with the one provided in the Password field.
     d. Click Install.
        The proxy settings are validated. If the validation is unsuccessful, verify the proxy settings and try again or contact your
        network administrator for assistance.
     e. In the Validation Successful dialog box, click OK.
     The Installing SupportAssist Enterprise window is displayed briefly, and then the Installation Completed window is displayed.
9.   Click Finish.

When you start SupportAssist Enterprise, the SupportAssist Enterprise Setup Wizard is displayed. You must complete all steps in
the SupportAssist Enterprise Setup Wizard before you can use SupportAssist Enterprise. For more information, see the Dell EMC
SupportAssist Enterprise User’s Guide at www.dell.com/ServiceabilityTools.
      NOTE: If the installation of SupportAssist Enterprise fails, you can retry the installation later. To retry the installation,
      right-click the Dell EMC SupportAssistSetup.exe file available at C:\Program Files\Dell\SysMgt\Essentials
      \SupportAssistSetup and select Run as administrator.


Installing Repository Manager
The Repository Manager is an application that helps manage system updates easily and effectively. Using Repository Manager, you
can build a custom repository based on the managed system configurations that are obtained from OpenManage Essentials.
To install Repository Manager:

1.   Double-click the OpenManage Essentials executable file.
2.   In OpenManage Install, select Dell EMC Repository Manager, and then click Install.
3.   In Dell EMC Repository Manager - InstallShield Wizard, click Next.
4.   In License Agreement, select I accept the terms in the license agreement, and click Next.
5.   In Customer Information, do the following and click Next.
     a. Provide user name and organization information.
     b. Select either Anyone who uses this computer (all users) to make this application available to everyone or Only for me
        (Windows User) to retain access.
6.   In Destination Folder, use the default location or click Change to specify another location, and then click Next.
7.   In Ready to Install the Program, click Install.
8.   After the installation is complete, click Finish.


Installing License Manager
The License Manager is a one-to-many license deployment and reporting tool for the integrated Dell Remote Access Controller
(iDRAC), Chassis Management Controller (CMC), OpenManage Essentials, and the PowerEdge storage sled licenses.
To install License Manger:

1.   Double-click the OpenManage Essentials executable file.
2.   In OpenManage Install, select Dell EMC License Manager.
3.   Select a language for the installation, and click OK.
4.   In the Welcome screen, click Next.
5.   In License Agreement, select I accept the terms in the license agreement and click Next.
6.   In Setup Type, select any of the following:




32
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 34 of 388


     •     To accept the default installation path, choose Typical installation and click Next.
     •   To enable specific program features and change the installation path, select Custom installation and click Next. In Custom
         Setup, select the License Manager features that you require; check for disk space, assign a new location for installing
         License Manager.
7.   In the Ready to Install screen, click Install.
8.   After the installation is complete, click Finish.


Upgrading OpenManage Essentials
You can upgrade from OpenManage Essentials version 2.1 and later to OpenManage Essentials version 2.5.
Before you upgrade, ensure that the minimum available free space on the hard drive is about 10 GB.
         NOTE: OpenManage Essentials 2.5 use TLS version 1.2 to support Feature Usage Settings and the following features of
         MX7000 chassis—discovery, system update, device configuration template creation and deployment, and remediation.
         For more information about the best practices to be followed to secure .NET framework applications that use the TLS
         protocol on the management station, see www.docs.microsoft.com/en-us/dotnet/framework/network-programming/tls.
To upgrade:

1.   Double-click the OpenManage Essentials executable file.
     The Dell OpenManage Install screen is displayed. The following options are available:

     •     Dell EMC OpenManage Essentials — Select this option to install OpenManage Essentials, and Troubleshooting Tool.
     •     Dell EMC Repository Manager — Select this option to install Repository Manager. Using Repository Manager, you can
           create customized bundles and repositories of Update Packages, software utilities such as update drivers, firmware, BIOS,
           and other applications.
     •     Dell EMC License Manager — Select this option to install License Manager. The License Manager is a one-to-many license
           deployment and reporting tool for the integrated Dell Remote Access Controller (iDRAC), Chassis Management Controller
           (CMC), OpenManage Essentials, and PowerEdge storage sled licenses.
     •     Dell EMC SupportAssist Enterprise — Select this option to install SupportAssist Enterprise. The SupportAssist Enterprise
           provides proactive support capabilities for supported server, storage, and networking solutions.
                 NOTE: If SupportAssist Enterprise is already installed on the system, by default, the Dell EMC SupportAssist
                 Enterprise option is selected and disabled. After the upgrade of OpenManage Essentials, SupportAssist
                 Enterprise is also upgraded. If applicable, you may be required to provide the proxy settings during the upgrade
                 of SupportAssist Enterprise. For more information, see the Dell EMC SupportAssist User’s Guide at
                 www.dell.com/ServiceabilityTools.
     •     Documentation — Click to view the online help.
     • View Readme — Click to view the readme file. To view the latest readme, go to DellTechCenter.com/OME.
2.   In the OpenManage Install screen, select Dell EMC OpenManage Essentials and click Install.
     The OpenManage Essentials Prerequisites window, displays the following requirement types:

     •     Critical — This error condition prevents the installation of a feature.
     •     Warning — This warning condition may disable the Typical installation but not an Upgrade of the feature later during
           installation.
     •     Information — This informational condition does not affect the Typical installation of a feature.

             NOTE: If OpenManage Essentials version 1.1 is installed on the system on a local database using SQL Server 2008
             Express edition, and an OpenManage Essentials-specific named instance SQLEXPRESSOME is not available, the
             SQL Server prerequisites displays a Critical icon. To proceed with the installation, you must install SQL Server
             Express 2012 SP1 with the SQLEXPRESSOME instance. Data from the earlier version of SQL Server is migrated
             automatically.
3.   Click Install Essentials.
4.   In the install wizard for OpenManage Essentials, click Next.
5.   In the License Agreement page, read the license agreement, select I accept the terms in the license agreement, and then
     click Next.
6.   If applicable, provide the Package Server Port and the Task Manager Service Port. If either the package server port or task
     manager service port is blocked during an upgrade, provide a new port. Click Next.



                                                                                                                                       33
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 35 of 388


            NOTE: For information about the supported ports and protocols, see Supported protocols and ports in OpenManage
            Essentials.
7.    Click Ok .
8.    Click Install.
9.    After the installation is complete, click Finish.
      After the upgrade, when you launch OpenManage Essentials version 2.5 for the first time, the Feature Usage Settings window
      is displayed. To understand and improve the most used features in OpenManage Essentials, few nonsensitive information is
      collected, and this feature is enabled by default. To disable this feature at a later time, click Settings → Feature Usage
      Settings, and then clear the I Agree check box.

After the upgrade is complete, you must perform the following actions:

1.    Run discovery and inventory for all existing discovery ranges.
2.    In the Device Search portal, verify if you get the expected results for all existing device queries.
3.    In the System Update portal, if the existing catalog is not the latest, ensure you import the latest catalogs from
      donwloads.dell.com.

Reconfiguring OpenManage Essentials version 2.5 after upgrading
This section contains information about the changes in templates on the Deployment portal, baselines in the Configuration portal,
and tasks that must be performed after upgrading to OpenManage Essentials version 2.5 from OpenManage Essentials version 2.2
and earlier.
The upgraded version of OpenManage Essentials provide the following enhancements:

•    Enhanced configuration settings for the Chassis templates and baselines with user-friendly attribute names.
•    Enhanced details about changed attributes for Chassis Deployment.
•    Create baselines for server and chassis from corresponding server or chassis templates that were available in the earlier version
     of OpenManage Essentials. The newly created server and chassis baseline names are suffixed with Baseline.
           NOTE: Baselines are used for device compliance.

•    Provides the option to recreate the Chassis template for deployment and the Chassis baseline for compliance-related tasks.
           NOTE: After upgrading to OpenManage Essentials 2.5, the template deployment tasks are available under
           Deployment → Tasks.
•    Provides the option to discover devices based on specific device type and specific protocol. For more information, see
     Configuring the Discovery Wizard.

After the upgrade is complete, you must perform the following tasks:

•    From the Deployment portal, recreate the Chassis Template. For more information, see Recreating chassis template.
•    From the Manage → Configuration portal, recreate the Chassis Baseline. For more information see Recreating chassis baseline.
•    Recreate the scheduled chassis deployment tasks that were created in OpenManage Essentials version 2.2 and earlier as the
     scheduled chassis deployment task cannot be edited or rerun after upgrading to OpenManage Essentials version 2.5. The user
     can edit the scheduled task that is created after the upgrade.
           NOTE: Ensure that the recreated chassis template and baseline are reviewed, and required changes and selection are
           made to the attribute values.

Recreating chassis template
After upgrading to the latest version of OpenManage Essentials, the existing chassis templates, which were created in OpenManage
Essentials version 2.2 and earlier, are displayed as broken.
To recreate the chassis template:

1.    Click Deployment → Templates.
2.    From the Chassis Templates, select a template.
3.    On the Template action window, click the Recreate this Template button to recreate the chassis template.
4.    On the Task Authentication window, type the template credentials and click OK.
      A 'Create template' task is submitted for execution.



34
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 36 of 388


5.   Click OK.
     The selected chassis template is recreated.
           NOTE: The recreated chassis template name is not changed.
6.   Click the recreated chassis template and click the Attributes tab to make the desired changes to the template attributes.
           NOTE: For compliance and deployment related tasks, ensure that the chassis has an enterprise license, supported
           firmware version, and is discovered by using the WS-Man protocol. For more information, see Device requirements
           for deployment and compliance tasks.

           NOTE: The chassis template which is created from a file does not display the Recreate this Template button and has
           to be recreated manually from the chassis configuration file.

Recreating chassis baseline
OpenManage Essentials 2.5 automatically creates a corresponding chassis baseline for the chassis template that was created in
OpenManage Essentials version 2.2 and earlier after upgrading. The chassis baseline that is created after the upgrade has the
baseline name suffixed with Baseline. The chassis baselines are displayed as broken in the Configuration portal and must be
recreated.
To recreate the chassis baseline:

1.   Click Manage → Configuration → Compliance by Baseline → Chassis Basleine.
2.   From Chassis Baselines, select a baseline.
3.   On the Baseline action window, click the Recreate this Baseline button to recreate the chassis baseline.
4.   On the Task Authentication window, type the chassis credentials and click OK.
     A 'Create baseline' task is submitted for execution.
5.   Click OK.
     The selected chassis baseline is recreated.

           NOTE: The recreated baseline name is not changed.

           NOTE: While recreating the chassis baseline, OpenManage Essentials will automatically take care of all the devices
           that are associated with the baseline in the earlier version and the compliance-related tasks.
6.   Click the recreated baseline and click the Attributes tab to check the baseline attributes.
           NOTE: For compliance and deployment related tasks, ensure that the chassis has an enterprise license, supported
           firmware version, and is discovered by using the WS-Man protocol. For more information, see Device requirements
           for deployment and compliance tasks.

           NOTE: The chassis baseline which is created from a file does not display the Recreate this Template button and has
           to be recreated manually from the chassis configuration file.


Uninstalling OpenManage Essentials
      NOTE: Before uninstalling OpenManage Essentials, you must uninstall OpenManage Essentials MIB Import Utility and
      SupportAssist Enterprise (if installed).
To uninstall OpenManage Essentials:

1.   Click Start → Control Panel → Programs and Features.
2.   In Uninstall or change a program, select Dell EMC OpenManage Essentials and click Uninstall.
3.   In the message Are you sure you want to uninstall OpenManage Essentials?, click Yes.
4.   In the message Uninstalling OpenManage Essentials removes the OpenManage Essentials
     database. Do you want to retain the database?, click Yes to retain the database or click No to remove it.
5.   Click Finish.




                                                                                                                                 35
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 37 of 388



Migrating IT Assistant to OpenManage Essentials
Direct migration from IT Assistant to OpenManage Essentials version 2.5 is not supported. However, you can migrate IT Assistant to
an earlier version of OpenManage Essentials, and then upgrade to OpenManage Essentials version 2.5. For information about
migrating IT Assistant to an earlier version of OpenManage Essentials, see the appropriate Dell EMC OpenManage Essentials User's
Guide at Dell.com/OpenManageManuals.
Related link
   Installing OpenManage Essentials




36
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 38 of 388




                                                                                                                                   3
Getting started with OpenManage Essentials
Launching OpenManage Essentials
To launch OpenManage Essentials, do one of the following:
      NOTE: Before you launch OpenManage Essentials, ensure that Javascript is enabled on your web browser.

•   From the management station desktop, click the Essentials icon.
•   From the management station desktop, click Start → All Programs → Dell EMC OpenManage Applications → Essentials →
    Essentials.
•   From a local or remote system, launch a supported browser. In the address field, type any of the following:

    – https://< Fully Qualified Domain Name (FQDN) >:
    – https://<IP address, host name, or Fully Qualified Domain Name (FQDN) >:<Port Number>/web/default.aspx
    – https://<IP address>:<Port Number>/

      NOTE: FQDN is required to show a valid certificate. The certificate shows an error if an IP address or local host is used.

The console launch port number (default port number 2607) is required to launch OpenManage Essentials from a browser on a
remote system. While installing OpenManage Essentials, if you changed the port using the Custom Install option, use the selected
console launch port in the preceding URL.
When you launch OpenManage Essentials version 2.5 for the first time, the Feature Usage Settings window is displayed. To
understand and improve the most used features in OpenManage Essentials, few nonsensitive information is collected, and this
feature is enabled by default. To disable this feature at a later time, click Settings → Feature Usage Settings, and then clear the I
Agree check box.
Next, the First Time Setup page is displayed.
      NOTE: You can log in to OpenManage Essentials as a different user at any time by using the Sign in as Different User
      option. For more information, see Logging On As a Different User.
Related link
  Using the OpenManage Essentials Home Portal


Configuring OpenManage Essentials
If you are logging on to OpenManage Essentials for the first time, the First Time Setup tutorial is displayed. The tutorial provides
step-by-step instructions for setting up an environment of servers and devices to communicate with OpenManage Essentials. The
steps include:

•   Configuring the SNMP protocol on each target server.
•   Installing SNMP tools (for Windows Server 2012 or later).
•   Installing OpenManage Server Administrator on each target server.
•   Enabling network discovery (for Windows Server 2008-based servers) on each target server.
•   Discovering devices on your network.

After you have completed the First Time Setup wizard, the Discovery Wizard Configuration window is displayed. See Discovery
Wizard Configuration.
The date and time displayed in the console is in a format that is selected in the browser settings and used in the region. When a time
zone change or daylight savings change occurs, the time is updated accordingly in the console. Changing time zones or daylight
savings, changes the time in the console, but does not change the time in the database.



                                                                                                                                        37
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 39 of 388


Related link
  Using the OpenManage Essentials Home Portal


Configuring the Discovery Wizard
The Discovery Wizard Configuration window enables you to configure the type of wizard you want to use for discovering devices.
The options displayed in the Discovery Wizard Configuration window are described in the following table.
Table 4. Discovery Wizard Configuration

 Option                                                            Description
 Standard Wizard                                                   If selected, the Discover Devices wizard displays a list of
                                                                   protocols for discovering devices.

 Guided Wizard (default)                                           If selected, the Discover Devices wizard displays a list of device
                                                                   types and the required protocols for discovering and managing
                                                                   the selected devices. After the required protocol configurations
                                                                   are completed, by default, this wizard runs both discovery and
                                                                   inventory.

                                                                         NOTE: Discovery of storage arrays is not supported by
                                                                         the Guided Wizard.

 Skip ICMP ping during discovery                                   If selected, the ICMP Configuration settings will be disabled
                                                                   from the Discover Devices wizard. By selecting this option,
                                                                   ICMP ping is skipped during discovery and inventory of the
                                                                   devices, system updates, configuration and deployment tasks.

 Discover the selected Device Types only                           In OpenManage Essentials 2.5, this option is enabled by default.
                                                                   If selected, this option allows device-type discovery in the
                                                                   guided wizard.
                                                                         NOTE: The device range that was discovered in the
                                                                         earlier version of OME may have discovered both
                                                                         chassis and iDRAC using WS-MAN protocol. In
                                                                         OpenManage Essentials 2.5, if Discover the selected
                                                                         Device Types only option is enabled in Discovery
                                                                         settings, then only the specific device selected in the
                                                                         guided wizard will be discovered and other devices are
                                                                         classified as unknown devices. For example: Selecting
                                                                         iDRAC device type with WS-MAN protocol will discover
                                                                         only iDRAC devices using WS-MAN protocol.


After you select the type of wizard and click Finish, the setting is saved in Settings → Discovery Settings.
By default, the Discovery Wizard Configuration window is displayed when you:

•    Launch OpenManage Essentials for the first time.
•    Click Add Discovery Range in the Discovery and Inventory portal for the first time.

If you want to configure the type of wizard you want to use for discovering devices at a later time, you can do so through the
Discovery Settings page. For more information, see Configuring Discovery Settings.


Configuring Discovery Settings
The Discovery Settings page enables you to configure the type of wizard you want to use for discovering devices.
To configure discovery settings:

1.    Click Settings → Discovery Settings.


38
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 40 of 388


      The Discovery Settings page is displayed.
2.    Select one of the following:

      •   Standard Wizard — If selected, the Device Discovery wizard displays a list of protocols for discovering devices.
      •   Guided Wizard — If selected, the Device Discovery wizard displays a list of device types and the required protocols for
          discovering and managing the selected devices. After the required protocol configurations are completed, by default, this
          wizard runs both discovery and inventory.
               NOTE: Discovery of storage arrays is not supported by the Guided Wizard.
3.    Click Apply.


Using the OpenManage Essentials Home Portal
OpenManage Essentials user interface contains the following components:




Figure 1. OpenManage Essentials Home Portal

1.    Heading banner
2.    Menu items and search bar
3.    Console area
4.    Alert pop-up notification
5.    Add a report to the home portal
6.    Save the current home portal layout
7.    Load the last saved home portal layout
8.    Load the default home portal layout
9.    Refresh the home portal page
10.   Launch the online help

Related links
  Map View—Home Portal
  Dashboard
  Using the Search Bar




                                                                                                                                      39
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 41 of 388



OpenManage Essentials Heading Banner
The banner may display the following icons:


•    Critical icon    and Warning icon       including the number of devices. You can click the icon or the number to view the devices
     in either state.

•    OpenManage Essentials service not running icon (blinking down arrow)         . You can click the icon to view the details and to
     restart the service.

•    Update available notification icon  indicates if a newer version of OpenManage Essentials is available. Click the icon to open a
     New Version Available window that displays the currently installed and newly available version of OpenManage Essentials.

•    Warranty scoreboard notification icon        including the number of devices with x days or less of warranty. You can click the icon
     or number to view the Device Warranty Report that lists the device with certain days or less of warranty. The warranty
     scoreboard notification icon is displayed only if you have selected Enable Warranty Scoreboard Notifications in Settings →
     Warranty Notification Settings.

In addition to the icons, the banner also contains links to the following:

•    Dell TechCenter — Click to view the information on various technologies, best practices, knowledge sharing, and information on
     Dell products.
•    Support — Click to open Dell.com/support.
•    Help — Click to open the online help.
•    About — Click to view general OpenManage Essentials product information.
•    User name — Displays the user name of the currently logged in user. Move the mouse pointer over the user name to display the
     following options:

     – User Info — Click to view the OpenManage Essentials roles associated with the current user.
     – Sign in as Different User — Click to log in to OpenManage Essentials as a different user.

       NOTE: The Sign in as Different User option is not supported on Google Chrome.

       NOTE: The banner is available in all the pages.

Related links
  Viewing the user information
  Logging in as a different user
  Using the Update Available Notification Icon
  Using the Warranty Scoreboard Notification Icon


Customizing the portals
You can change the layout of the portal page to do the following:

•    Display additional available reports.
           NOTE: This option is only available in the Home portal.

•    Hide graphs and reports.
•    Rearrange or resize graphs and reports by dragging and dropping.

If a pop-up window on any screen is bigger than the screen and if scrolling is not possible, set the zoom value of the browser to 75%
or less.
From the various reports that are available, you can select specific reports and set them to display on the Dashboard. You can click
these reports to get more details. For the list of available reports, see Home Portal Reports.
For more information on the:



40
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 42 of 388


•   Home portal, see OpenManage Essentials Home Portal Reference.
•   Device portal, see Devices Reference.
•   Discovery and inventory portal, see Discovery And Inventory Reference.
•   Reports portal, see Reports Reference.

.


Displaying additional reports and graphs
Charts have drill-down feature. To view additional reports and graphs, click the




Figure 2. Adding additional reports and graphs icon

icon on the top right corner. The following list of available reports and graphs is displayed:

•   Alerts by Severity
•   Devices by Status
•   Discovered vs. Inventoried Devices
•   Alerts
•   Asset Acquisition Information
•   Asset Maintenance Information
•   Asset Support Information
•   ESX Information
•   FRU Information
•   Hard Drive Information
•   HyperV Information
•   License Information
•   Memory Information
•   Modular Enclosure Information
•   NIC Information
•   PCI Device Information
•   Server Components and Versions
•   Server Overview
•   Storage Controller Information
•   Task Status

After selecting the desired report or graph, dock the report or graph by using the following control to the desired location:




Figure 3. Docking icon

Drilling down charts and reports for more information
To drill-down for further details, perform one of the following:

•   In report charts, click the charts.




                                                                                                                                41
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 43 of 388


•    In report tables, use the drag and drop option or funnel options to filter the required data and right-click the table rows to
     perform various tasks.

Saving and loading the portal layout
To save and load the portal layout, click the




Figure 4. Save icon

icon.
All the current layout settings and visible reports on the portal are saved on the portal page.
To load the previous portal layout, click the




Figure 5. Loading the previous portal layout icon.

icon.


Updating the portal data
To refresh the portal page manually, click the




Figure 6. Refresh icon

icon.
To load the default portal layout, click the




Figure 7. Default layout icon

icon.


Hiding graphs and reports—Components
To hide graphs and reports (components), click the


Figure 8. Hide icon

icon on the report or graph and select the Hide option to remove the component from the portal page or select the Auto Hide
option to move the component to the side bar.
To remove a component from the portal page, click the X icon in the report or graph.
To move the report to the side bar, click the


Figure 9. Move icon

icon.




42
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 44 of 388



Rearranging or resizing graphs and reports—Components
Click the      icon and select from the following options:

•   Floating — To move the component freely in the portal page.
•   Dockable — To dock the component in the portal page. If the component is floating, right-click the title to dock or tab the
    component.
•   Tabbed Document — To move the component into a tab in the portal page.

Select the




Figure 10. Docking icon.

control to dock a floating component. You can create a tabbed view by docking a pane within other panes or dock a pane at the top,
bottom, left, or right side of the main window.
You can resize panes and all panes fill the selected area when docked.
To move the component to the side bar, click the


Figure 11. Move icon

icon and to restore it, select the component and click the


Figure 12. Restore icon

icon.
To create filters in a report grid, click the


Figure 13. Filter icon

icon. This is not specific to the portal page layout and the settings related to these associations are not saved.


Filtering data
You can filter the results by dragging and dropping column headers to the top of reports. You can choose one or more attributes
when revising the view to meet your specific needs.
For example, in Devices by Status pie chart, click a status such as Critical. In the Device Summary page, drag the Device Type and
Service Tag to the top of the report. The view immediately changes to a nested information based on your preference. In this
example, the information is grouped first by Device Type, and second by Service Tag. Drill-down through these filtered groups to
view the remaining information for the devices.
For more information, see Viewing Device Summary.


Using the Search Bar
The search bar is displayed at the top-right of the dashboard below the heading banner. The search bar is accessible from all portal
pages, except when a pop-up or wizard is displayed. As you type text in the search bar, matching or similar item are displayed in the
drop-down list.




                                                                                                                                    43
               Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 45 of 388


Related links
  Searching items
  Using the search drop-down list
  Search results and the default actions

Searching items
You can search for the following using the search bar:

•    Devices
•    Device groups
•    Discovery ranges
•    Discovery range groups
•    Exclude ranges
•    Portals
•    Wizards
•    Remote tasks
•    Preferences and settings

When a range, task, device, and so on is changed or created in the console, it is added to the searchable items within 20 seconds.
Related link
  Using the Search Bar

Using the search drop-down list
The search bar displays a list as you type text in the search box. The items that contain the characters that you type are populated in
the search drop-down list. Each item in the drop-down list includes two icons and the name of the item. The first icon indicates the
item category (such as Device, Launch Wizard, and so on). The second icon indicates the state of the item (such as Normal,
Critical, or Warning). Immediately after the two icons, the name of the item is displayed. Moving the mouse pointer over an item in
the drop-down list, displays a tool tip. The information displayed in the tool tip varies based on the item. For example, moving the
mouse pointer over a device displays the following: Name, Type, Health Status, Power Status, IP Address, Service Tag, and MAC
Address. Selecting an item displayed in the tool tip performs the default action.
Related link
   Using the Search Bar

Search results and the default actions
Selecting or clicking an item displayed in the search bar results in the following default actions:
Table 5. Selection Actions

Item Selected                                                          Action
Devices                                                                Displays the device details.
Device Groups                                                          Displays the device group summary.
Discovery Ranges                                                       Displays the discovery range.
Discovery Range Group                                                  Displays the discovery range group summary.
Portals                                                                Navigates to the appropriate portal.
Wizards                                                                Launches the appropriate wizard.
Exclude Range                                                          Displays the range summary.
Remote Tasks                                                           Selects a task in the task tree.




44
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 46 of 388


Related link
  Using the Search Bar


Map View—Home Portal
       NOTE: The Map View feature is available only if you have discovered any PowerEdge VRTX or PowerEdge FX2/FX2s
       devices that have an Enterprise license using the WS-Man protocol. If the licensed device is discovered using the SNMP
       protocol, the Map View feature is not available. In this case, you must rediscover the device using the WS-Man protocol.
The Map View (home) portal can be accessed by clicking the Map View link in the Home portal.
       NOTE: You can also access another implementation of the map (Map View tab) that is accessible through the Devices
       portal.
The following are the features of the Map View (home) portal:

•    The Map View (home) portal is not integrated with the device tree.
•    You can select a device group to display on the map by using the Filter by drop-down box at the top of the map.
•    Clicking a pin (device) on the Map View (home) portal opens the Devices portal that displays details about the device.
•    Any change to the devices or settings on the Map View (home) portal is synchronized with the Map View tab accessible
     through the Devices portal.
•    Zoom level and the visible portion of the Map View (home) portal are not synchronized with the Map View tab accessible
     through the Devices portal.

       NOTE: For information about using the features available in Map View, see Using Map View.

Related links
  Using the OpenManage Essentials Home Portal
  Map View Interface—Home Portal


Viewing the user information
To view the user information such as the OpenManage Essentials roles associated with the current user:

1.    Move the mouse pointer over the user name in the heading banner.
2.    In the menu that is displayed, click User Info.
      The User Information for <user name> dialog box with the user information is displayed.

Related link
  OpenManage Essentials Heading Banner


Logging in as a different user
       NOTE: The Sign in as Different User option is not displayed on Google Chrome and Mozilla Firefox browsers. To log in as
       a different user when using Chrome or Firefox, close and reopen the browser, provide the new user credentials when
       prompted, and click OK.
       NOTE: When using the Sign in as Different User option in Internet Explorer, you may be prompted to provide the
       credentials multiple times
To log in as a different user:

1.    Move the mouse pointer over the user name in the heading banner.
2.    In the menu that is displayed, click Sign in as Different User.
      The Windows Security dialog box is displayed, prompting for the user name and password.
3.    Type the User name and Password, and click OK.




                                                                                                                              45
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 47 of 388


Related links
  Using the OpenManage Essentials Home Portal
  OpenManage Essentials Heading Banner


Using the Update Available Notification Icon
      NOTE: The update available notification icon may be displayed in the OpenManage Essentials heading banner only after
      you refresh the web browser.

The update available notification icon   is displayed in the OpenManage Essentials heading banner when a new version of

OpenManage Essentials is available. Click the     icon to open the New Version Available window that displays the currently
installed and newly available version of OpenManage Essentials. You can click Learn More to view the download details on the
OpenManage Essentials website. Click Remind Me Laterto set or cancel the update available notification.
Related link
   OpenManage Essentials Heading Banner


Using the Warranty Scoreboard Notification Icon

The warranty scoreboard notification icon    is displayed in the OpenManage Essentials heading banner based on the criteria you
have configured in Settings → Warranty Notification Settings. The warranty scoreboard notification also displays the number of

devices that meet the criteria you have configured. Click the icon to display the Device Warranty Report that provides the
warranty information of devices based on your Warranty Scoreboard Notifications settings.
Related links
  OpenManage Essentials Heading Banner
  Configuring Warranty Scoreboard Notifications
  Device Warranty Report




46
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 48 of 388




                                                                                                                              4
OpenManage Essentials Home Portal — Reference
Related links
  OpenManage Essentials Heading Banner
  Dashboard
  Schedule View
  Using the Search Bar
  Map View Interface—Home Portal


Dashboard
The dashboard page provides a snapshot of the managed devices that include servers, storage, switches, and so on. You can filter
the view based on the devices by clicking the Filter by: drop-down list. You can also add a new group of devices from the dashboard
by clicking Add New Group from the Filter by: drop-down list.
Related links
  Using the Search Bar
  Discovered Versus Inventoried Devices
  Task Status
  Home Portal Reports
  Device by Status
  Alerts by Severity

Home Portal Reports
From the Home Portal Dashboard page, you can monitor the following:

•   Alerts by Severity
•   Devices by Status
•   Discovered vs. Inventoried Devices
•   Alerts
•   Asset Acquisition Information
•   Asset Maintenance Information
•   Asset Support Information
•   ESX Information
•   FRU Information
•   Hard Drive Information
•   HyperV Information
•   License Information
•   Memory Information
•   Modular Enclosure Information
•   NIC Information
•   PCI Device Information
•   Server Components and Versions
•   Server Overview
•   Storage Controller Information



                                                                                                                                47
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 49 of 388


•    Task Status

Device by Status
Device by Status provides device status information in a pie chart format. Click a segment of the pie chart to view the device
summary.
Table 6. Device by Status

Field                                                                  Description
Unknown                                                                Health status of these devices are not known.
Normal                                                                 Devices are working as expected.
Warning                                                                These devices display behaviors that are not normal and further
                                                                       investigation is required.
Critical                                                               These devices display behaviors that suggest an occurrence of
                                                                       a failure of a very important aspect.
Connection Lost                                                        These devices are not reachable.


Alerts by Severity
Alerts by severity provide alert information of devices in a pie chart format. Click a segment of the pie chart to view the devices.
Table 7. Alerts by Severity

Field                                                                  Description
Unknown                                                                Health status of these devices are not known.
Normal                                                                 Alerts from these devices conform to the expected behavior for
                                                                       the devices.
Warning                                                                These devices display behaviors that are not normal and further
                                                                       investigation is required.
Critical                                                               Alerts from these devices suggest that a failure of a very
                                                                       important aspect has occurred.


Discovered Versus Inventoried Devices
The graph displays the number of devices and servers discovered or inventoried. You can use this report to ascertain the discovered
devices and servers that are unclassified. For more information on the filter options for the summary information, see Viewing Device
Summary.
Click any section of the graph to view the Device Summary for the selected region. In the device summary, double-click a row to
view the details (inventory view for that device). Alternatively, right-click and select details for the inventory view or right-click and
select alerts for the alerts specific to that device.
Table 8. Discovered Versus Inventoried Devices

Field                                                                  Description
Filter by                                                              Select to filter the search results using the following options:

                                                                       •   All
                                                                       •   Ranges — Select to filter based on the selected range.




48
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 50 of 388


Related links
  Creating a discovery and inventory task
  Viewing configured discovery and inventory ranges
  Excluding ranges
  Scheduling discovery
  Scheduling inventory
  Configuring status polling frequency
  Discovery and Inventory Portal

Task Status
The grid provides a list of currently executing and previously run tasks and their status. The Task Status grid on this page shows the
status of just discovery, inventory, and tasks. However, the main portal shows all types of task statuses.
Related links
   Creating a discovery and inventory task
   Viewing configured discovery and inventory ranges
   Excluding ranges
   Scheduling discovery
   Scheduling inventory
   Configuring status polling frequency
   Discovery and Inventory Portal


Schedule View
From Schedule View you can:

•   View tasks that are scheduled to occur and tasks that are completed.
•   Filter the view based on the type of task (such as database maintenance tasks, server power options, and so on), active tasks,
    and task execution history.
          NOTE: The options displayed in the Filter by drop-down list vary depending on the tasks that are created. For
          example, if a Server Options Task is not created, then the option is not displayed in the Filter by drop-down list.
•   View tasks for a particular day, week, or month. You can also view the tasks for a particular day by clicking the calendar icon.
•   Drag and drop tasks to a time slot in the calendar.
•   Set the zoom value by changing the zoom slider.
          NOTE: The zoom slider is disabled for the Month view.

•   Export the schedules to a .ics file and import the file into Microsoft Outlook.


•   Change the schedule view settings by clicking the settings icon          .

For more information, see Schedule View Settings.
Related link
  Schedule View Settings

Schedule View Settings
Table 9. Schedule View Settings

Field                                       Description
Orientation                                 Allows you to change the orientation of the Schedule View page and the displayed
                                            tasks. You can select either the Vertical or Horizontal orientation.




                                                                                                                                       49
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 51 of 388


Field                                    Description

                                               NOTE: Changing the Orientation setting does not affect the Month view.

Schedule Item Size                       Allows you to modify the size of the tasks displayed.

Color Categorize by Task Type            Selecting this option categorizes each task type using a different color.

Show Task Execution History              Select this option to display the tasks that are already complete.

Show Database Maintenance                Select this option to view the time at which database maintenance occurs.


Device Warranty Report

The Device Warranty Report is displayed when you click the warranty scoreboard notification icon        on the OpenManage
Essentials heading banner. The following are the fields displayed in the Device Warranty Report.
Table 10. Device Warranty Report

Field                                                             Description
All Devices with x days or less of warranty                       Determines which devices to include in the Device Warranty
                                                                  Report. Devices with warranty less than or equal to the
                                                                  specified days are included in the warranty report.

Include Expired Warranties                                        Specifies if devices with expired warranty (0 days) or no
                                                                  warranty information should be included in the warranty email
                                                                  notification.

Preview                                                           Displays the warranty report based on the criteria set in All
                                                                  Devices with x days or less of warranty.

OK                                                                Closes and saves any changes made to the Device Warranty
                                                                  Report.

View and Renew Warranty                                           Displays a link you can click to open the Dell website from where
                                                                  you can view and renew the device warranty.

Device Name                                                       Displays the system name that is unique and identifies the
                                                                  system on the network.
Model                                                             Displays the model information of the system.
Device Type                                                       Displays the type of device. For example, server or Remote
                                                                  Access Controller.
Service Tag                                                       Displays the specific unique bar code label identifier for the
                                                                  system.
Service Level Code                                                Displays the service level code such as parts only warranty
                                                                  (POW), next business day onsite (NBD), and so on for a
                                                                  particular system.
Warranty Type                                                     Displays the warranty type. For example, initial, extended, and so
                                                                  on.
Warranty Description                                              Displays the warranty details applicable for the device.
Service Provider                                                  Displays the name of the organization that will provide the
                                                                  warranty service support for the device.
Shipped Date                                                      Displays the date on which the device was shipped from the
                                                                  factory.
Start Date                                                        Displays the date from which the warranty is available.




50
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 52 of 388


Field                                                            Description
End Date                                                         Displays the date on which the warranty will expire.
Days Remaining                                                   Displays the number of days the warranty is available for the
                                                                 device.

Related links
  Using the Warranty Scoreboard Notification Icon
  Configuring Warranty Scoreboard Notifications


Map View Interface—Home Portal
The Map View (home) portal accessible through the Home portal has a Filter by drop-down list which you can use to filter the
device group displayed on the map. The menus and options available in the Map View (home) portal are the same as those found in
the Map View tab in the Devices portal. For information about the menus and options in the Map View, see Map View (Devices)
Tab Interface.
Related link
  Map View—Home Portal




                                                                                                                                 51
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 53 of 388




                                                                                                                           5
Discovering and inventorying devices
Perform discovery and inventory to manage your network devices.
Related links
  Creating a discovery and inventory task
  Viewing configured discovery and inventory ranges
  Scheduling discovery
  Scheduling inventory
  Excluding ranges
  Supported devices, protocols, and features matrix—SNMP, WMI, and WS-Man


Supported devices, protocols, and features matrix—SNMP, WMI, and
WS-Man
     NOTE: For description of the features listed in the following table, see Legend and Definitions.

Table 11. Supported devices, protocols (SNMP, WMI, WS-Man), and features matrix

     Protocol / Mechanism         Simple Network        Windows                   Web Services-         REpresentational State
                                  Management            Management                Management (WS-       Transfer (REST)
                                  Protocol (SNMP)       Instrumentation           Man)
                                                        (WMI)
Servers with      Windows /       Discovery             Discovery                 Not supported         Not supported
OpenManage        Hyper‑V         Correlation           Correlation
Server                            Classification        Classification
Administrator                     Hardware inventory    Hardware inventory
installed                         Software inventory    Software inventory
                                  Monitoring            Monitoring
                                  Traps/alerts          Application launch
                                  Application launch
                                                        •   OpenManage
                                  •   OpenManage            Server
                                      Server                Administrator
                                      Administrator         console
                                      console           •   Remote desktop
                                  •   RAC               •   System update
                                  •   Remote desktop
                                  •   System update

                  Linux/          Discovery             Not supported             Not supported         Not supported
                  VMware ESX      Correlation
                                  Classification
                                  Hardware inventory
                                  Software inventory
                                  Monitoring
                                  Traps/alerts
                                  Application launch
                                  •   OpenManage
                                      Server



52
        Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 54 of 388


    Protocol / Mechanism     Simple Network      Windows              Web Services-        REpresentational State
                             Management          Management           Management (WS-      Transfer (REST)
                             Protocol (SNMP)     Instrumentation      Man)
                                                 (WMI)

                                 Administrator
                                 console
                             •   RAC

               VMware ESXi   Traps/alerts        Not supported        Discovery            Not supported
                                                                      Correlation
                                                                      Classification
                                                                      Hardware inventory
                                                                      Software inventory
                                                                      Virtual machine
                                                                      information
                                                                      Virtual host product
                                                                      information
                                                                      Monitoring
                                                                      (OpenManage
                                                                      Server Administrator
                                                                      health only)
                                                                      Application launch—
                                                                      RAC
Servers without Windows/     Not supported       Discovery            Not supported        Not supported
OpenManage      Hyper‑V                          Correlation
Server                                           Classification
Administrator                                    Hardware inventory
installed                                        Application launch

                                                 •   Remote desktop

               Linux/VMware Not supported        Not supported        Not supported        Not supported
               ESX

               VMware ESXi   Not supported       Not supported        Discovery            Not supported
                                                                      Correlation
                                                                      Classification
                                                                      Hardware inventory
                                                                      (no storage
                                                                      inventory)
                                                                      Application launch

iDRAC / DRAC / BMC           Discovery            Not supported       Discovery            Not supported
                             Correlation                              Correlation
                             Classification                           Classification
                             Monitoring Traps/                        Monitoring Traps/
                             Platform Event Traps                     Platform Event Traps
                             (PET)                                    (PET)
                             Application launch                       Hardware inventory
                                                                      System update
                             •   RAC
                             •   Console




                                                                                                                    53
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 55 of 388


     Protocol / Mechanism        Simple Network      Windows           Web Services-           REpresentational State
                                 Management          Management        Management (WS-         Transfer (REST)
                                 Protocol (SNMP)     Instrumentation   Man)
                                                     (WMI)

                                                                            NOTE:
                                                                            Applicable only
                                                                            to iDRAC6
                                                                            version 1.3 and
                                                                            later. Discovery
                                                                            and hardware
                                                                            inventory are
                                                                            not supported
                                                                            for iDRAC6
                                                                            version 1.25
                                                                            and earlier.
                                                                       Application launch

                                                                       •   RAC
                                                                       •   Console

Hyper-Converged Infrastructure   Discovery            Not supported    Discovery            Not supported
(VxRail, XC Series)              Correlation                           Correlation
                                 Classification                        Classification
                                 Monitoring Traps/                     Monitoring Traps/
                                 Platform Event Traps                  Platform Event Traps
                                 (PET)                                 (PET)
                                 Application launch                    Hardware inventory
                                                                       Application launch
                                 •   RAC
                                 •   Console                           •   RAC
                                                                       •   Console
                                                                       •   VxRail Manager
                                                                       •   PRISM

                                                                            NOTE:
                                                                            OpenManage
                                                                            Essentials does
                                                                            not support
                                                                            remote task
                                                                            execution,
                                                                            server
                                                                            configuration,
                                                                            and system
                                                                            updates on the
                                                                            VxRail and XC
                                                                            Series devices.

Modular enclosure (PowerEdge     Discovery           Not supported     Discovery           Not supported
M1000e)                          Correlation                           Correlation
                                 Classification                        Classification
                                 Enclosure health                      Enclosure health
                                 Traps                                 Traps
                                 System update                         System update
                                 Application launch—                   Application launch—
                                 CMC                                   CMC




54
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 56 of 388


    Protocol / Mechanism         Simple Network       Windows           Web Services-          REpresentational State
                                 Management           Management        Management (WS-        Transfer (REST)
                                 Protocol (SNMP)      Instrumentation   Man)
                                                      (WMI)

                                                                             NOTE:
                                                                             Applicable only
                                                                             to PowerEdge
                                                                             M1000e with
                                                                             CMC firmware
                                                                             version 5.0.

Modular enclosure (PowerEdge     Traps                Not supported     Not supported          Discovery
MX7000)                                                                                        Correlation
                                                                                               Classification
                                                                                               Enclosure health
                                                                                               Traps
                                                                                               System update
                                                                                               Application launch—
                                                                                               OpenManage Enterprise -
                                                                                               Modular

PowerEdge VRTX                   Discovery           Not supported      Discovery           Not supported
                                 Correlation                            Correlation
                                 Classification                         Classification
                                 Enclosure health                       Hardware inventory
                                 Traps                                  System Update
                                 Application launch—                    Enclosure health
                                 CMC                                    Traps
                                                                        Application launch—
                                                                        CMC
                                                                        Map View
                                                                        (PowerEdge VRTX
                                                                        only)
Networking W-Series Mobility     Discovery            Not supported     Not supported          Not supported
Controllers and Access Points    Inventory
                                 Classification
                                 Application launch
                                 Traps/alerts
                                 Health—active and
                                 inactive
                                 Switch Role
SonicWALL firewall appliances    Discovery            Not supported     Not supported          Not supported
                                 Classification
                                 Application launch
                                 Traps/alerts
Networking Ethernet switches     Discovery            Not supported     Not supported          Not supported
                                 Correlation
                                 Classification
                                 Application launch
                                 Traps/alerts
                                 Health
                                 Switch Role

Brocade Fibre Channel switches   Discovery            Not supported     Not supported          Not supported




                                                                                                                        55
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 57 of 388


     Protocol / Mechanism           Simple Network         Windows                 Web Services-       REpresentational State
                                    Management             Management              Management (WS-     Transfer (REST)
                                    Protocol (SNMP)        Instrumentation         Man)
                                                           (WMI)
                                    Classification
                                    Application launch
                                    Traps/alerts
                                    Health
                                    Switch role

VxFlex Ready Nodes                  Discovery            Not supported             Discovery            Not supported
                                    Correlation                                    Correlation
                                    Classification                                 Classification
                                    Monitoring Traps/                              Monitoring Traps/
                                    Platform Event Traps                           Platform Event Traps
                                    (PET)                                          (PET)
                                    Application launch—                            Hardware inventory
                                    VxFlex Ready Node                              System update
                                    Series Support
                                                                                   Application launch—
                                                                                   VxFlex Ready Node
                                                                                   Series Support

     NOTE: For full functionality of chassis support in OpenManage Essentials, the chassis and the associated devices must
     be discovered using the appropriate protocols.

     NOTE: OpenManage Essentials supports in-band (OMSA) and out-of-band (iDRAC) discovery of the following
     PowerEdge C-Series servers only: PowerEdge C4130, PowerEdge C6320, PowerEdge C6320p, and PowerEdge C6420.

     NOTE: OpenManage Essentials supports discovery of Dell Precision Rack 7910 and 7920 clients with WMI protocol
     similar to the discovery of other client devices. If the Dell Precision Rack 7910 and 7920 clients are discovered using
     iDRAC (out-of-band discovery), then these devices are classified as Servers under Manage → Devices → All Devices →
     RAC.

     NOTE: You can also perform discovery and inventory of a server out-of-band (iDRAC) using the credentials of the iDRAC
     user account that has Read Only privileges. However, you cannot perform operations that require elevated privileges
     such as system update, device configuration deployment, and so on.


Supported devices, protocols, and features matrix—IPMI, CLI, and
SSH
     NOTE: For description of the features that are listed in the following table, see Legend and Definitions.

Table 12. Supported devices, protocols (IPMI, CLI, SSH), and features matrix

             Protocol / Mechanism                   Intelligent Platform       Command Line             Secure Shell (SSH)
                                                    Management Interface       Interface (CLI)a
                                                    (IPMI)
Servers with            Windows /Hyper-V            Not supported              OpenManage Server        Not supported
OpenManage Server                                                              Administrator CLI
Administrator                                                                  Deploy OpenManage
installed                                                                      Server Administrator
                                                                               Server Updates

                                                                               •   BIOS
                                                                               •   Firmware




56
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 58 of 388


            Protocol / Mechanism               Intelligent Platform   Command Line           Secure Shell (SSH)
                                               Management Interface   Interface (CLI)a
                                               (IPMI)

                                                                      •   Driver

                      Linux/ VMware ESX        Not supported          OpenManage Server      Discovery
                                                                      Administrator CLI      Correlation
                                                                      Deploy OpenManage      Classification
                                                                      Server Administrator
                                                                                             Hardware and Software
                                                                      Server Updates         Inventory (minimal)
                                                                      •   BIOS
                                                                      •   Firmware
                                                                      •   Driver

                      VMware ESXi              Not supported          Not supported          Discovery
                                                                                             Correlation
                                                                                             Classification
                                                                                             Hardware and Software
                                                                                             Inventory (minimal)
                      XenServer                Not supported          RACADM CLI             Not supported
                                                                      IPMI CLI
                                                                      OpenManage Server
                                                                      Administrator CLI
                                                                      Power Task
Servers without       Windows/Hyper-V          Not supported          Deploy OpenManage      Not supported
OpenManage Server                                                     Server Administrator
Administrator
installed             Linux/VMware ESX         Not supported          Deploy OpenManage      Discovery
                                                                      Server Administrator   Correlation
                                                                                             Classification
                                                                                             Hardware and Software
                                                                                             Inventory (minimal)
                      VMware ESXi              Not supported          Not supported          Not supported
                      PowerEdge C              Discovery              RACADM CLI             Not supported
                                               Classification         IPMI CLI
iDRAC / DRAC / BMC                             Discovery              RACADM CLI             Not supported
                                               Classification         IPMI CLI
                                               Correlation
                                               iDRAC health
Modular Enclosure (M1000e) / PowerEdge         Not supported          RACADM CLI             Not supported
VRTX / PowerEdge FX                                                   IPMI CLI

Modular Enclosure (PowerEdge MX7000)           Not supported          RACADM CLI             Not supported

Networking W-Series Mobility Controllers and   Not supported          Not supported          Not supported
Access Points

SonicWALL firewall appliances                  Not supported          Not supported          Not supported

Networking Ethernet switches                   Not supported          Not supported          Not supported

Brocade Fibre Channel switches                 Not supported          Not supported          Not supported

VxFlex Ready Nodes                             Discovery              RACADM CLI             Not supported
                                               Classification         IPMI CLI



                                                                                                                     57
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 59 of 388


              Protocol / Mechanism                   Intelligent Platform        Command Line            Secure Shell (SSH)
                                                     Management Interface        Interface (CLI)a
                                                     (IPMI)
                                                     Correlation
                                                     iDRAC health

a)You cannot perform this task if the device is not discovered, inventoried, or both.

      NOTE: Correlation of PowerEdge FC430, FC630, or FC830 sleds under the host chassis is not supported in the following
      scenarios:

      •   The sleds are discovered using WMI protocol (in-band) and do not have OMSA installed.
      •   The sleds are discovered using IPMI protocol (out-of-band).
      •   The sleds are running ESXi and either have or do not have OMSA installed.

Supported storage devices, protocols, and features matrix
      NOTE: For description of the features listed in the following table, see Legend and Definitions.

Table 13. Supported storage devices, protocols, and features matrix

          Protocol / Mechanism             Simple Network                  Symbol                    EMC NaviSphere CLI
                                           Management Protocol
                                           (SNMP)
Storage           Dell EqualLogic          Discovery                       Not supported             Not supported
Devices                                    Classification
                                           Hardware inventory
                                           Monitoring
                                           Traps/alerts
                                           Application launch —
                                           EqualLogic console
                                                  NOTE: It is
                                                  recommended that
                                                  you discover
                                                  EqualLogic storage
                                                  arrays using the
                                                  Group Management
                                                  IP or Storage Group
                                                  IP only, and not
                                                  include any of the
                                                  member IPs in the
                                                  discovery range
                                                  configuration.

                  Dell EMC                 Discovery                       Not supported             Hardware inventory
                         NOTE: Both        Classification                                            Monitoring
                         SNMP and          Traps/Alerts                                              Application launch — EMC
                                                                                                     Navisphere Manager
                         Navisphere are
                         required for
                         complete
                         management of
                         Dell EMC
                         devices.

                  PowerVault               Traps/Alerts                    Discovery                 Not supported




58
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 60 of 388


            Protocol / Mechanism           Simple Network                Symbol                         EMC NaviSphere CLI
                                           Management Protocol
                                           (SNMP)
                                                                         Classification
                                                                         Hardware inventory
                                                                         Monitoring
                                                                         Application launch —
                                                                         Modular Disk Storage
                                                                         Manager (a)
                    Compellent             Discovery                     Not supported                  Not supported
                                           Classification
                                           Hardware inventory
                                           Monitoring
                                           Traps/alerts
                                           Application launch —
                                           Compellent console
                    Tape                   Discovery                     Not supported                  Not supported
                                           Classification
                                           Hardware inventory
                                           Monitoring
                                           Traps/alerts
                                           Application launch — Tape
                                           console

a) Requires Modular Disk Storage Manager Controller software installed on the OpenManage Essentials system.

         NOTE: Storage devices hosted by the PowerEdge M1000e chassis are not classified under the Storage node of the
         chassis until the PowerEdge M1000e chassis is inventoried.

         NOTE: When an EqualLogic group that is associated with a NAS appliance is discovered, the EqualLogic group is
         displayed in the device tree under NAS Clusters and Storage Devices → Dell EqualLogic Groups. However, the members
         of the EqualLogic group are displayed only under Dell EqualLogic Groups.


Setting up and configuring VMware ESXi 5
         NOTE: Before setting up and configuring VMware ESXi 5, ensure that you have ESXi 5 build 474610 or later. If you do not
         have the required build, download the latest build from vmware.com.
To set up and configure VMware ESXi 5:

1.   Download the latest version (7.4) of OpenManage offline bundle for ESXi from Dell.com/support.
2.   If you have enabled SSH, copy the file using WinSCP or a similar application to the /tmp folder on the ESXi 5 host.
3.   Using Putty, change permissions on the OpenManage offline bundle for ESXi file using the command chmod u+x <Dell
     OpenManage version 7.4 offline bundle for ESXi file name>.zip.

             NOTE: You can also change permissions using WinSCP.
4.   Run the following commands using:

     •     Putty — esxcli software vib install –d /tmp/<Dell OpenManage version 7.4 VIB for ESXi
           file name>.zip
     •     VMware CLI — esxcli –server <IP Address of ESXi 5 Host> software vib install –d /tmp/
           <Dell OpenManage version 7.4 VIB for ESXi file name>.zip

     The message VIBs Installed: Dell_bootbank_OpenManage_7.4-0000 is displayed.
5.   Restart the host system.
6.   After restarting, verify if OpenManage is installed by running the following commands using:



                                                                                                                             59
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 61 of 388


      •   Putty — esxcli software vib list
      •   VMware CLI — esxcli –server <IP Address of ESXi 5 Host> software vib list
7.    Configure SNMP, for hardware alerts on the ESXi 5 host, to send SNMP traps to OpenManage Essentials. SNMP is not used
      for discovery. WS-Man is required for discovery and inventory of an ESXi 5 host. To group the VMs with the ESXi host in the
      OpenManage Essentials device tree after you discover the VM, SNMP must be enabled on the ESXi host and the VM.
8.    Create a discovery range and configure WS-Man.
      For more information on setting up and configuring ESXi 5, see the How to setup and configure ESXi 5 for use in OME technical
      white paper at DellTechCenter.com/OME.


Legend and definitions
•    Discovery: Capability to discover the devices on the network.
•    Correlation: Capability to correlate:

     – CMC with servers, switches, RAC, and storage.
     – Discovered server and DRAC, iDRAC, or BMC devices.
     – Discovered modular systems or switches.
     – ESX, ESXi, or Hyper-V host and guest virtual machines.
•    Classification: Capability to classify the devices by type. For example, servers, network switches, storage, and so on.
•    Hardware Inventory: Capability to obtain detailed hardware inventory of the device.
•    Monitoring or Health: Capability to obtain health status and connection status of the device.
•    Traps, alerts, or PETs: Capability to receive SNMP traps from the device.
•    Application Launch: Provides a right-click action menu item on the discovered device to launch 1x1 console or application.
•    OpenManage Server Administrator CLI: Capability to run OpenManage Server Administrator supported commands on the
     remote (discovered) servers.
•    Deploy OpenManage Server Administrator: Capability to deploy OpenManage Server Administrator to the remote (discovered)
     servers.
•    Server Updates: Capability to deploy BIOS, firmware, and driver updates to the remote (discovered) servers.
•    RACADM CLI: Capability to run RACADM tool supported commands on the remote (discovered) devices.
•    IPMI CLI: Capability to run IPMITool supported commands on the remote (discovered) devices.
•    Switch Role: Indicates the type of the unit, such as management or stack.

Using the Discovery and Inventory Portal
To access the discovery and inventory portal, click Manage → Discovery and Inventory.




60
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 62 of 388




Figure 14. Discovery and Inventory Portal

1.    Details from the last discovery and inventory task run.
2.    Details of previously discovered and inventoried devices.
3.    Details of tasks and their status.

Protocol support matrix for discovery
The following table provides information about the supported protocols for discovering devices. The recommended protocol is
indicated by the text in italics.
Table 14. Protocol support matrix for discovery

                                                                        Protocols
      Device/       Simple Network         Web Services- Windows           Intelligent     Secure Shell       REpresentational
     Operating      Management             Management Management           Platform        (SSH)              State Transfer
      System        Protocol               (WS-Man)      Instrumentatio    Management                         (REST)
                    (SNMP)                               n (WMI)           Interface
                                                                           (IPMI)
 iDRAC6, or later Supported                Supported      N/A              Supported       Not supported      N/A

 Linux              Supported 1            N/A            N/A              N/A             Supported          N/A

 Windows            Supported 1            N/A            Supported2       N/A             N/A                N/A

 ESXi               Supported1             Supported      N/A              N/A             Not supported      N/A

 Citrix XenServer Supported 1              N/A            N/A              N/A             Supported2         N/A

 PowerEdge          Supported              Supported      N/A              N/A             Not supported      N/A
 (CMC)

 PowerEdge          Not supported          N/A            N/A              N/A             Not supported      Supported
 MX7000

 PowerEdge C*       Supported              Supported      N/A              Supported       Not supported      N/A

 Client systems     Supported3             N/A            Supported 3      N/A             N/A                N/A

 Storage devices Supported                 N/A            N/A              N/A             N/A                N/A




                                                                                                                                 61
               Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 63 of 388


                                                                        Protocols
       Device/         Simple Network   Web Services- Windows              Intelligent         Secure Shell    REpresentational
      Operating        Management       Management Management              Platform            (SSH)           State Transfer
       System          Protocol         (WS-Man)      Instrumentatio       Management                          (REST)
                       (SNMP)                         n (WMI)              Interface
                                                                           (IPMI)
    Ethernet           Supported        N/A             N/A                N/A                 N/A             N/A
    switches

* Discovery of PowerEdge C4130, PowerEdge C6320, PowerEdge C6320p and PowerEdge C6420 can be performed using the
same protocols that are used to discover any other non C-Series PowerEdge servers.
1   Supported with OpenManage Server Administrator (OMSA) installed.
2   Supported with OMSA installed; no health information without OMSA.
3   Supported with Dell Command | Monitor installed; no health information without Dell Command | Monitor.


Protocol support matrix for system update
The following table provides information about the supported protocols for the system update tasks. The recommended protocol is
indicated by the text in italics.
Table 15. Protocol support matrix for system update

                                                                        Protocols
        Device/        Simple           Web Services-    Windows            Intelligent        Secure Shell    REpresentational
       Operating       Network          Management       Management         Platform           (SSH)           State Transfer
        System         Management       (WS-Man)         Instrumentation    Management                         (REST)
                       Protocol                          (WMI)              Interface
                       (SNMP)                                               (IPMI)
    iDRAC6, or later   Not supported    Supported        N/A                N/A                N/A             N/A

    Linux              Supported 1      N/A              N/A                N/A                Supported2      N/A

    Windows            Supported 1      N/A              Supported1,2       N/A                N/A             N/A

    ESXi               Not supported    Supported 3      N/A                N/A                N/A             N/A

    Citrix XenServer Not supported      N/A              N/A                N/A                N/A             N/A

    PowerEdge          Supported4       Supported 4      N/A                N/A                N/A             N/A
    (CMC)

    PowerEdge          Not supported    N/A              N/A                N/A                Not supported   Supported
    MX7000

1   Supported with OpenManage Server Administrator (OMSA) installed.
2   Supported using the inventory collection method.
3   Supported; requires iDRAC to be discovered and updated through out-of-band channel.
4   Supported; requires the RACADM tool.


Devices not reporting Service Tag
Service Tag is not displayed in the OpenManage Essentials console for the following devices:

•     KVM
•     Dell PowerVault 132T
•     PowerVault 136T
•     PowerVault ML6000



62
              Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 64 of 388


•    Dell Networking W-Series Mobility Controllers
•    Dell SonicWALL Firewall appliances (global health status is also not available)
•    Printers
•    PDU
•    UPS

          NOTE: Due to lack of Service Tag information, the warranty information of these devices is not available.


Creating a discovery and inventory task

1.    From OpenManage Essentials, click Manage → Discovery and Inventory → Common Tasks → Add Discovery Range.
      The Discover Devices wizard is displayed. The type of wizard displayed is based on the configuration in Settings → Discovery
      Settings. See Configuring Discovery Settings.
2.    In Discovery Range Configuration:
      a. If you want to create a range group, select Save as Group, and provide the Group Name.
      b. Enter the IP address/range or the host name and subnet mask, and then click Add.
               NOTE: You can add multiple IP addresses, ranges, or host names. You can add multiple host names separated by
               a comma delimiter. For example, hostname1, hostname2, hostname3, and so on.
      c. To import host names and IP addresses, click Import. You can also import host names and IP addresses included as line
         items in .csv file. Using Microsoft Excel, you can create a .csv file containing host names or IP addresses.
               NOTE: The discovery range can be exported as a .csv file by right-clicking All Ranges or a given discovery range.
               The exported .csv file with the host names and IP addresses can be imported in the same or a different
               OpenManage Essentials instance.
      d. Click Next.
3.    If you have selected the Standard Wizard in Discovery Settings — After you have provided at least one IP address, IP range,
      host name, or a combination thereof, continue to customize the discovery and inventory options or complete the configuration
      using the default options. Clicking Finish without setting any further configurations immediately runs the discovery and
      inventory tasks by using the default SNMP and ICMP protocols. It is recommended that you review and revise your protocol
      configurations prior to clicking Finish.


      For more information about each listed protocol, click the help icon        in the appropriate protocol configuration screen.

              NOTE: When discovering ESXi-based servers, to view the guest virtual machines grouped with the host, enable and
              configure the WS-Man protocol.

              NOTE: By default, SNMP is enabled and values are assigned ICMP parameters.

              NOTE: ICMP ping is optional for OpenManage Essentials version 2.4 and later. The ICMP parameters are applied
              depending on the selection of Skip ICMP ping during discovery setting.

              NOTE: After completing any of the following steps, click either Next to continue or click Finish to complete the
              Discovery Range Configuration.

      •     In ICMP Configuration, to detect devices on the network, edit the ICMP parameters.
                  NOTE: The ICMP Configuration window is not displayed if Skip ICMP ping during discovery setting is selected
                  under Settings → Discovery Settings.
      •     In SNMP Configuration, to discover servers, provide the SNMP parameters. You can select SNMP V1/V2c or SNMP V3 for
            discovery. Ensure that the SNMP community string specified in Get Community matches the SNMP community string of
            the device or devices you want to discover using SNMP V1/V2c. For discovery and inventory of the devices using SNMP
            V3, ensure the devices are configured with same username and password, authentication protocol, and encryption protocol
            credentials, that is used when discovering the devices.
                  NOTE: If the user selects both SNMPv1/v2c and SNMPv3 options, then the discovery of devices using SNMPv3
                  takes higher priority than discovery of devices using SNMPv1/v2C. The Discovery Range Configuration Details
                  displays the discovery protocol selected for a particular discovery range.




                                                                                                                                      63
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 65 of 388


                NOTE: iDRAC supports only the default SNMP port 161. If the default SNMP port is changed, iDRAC may not
                get discovered.
     •     In WMI Configuration, to authenticate and connect to remote devices, provide the WMI parameters. The format for
           entering credentials for WMI must be domain\user name for domain-based networks or localhost\user name for non-
           domain based networks.
     •     In Storage Configuration, to discover PowerVault modular disk array or EMC devices, edit parameters.
     •     In WS-Man Configuration, to enable discovery of PowerEdge VRTX, iDRAC 6, iDRAC 7, ESXi installed servers, and VxFlex
           Ready nodes, provide WS-Man parameters.
     •     In REST Configuration, to enable discovery of MX7000 chassis, provide REST parameters. In a Multi-Chassis Management
           (MCM) group, provide the REST parameters of lead MX7000 chassis.
     •     In SSH Configuration, to enable discovery of Linux-based servers, provide SSH parameters.
     •     In IPMI Configuration, to enable server discovery, provide IPMI parameters. IPMI is typically used to discover BMC or
           iDRACs on servers. You can include the optional KG key when discovering RAC devices.
     •     In Discovery Range Action, choose to discover, inventory, or perform both tasks. The default option is to perform both
           discovery and inventory.
     •     Select Perform only discovery or Perform both discovery and inventory to run the task immediately.
     •    To schedule the task to run at a later time, select Do not perform discovery or inventory, and follow the instructions in
          Scheduling Discovery and Scheduling Inventory.
4.   If you have selected the Guided Wizard option in Discovery Settings — After you have provided at least one IP address, IP
     range, host name, or a combination thereof, click Next. The Device Type Filtering window is displayed. See Device Type
     Filtering.
     a. Select the device types that you want to discover and manage.
        The required protocols for discovering the selected devices are added to the Discover Devices wizard.
     b. Provide the configuration details for all the protocols listed in the wizard and click Next.
5.   Review your selections in the Summary screen and click Finish. To change any of the parameters in previous configuration
     screens, click Back. When complete, click Finish.

Related links
  Discovery and Inventory Portal
  Last Discovery and Inventory
  Discovered Versus Inventoried Devices
  Task Status

Changing the default SNMP port
SNMP uses the default UDP port 161 for general SNMP messages and UDP port 162 for SNMP trap messages. If these ports are
being used by another protocol or service, you can change the settings by modifying the local services file on the system.
         NOTE: This section requires Support V1/V2c Traps to be selected in the SNMP Listener Settings under Settings → Alert
         Settings.
To configure the managed node and OpenManage Essentials to use a non-default SNMP port:

1.   In both the management station and managed node, go to C:\Windows\System32\drivers\etc.
2.   Open the Windows SNMP services file using Notepad and edit the following:

     •     Incoming SNMP trap port (receiving alerts in OpenManage Essentials) — Modify the port number in the line, snmptrap
           162/udp snmp-trap #SNMP trap. Restart the SNMP trap service and SNMP service after making the change. On
           the management station, restart the DSM Essentials Network Monitor service.
     •  Outgoing SNMP requests (Discovery/inventory in OpenManage Essentials) — Modify the port number in the line snmp
        161/udp #SNMP. Restart the SNMP service after making the change. On the management station, restart the DSM
        Essentials Network Monitor service.
3.   Outgoing trap port — In OpenManage Essentials trap forwarding alert action, specify the <<trap destination address: port
     number>> in the Destination field.

         NOTE: If you have previously configured IP security to encrypt SNMP messages on the default ports, update the IP
         security policy with the new port settings.



64
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 66 of 388



Discovering and inventorying devices by using WS-Man or REST protocol with a root
certificate
Before you begin, ensure that the root CA server, OpenManage Essentials management server, and WS-Man or REST target(s) are
able to ping each other by hostname.
To discover and inventory Dell EMC devices by using the WS-Man or REST protocol with a root certificate:

1.   Open the web console of the target device—iDRAC, CMC, or OpenManage Enterprise Modular (OME - Modular).
2.   Generate a new certificate signing request file:
     a. For iDRAC or CMC, click Network and click SSL.
        For OME - Modular, click Application Settings → Security → Certificates.
     b. Select Generate a New Certificate Signing Request (CSR) and click Next.
        The Generate Certificate Signing Request (CSR) page is displayed.
     c. If applicable, type the appropriate information in the required fields. Ensure that the Common Name is the same as the host
        name used to access the web console of the device, and then click Generate.
     d. When prompted, save the request.csr file.
3.   Open the Microsoft Active Directory Certificate Services – root CA web server: http://signingserver/certsrv.
4.   Under Select a task, click Request a certificate.
     The Request a Certificate page is displayed.
5.   Click advanced certificate request.
     The Advanced Certificate Request page is displayed.
6.   Click Submit a certificate request by using a base-64-encoded CMC or PKCS #10 file, or submit a renewal request by
     using a base-64-encoded PKCS #7 file.
7.   Using a text editor, open the certificate signing request (.csr or .txt) file you saved in step 2 d.
8.   Copy the contents from the certificate signing request file and paste it in the Saved Request field.
9.   In the Certificate Template list, select Web Server, and click Submit.
     The Certificate Issued page is displayed.
10. Click Base 64 encoded, and then click Download certificate.
11. When prompted, save the certnew.cer file.
12. Open the web console of the target device—iDRAC, CMC, or OpenManage Enterprise Modular (OME - Modular).
13. For iDRAC or CMC, click Network and click SSL.
     For OME - Modular, click Application Settings → Security → Certificates.
14. To upload the certificate:

     •   For iDRAC or CMC, select Upload Server Certificate Based on Generated CSR and click Next.
    • For OME - Modular, click Upload and click Next.
15. Click Browse, select the certnew.cer file you saved in step 11, and then click Apply.
16. Install the RootCA signed certificate (newcert.cer) as Trusted Root Certificate Authorities in the OpenManage Essentials
    management server:
           NOTE: Ensure that the certificate file you want to install is a Base64 encoded certificate file issued by root CA.

     a. Right-click the certnew.cer file, and click Install Certificate.
        The Certificate Import Wizard is displayed.
     b. Select Local Machine as the store location, and then click Next.
     c. Select Place all certificates in the following store and click Browse.
        The Select Certificate Store dialog box is displayed.
     d. Select Trusted Root Certification Authorities, and click OK.
     e. Click Next.
     f. Click Finish.
         The Security Warning dialog box is displayed.




                                                                                                                                65
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 67 of 388


     g. Click Yes.
17. Close the web browser and open the web console of the target device in a new browser window.
18. Discover and inventory the WS-Man target(s), in OpenManage Essentials using the newcert.cer RootCA signed certificate file.


Discovering a chassis and its components by using Guided Wizard
When you discover a chassis using the Chassis (CMC) Discovery — All Components device type filter within the Guided Wizard,
OpenManage Essentials automatically discovers the components in the chassis (blade servers and IOA switches). To discover the
chassis and its components, you must provide the hostname or IP address and the WS-Man credentials of the chassis.
By default, the blade servers (iDRACs) in the chassis are discovered using the WS-Man credentials you provide for the chassis. If the
credentials of the chassis and the iDRACs are not the same, you can provide an alternate WS-Man credentials for discovering the
iDRACs.
      NOTE: If required, you can use the Guided Wizard to only discover the chassis.

      NOTE: Automatic discovery of the blade servers in a chassis is supported only for Dell's 11th or later generation of
      PowerEdge servers (iDRAC 6 or later).
      NOTE: For discovering a PowerEdge M1000e chassis and its components, ensure that CMC firmware version 5.0 or later
      is installed. If the firmware installed is prior to version 5.0, you must discover the chassis and its components individually
      using the Standard Wizard.
      NOTE: Automatic discovery of IOA switches is supported only if chassis firmware version 5.1 or later is installed on
      PowerEdge M1000e and chassis firmware version 1.3 or later is installed on PowerEdge FX2/FX2s.
      NOTE: To discover MX7000 chassis, you must provide the REST credentials. In a Multi-Chassis Management (MCM)
      group, provide the REST parameters of lead MX7000 chassis.
      NOTE: During the discovery of MX7000 chassis, if Secure Mode is not selected under REST Configuration Options then
      OpenManage Essentials ignores the following certificate errors:

      •   Common name errors
      •   Untrusted certificate authority errors
      •   Revocation errors

      However, other certificate errors are not ignored by OpenManage Essentials.
To discover a chassis and its components by using Guided Wizard:

1.   Click Manage → Discovery and Inventory.
     The Discovery and Inventory Portal wizard is displayed.
2.   Under Common Tasks, click Add Discovery Range.
     The Discovery Range Configuration page of the Discovery Devices wizard is displayed.
3.   Select the Save as Group option and enter a name for the group.
           NOTE: When discovering a chassis by using the guided wizard, you must save the discovery range as a group.
4.   Enter the hostname or IP address of the chassis and click Add.
     In a Multi-Chassis Management (MCM) group, provide the hostname or IP address of lead MX7000 chassis.
5.   Click Next.
     The Device Type Filtering page is displayed.
6.   Select Chassis (CMC) Discovery - All Components and click Next.
           NOTE: To discover the MX7000 chassis, you must select MX Chassis Discovery - All Components.

     The ICMP Configuration page is displayed.
7.   If required, change the timeout and retries values based on your preference.
8.   Click Next.
     If you select MX Chassis Discovery - All Components, the REST Configuration page is displayed.




66
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 68 of 388


9.   Select Enable REST discovery and enter the MX7000 chassis credentials.
10. If required, change the timeout, retries and port values based on your preference, and then click Next.
     The WS-Man Configuration page is displayed.
11. Select Enable WS-Man discovery and enter the chassis credentials.
12. If required, change the timeout, retries, and port values based on your preference, and then click Next.
13. If you want to disable auto discovery of the chassis components or if you want to enter alternate credentials for discovering the
    iDRACs, click Alternate WS-Man Configuration for iDRACs.

     •   To disable the auto discovery of iDRACs and switches, clear the Auto discover iDRACs and switches in the CMC option.
     •   To provide alternate credentials for discovering the iDRACs, clear the Use same credentials of CMC for discovering
         iDRACs option, and enter the iDRAC username and password.

           NOTE: If you have selected MX Chassis Discovery - All Components only in the Device Type Filtering page, enter the
           WS-Man credentials to discover the chassis components.
14. Click Next.
     The Summary page is displayed.
15. Review the protocol configurations and click Finish.
     A job is initiated to discover the chassis and its components (iDRACs and IOA switches).


Excluding ranges
Configure exclude ranges to prevent servers from being discovered or rediscovered, or limit the number of devices displayed in the
device tree.
To exclude a range from discovery task:

1.   From OpenManage Essentials, select Manage → Discovery and Inventory → Common Tasks → Add Exclude Range.
2.   In Exclude Range Configuration, provide IP address/range, discovery range name or host name, and click Add.
3.   Click Finish.

Related links
  Discovery and Inventory Portal
  Last Discovery and Inventory
  Discovered Versus Inventoried Devices
  Task Status


Viewing configured discovery and inventory ranges
From OpenManage Essentials, click Manage → Discovery and Inventory → Discovery Ranges → All Ranges.
Related links
  Discovery and Inventory Portal
  Last Discovery and Inventory
  Discovered Versus Inventoried Devices
  Task Status


Scheduling discovery
1.   Click Manage → Discovery and Inventory → Common Tasks → Discovery Schedule.
2.   In Discovery Schedule Settings:

     •   Select the desired schedule parameters.
     •   (Optional) You may adjust the task speed slider for faster task execution; however, more system resources are consumed if
         the speed is increased.
     •   Discover all instrumented devices.



                                                                                                                                     67
              Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 69 of 388


          NOTE: It is recommended not to schedule the discovery task at the same time as the Database Maintenance Execution
          Schedule, as the console is less responsive during database maintenance.
Related links
  Discovery and Inventory Portal
  Last Discovery and Inventory
  Discovered Versus Inventoried Devices
  Task Status

Discovery Speed Slider
This control, also known as the discovery throttle, controls how fast discovery occurs and how much network and system resources
are consumed for discovery by controlling the:

•    Number of discovery threads that are allowed to run at any point of time.
•    Delay in between the communicating devices during a network ping sweep, in milliseconds.

          NOTE: Each tick on the throttle control equals 10% and the range is from 10% to 100%. By default, in OpenManage
          Essentials, the discovery throttle is set at 60%. After an upgrade from IT Assistant, the throttle control remains at its
          previously set value.

Multithreading
OpenManage Essentials improves upon the optimized parallel threading implementation in the Network Monitoring Service
introduced in IT Assistant.
As the discovery process is I/O intensive, you can optimize the process by making it a parallel operation, where threads running in
parallel (known as multi-threading) send requests and handle responses to several devices simultaneously.
The more threads that run in parallel, each communicating to a different device, the faster is the discovery; barring overall high
network congestion or latency. The discovery process, by default, allows a maximum of 32 threads to run in parallel (or concurrently)
at any one time for discovery.
To control the number of parallel threads executing, move the discovery throttle control either left or right. When set at the
maximum, 32 parallel threads are allowed to run. If the throttle is at 50%, only 16 threads are allowed to run at any one time.
As the discovery service is optimized for parallel threading operations, the system can utilize more system resources even at the
same throttle setting. It is recommended that you monitor the system resources so that a satisfactory trade-off is made between
discovery speed versus system resources available for OpenManage Essentials. Lowering or increasing the throttle depends on the
system it is running on and the available resources. Note that the discovery service may take up to several minutes to adjust to a
new throttle setting.
          NOTE: For minimal discovery times on medium to large size networks (several hundred to several thousand devices), it is
          recommended that you install OpenManage Essentials services on a multi-processor system.


Scheduling inventory
1.    Click Manage → Discovery and Inventory → Common Tasks → Inventory Schedule.
2.    In Inventory Polling Configuration Settings, perform the following:

      •     Select Enable Inventory.
      •     Select the desired schedule parameters.
      •     (Optional) You may adjust the Inventory Polling Speed slider for faster task execution; however, more system resources are
            consumed.

          NOTE: It is recommended not to schedule the inventory task at the same time as the Database Maintenance Execution
          Schedule, as the console is less responsive during database maintenance.




68
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 70 of 388


Related links
  Discovery and Inventory Portal
  Last Discovery and Inventory
  Discovered Versus Inventoried Devices
  Task Status


Configuring status polling frequency
You can configure OpenManage Essentials to check the health status of all discovered devices that have a means of health
instrumentation such as OpenManage Server Administrator. The status can be scheduled at a given interval using Status Polling so
that health status is always current.
To configure status polling:

1.    Click Manage → Discovery and Inventory → Common Tasks → Status Schedule.
2.    In Status Polling Schedule Settings, select Enable Status Polling and provide the polling parameters including time and
      performance.
3.    Click OK.

       NOTE: It is recommended not to schedule status polling at the same time as the Database Maintenance Execution
       Schedule, as the console is less responsive during database maintenance.
Related links
  Discovery and Inventory Portal
  Last Discovery and Inventory
  Discovered Versus Inventoried Devices
  Task Status


Task pop-up notifications
The task pop-up notification is displayed in the bottom-right corner of the OpenManage Essentials console when a task is
completed. The information displayed in the task pop-up notification varies based on the number of completed tasks.
       NOTE: The task pop-up notification is displayed only for tasks that create a Task Execution History.

If only one task is completed, the following information is displayed:

•    Status of the task — Indicates if the task was successful or unsuccessful.
•    Task name as a link that you can click to view the Task Execution Details (if available).
•    A link to open the portal related to the task.
•    A link to access the task pop-up notification settings where you can disable task pop-up notifications.

If more than one alert is received, the following information is displayed:

•    Number of tasks that are completed.
•    Task names as links that you can click to view the Task Execution Details (if available).
           NOTE: The task name link is displayed only for the first three tasks.

•    Go to Alert Console — To access the Alerts portal.
•    Disable — To access the task pop-up notification settings.

By default, the alert pop-up notification is enabled. You can configure OpenManage Essentials to disable alert pop-up notifications or
set the time interval between each alert pop-up notification.

       NOTE: The Alert Pop-up Notification Settings is user-specific. The settings you have configured is not applicable to
       other users.




                                                                                                                                   69
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 71 of 388



Configuring task pop-up notifications
1.   Click Settings → Task Notification Settings.
     The Task Notification Settings page is displayed.
2.   Under Task Popup Notification Settings, select or clear Enable Task Popup Notifications to enable or disable task pop-up
     notifications.
3.   In the seconds between popup notifications box, select the time interval between each pop-up notification.
4.   Click Apply.

Enabling or disabling task pop-up notifications
         NOTE: To quickly disable alert pop-up notifications, click the Disable link displayed in the task pop-up notification. When
         the Disable Task Popup Notifications prompt is displayed, click Yes.
To enable or disable task pop-up notifications:

1.   Click Settings → Task Notification Settings.
     The Task Notification Settings page is displayed.
2.   In Task Popup Notification Settings:

     •     Select the Enable Alert Popup Notifications option to enable task pop-up notifications.
     •     Clear the Enable Alert Popup Notifications option to disable task pop-up notifications.
3.   Click Apply.




70
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 72 of 388




                                                                                                                                   6
Discovery And Inventory — Reference
From the Discovery and Inventory portal page, you can:

•   View graphical reports on devices and servers discovered and inventoried.
•   Manage discovery ranges for devices and servers.
•   Configure discovery, inventory, and status polling for devices and servers.

Discovery and Inventory Portal Page Options
•   Discovery Portal
•   Common Tasks

    – Add Discovery Range
    – Add Exclude Range
    – Discovery Schedule
    – Inventory Schedule
    – Status Schedule
•   Discovery Ranges
•   Exclude Ranges

Discovery and Inventory Portal
The Discovery and Inventory Portal provides information about the:

•   Last discovery and inventory details
•   Discovered versus inventoried devices
•   Task status

Related links
  Creating a discovery and inventory task
  Viewing configured discovery and inventory ranges
  Excluding ranges
  Scheduling discovery
  Scheduling inventory
  Configuring status polling frequency
  Last Discovery and Inventory
  Discovered Versus Inventoried Devices
  Task Status

Last Discovery and Inventory
Table 16. Last Discovery and Inventory

Field                                                                Description
Last Discovery Details
Discovery Last Run at                                                Displays the time and date information for the last run discovery.



                                                                                                                                      71
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 73 of 388


Field                                                                  Description
Discovery Range                                                        Displays the IP Address range or host name.
Devices Discovered                                                     Displays information on number of devices discovered.
Last Inventory Details
Inventory Last Run at                                                  Displays the time and date information for the last run inventory.
Inventory Range                                                        Displays the IP Address range or host name.
Devices Inventoried                                                    Displays information on number of devices inventoried.

Related links
  Creating a discovery and inventory task
  Viewing configured discovery and inventory ranges
  Excluding ranges
  Scheduling discovery
  Scheduling inventory
  Configuring status polling frequency
  Discovery and Inventory Portal

Discovered Versus Inventoried Devices
The graph displays the number of devices and servers discovered or inventoried. You can use this report to ascertain the discovered
devices and servers that are unclassified. For more information on the filter options for the summary information, see Viewing Device
Summary.
Click any section of the graph to view the Device Summary for the selected region. In the device summary, double-click a row to
view the details (inventory view for that device). Alternatively, right-click and select details for the inventory view or right-click and
select alerts for the alerts specific to that device.
Table 17. Discovered Versus Inventoried Devices

Field                                                                  Description
Filter by                                                              Select to filter the search results using the following options:

                                                                       •   All
                                                                       •   Ranges — Select to filter based on the selected range.


Related links
  Creating a discovery and inventory task
  Viewing configured discovery and inventory ranges
  Excluding ranges
  Scheduling discovery
  Scheduling inventory
  Configuring status polling frequency
  Discovery and Inventory Portal

Task Status
The grid provides a list of currently executing and previously run tasks and their status. The Task Status grid on this page shows the
status of just discovery, inventory, and tasks. However, the main portal shows all types of task statuses.




72
              Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 74 of 388


Related links
  Creating a discovery and inventory task
  Viewing configured discovery and inventory ranges
  Excluding ranges
  Scheduling discovery
  Scheduling inventory
  Configuring status polling frequency
  Discovery and Inventory Portal


Viewing Device Summary

1.   In OpenManage Essentials, click Manage → Discovery and Inventory → Discovery Portal → Discovery Portal.
2.   In Discovered vs. Inventoried Devices graphical report, click the bar representing the discovered or inventoried device to open
     the Device Summary page that displays the selected graph details.
3.   (Optional) Click the funnel icon to filter the summary information.
     The filter options are displayed. See Viewing Device Summary Filter Options.
4.   (Optional) Click Filter to view the filtered summary information.
5.   (Optional) Click Clear Filter to remove the filtered summary information.
6.   Right-click a device summary and select from the available options. See Device Status.

Viewing Device Summary Filter Options
Table 18. Viewing Device Summary Filter Options

 Field                                                               Description
 Select All                                                          Select to filter per line item.
 Select options, devices, or servers.                                Select to filter based on options, devices, or servers.
 Filter options                                                      Create filter with these options:

                                                                     •     Is equal to— Select to create the same as logic.
                                                                     •     Is not equal to — Select to create the different from logic.
                                                                     •     Is Less than— Select to find a value that is less than the
                                                                           value you provide.
                                                                     •     Is less than or equal to— Select to find a value that is less
                                                                           than or equal to the value you provide.
                                                                     •     Is greater than or equal to— Select to find a value that is
                                                                           greater than or equal to the value you provide.
                                                                     •     Is greater than— Select to find a value that is greater than
                                                                           the value you provide.

                                                                     Health Status options:

                                                                     •     Unknown
                                                                     •     Normal
                                                                     •     Warning
                                                                     •     Critical

                                                                     Connection Status options:

                                                                     •     On
                                                                     •     Off




                                                                                                                                       73
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 75 of 388



Add Discovery Range
1.   Click Manage → Discovery and Inventory → Common Tasks.
2.   Click Add Discovery Range. For more information, see Creating a Discovery and Inventory Task.
3.   Provide information for the appropriate protocols for discovery, inventory, or for both:

     •   Discovery Range Configuration
     •   Device Type Filtering
     •   ICMP Configuration
     •   SNMP Configuration
     •   WMI Configuration
     •   Storage Configuration
     •   REST Configuration
     •   WS-Man Configuration
     •   SSH Configuration
     •   IPMI Configuration
     •   Discovery Range Action
     •   Summary

Discovery Configuration
A discovery range is a network segment registered in OpenManage Essentials for the purpose of discovering devices. OpenManage
Essentials attempts to discover devices on all registered discovery ranges that are enabled. A discovery range includes subnet, a
range of IP addresses on a subnet, an individual IP address, or an individual host name. Specify the IP address, IP address range, or
host name for the discovery process. For more information, see Discovery Configuration Options.

Discovery Configuration Options
Table 19. Discovery Configuration Options

 Field                                                               Description
 Save as Group                                                       Select this option to save the discovery range as a group.
 Group Name                                                          Specifies the group name for the discovery range.
 IP address / range                                                  Specifies the IP address or IP address range.
                                                                     The following are examples of valid discovery range type
                                                                     address specifications (* is the wildcard character, meaning all
                                                                     possible addresses in the specified range):

                                                                     •   193.109.112.*
                                                                     •   193.104.20-40.*
                                                                     •   192.168.*.*
                                                                     •   192.168.2-51.3-91
                                                                     •   193.109.112.45-99
                                                                     •   System IP address—193.109.112.99

                                                                           NOTE: Click Add to add multiple ranges of IP addresses.
                                                                           IPV6 addresses are not supported.

 Discovery Range Name                                                Specifies the discovery range name for the IP address/range.
 Host name                                                           Specifies the host name, for example,
                                                                     mynode.mycompany.com.




74
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 76 of 388


Field                                                               Description
                                                                    Click Add to add multiple host names.
                                                                          NOTE: You can add multiple host names by separating
                                                                          them using commas.

                                                                          NOTE: Invalid characters in the host name are not
                                                                          checked. If the host name you provide contains invalid
                                                                          characters, the name is accepted. However, the device
                                                                          is not found during the discovery cycle.

Subnet mask                                                         Specifies the subnet mask for the IP address range. The subnet
                                                                    mask is used to determine the broadcast addresses for the
                                                                    subnet(s) part of the range. The OpenManage Essentials
                                                                    Network Monitoring Service does not use the broadcast
                                                                    address when discovering devices in an IP address range. The
                                                                    following are examples of valid subnet mask specifications:

                                                                    •   255.255.255.0 (The default subnet mask for a Class C
                                                                        network.)
                                                                    •   255.255.0.0 (The default subnet mask for a Class B
                                                                        network.)
                                                                    •   255.255.242.0 (A custom subnet mask specification.)

                                                                    By default, the subnet mask is set to 255.255.255.0.
Import                                                              Select this option to import host names and IP addresses from a
                                                                    file that is in CSV format. However, you can import only 500 line
                                                                    items per task. You can import different discovery ranges with
                                                                    different subnet masks. For example, 192.168.10.10,
                                                                    255.255.255.128, 10.10.1.1, 255.255.0.0, and 172.16.21.1,
                                                                    255.255.128.0.
                                                                    You can use an Active Directory export file in a.CSV format as
                                                                    input. You can also create a .CSV file in a spreadsheet editor
                                                                    using the header Name and filling in system IP addresses or host
                                                                    names in the rows below the header (one per cell). Save the file
                                                                    in a .CSV format and use it as the input with the import feature.
                                                                    If there are any invalid entries in the file, a message is displayed
                                                                    when the data is imported by OpenManage Essentials. For an
                                                                    example of a CSV file, see Specifying IPs, Ranges, or Host
                                                                    Names.


Device Type Filtering
The Device Type Filtering options are displayed in the Discover Devices wizard, if Guided Wizard is selected in Discovery Settings.
This window enables you to select device types for discovery. After the device types are selected, the required protocols for
discovering and managing the selected device types are added to the Discover Devices wizard. For example, if you select ESXi
Host, SNMP Configuration and WS-Man Configuration options are added to the wizard. The following table describes the fields
displayed in the Device Type Filtering window.

        NOTE: The device range that was discovered in the earlier version of OpenManage Essentials may have discovered both
        chassis and iDRAC using WS-Man protocol. In OpenManage Essentials version 2.5, if Discover the selected Device Types
        only option is enabled in Discovery settings, then only the specific device selected in the guided wizard will be discovered
        and other devices are classified as unknown devices. For example: Selecting iDRAC device type with WS-Man protocol
        will discover only iDRAC devices using WS-Man protocol.




                                                                                                                                      75
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 77 of 388


Table 20. Device Type Filtering

Field                                                                Description
Device Type                                                          Displays the device types that you can select to discover and
                                                                     manage.

Required Protocol                                                    Displays the protocols that are required to discover and manage
                                                                     the selected device types.


ICMP Configuration
ICMP is used to by discovery engine to determine whether or not any device has a specified IP address. The discovery engine sends
out a request and waits until the 'timeout' period to receive a reply. If a device is busy doing other things, it may not reply to an ICMP
request as quickly as it would under low-load conditions. If no device has been assigned to the IP address being tested by the
discovery engine, there will be no response at all. If no reply is received within the 'timeout' period, the discovery engine will repeat
the request up to 'Retries' times (waiting, each time, for the 'timeout' period to expire). See ICMP Configuration Options to configure
the ICMP parameters.
        NOTE: ICMP ping is optional in OpenManage Essentials version 2.5. ICMP Configuration is displayed based on the
        selection of Skip ICMP ping during discovery under Settings → Discovery Settings → Skip ICMP ping during discovery.


For more information, click the help (       ) icon.

ICMP Configuration Options
Table 21. ICMP Configuration Options

Field                                                                Description
Timeout (milliseconds)                                               Specifies the maximum number of milliseconds the discovery
                                                                     engine waits for a reply after issuing an ICMP request. The
                                                                     default timeout period is 1000 milliseconds. A higher value allows
                                                                     more time to receive responses from busy devices, but also
                                                                     means more wait time if there is no device with a specified IP
                                                                     address.
Retries (attempts)                                                   Specifies the maximum number of additional times that the
                                                                     discovery engine will send an ICMP request if the first request
                                                                     times out. A device may have been too busy to respond to an
                                                                     earlier ICMP request, but may be able to respond to a
                                                                     subsequent request. If there is no device with the IP address
                                                                     being used, retries will also timeout, so the retry count should be
                                                                     a small number. The default value is 1.


SNMP Configuration
SNMP provides an interface to manage devices on the network such as servers, storage, switches, and so on. The SNMP agent on
the device allows OpenManage Essentials to query the health and inventory data of the device. See SNMP Configuration Options to
discover and inventory servers, storage devices, and other network devices.


For more information, click the help icon        .




76
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 78 of 388



SNMP Configuration Options
Table 22. SNMP Configuration Options

Field                                       Description
Enable SNMP discovery                       Enables or disables the SNMP protocol for discovery range
                                            (subnet).
Enable SNMP V1/V2c
Get community                               Specifies the community name for SNMP get calls from the
                                            OpenManage Essentials user interface. The Get Community is a
                                            read-only password that SNMP agents installed on managed
                                            devices use for authentication. The Get Community allows
                                            OpenManage Essentials to browse and retrieve SNMP data.
                                            This field is case-sensitive. OpenManage Essentials uses the
                                            first successful community name to communicate with the
                                            device. You can enter multiple SNMP community strings
                                            separated with commas. For more information, see Configuring
                                            SNMP Services on Windows.
Set community                               Specifies the community name for SNMP set calls from the
                                            OpenManage Essentials UI. The Set community is a read-write
                                            password that SNMP agents installed on managed devices use
                                            for authentication. The Set community allows OpenManage
                                            Essentials to perform tasks that require the SNMP protocol,
                                            such as shutting down a system.
                                            This field is case-sensitive. You can enter multiple SNMP
                                            community strings separated with commas. OpenManage
                                            Essentials uses the first successful community name to
                                            communicate with the device.
                                                  NOTE: In addition to the Set community name, an
                                                  instrumentation password is required to perform an
                                                  SNMP task on a device.

Enable SNMP V3
Authentication Protocol                     Specifies the authentication protocol for the discovery of the
                                            devices. The supported authentication protocols are MD5 and
                                            SHA1. The device must be configured using the same
                                            authentication protocol for the discovery to be successful. If the
                                            authentication protocol is selected to be none, then the
                                            encryption option is also disabled.
User Name                                   Specifies the username configured on the device.
Authentication Password                     Specifies the authentication password.
Encryption Protocol                         Specifies the encryption protocol for the discovery of the
                                            devices and is optional. The supported encryption protocols are
                                            AES and DES. The device must be configured using the same
                                            encryption protocol for the discovery to be successful.
Encryption Password                         Specifies the authentication password.
Generic Settings
Timeout (seconds)                           Specifies the maximum number of seconds the discovery engine
                                            waits after issuing a get or set call before it considers the call
                                            failed. A valid range is 1–15 seconds. The default is 4 seconds.
Retries (attempts)                          Specifies the maximum number of additional times the discovery
                                            engine reissues a get or set call after the first call times out. The
                                            discovery engine reissues the call until it is successful, or all retry




                                                                                                                 77
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 79 of 388


Field                                                              Description
                                                                   attempts have timed out. A valid range is 1–10 retries. The
                                                                   default is 2.


WMI Configuration
Use the WMI protocol for collection data about discovery, inventory, and health information of Windows servers. This protocol
provides less information about devices than SNMP but is useful if SNMP is disabled on the network. See WMI Configuration
Options to configure WMI parameters for Windows servers only.

WMI Configuration Options
Table 23. WMI Configuration Options

Field                                                              Description
Enable WMI discovery                                               Select to enable WMI discovery.
Domain \ User name                                                 Provide the domain and user name.
Password                                                           Provide the password.


Storage Configuration
Enabling discovery of PowerVault MD or Dell EMC arrays allows OpenManage Essentials to collect data about inventory and health
information about the arrays. See Storage Configuration Options to discover PowerVault MD arrays or Dell EMC devices.

Storage Configuration Options
Table 24. Storage Configuration Options

Field                                                              Description
Enable PowerVault MD array discovery                               Select to discover PowerVault MD array. This discovery
                                                                   configuration does not require credentials.
Enable Dell EMC array discovery                                    Select to discover Dell EMC array.
Dell EMC user name                                                 Provide the user name.
Dell EMC password                                                  Provide the password.
Dell EMC port                                                      Increment or decrement the port number. Enter a TCP/IP port
                                                                   number ranging 1 to 65535. Default value is 443.


WS-Man Configuration
Use the WS-Man protocol to discover and collect data about inventory and health status for the iDRAC, ESXi based servers,
PowerEdge VRTX, PowerEdge FX devices,and VxFlex Ready Nodes. For more information, see WS-Man Configuration Options.
        NOTE: You can only discover and inventory servers with iDRAC6 version 1.3 and later. Discovery and inventory of servers
        is not supported for iDRAC6 version 1.25 and earlier.




78
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 80 of 388



WS-Man Configuration Options
Table 25. WS-Man Configuration Options

Field                                                             Description
Enable WS-Man Discovery                                           Select to discover PowerEdge FX, PowerEdge VRTX, iDRAC6,
                                                                  iDRAC7, iDRAC8, and ESXi installed devices.
User ID                                                           Provide authenticated user ID.
Password                                                          Provide password.
Timeout (seconds)                                                 Enter a number to indicate the time that the discovery engine
                                                                  must wait for before timing out after requesting for a WS-Man
                                                                  connection. The valid range is from 1 to 360 seconds. The
                                                                  default time is 15 seconds.
Retries (attempts)                                                By default, four attempts. If the first request times out, indicates
                                                                  the maximum number of repeated attempts that the discovery
                                                                  engine will make by resending a WS-Man connection request to
                                                                  a device. Valid range is 1–10 attempts.
Port                                                              Provide the port information. The default port number is 623.
Secure Mode                                                       Select to securely discover devices and components.
Skip Common name check                                            Select to skip common name check.
Trusted Site                                                      Select if the devices you are discovering is a trusted device.
Certificate file                                                  Click Browse to navigate to the file location.

Alternate WS-Man Configuration for iDRACs (Guided Wizard only)
Table 26. Alternate WS-Man Configuration for iDRACs (Guided Wizard only)

Field                                                             Description
Auto discover iDRACs and switches in the CMC                      •   Select to automatically discover the iDRACs and switches in
                                                                      the CMC while discovering the chassis.
                                                                  •   Clear to disable the automatic discovery of the iDRACs and
                                                                      switches in the CMC. Only the chassis is discovered.

Use same credentials of CMC for discovering iDRACs                •   Select to discover the iDRACs in the CMC using the
                                                                      credentials you provided for the CMC.
                                                                  •   Clear to provide different credentials for discovering the
                                                                      iDRACs in the chassis.


REST configuration
Use the REST protocol to discover and collect data about inventory and health status of the MX7000 chassis. In an MCM group,
enter the REST credentials of the lead MX7000 chassis during discovery. After the discovery, inventory and health status of lead
chassis, member chassis, compute sleds, and storage in the MCM group are gathered. The compute sleds in the MX7000 chassis
are discovered using the WS-Man protocol. See WS-Man Configuration.




                                                                                                                                    79
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 81 of 388



REST configuration options
        NOTE: During the discovery of MX7000 chassis, if Secure Mode is not selected under REST Configuration Options then
        OpenManage Essentials ignores the following certificate errors:

        •   Common name errors
        •   Untrusted certificate authority errors
        •   Revocation errors

        However, other certificate errors are not ignored by OpenManage Essentials.
Table 27. REST configuration Options

Field                                                            Description
Enable REST Discovery                                            Select to discover the MX7000 chassis.
User ID                                                          Enter an authenticated user ID.
Password                                                         Enter the chassis password.
Timeout (seconds)                                                Enter a number to indicate the time that the discovery engine
                                                                 must wait for before timing out after requesting for a REST
                                                                 connection. The valid range is from 1 to 360 seconds. The
                                                                 default time is 15 seconds.
Retries (attempts)                                               By default, four attempts. If the first request times out, indicates
                                                                 the maximum number of repeated attempts that the discovery
                                                                 engine makes by resending a REST connection request to a
                                                                 device. Valid range is 1–10 attempts.
Port                                                             Enter the port information. The default port number is 443.
Secure Mode                                                      Select to securely discover devices and components.


SSH Configuration
Use the SSH protocol to discover and inventory servers running Linux. See SSH Configuration Options to configure the SSH
configuration parameters.

SSH Configuration Options
Table 28. SSH Configuration Options

Field                                                            Description
Enable SSH discovery                                             Enables or disables the SSH protocol by discovery range.
User name                                                        Enter the username.
Password                                                         Enter the password.
Port                                                             Specifies the port information. The default port number is 22.
Retries (attempts)                                               By default, three attempts. If the first request times out,
                                                                 indicates the maximum number of repeated attempts that the
                                                                 discovery engine makes by resending an SSH connection
                                                                 request to a device. Valid range is 1–10 attempts.
Timeout (seconds)                                                Enter a number to indicate the time that the discovery engine
                                                                 must wait for before timing out after requesting for an SSH
                                                                 connection. The valid range is from 1 to 360 seconds. The
                                                                 default time is 3 seconds.




80
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 82 of 388



IPMI Configuration
Use the IPMI protocol for out of band discovery of RACs, DRACs, and iDRACs. This option is for Lifecycle controller enabled
discovery and inventory. Ensure that the IP address of the DRAC and iDRAC is selected. See IPMI Configuration Options to
configure the IPMI version 2.0 parameters. This configuration is required for discovery.

IPMI Configuration Options
Table 29. IPMI Configuration Options

Field                                                             Description
Enable IPMI Discovery                                             Enables or disables the IPMI protocol by discovery range.
User name                                                         Enter the Baseboard Management Controller (BMC) or DRAC
                                                                  user name.
                                                                        NOTE: The default user name is root. It is recommended
                                                                        that you change it for security.

Password                                                          Enter the BMC or DRAC password.
                                                                        NOTE: The default password is calvin. It is
                                                                        recommended that you change it for security.

KG Key                                                            Enter the KG key value. DRAC also supports IPMI KG key value.
                                                                  Each BMC or DRAC is configured to require an access key in
                                                                  addition to user credentials.
                                                                        NOTE: The KG key is a public key that is used to
                                                                        generate an encryption key for use between the
                                                                        firmware and the application. The KG key value is an
                                                                        even number of hexadecimal characters.

Timeout (seconds)                                                 Enter a number to indicate the time that the discovery engine
                                                                  waits after sending an IPMI request. The valid range is from 1 to
                                                                  60 seconds. The default time is 5 seconds.
Retries (attempts)                                                By default, one attempt. If the first call times out, indicates the
                                                                  maximum number of repeated attempts that the discovery
                                                                  engine makes by resending an IPMI request to a device. Valid
                                                                  range is 0–10 attempts.

        NOTE: The retries and time-out parameters are used for both the Remote Management Control Protocol (RMCP) ping
        and the IPMI connection.


Discovery Range Action
Select these options to discover or inventory devices, components, and servers.
Table 30. Discovery Range Action

Field                                                             Description
Do not perform discovery or inventory                             Select this option to set up a schedule to perform discovery and
                                                                  inventory (at a later time).
Perform only discovery                                            Select this option to perform discovery.
Perform both discovery and inventory                              Select this option to perform both discovery and inventory.




                                                                                                                                        81
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 83 of 388



Summary
View the configuration selections. To change configurations, click Back.


Add Exclude Range
From OpenManage Essentials, select Manage → Discovery and Inventory → Common Tasks → Add Exclude Range. Register new
ranges to exclude from discovery or to remove a previously set exclude range.
You can also right-click Exclude Ranges and select Add Exclude Range.

Add Exclude Range Options
Table 31. Add Exclude Range Options

Field                                                               Description
IP address / range                                                  Register a device to exclude from the discovery process by
                                                                    specifying the IP address or IP address range of the device.
                                                                    The following are examples of valid discovery range type
                                                                    address specifications (* is the wildcard character, which
                                                                    includes all possible addresses in the specified range):

                                                                    •   Exclude range — 193.109.112.*
                                                                    •   193.104.20-40.*
                                                                    •   192.168.*.*
                                                                    •   192.168.2-51.3-91
                                                                    •   Exclude range — 193.109.112.45-99
                                                                    •   System IP address — 193.109.112.99

Name                                                                Add the exclude range name for the IP address / range.

Host name                                                           Register to exclude from the discovery process by specifying
                                                                    the host name of the device, for example,
                                                                    mynode.mycompany.com.
                                                                           NOTE: OpenManage Essentials does not check for
                                                                           invalid characters in the host name. If the host name you
                                                                           specify contains invalid characters, the name is
                                                                           accepted. However, the device with that name is not
                                                                           found during the discovery cycle.


Discovery Schedule
You can configure OpenManage Essentials to discover devices and display them in the Device tree.

•    Enable device discovery.
•    Initiate device discovery.
•    Set the discovery speed.
•    Specify how devices are discovered.
•    For failed discovery attempts, use the Troubleshooting Tool.

Related link
  Discovery Schedule Settings




82
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 84 of 388



Viewing Discovery Configuration
To view discovery configuration, click Manage → Discovery and Inventory → Discovery Schedule.

Discovery Schedule Settings
Configure OpenManage Essentials to discover new devices on a network. The settings apply to all discovery ranges. OpenManage
Essentials records all agents, IP addresses, and the health of the devices.
Table 32. Discovery Schedule Settings

Field                                                           Description
Enable Discovery                                                Select to schedule device discovery.
Configure Global Device Discovery interval                      Set the frequency of discovery in weekly or daily intervals.

                                                                •   Every Week On — Specify the day or days to schedule
                                                                    discovery and the time for the discovery to begin.
                                                                •   Every <n> Days <n> Hours interval — Specify the intervals
                                                                    between discovery cycles. The maximum discovery interval
                                                                    is 365 days and 23 hours.

Discovery Speed                                                 Specify the amount of resources (system and network) available
                                                                for accelerating the discovery speed. The faster the speed,
                                                                more resources are required to perform discovery, but less time
                                                                is required.
Discover                                                        Specify how the devices are discovered.

                                                                •   All Devices — Select to discover all devices that respond to
                                                                    an Internet Control Message Protocol (ICMP) ping. ICMP
                                                                    ping is optional in OpenManage Essentials version 2.4 and
                                                                    later. To skip ICMP ping during discovery, click Settings →
                                                                    Discovery Settings → Skip ICMP ping during discovery. If
                                                                    selected, ICMP ping is skipped during discovery and
                                                                    inventory of the devices.
                                                                •   Instrumented Devices — Select to discover only devices
                                                                    that have instrumentation (such as OpenManage Server
                                                                    Administrator, OpenManage Array Manager, and Networking
                                                                    Ethernet switches) for Simple Network Management
                                                                    Protocol (SNMP), Windows management Instrumentation
                                                                    WMI), Intelligent Platform Management Interface (IPMI)
                                                                    management, or WS-Management (WS-Man). See agents
                                                                    supported for more information about systems management
                                                                    instrumentation agents.

Name Resolution                                                 Specify how the device names are resolved. If you are managing
                                                                a cluster, use the NetBIOS name resolution to discern each
                                                                independent system. If you are not managing a cluster, a DNS
                                                                name resolution is recommended.

                                                                •   DNS — Select to resolve names using the Domain Naming
                                                                    Service.
                                                                •   NetBIOS — Select to resolve names using system names.


Related link
  Discovery Schedule




                                                                                                                               83
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 85 of 388



Inventory Schedule
Use Inventory Polling to specify the default inventory settings for OpenManage Essentials. OpenManage Essentials collects
inventory information such as software and firmware versions, as well as device-related information about memory, processor, power
supply, Peripheral Component Interconnect (PCI) cards, and embedded devices, and storage.
Related link
   Inventory Schedule Settings

Inventory Schedule Settings
Table 33. Inventory Schedule Settings

Field                                                              Description
Enable Inventory                                                   Select to schedule inventory.
Configure Global Inventory Polling Interval                        Set the frequency of the inventory in weekly or daily intervals.
                                                                         NOTE: OpenManage Essentials performs inventory only
                                                                         on devices that have already been discovered.

                                                                   •   Every Week On — Specify the day or days of the week
                                                                       that you want to schedule the inventory and the time that
                                                                       you want it to begin.
                                                                   •   Every <n> Days <n> Hours interval — Specify the intervals
                                                                       between inventory cycles. The maximum discovery interval
                                                                       is 365 days and 23 hours.

Inventory Polling Speed                                            Set the amount of resources available for accelerating the
                                                                   inventory poll speed. The faster you set the inventory poll speed,
                                                                   the more resources are required, but less time is required to
                                                                   perform the inventory.
                                                                   After changing the speed, OpenManage Essentials may take
                                                                   several minutes to adjust to the new speed.

Related link
  Inventory Schedule


Status Schedule
Use this window to specify the default status polling settings for OpenManage Essentials. Status polling performs a health and
power check for all discovered devices. For example, this poll determines if discovered devices are healthy or powered down.
Related link
  Status Polling Schedule Settings

Status Polling Schedule Settings
Table 34. Status Polling Schedule Settings

Field                                                              Description
Enable OnDemand Poll                                               Select to query the global status of the device when an alert is
                                                                   received from the device.




84
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 86 of 388


Field                                                                Description

                                                                            NOTE: If a large number of alerts are received, multiple
                                                                            OnDemand polls are queued up and it may affect the
                                                                            system performance. In this scenario, it is recommended
                                                                            to turn off OnDemand poll and enable the regular status
                                                                            poll interval to retrieve the health status of managed
                                                                            devices.
                                                                     If OnDemand poll is disabled, the device status only updates on
                                                                     the normal status poll.
Enable Status Polling                                                Select to schedule device status polling.
Device Status Interval                                               Set frequency of the device status poll in intervals of days,
                                                                     hours, and minutes. The status polling does not begin until the
                                                                     previous polling has completed.
                                                                     Days — Specify the number of days between device status
                                                                     polling.
                                                                     Hours — Specify the number of hours between device status
                                                                     polling cycles.
                                                                     Minutes — Specify the number of minutes between device
                                                                     status polling cycles.
                                                                     The maximum discovery interval is 365 days, 23 hours, and 59
                                                                     minutes.
Status Polling Speed                                                 Set the amount of resources available for accelerating the
                                                                     device status polling speed. The faster you set the status speed,
                                                                     the more resources are required, but less time is required to
                                                                     perform the status polling.

Related link
  Status Schedule


Discovery Ranges
The Discovery Ranges section displays all the IP address or IP address ranges that you have configured for discovery. The icon
displayed beside the discovery range varies based on the type of wizard used for discovery.


•   If you configure a discovery range using the Standard Wizard the         icon is displayed.

•   If you configure a discovery range using the Guided Wizard, the         icon is displayed.

    – If you discover a chassis using the Guided Wizard, the chassis range group displays the          icon. The members of the
        chassis range group that are dynamically discovered displays the       icon. If the chassis range group is disabled, the     icon
        is displayed. If the members of the range group are disabled, the      icon is displayed.
              NOTE: In an MCM group, the discovery ranges of the lead MX7000 chassis and the member compute sleds are
              displayed.

You can also right-click a discovery range to see the options available on the discovery range. For information on the right-click
options, see Managing Include Ranges.


Exclude Ranges
The Exclude Ranges section displays the IP address or IP address ranges that you have configured to exclude from the discovery
process.




                                                                                                                                       85
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 87 of 388




                                                                                                                               7
Managing devices
OpenManage Essentials lists devices based on their types. For example, PowerEdge servers are listed under the device type
Servers. OpenManage Essentials contains a defined list of device types. The devices you discover and inventory are included under
these device types. Unclassified devices are listed under the device type Unknown. You can create device groups with combinations
of the defined device types. However, you cannot create a new device types.
In the Devices page, you can:

•    View devices types that are discovered on the network.
•    View the inventory information for the devices.
•    View all alerts that were generated for a device.
•    View all noncompliant devices associated with a catalog baseline in a device group.
•    View all noncompliant devices associated with a configuration baseline in a device group.
•    View hardware logs for a device.
•    Create device groups and include devices to that group based on your grouping preference. For example, you can create a group
     and include all devices present at a geographical location.
•    Display and manage PowerEdge VRTX and FX2/FX2s devices using Map View.

Related links
  Viewing devices
  Viewing device inventory
  Viewing alerts summary
  Viewing System Event Logs
  Searching for Devices
  Creating a New Group
  Adding Devices to a New Group
  Adding Devices to an Existing Group
  Hiding a Group
  Deleting a Group
  Creating a Custom URL
  Using Map View


Viewing devices
You can view a device that is discovered. For more information on discovering and inventorying a device, see Discovering and
Inventorying Devices.
To view devices, click Manage → Devices.
Related link
   Managing devices

Device Summary Page
On the Device Summary page, expand the device types to view the devices. The following device types are displayed:

•    Citrix XenServers
•    Clients
•    Clusters



86
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 88 of 388


    – HA Clusters
    – NAS Clusters
•   Hyper-Converged Infrastructure

    – VxRail
    – XC Series
•   KVM
•   Microsoft Virtualization Servers

    – Virtual machines
•   Modular systems

    – PowerEdge Chassis
    – PowerEdge FX2
    – PowerEdge M1000e
    – PowerEdge MX7000
               NOTE: In a Multi-Chassis Management (MCM) group, only the lead MX7000 chassis is displayed.

    – PowerEdge VRTX

          NOTE: The blade servers (iDRACs) in the chassis are discovered using the WS-Man credentials you provide for the
          chassis and are listed under the RAC group. If both DRAC and iDRAC, and their corresponding server are discovered,
          they are correlated into a single device. This device is then displayed under both RAC and Servers groups.
•   Network Devices

    – Networking Switches
    – Fibre Channel Switches
    – Network Appliances
•   OEM Devices
•   OOB Unclassified Devices

    – IPMI Unclassified Devices
•   Power Devices

    – PDU
    – UPS
•   PowerEdge C Servers
•   Printers
•   RAC
          NOTE: If a DRAC or iDRAC is discovered, it is displayed under the RAC group and not under the Servers group. If
          both DRAC and iDRAC, and their corresponding server are discovered, they are correlated into a single device. The
          device is then displayed under both RAC and Servers group.
          NOTE: If the RAC on a PowerEdge C server is discovered using IPMI, it is displayed under OOB Unclassified devices.

•   Repurpose and Bare Metal
          NOTE: Devices in the Repurpose and Bare Metal group are displayed as targets for device configuration deployment.
          You must explicitly add devices to this group for deploying a device configuration. On bare metal deployments, you
          can remove the devices from the Repurpose and Bare Metal group after the deployment is complete. For more
          information, see Server Deployment and Re-provisioning.
•   Servers
•   Storage Devices

    – Dell Compellent Arrays
    – Dell EqualLogic Groups
    – Dell NAS Appliances




                                                                                                                              87
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 89 of 388


     – Dell EMC Arrays
     – PowerVault MD Arrays
     – Tape Devices
•    Unknown
•    VMware ESX servers

     – Virtual machines
•    VxFlex Ready Nodes
          NOTE: If you delete the VxFlex Ready Nodes custom group then you need to recreate this group with the respective
          query. See Creating a New Group.

Use the refresh button to update the device tree with the current data. To update the device tree, right-click All Devices and select
Refresh.

      NOTE: The device tree auto-updates when changes are made. Some changes to the tree may appear after a brief delay
      depending on the performance of the managed servers because the information propagates from the SQL database to
      the user interface.

Nodes and symbols description
Table 35. Nodes and Symbols Description

Node Symbol                                                         Description
                                                                    Denotes that a device is critical and requires attention. This
                                                                    information is rolled up to the parent device type. For example if
Figure 15. Critical device icon                                     a server is in critical state and requires attention the same
                                                                    symbol is assigned to the parent device type. Among server
                                                                    states, critical state is given the highest priority. That is, in a
                                                                    group, if different devices are in different states, and if one
                                                                    device is in critical state, then the state of the parent device
                                                                    type is set to critical.
                                                                    Denotes that a device of this type is not discovered on the
                                                                    network or classified in the device tree.
Figure 16. Device not discovered icon

                                                                    Denotes that there is a deviation from the expected behavior,
                                                                    but the device is still manageable.
Figure 17. Deviation from expected behavior icon

                                                                    Denotes that the device is working as expected.

Figure 18. Device working as expected icon

                                                                    Denotes either the device type is unknown and it is classified as
                                                                    an unknown device or that the health status cannot be
Figure 19. Unknown device icon                                      determined, because the device does not have proper
                                                                    instrumentation or the proper protocol was not used to discover
                                                                    the device.
                                                                    Denotes that the device is not reachable.

Figure 20. Connection Lost


Device details
The device details, depending on the device type, might contain the following information:




88
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 90 of 388


Table 36. Device details

Device details

•   Device Summary                                               •   Tape Drive Information and Tape Library Information
•   OS Information                                               •   Physical Battery Information
•   Data Sources                                                 •   Fluid Cache Information
•   NIC Information                                              •   Fluid Cache Pool Information
•   Virtual Machine Host Product Information                     •   Fluid Cache Disk
•   RAC Device Information                                       •   Software Inventory Information
•   Processor Information                                        •   Trusted Platform Module Information
•   Memory Device Information                                    •   Slot Information
•   Firmware Information                                         •   Virtual Flash Information
•   Power Supply Information                                     •   FRU Information
•   Embedded Device Information                                  •   Printer Cover Table
•   Device Card Information                                      •   Printer Marker Supplies Information
•   Controller Information                                       •   Printer Input Tray Information
•   Controller Battery Information                               •   Printer Output Tray Information
•   Enclosure Slot Information                                   •   Acquisition Information
•   Physical Disk Information                                    •   Depreciation Information
•   Virtual Disk Information                                     •   Lease Information
•   Contact Information                                          •   Maintenance Information
•   Appliance Node Information                                   •   Service Contract Information
•   Switch Device Information                                    •   Extended Warranty Information
•   EqualLogic Volume Information                                •   Ownership Information
•   Device Properties                                            •   Outsource Information
•   Storage Group Information                                    •   Maser Information
•   iDRAC Information                                            •   Chassis Group Information
•   Storage Information                                          •   I/O Module Information


      NOTE: The warranty information (including expired and renewed) displayed in OpenManage Essentials for a particular
      Service Tag, may not match with the warranty record displayed at Dell.com/support. The service level code and model
      name of a warranty record displayed at Dell.com/support may not exactly match with the OpenManage Essentials
      warranty report.

      NOTE: The Data Sources table in the device inventory displays the Dell Command | Monitor (previously OMCI) agent
      name as System Administrator.

      NOTE: Hardware inventory can be retrieved from iDRAC6/7 and ESXi if OpenManage Server Administrator VIB is
      installed using WS-Man protocol.

      NOTE: The Data Sources table in the device inventory displays information about the iDRAC Service Module only if:

      •   iDRAC is discovered.
      •   iDRAC is discovered and the server is discovered using WMI or SSH protocol.


Viewing device inventory
To view inventory, click Manage → Devices, expand the device type and click the device.
Related link
   Managing devices




                                                                                                                            89
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 91 of 388



Viewing alerts summary
You can view all the alerts that are generated for a device. To view the alert summary:

1.   Click Manage → Devices.
2.   Expand the device type, and click the device.
3.   On the details page, select Alerts.

      NOTE: In an MCM group, alerts are displayed if all the member chassis, compute sleds, storage, and IOMs are included in
      the alert policy that is configured for the lead MX7000 chassis. If alert policies are configured individually, alerts of the
      member MX7000 chassis and compute sleds are not displayed in the alert summary. To view the alerts of the member
      chassis, see Viewing alert logs.
Related link
  Managing devices


Viewing noncompliant devices associated with a catalog baseline
1.   Click Manage → Devices.
2.   To view all noncompliant devices associated with a catalog baseline, click All Devices.
     All the noncompliant devices are listed in the Non-Compliant Firmware & Drivers tab.
3.   To view noncompliant devices of a custom device group, expand All Devices, and click the required device group.
     On the Non-Compliant Firmware & Drivers tab, all noncompliant devices of the selected group are listed. The catalog baseline
     that is associated with the custom device group is also listed.

For more information about applying system updates, see Applying system updates by using the Non-Compliant Systems tab.


Viewing noncompliant devices associated with a configuration baseline
1.   Click Manage → Devices.
2.   To view all noncompliant devices, click All Devices.
     All the noncompliant devices are listed in the Non-Compliant Configurations tab.
3.   To view noncompliant devices in a device group, expand All Devices, and click the required device group.
     On the Non-Compliant Configurations tab, all noncompliant devices of the selected group are listed. The configuration baseline
     that is associated with the individual device is also listed.

To remediate the noncompliant devices, see Remediating noncompliant devices.


Viewing System Event Logs
1.   Click Manage → Devices.
2.   Expand the device type and select Hardware Logs.

Related link
  Managing devices


Searching for Devices
Right-click All Devices at the top of the device tree and click Search Devices. You can also search for devices using logical
arguments and save the queries for later.




90
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 92 of 388


For example, to create a query to search for a server in critical state with an IP address containing values 10.35, and the power status
as Power Up:

1.   Click Manage → Device Search, then select Create New Query, in the adjacent text field enter a query name.
2.   From the first line after Where, select Device Type, Is, and then Server.
3.   In the next line select the check box, then select AND, Device Health, Is, and then select Critical.
4.   In the next line select the check box, then select AND, IP Address, Contains, and then in the adjacent field enter 10.35.
5.   In the next line select the check box, then select AND, Power Status, Is, and then select Power Up.
6.   Click Save Query.
           NOTE: You can click Run Query to run the query immediately.

To run an existing query, select the query from the drop-down list and click Run Query. You can filter the results and export it to an
HTML, TXT, or CSV file.
Related link
   Managing devices


Creating a New Group
1.   Click Manage → Devices.
2.   Right-click All Devices and select New Group.
3.   Enter the name and description for the group and click Next.
4.   In Device Selection, select any of the following:

     •   Select a query to create a dynamic group. Click New to create a new query or select an existing query from the drop-down
         list.
               NOTE: To create a query for VxFlex Ready nodes:

               1.   Include ScaleIO as the device model.
               2.   In the next line select the check box. then select OR, and then include VxFlex as the device model.
     • Select the device(s) /group(s) from the tree below to create a static group.
5.   Click Next.
6.   Review the summary and click Finish.

You can right-click devices in the Details tab and add them either to a new group or an existing group. You can also create a new
group from either the Home or Reports portal. Click Filter by and click Add New Group to launch the New Group wizard. To know
whether a group is static or dynamic, place the cursor on the group. For example, if you place the cursor on Servers, the group type
is displayed as Servers (Dynamic | System).
Related link
   Managing devices


Adding Devices to a New Group
1.   Click Manage → Devices.
2.   Right-click the device(s) and select Add to New Group.
3.   In Group Configuration, enter the name and description. Click Next.
4.   In Device Selection, the selected devices are displayed. If required, add or remove additional devices. Click Next.
5.   Review the summary and click Finish.

Related link
  Managing devices




                                                                                                                                     91
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 93 of 388



Adding Devices to an Existing Group
1.   Click Manage → Devices.
2.   Right-click the device(s) and select Add to Existing Group.
           NOTE: If you are manually adding a device to a dynamic group, a message is displayed on the screen. Manually
           adding a device to a dynamic group changes the group from dynamic to static, thereby removing the original
           dynamic query. If you want the group to remain dynamic, modify the query defining the group. Click Ok to continue
           or Cancel to stop the procedure.
3.   Click Ok.

Related link
  Managing devices


Hiding a Group
To hide a group, right-click the group and select Hide.
After a group is hidden, it is not displayed in any of the device group controls in the console. The devices in the hidden groups are not
displayed in the reports and charts on the Home and Reports portals. Alerts for devices in hidden groups are also not displayed in the
alerts portal.
If a parent group (along with child groups) is hidden, the child groups are also hidden in the device tree. However, the child groups
are still present in the database and are displayed in other instances in the console.
Related link
    Managing devices


Deleting a Group
1.   Right-click the group and select Delete.
2.   In the Delete screen, click Yes.
           NOTE: Deleting a parent group, removes the group from the device tree. The child groups and devices listed under
           the parent group are also removed from the device tree. However, the child groups and devices still remain in the
           database and appear in other instances in the console.

Related link
  Managing devices


Associating a catalog baseline to custom device groups
To associate a catalog baseline to VxFlex Ready Nodes, you must download the latest catalog and packages by right-clicking the
discovered Ready Node and clicking Application Launch → VxFlex Ready Node Series Support.

1.   Click Manage → Devices.
2.   Right-click a custom device group and select Associate Catalog Baseline.
3.   In Associate Catalog Baseline, do one of the following:

     •   Select a catalog baseline from the list of catalog baselines.
     • Create a catalog baseline by importing a repository manager file.
4.   Click Finish.
     Custom device group is associated with the catalog baseline.
5.   Click Ok.
     In the Non-Compliant Firmware & Drivers tab, all noncompliant devices of the selected group are listed.

For more information about applying system updates, see Applying system updates by using the Non-Compliant Systems tab.



92
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 94 of 388



Disassociating a catalog baseline from custom device groups
1.    Click Manage → Devices.
2.    Right-click a custom device group and select De-associate Catalog Baseline.
3.    Click Yes.
      Catalog baseline is disassociated.
4.    Click Ok.
      The compliance status of the custom device group is updated under the Non-Compliant Firmware & Drivers tab.


Single Sign-On
If iDRAC or CMC devices are configured for Single Sign-On and you are logged on to OpenManage Essentials as a domain user, you
can use open the iDRAC or CMC console through the Application Launch option or the agent link. For information on configuring
iDRAC or CMC for Single Sign-On, see the following:

•    Configuring CMC For Single Sign-On Or Smart Card Login section in the Dell Chassis Management Controller User’s Guide at
     dell.com/support/manuals.
•    Configuring iDRAC7 for Single Sign-On or Smart Card Login section in the Integrated Dell Remote Access Controller 7 User's
     Guide at dell.com/support/manuals.
•    Integrating iDRAC7 With Microsoft Active Directory white paper at DellTechCenter.com.
•    IDRAC6 Integrated Dell Remote Access Controller 6 Security white paper at DellTechCenter.com.

Creating a Custom URL
       NOTE: Custom URL cannot be assigned to parent device groups that create a child sub group in the device tree at the
       time of discovery. Examples of parent device groups are: HA Clusters, Microsoft Virtualization Servers, PowerEdge
       M1000e, PowerEdge VRTX, or VMware ESX Servers. To assign a custom URL to a device in these parent device groups,
       add the device to a custom device group, and then assign a custom URL.

1.   Click Settings → Custom URL Settings.



2.   Click the          icon.
     The Custom URL Launch screen is displayed.
3.   Type the name, URL, description, and select the device group from the drop-down list.
            NOTE: You can click Test URL to verify if the URL specified is active.
4.   Click Ok.
     The custom URL is created.

Related links
  Managing devices
  Custom URL Settings

Launching the Custom URL
1.   Click Manage → Devices and select the device from the tree.
2.   Right-click the device and select Application Launch.
3.   Click the URL name to access the site.

Related link
  Custom URL Settings




                                                                                                                                  93
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 95 of 388



Configuring Warranty Email Notifications
You can configure OpenManage Essentials to send a warranty notification of your devices at periodic intervals through email. For
information about the options you can configure, see Warranty Notification Settings.
To configure Warranty Email Notifications:

1.   Click Settings → Warranty Notification Settings.
     The Warranty Notification Settings page is displayed.
2.   Under Warranty Email Notifications, select Enable Warranty Email Notifications.
3.   In the To field, type the email addresses of the recipients.
           NOTE: Multiple email addresses must be separated by using a semicolon.
4.   In the From field, type the email address from which the warranty notification email is to be sent.
           NOTE: Only one email address must be provided in the From field.
5.   To set the criteria for the devices to be included in the warranty notification email, in the All Devices with x Days or less of
     warranty field, select the number of days.
6.   To set the frequency at which you want to receive the warranty notification email, in the Send email every x Days field, select
     the number of days.
7.   To include devices with expired warranty or no warranty information in the warranty notification email, select Include Expired
     Warranties.
8.   In the Next Email will Send On field, select the date and time at which you want to receive the next warranty notification e-
     mail.
9.   If you want to configure the SMTP email server, click Email Settings.
     The Email Settings page is displayed. For more information about Email Settings, see Email Settings.
10. Click Apply.

OpenManage Essentials sends warranty notification emails based on your configuration. The warranty notification email provides a
list of devices and appropriate links that you can click to renew the warranty of the devices.
Related link
    Warranty Notification Settings


Configuring Warranty Scoreboard Notifications
You can configure OpenManage Essentials to display a warranty scoreboard notification icon in the heading banner. For information
about the options you can configure, see Warranty Notification Settings.
To configure Warranty Scoreboard Notifications:

1.   Click Settings → Warranty Notification Settings.
     The Warranty Notification Settings page is displayed.
2.   Under Warranty Scoreboard Notifications, select Enable Warranty Scoreboard Notifications.
3.   To set the criteria for the devices to be included in the warranty notification scoreboard, in the All Devices with x Days or less
     of warranty field, select the number of days.
4.   To include devices with expired warranty or no warranty information in the warranty notifications scoreboard, select Include
     Expired Warranties.
5.   Click Apply.

If any device meets the set criteria, the OpenManage Essentials heading banner displays the warranty scoreboard notification icon
including the number of devices.
Related links
    Using the Warranty Scoreboard Notification Icon
    Device Warranty Report
    Warranty Notification Settings



94
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 96 of 388



Configuring Warranty Pop-Up Notifications
You can configure OpenManage Essentials to display warranty pop-up notifications based on the warranty status of the devices. For
information about the options you can configure, see Warranty Notification Settings.
To configure warranty pop-up notifications:

1.   Click Settings → Warranty Notification Settings.
     The Warranty Notification Settings page is displayed.
2.   In Warranty Popup Notification Settings:

     •     Select the Enable Warranty Popup Notifications option to enable warranty pop-up notifications.
     •     Clear the Enable Warranty Popup Notifications option to disable warranty pop-up notifications.
3.   Click Apply.


Configuring Warranty Update Settings
You can configure OpenManage Essentials to check the warranty information of the discovered devices on the support site. For
information about the options you can configure, see Warranty Notification Settings
To configure warranty update settings:

1.   Click Settings → Warranty Notification Settings.
     The Warranty Notification Settings page is displayed.
2.   Under Warranty Update Settings, select Enable Warranty Updates.
3.   In the Update warranty every field, select the number of days to set the frequency at which the warranty updates are checked.
4.   In the Next warranty update will be on field, select the date and time at which you want to check the next warranty updates.
5.   Click Apply.

         NOTE: By default, the Warranty Update Settings is disabled. You can view the warranty information in the Device
         Warranty Report.


Using Map View
         NOTE: For information about using the features available in Map View, see Map View (Home) Portal.

         NOTE: The map displayed in Map View should be considered as is from the map service provider. OpenManage Essentials
         does not have any control over the accuracy of the map or address information.
         NOTE: An Internet connection is required to perform some of the map functions such as zoom, address search, and so
         on. If you are not connected to the Internet, the following message is displayed on the map: Warning — Unable to
         connect to the Internet!.
         NOTE: A valid map provider (MapQuest or Bing) key is required for the Map View functionality. To enter the map
         provider key, see Configuring Map Settings.
The Map View feature allows the display and management of PowerEdge VRTX and PowerEdge FX2/FX2s devices with an
Enterprise license on an interactive geographic map. PowerEdge VRTX and PowerEdge FX2/FX2s devices with an Enterprise
license are represented as pins on the map. The health and connectivity status can be viewed for all PowerEdge VRTX and
PowerEdge FX2/FX2s devices with an Enterprise license at a glance.
You can access Map View from the Home Portal or Manage → Devices portal page.
The Overlays menu at the top-right of the map allows you to overlay the health and connectivity status of the device on the pin.
The Actions menu at the top-right of the map allows you to perform various functions on the map. The following is the list of
available actions:




                                                                                                                                   95
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 97 of 388


Table 37. Using Map View

Action                                                             Description
Show All Map Locations                                             Displays all map locations.
Go to Home View                                                    Displays the home view, if saved earlier.
Save Current View as Home View                                     Saves the current view as the home view.
Add Licensed Device                                                Allows adding PowerEdge VRTX and PowerEdge FX2/FX2s
                                                                   devices with an Enterprise license.
Import Licensed Devices                                            Allows importing PowerEdge VRTX and PowerEdge FX2/FX2s
                                                                   devices with an Enterprise license.
Remove All Map Locations                                           Allows removing all map locations.
Export                                                             Allows exporting all map locations to a .csv file.
Settings                                                           Opens the Map Settings dialog box.
Edit Location Details                                              Opens the Edit Location Details dialog box, that displays the
                                                                   device name, address, and contact information.
Remove Location                                                    Allows removal of the selected device from the map.
Zoom to Street Level                                               Allows zooming to the street level on the currently selected
                                                                   device location.
        NOTE: This option is displayed only when a device is
        selected on the map.


       NOTE: The Edit Location Details, Remove Location, and Zoom to Street Level options in the Actions menu are device-
       specific. These options must be used after selecting a device on the map.
The Search for address box at the top-left of the map allows you to search for addresses.
The navigation toolbar displayed at the bottom of the map enables you to:

•    Zoom in and out of the map
•    Move the map up, down, right, or left
•    Select the map provider type




Figure 21. Navigation Toolbar

The zoom level of the map can be identified by the scale that is displayed at the bottom-right of the map.




96
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 98 of 388


Related links
  Devices — Reference
  Map View—Home Portal
  Map View Interface—Home Portal
  General Navigation and Zooming
  Home View
  Tool Tip
  Search Pin
  Map Providers
  Map View Interface—Devices Tab
  Configuring Map Settings
  Selecting a Device on Map View
  Health and Connection Status
  Multiple Devices at the Same Location
  Setting a Home View
  Viewing All Map Locations
  Adding a Device to the Map
  Moving a Device Location Using the Edit Location Details Option
  Importing Licensed Devices
  Using the Map View Search Bar
  Adding a Device Using the Search Pin
  Moving a Device Location Using the Search Pin
  Removing All Map Locations
  Editing a Map Location
  Removing a Map Location
  Exporting All Device Locations
  Managing devices

Map Providers


You can select between MapQuest and Bing map providers using the             icon in the navigation toolbar. By default, the map is
displayed using the MapQuest provider. The following table provides information about the supported map providers.
Table 38. Map Providers

MapQuest                                                            Bing
Requires a valid MapQuest key (license) that must be purchased Requires a valid Bing maps key that must be purchased. To get a
based on the number of transactions per month. To view the      valid Bing maps key, go to microsoft.com/maps/.
available transaction plans, go to developer.mapquest.com/
                                                                       NOTE: For instructions on getting a Bing maps key, see
plans/.
                                                                       “Getting a Bing Maps Key” at microsoft.com.
After getting a valid MapQuest key, you must provide the key in
the Map Settings dialog box.                                    After getting a valid Bing maps key, you must provide the key in
                                                                the Map Settings dialog box.
Internet connection is mandatory to render the online portion of    Internet connection is mandatory to access any zoom level and
the map and for the address lookup.                                 to use the search functionality.
If your system connects to the internet through a proxy server,     If your system connects to the internet through a proxy server,
the Proxy Settings configured in the OpenManage Essentials          the proxy settings configured in your web browser is used.
Settings → General Settings page is used.
                                                                    Two types of maps are available:

                                                                    •   Roads map — A simple, fast loading map with minimal
                                                                        details.




                                                                                                                                      97
              Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 99 of 388


 MapQuest                                                               Bing

                                                                        •   Satellite map — Provides detailed satellite views of the
                                                                            world.


          NOTE: The MapQuest and the Bing map providers require an internet connection at all times to render the map. If the
          system connects to the internet through a proxy server, the proxy settings configured in your web browser is used by the
          MapQuest and Bing providers.
Related link
  Using Map View

Configuring Map Settings
          NOTE: Only OpenManage Essentials Administrators and Power Users are permitted to configure Map Settings.

The Map Settings dialog box allows you to enable or disable the Internet connection status notification and to provide a valid Bing
key required by the Bing map provider or MapQuest key required by the MapQuest map provider.
To configure the map settings:

1.    Perform one of the following:

      •     Click Home → Map View.
      • Click Manage → Devices → Map View.
2.    On the Map View:

      •     Right-click anywhere on the map, and then click Settings.
      •     Move the mouse pointer over the Actions menu, and click Settings.

      The Map Settings dialog box is displayed.
3.    Select Update map view on any device or device group selection if you want the map to display only the pin or pins that
      correspond to the device or device group selected in the device tree.
4.    Select Show internet connection warning when unable to connect to the internet if you want to display a warning on the
      map if an Internet connection is not available.
5.    Select one of the following map providers:

      •     MapQuest
      • Bing
6.    In the Key field, type the appropriate map provider key.
7.    Click Apply.

Related link
  Using Map View

General Navigation and Zooming
To move the map, click and drag the map in the desired direction or use the navigation arrows in the Navigation toolbar.
You can zoom in or zoom out of the map using any of the following methods:

•    Double-click a pin to zoom in to street level around that pin. You can also zoom in to street level by:

     – Right-clicking a pin, and then clicking Zoom to Street Level
     – Moving the mouse pointer over the Actions menu, and then clicking Zoom to Street Level
•    If a pin is displayed at street level, double-click the pin to zoom out to the world-level view
•    Double-click a location on the map to zoom-in one level at that location
•    Move the mouse wheel up or down to quickly zoom out or in on the map




98
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 100 of 388



•   Click the magnifying glass icon        in the navigation toolbar to display a slider that you can use to zoom in or zoom out of the
    map

      NOTE: Zoom level and the visible portion of the Map View (home) portal are not synchronized with the Map View tab
      accessible through the Devices portal.
Related link
  Using Map View

Home View
If you have saved a particular region of the map as your home view, by default, the map displays the home view when you open the
Map View. For instructions to set a region on the map as your home view, see Setting a Home View.
Related link
    Using Map View

Tool Tip
Moving the mouse pointer over the pin displays a tool tip that contains the following information:

•   Device name
•   Description
•   Address
•   Contact
•   Model
•   Service Tag
•   Asset Tag
•   Global status
•   Connection status

Related link
  Using Map View

Selecting a Device on Map View
To select a device on the map, click the appropriate pin. The corresponding device is highlighted in the device tree and all the other
pins are hidden. When a device is selected in the device tree, it is also reflected on the map. If the Modular Systems or PowerEdge
VRTX group is selected in the device tree, then all the pins placed for those groups are displayed on the map.
      NOTE: Hiding a device group in the device tree does not hide the corresponding pins on the map. For example, hiding the
      Modular Systems group in the device tree does not hide pins on the map that represent devices in the Modular Systems
      group.
      NOTE: Clicking a pin on the Map View (home) portal opens the Devices portal that displays details about the device.

Related link
  Using Map View

Health and Connection Status
The health and connection status of a device can also be displayed on the map. To overlay the pin with the health or connection
status of the device, move the mouse pointer over the Overlays menu at the top-right of the map, and click Health or Connectivity.
The health or connection status is indicated by the color and the icon displayed within the pin. The following table provides
information about the health status and pin overlay:




                                                                                                                                     99
              Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 101 of 388


Table 39. Health Status

 Pin Color                                     Icon                                         Health Status
 Red                                                                                        Critical

 Yellow                                                                                     Warning

 Green                                                                                      Normal

 Gray                                                                                       Unknown


The following table provides information about the connection status and pin overlay:
Table 40. Connection Status

 Pin Color                                     Icon                                         Connection Status
 Blue                                                                                       On


 Grey                                                                                       Off


Related link
  Using Map View

Multiple Devices at the Same Location
It is possible for two or more licensed devices to be placed at an identical location. These devices are displayed as a multi-pin group
on the map. If the devices are in a very close proximity on the map and the map is zoomed out, the pins are displayed together as a
multi-pin group. To view the count and the name of the devices in a multi-pin group, move the mouse pointer over the multi-pin
group. Double-click or right-click a multi-pin group and then select Details, to open the Devices at this location window that lists
the devices available at the location. On the Devices at this location window, you can:

•     Double-click a device to display only that device on the map.
•     Right-click a device to view standard options for the devices, such as Referesh Inventory, Application Launch, and so on, and
      other map-specific options such as Edit Location Details, and so on.

           NOTE: Only licensed devices can be placed on the map. Device groups cannot be placed on the map.

Related link
  Using Map View

Setting a Home View
If you typically manage devices in a certain geographic region, you can set that region as your home view. Each OpenManage
Essentials user can save a different view of the map as their home view. By default, the home view is displayed when you open Map
View or when you select the Go to Home View option.

1.     Perform one of the following:

       •     Click Home → Map View.
       • Click Manage → Devices → Map View.
2.     On the Map View, navigate and zoom until the current view is as desired.
3.     Perform one of the following:

       •     Right-click on the map, and then click Save Current View as Home View.
       •     Move the mouse pointer over the Actions menu, and then click Save Current View as Home View.




100
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 102 of 388


Related link
  Using Map View

Viewing All Map Locations
If a single device is selected, only that device is displayed on the map. To view all map locations that have been placed on the Map
View:

•    Right-click the map, and click Show All Map Locations.
•    Move the mouser pointer over the Actions menu, and click Show All Map Locations.

Related link
  Using Map View

Adding a Device to the Map
         NOTE: Only PowerEdge VRTX and PowerEdge FX2/FX2s devices with an Enterprise license that are not already placed
         on the map can be added to the map.
         NOTE: Only OpenManage Essentials Administrators and Power Users are permitted to add a device to the map.

To add a device on the map:

1.   Perform one of the following:

     •     Click Home → Map View.
     • Click Manage → Devices → Map View.
2.   On the Map View:

     •     Right-click the map, and click Add Licensed Device.
     •     Move the mouser pointer over the Actions menu, and click Add Licensed Device.

     The Device Location Details dialog box is displayed.
3.   From the Devices list, select the device you want to add.
4.   If required, in the Description field, type an appropriate description for the device.
5.   If you want to add the device at a location different from where you right-clicked on the map, in the Address field, type the
     address of the location. For example, Chicago.
             NOTE: Using the Address field to add a device on the map requires an Internet lookup through the map provider to
             resolve the provided address. The device is added to the most appropriate location available from the Internet
             lookup. If the map provider is not able to resolve the address, a message is displayed.
6.   If required, in the Contact field, type the contact information.
7.   Click Save.

Related links
  Using Map View
  Adding a Device Using the Search Pin

Moving a Device Location Using the Edit Location Details Option
         NOTE: Only OpenManage Essentials Administrators and Power Users are permitted to edit a map location.

1.   Perform one of the following:

     •     Click Home → Map View.
     • Click Manage → Devices → Map View.
2.   Right-click a pin on the map, and select Edit Location Details.
     The Device Location Details dialog box is displayed.



                                                                                                                                       101
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 103 of 388


3.    In the Address field, type the location name or airport code. For example, New York.
              NOTE: Using the Address field to move a device location requires an Internet lookup through the map provider to
              resolve the provided address. The device is moved to the most appropriate location available from the Internet
              lookup. If the map provider is not able to resolve the address, a message is displayed, and the device remains at the
              current location.
4.    Click Save.
      If the map provider is able to resolve the address or airport code, the pin is moved to the specified location on the map.

Related links
  Using Map View
  Moving a Device Location Using the Search Pin

Importing Licensed Devices
          NOTE: Only PowerEdge VRTX and PowerEdge FX2/FX2s devices with an Enterprise license that are not already placed
          on the map can be imported to the map.
          NOTE: Only OpenManage Essentials Administrators and Power Users are permitted to import licensed devices.

          NOTE: You can only import a maximum of up to 500 devices at a time.

You can bulk import licensed devices on the map through a .csv file. An Export Template function is available, which creates a .csv
file that is already populated with the names of the licensed PowerEdge VRTX and PowerEdge FX2/FX2s devices that are currently
discovered.
To import licensed devices:

1.    Perform one of the following:

      •     Click Home → Map View.
      • Click Manage → Devices → Map View.
2.    On the Map View, do one of the following:

      •     Right-click the map, and click Import Licensed Devices.
      •     Move the mouse pointer over the Actions menu, and click Import Licensed Devices.

      The Import Licensed Devices dialog box is displayed.
3.    Click Export Template to download a .csv template that you can use for importing licensed PowerEdge VRTX devices.
              NOTE: For more information about the template, see Template for Importing Devices.

      The Save As dialog box is displayed.
4.    Browse to the location where you want to save the .csv file, type an appropriate file name, and click Save.
5.    Open the .csv file, and perform one of the following:

      •     In the Latitude and Longitude columns, type the latitude and longitude coordinates for each device.
      •     In the Address column, type the address for each device. For example, 1 dell way, round rock, TX.
               NOTE: Before you import devices using the address, ensure that the system is connected to the Internet. If the
               system connects to the Internet through a proxy server, verify if the proxy settings are configured in the Settings
               → General Settings page. Also, the Internet search provider may reject the address search request if you are
               attempting to import too many devices at a time. If this occurs, wait for some time and try importing again.
6.    Click Import.
      The Open dialog box is displayed.
7.    Select the location where the updated .csv file is located, and click Open.
      The Import Summary dialog box is displayed.
8.    Click Ok.




102
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 104 of 388


            NOTE: Any errors that may occur during the import process are displayed in Logs → UI Logs.

Related links
  Using Map View
  Template for Importing Devices

Template for Importing Devices
The template for importing PowerEdge VRTX and PowerEdge FX2/FX2s devices with an Enterprise license is a .csv file that you
can use to provide details about devices that you want to import to the map. The following are the fields available in the template:
Table 41. Template for Importing Devices

Field                                                                 Description
Name                                                                  The name of the PowerEdge VRTX and PowerEdge FX2/FX2s
                                                                      devices with an Enterprise license. This field is already populated
                                                                      with the currently discovered PowerEdge VRTX devices with an
                                                                      Enterprise license that are not already placed on the map.

Latitude                                                              The latitude coordinate of the device location.

Longitude                                                             The longitude coordinate of the device location.

Address                                                               The address of the device location. If both latitude and longitude
                                                                      coordinates are specified, the address need not be specified.

Description (Optional)                                                Any information that you want to include about the device.

Contact (Optional)                                                    Any contact information that you want to include for the
                                                                      device..

To import the PowerEdge VRTX and PowerEdge FX2/FX2s devices with an Enterprise license to the map, you must update the .csv
file with one of the following:

•   Latitude and Longitude
•   Address

Related link
  Importing Licensed Devices

Using the Map View Search Bar
        NOTE: The map providers may not be able to resolve all addresses or airport codes correctly.

The search bar on Map View enables you to search for locations on the map using an address or airport code. To search for a
location, type the location name or airport code (for example, New York or JFK) in the search bar, and either press <Enter> or click
the arrow icon. If the map provider is able to resolve the address or airport code, a search pin is displayed at the specified location on
the map.
Related link
   Using Map View

Search Pin
The search pin is a larger pin that represents the search result on the map. The following are the characteristics of the search pin:

•   At any instance, only one search pin can be located on the map. The search pin is displayed on the map at a location until you
    remove it or perform a new search. To remove the search pin, right-click the search pin and click Remove.
•   Unlike the device pin, the search pin does not overlay any status.
•   Double-clicking the search pin allows you to zoom in and zoom out of the location.
•   Move the mouse pointer over the search pin to display a tool tip that includes the address of the location.
•   You can add or move a licensed PowerEdge VRTX and PowerEdge FX2/FX2s devices at the search pin location.



                                                                                                                                        103
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 105 of 388


.
Related link
  Using Map View

Adding a Device Using the Search Pin
          NOTE: Only PowerEdge VRTX and PowerEdge FX2/FX2s devices with an Enterprise license that are not already placed
          on the map can be added to the map.
          NOTE: Only OpenManage Essentials Administrators and Power Users are permitted to add a device to the map.

1.    Perform one of the following:

      •     Click Home → Map View.
      • Click Manage → Devices → Map View.
2.    Type the address or airport code (for example, New York or JFK) in the search bar, and either press <Enter> or click the arrow
      icon.
      If the map provider is able to resolve the address or airport code, a search pin is displayed at the location on the map.
3.    Right-click the search pin and click Add Licensed Device Here.
      The Device Location Details dialog box is displayed.
4.    From the Devices list, select the device you want to add.
5.    Click Save.

Related links
  Using Map View
  Adding a Device to the Map

Moving a Device Location Using the Search Pin
          NOTE: Only OpenManage Essentials Administrators and Power Users are permitted to add a device to the map.

To move a device location:

1.    Perform one of the following:

      •     Click Home → Map View.
      • Click Manage → Devices → Map View.
2.    Select the pin for a licensed PowerEdge VRTX or PowerEdge FX2/FX2s devices on the map.
3.    Type the address or airport code (for example, New York or JFK) in the search bar, and either press <Enter> or click the arrow
      icon.
      If the map provider is able to resolve the address or airport code, a search pin is displayed at the location on the map.
4.    Right-click the search pin and click Move Selected Device Here.
5.    On the Move Device confirmation dialog box, click Yes.
      The selected device is moved to the location of the search pin.

Related links
  Using Map View
  Moving a Device Location Using the Edit Location Details Option

Removing All Map Locations
          NOTE: Only OpenManage Essentials Administrators and Power Users are permitted to remove all map locations.

To remove all map locations:

1.    Perform one of the following:

      •     Click Home → Map View.




104
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 106 of 388


     • Click Manage → Devices → Map View.
2.   On the Map View:

     •     Right-click the map, and click Remove All Map Locations.
     •     Move the mouser pointer over the Actions menu, and click Remove All Map Locations.

     The Remove All Map Items dialog box is displayed prompting for your confirmation.
3.   Click Yes.

Related link
  Using Map View

Editing a Map Location
         NOTE: Only OpenManage Essentials Administrators and Power Users are permitted to edit a map location.

To edit a map location:

1.   Right-click a pin on the map, and select Edit Location Details.
     The Device Location Details dialog box is displayed.
2.   In the Description field, edit the description as required.
3.   If you want to move the device to a new location, in the Address field, type the location name.
4.   In the Contact field, edit the contact information as required.
5.   Click Save.

Related link
  Using Map View

Removing a Map Location
         NOTE: Only OpenManage Essentials Administrators and Power Users are permitted to remove a map location.

To remove a location on the map:

1.   Perform one of the following:

     •     Click Home → Map View.
     • Click Manage → Devices → Map View.
2.   On the Map View, right-click the location you want to remove and select Remove Location.
     The Delete Location dialog box is displayed prompting for your confirmation.
3.   Click Yes.

Related link
  Using Map View

Exporting All Device Locations
Exporting all device locations allows you to save the information about the devices and their latitude and longitude coordinates as
a .csv file. If the address is known for a pin, it is included in the Description field of the .csv file. Using this file, you can import the
device locations at any time.
         NOTE: By default, the latitude and longitude coordinates of each device is saved to the .csv file, even if the latitude and
         longitude coordinates were not provided previously.
To export all device locations currently placed on the map:

1.   On the Map View, move the mouse pointer over the Actions menu, and then click Export.




                                                                                                                                           105
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 107 of 388


      The Save As dialog box is displayed.
2.    Browse to the location where you want to save the .csv file, type an appropriate file name, and click Save.

Related link
  Using Map View


PowerEdge FX Chassis View
By default, the PowerEdge FX2 and FX2s chassis are classified in the device tree under All Devices → Modular Systems →
PowerEdge FX. The compute sleds installed in the PowerEdge FX chassis, when discovered, are displayed under the appropriate
PowerEdge FX device group in the device tree.
When a PowerEdge FX chassis is selected in the device tree, a graphical representation (Chassis View) of the front of the chassis is
displayed in the device details page. The inventory information of the chassis is displayed under the Chassis View.

        NOTE: The Chassis View is only displayed if the PowerEdge FX chassis is discovered using the WS-Man protocol, and at
        least one of the slots is occupied by a sled.




Figure 22. Chassis View

Tool Tip and Device Selection
Moving the mouser pointer over a slot on the chassis displays a yellow rectangular box around the slot and a tool tip.

        NOTE: The tool tip is only displayed if the slot has a sled installed.

The information displayed in the tool tip varies based on the discovery and inventory status of the sleds. If a sled that contains
multiple compute nodes (For example, PowerEdge FM120x4) is discovered and inventoried, the tool tip displays the:

•     Slot name
•     Health status
•     Connection status

If any other compute sled is discovered and inventoried and for storage sleds, the tool tip displays the:

•     Slot name
•     Sled model
•     Service Tag
•     Asset tag




106
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 108 of 388


•   Health status
•   Connection status

To select a slot, click the visual representation of the sled in the Chassis View. When a slot is selected, a yellow rectangular box is
displayed around the sled.

•   If a slot with a compute sled is selected, the sled inventory, if available, is displayed under the Chassis View.
•   If slot with a sled that contains multiple compute nodes is selected, a summary of discovered devices (nodes) is displayed under
    the Chassis View. To view the inventory information of a node, double-click the node in the summary.
•   If a slot with a storage sled is selected, the chassis inventory information is displayed under the Chassis View. The storage sled
    inventory information is displayed in the chassis inventory.

      NOTE: Complete inventory information of a sled is displayed only if the chassis and sled are discovered using the
      appropriate protocol.

      NOTE: If a sled is selected in the device tree, the Chassis View is not displayed. To display the Chassis View, click the
      PowerEdge FX chassis in the device tree.

Overlays
If a slot is occupied and the compute sled is discovered, by default, the health status of the compute sled is overlaid in the Chassis
View. The following are the available overlay options and their descriptions.
Table 42. Overlays

Overlay Option                                 Overlay Color                                  Device Status
Health Status                                  Red                                            Warning

                                               Yellow                                         Critical

                                               Light gray                                     Unknown

Connection Status                              Dark gray                                      Off (disconnected)

                                               No overlay                                     On (connected)

None                                           No overlay                                     Not applicable

      NOTE: The health and connection status of a compute sled requires that the sled is discovered. If a sled is not discovered
      or the status of the sled is unknown, the health and connection status are displayed as normal.

The health status of the sled that contains multiple compute nodes reflects the health status of the compute node with most critical
severity. For example, if one compute node is in a Warning state and the remaining compute nodes are in a Critical state, the sled
displays Critical status.

      NOTE: The Chassis Management at Server Mode option of the PowerEdge FX chassis can be used to configure rack
      style management. If rack style management is disabled on a PowerEdge FX chassis, the health status roll-up of the
      chassis is not updated in OpenManage Essentials. Also, alerts generated from the PSU and fan are not received in
      OpenManage Essentials.

Right-Click Actions
The right-click action on any compute sled that is discovered and available in the device tree is the same as when you right-click the
sled in the device tree.

      NOTE: Right-click actions are not available for sleds that contain multiple compute nodes and storage sleds.


Navigation Trail
The navigation trail is displayed as a link under the Chassis View and indicates the currently selected device. You can click a device
name in the navigation trail to go back to the chassis inventory.



                                                                                                                                          107
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 109 of 388



Support For PowerEdge FX Chassis Sleds
The sleds that can be installed in the PowerEdge FX2 and PowerEdge FX2s chassis may vary. The following are the types of sleds
and their support in OpenManage Essentials:

•     Compute sleds — Require discovery and inventory for getting the inventory information and other functionality. Discovery and
      classification of these sleds can be performed using OMSA (in-band) or iDRAC (out-of-band).
•     Storage sleds — These sleds are not discoverable and are not displayed in the device tree, device summary, or any typical
      locations for a device. The storage sled is displayed in the Chassis View and the storage sled inventory is displayed in the chassis
      inventory page.
•     Sleds with multiple compute nodes — An example of this type of sled is the PowerEdge FM120x4 sled which contains four
      compute nodes. If the compute nodes of the sled are discovered, they are displayed in the device tree under: All Devices →
      Modular Systems → PowerEdge FX → Chassis Group → Sled Group → Server Node. Each compute node is displayed under
      the corresponding sled. The Sled Group name in the device tree can be edited if necessary.
             NOTE: For in-band (without OMSA) discovery and monitoring of the PowerEdge FM120x4 sled, ensure that either
             the WMI or SSH protocol is enabled and setup.

        NOTE: The sleds installed in a PowerEdge FX chassis are sorted based on the device name and not on the slot number in
        the device tree.


VLAN Configuration Management
The VLAN Configuration tab enables you to:

•     View details of the blade server and IOA fabric interconnect such as the blade server NIC port, the associated IOA fabric port,
      and the VLAN IDs.
             NOTE: Even if there is no information available for the IOAs, the fabric status is shown as data in grid and values such
             as Slot is empty and Firmware or Mode is not supported.
•     Assign VLAN IDs to the IOAs within the chassis.

        NOTE: If an already discovered IOA or server is moved from one chassis to another, removed from a chassis, or swapped
        within the chassis, you must delete and rediscover the chassis, servers, and the corresponding IOAs. Otherwise, the
        VLAN configuration inventory may display duplicate or incorrect data.

Requirements for VLAN Configuration Management
•     VLAN configuration management is supported only for PowerEdge M1000e and PowerEdge FX2 or FX2s chassis.
             NOTE: For VLAN configuration management on MX7000 chassis, see Editing a device deployment template.

•     The chassis and its components (blade servers and IOAs) must be discovered in OpenManage Essentials using the Guided
      Wizard.
•     The IOAs must be configured in Standalone, Virtual Link Trunk (VLT), or Programmable MUX (PMUX) operational mode.
•     The minimum required firmware version is as follows:

      – PowerEdge M1000e—firmware version 6.1.
      – PowerEdge FX2 or FX2s—firmware version 2.1.
      – PowerEdge M and FN IOA

         ◦    OpenManage Essentials version 2.5 supports 9.10.0.0, 9.10.0.1P10, 9.11.0.0, 9.11.2.0, 9.13.0.0, and 9.14.0.0.

        NOTE: VLAN configuration management is not supported for the PowerEdge FM120x4 sleds. Only the server-chassis
        slot mapping is displayed in the VLAN Configuration tab for the PowerEdge FM120x4 sleds. The server name and NIC
        port details are not displayed in the VLAN Configuration tab for the PowerEdge FM120x4 sleds.




108
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 110 of 388



Viewing the VLAN Configuration Inventory
To view the VLAN configuration inventory of a chassis:

1.   Click Manage → Devices.
2.   In the device tree, click Modular Systems.
3.   Click PowerEdge M1000e or PowerEdge FX2 and then click the chassis CMC node.
4.   On the right pane, click the VLAN Configuration tab.
     The VLAN configuration inventory is displayed.



          NOTE: If you are accessing the VLAN Configuration tab for the first time, click the refresh icon                   that is
          displayed at the middle of the VLAN Configuration tab to display the configuration inventory.

           NOTE: The VLAN configuration inventory that is displayed may not be up-to-date. To view the latest VLAN



           configuration inventory, click the refresh icon            that is displayed at the top-right of the VLAN Configuration
           tab.
          NOTE: VLAN configuration inventory is not displayed if the IOAs are not discovered or configured.
           Even though the VLAN configuration inventory is not displayed, OpenManage Essentials displays the IOA Name and
           Model information if it is available. Otherwise a status message is displayed, indicating the reason for the non-availability of
           the inventory information.

     The following table describes the status messages that may be displayed.
     Table 43. Viewing the VLAN Configuration Inventory

     Status                                                             Description
     Device not discovered                                              The IOA is not discovered in OpenManage Essentials.

     Slot is empty                                                      The chassis fabric slot is empty.

     Firmware or Mode not supported                                     The operational mode or firmware version of the IOA is not
                                                                        supported.

     Unable to retrieve data                                            OpenManage Essentials is unable to retrieve the VLAN
                                                                        configuration inventory from the IOA.

     Unknown/Error                                                      An error occurred or the status is unknown.

     Model not supported                                                The IOA model is not supported.


Assigning VLAN IDs
Before you begin, ensure that you have IOA administrator rights.
To apply VLAN assignments:

1.   On the VLAN Configuration tab, under Chassis IOA, type the VLAN IDs in the Tagged VLANs and Untagged VLAN columns
     for the appropriate ports.
           NOTE: The valid range for VLAN IDs are 1 to 4094. Use a comma (,) to separate VLAN IDs and use a hyphen (-) to
           specify the ID range.
2.   Click Apply.
     The VLAN Configuration window displays the IOA ports that you modified.

           NOTE: You can also modify the VLAN IDs in the VLAN Configuration window.




                                                                                                                                       109
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 111 of 388


3.    Type a unique name of the task.
            NOTE: It is recommended that you enter a unique name for the task.
4.    If required, select a schedule for the task.
5.    Type the credentials of the IOA that have fabric administrator rights.
6.    Click Finish.

The VLAN Configuration task is displayed in the Task Results tab. After the task is completed, OpenManage Essentials
automatically inventories the VLAN configuration of the IOAs on the chassis.

       NOTE: While applying VLAN assignments to multiple ports, the VLAN configuration task may fail. The Task Results tab
       displays the ports to which the VLAN assignments failed with a message stating that the task failed after multiple retries
       or the server closed the network connection unexpectedly. In such a scenario, you can retry the VLAN configuration
       after some time to the ports were not configured successfully.

       NOTE: OpenManage Essentials uses the IOA CLI commands to configure the VLAN on the IOA. Configuring the VLAN on
       the IOA is a time consuming and resource-intensive operation that may affect the performance of the IOA. To balance
       the operations on the IOA, OpenManage Essentials runs the IOA CLI commands in a timely manner, ensuring that there is
       sufficient time to configure the VLAN on the IOA. If the IOA is already running several operations, the VLAN
       configuration task may either be prolonged or fail. If the VLAN configuration fails on some IOA ports, you can rerun the
       VLAN configuration task on the corresponding IOAs.

Resetting all VLAN IDs
Before you begin, ensure that you have fabric administrator rights.
After you make changes to VLAN IDs, if you want to revert all the changes:

1.    Click Reset All.
2.    When you are requested to confirm, click Yes.
            NOTE: The changes you made to the VLAN IDs are affected only in the OpenManage Essentials user interface.


Setting the Default VLAN ID Values
Before you begin, ensure that you have fabric administrator rights.
If you want to set the default VLAN IDs:

1.    Select the IOA fabric port that you want to set to the default VLAN ID.
2.    Click Set to default value.
      The tagged VLAN column displays All VLANs and the untagged VLAN column displays 1.

            NOTE: For tagged VLANs, the default value of All VLANs ranges from 2 to 4094. For untagged VLAN, the default
            value is 1.
3.    Click Apply.
4.    Type a unique name of the task.
5.    If required, select a schedule for the task.
6.    Type the credentials of the IOA that have fabric administrator rights.
7.    Click Finish.

The VLAN Configuration task is created in the Task Results tab. After the task is completed, OpenManage Essentials automatically
inventories the VLAN configuration of all IOAs in the chassis.


Dell NAS Appliance Support
The following table provides information about discovery and classification, availability of appliance node information, and alert
correlation for supported Dell NAS appliances.




110
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 112 of 388


Table 44. Dell NAS Appliance Support

                    Dell EqualLogic FS7500 with            Dell EqualLogic FS7500 with            Dell PowerVault MD NX3500 with
                    FluidFS Version 1                      FluidFS Version 3                      FuildFS Version 1
Discovery and       Support for discovery using both       Support for discovery using the        Support for discovery using both
Classification      the EqualLogic Group Manager IP        controller/node IPs.                   the controller IPs.
                    and management IP.                     If discovered using the EqualLogic     If discovered using the PowerVault
                    If discovered using the controller     Group Manager IP, the device will      MD Series array IP, the device is
                    IPs, it results in multiple entries.   get classified under Dell EqualLogic   classified as a PowerVault MD
                                                           Group.                                 Array device.

Appliance Node      Displayed in the device inventory.     Displayed in the device inventory.     Displayed in the device inventory.
Information

Alerts              Alerts received from the controller    Alerts received from the controller/ Some alerts received from the
                    are not correlated to the device.      node are correlated to the device.   device may be displayed as
                                                                                                Unknown.
                                                                 NOTE: It is highly
                                                                 recommended to include all
                                                                 controller/node IP addresses
                                                                 in the discovery range
                                                                 configuration while
                                                                 discovering a NAS cluster
                                                                 with FluidFS version 3.0.
                                                                 This enables OpenManage
                                                                 Essentials to properly
                                                                 associate the SNMP alerts
                                                                 received from various
                                                                 participating controllers/
                                                                 nodes with the discovered
                                                                 cluster.


OEM Device Support
OEM devices (re-branded or de-branded servers and Compellent S8000 iDRAC), when discovered, are classified under OEM
Devices in the device tree. Most of the functionality available to servers, such as tasks, reports, and filters are also applicable to
OEM servers. However, system update may not be possible if it is not supported by the OEM device module. For more information
on the supported protocols and features, see information on servers/devices in Supported Devices Protocols and Features Matrix.
OEM servers are always classified under the OEM Devices group in the device tree. They are not displayed under the Servers or
RAC group. If both the server and RAC of the OEM device are discovered, they are correlated and displayed as one device under the
OEM Devices group. Other OEM devices except servers and RAC are classified under the different server groups such as Microsoft
Virtualization Servers, VMware ESX servers, and so on, based on the classification criteria they satisfy.

      NOTE: OEM servers discovered using WMI protocol are classified under the Servers device group only when OMSA is
      installed. OEM servers without OMSA are classified under the Unknown device group.




                                                                                                                                       111
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 113 of 388




                                                                                                                                 8
Devices — Reference
This page provides the following information:

•     List of devices based on the device type, for example, HA clusters, servers, and so on.
•     Summary of devices and alerts.
•     Alerts generated for a particular device.
•     Health of devices based on the Normal, Critical, Unknown, and Warning types.
            NOTE: For Dell EMC 12th Generation PowerEdge servers [denoted as yx2 x, where y denotes alphabets, for example
            M (modular), R (rack), or T (tower) and x denotes numbers] discovered by using WMI and SNMP protocols, the
            DRAC health status is displayed (under Servers) even if OpenManage Server Administrator is not installed on the
            server.
            NOTE: Based on the severity of the agents of a discovered device, the overall health is the most critical of the
            severity. For example, in the device tree, for server types, if there are two servers with status Warning and Critical,
            then the parent Server’s status is set to Critical.
•     Connection status of devices — When both server (in-band) and DRAC/iDRAC (out-of-band) are discovered and correlated,
      the Connection Status under Device Summary displays the connection status of the server. The RAC Connection Status
      under RAC Device Information displays the DRAC/iDRAC connection status. When only DRAC/iDRAC (out-of-band) is
      discovered (server is not discovered), the Connection Status and the RAC Connection Status display the same information.
      When only server (in-band) is discovered (DRAC/iDRAC is not discovered), the Connection Status displays the connection
      status of the server. The RAC Connection Status is set to Off.
•     Inventory information for devices.
•     View hardware logs for servers.
•     Filtering capabilities of the grid:

      – The grouping bar
      – Filter icon options
      – Sorting by clicking on the column
      – Re-ordering the columns

            NOTE: None of these are saved if the console is closed and restarted.

Related links
  Viewing devices
  Viewing device inventory
  Creating a New Group
  Adding Devices to an Existing Group
  Hiding a Group
  Using Map View


Viewing Inventory
To view inventory, from All Devices, traverse to the device and click the device.
The device details and the alerts link are displayed.

Viewing Alerts
To view alerts, from the inventory details page, click Alerts.




112
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 114 of 388



Alert Details
Table 45. Alert Details

Field                                                              Description
Severity                                                           Alert severity based on Normal, Critical, Warning, and Unknown.
Acknowledged                                                       Flagged status for an alert.
Time                                                               Time at which the alert was generated in date and time format.
Device                                                             IP address of the device.
Details                                                            Lists the alert information. For example, System is down:<IP
                                                                   Address of the device>
Category                                                           Lists the alert category type, for example System Events.
Source                                                             Lists the alert source name.


Viewing Hardware Logs
You can view hardware logs for servers. To view hardware logs, from the inventory details page, click Hardware Logs.

Hardware Log Details
Table 46. Hardware Log Details

Field                                                              Description
Severity                                                           Alert severity based on Normal, Critical, Warning, and Unknown.
Time                                                               The system time at which this alert was generated in date and
                                                                   time format on the managed node.
Details                                                            Lists the details of the hardware log.
                                                                   For example, power supply redundancy is lost.


VLAN Configuration
The VLAN Configuration tab allows you to view and manage the VLAN settings of the IOAs within the PowerEdge M1000e and
PowerEdge FX2/FX2s chassis.
The following are the fields displayed in the VLAN Configuration tab:
Table 47. VLAN Configuration

Field                                                              Description
Last Inventory Time                                                Displays the last VLAN inventory time.

Grouped by: Fabric                                                 Displays the attribute by which the currently displayed data is
                                                                   grouped. By default, the VLAN configuration inventory is
                                                                   grouped by Fabric.

Total                                                              Displays the total number of attributes.

Modified                                                           Displays the number of attributes that you have modified.

Chassis Blade                                                      Displays details of the blade servers that are installed in the
                                                                   chassis.

Modified                                                           Displays if you have modified the VLAN ID.

Server Name                                                        Displays the host name of the blade server.




                                                                                                                                     113
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 115 of 388


Field                                                            Description
Service Tag                                                      Displays the Service Tag of the blade server.

Model                                                            Displays the model name of the blade server. If this field is blank,
                                                                 the server is not present.

Slot                                                             Displays the slot where the blade server is installed.

Subslot                                                          Displays the subslot of the blade server node.

NIC                                                              Displays the Fully Qualified Device Descriptor (FQDD) of the
                                                                 NIC.

NIC Port                                                         Displays the NIC port to which the blade server is connected.

Chassis IOA                                                      Displays details of the IOAs that are installed in the chassis.

IOA Name                                                         Displays the name of the IOA.

IOA Model                                                        Displays the model name of the IOA.

Fabric                                                           Displays the fabric associated with a specific slot of the chassis.
                                                                 The fabric is identified by a combination of the group name (A,
                                                                 B, or C) and slot number (1 or 2).

Port                                                             Displays the port assigned to the IOA.

Tagged VLAN(s)                                                   Displays the tagged VLAN IDs of the IOAs.

Untagged VLAN                                                    Displays the untagged VLAN IDs of the IOAs.

Set to default value                                             Click to set the VLAN IDs to the default values.

Reset All                                                        Click to revert all changes that you had made.

Apply                                                            Click to apply the changes to the VLAN settings.


VLAN Configuration Task
The VLAN Configuration Task window is displayed when you click Apply to assign VLAN IDs. The following are the fields that are
displayed in the VLAN Configuration Task window:
Table 48. VLAN Configuration Task

Field                                                            Description
Task Name                                                        Displays the name of the VLAN configuration task.

Selected IO Module Ports                                         Displays the IOA ports that you have selected to apply changes.

Grouped by: Fabric                                               Displays the attribute by which the currently displayed data is
                                                                 grouped. By default, the VLAN configuration inventory is
                                                                 grouped by Fabric.

Chassis Blade                                                    Displays details of the blade servers that are installed in the
                                                                 chassis.

Server Name                                                      Displays host name of the blade server.

Service Tag                                                      Displays the unique identifier assigned to the blade server.

Model                                                            Displays the model name of the blade server.

Slot                                                             Displays the slot where the server is installed.

Subslot                                                          Displays the subslot of the server node.




114
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 116 of 388


Field                                                                Description
NIC                                                                  Displays the Fully Qualified Device Descriptor (FQDD) of the
                                                                     NIC.

NIC Port                                                             Displays the NIC port to which the server is connected.

Chassis IOA                                                          Displays details of the IOAs that are installed in the chassis.

IOA Name                                                             Displays the name of the selected IOA.

IOA Model                                                            Displays the model name of the selected IOA.

Fabric                                                               Displays the fabric associated with a specific slot of the chassis.
                                                                     The fabric is identified by a combination of the group name (A,
                                                                     B, or C) and slot number (1 or 2).

Port                                                                 Displays the port assigned to the IOA.

Tagged VLAN(s)                                                       Displays the list of tagged VLANs for the selected IOA.

Untagged VLAN                                                        Displays the untagged VLAN for the selected IOA.

Set the Task Schedule

Run now                                                              Select to run the configuration task immediately.

Set Schedule                                                         Select to schedule a task at a required date and time.

Enter IOA Credentials for the task execution

User Name                                                            Provide the fabric administrator user name required to run the
                                                                     task.

Password                                                             Provide the fabric administrator password required to run the
                                                                     task.

Help                                                                 Click to open the online help.

Cancel                                                               Click to cancel the task.

Finish                                                               Click to run the task at the defined schedule.


Task Results
The Task Results tab displays the status of tasks.
The following table describes the fields that are displayed in the Task Results tab.
Table 49. Task Results

Field                                                                Description
Status                                                               Displays an icon representing the task status:

                                                                         — Running or pending
                                                                         — Complete
                                                                         — Stopped
                                                                         — Failed

                                                                          — Warning

Task Name                                                            Displays the name of the task.

Start Time                                                           Displays the start time of the task.




                                                                                                                                       115
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 117 of 388


 Field                                                              Description
 % Completed                                                        Displays the progress information of the task.

 Task State                                                         Displays the state of the task:

                                                                    •   Running
                                                                    •   Complete
                                                                    •   Stopped
                                                                    •   Failed
                                                                    •   Warning

 End Time                                                           Displays the end time of the task.

 Executed by User                                                   Displays the name of the user who executed the task.


Alert Filters
You can apply these filters to Alerts. Select Continuous Updates to enable the user interface to update automatically when new
alerts are received.
Table 50. Alert Filters

 Field                                                              Description
 Severity                                                           Select from these alerts: All, Normal, Critical, Warning, and
                                                                    Unknown.
 Acknowledged                                                       Flagged status for an alert.
 Time                                                               Time at which this alert was generated in date and time format.
 Device                                                             The IP address or host name of this device.
 Details                                                            The alert information. For example, System is down: <IP address
                                                                    of the device>.
 Category                                                           The alert category type, for example System Events.
 Source                                                             The Alert Source.


Viewing noncompliant systems—Devices
To view noncompliant systems associated with

•     A catalog baseline, click the Non-Compliant Firmware & Drivers tab.
•     A configuration baseline, click the Non-Compliant Configurations tab.

         NOTE: Non-compliant systems are only available for device groups such as servers, RAC, and custom groups. It is not
         available for individual devices.

Non-Compliant Firmware and Drivers
The Non-Compliant Firmware & Drivers tab provides the following information:
Table 51. Non-Compliant Firmware & Drivers

 Field                                                              Description
 System Name                                                        Domain name of the system.
 Group Name                                                         Displays the name of device groups.




116
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 118 of 388


Field                                                           Description
Baseline Name                                                   Displays the name of catalog baseline associated with a device
                                                                group.
Model Type                                                      The systems model name. For example, PowerEdge.
Operating System                                                The operating system that is installed on the system.
Service Tag                                                     A unique identifier, that provides the service
                                                                lifecycle information.
Update Method                                                   Displays the update methods such as OpenManage Server
                                                                Administrator and iDRAC.
Discovered Time                                                 Time and date of discovery.
Inventory Time                                                  Time and date of inventory.

Select noncompliant systems, and select the updates in the Select Updates to Apply pane. Click Apply Selected Updates.
Table 52. Apply Selected Updates

Field                                                           Description
System Name                                                     System’s domain name.
Importance                                                      The requirement of this software update for the system.
Update Method                                                   Displays the update methods such as OpenManage Server
                                                                Administrator and iDRAC.
Component                                                       The software information.
Type                                                            The type of software update.
Installed Version                                               The installed version number.
Upgrade/Downgrade                                               A green arrow indicates an upgrade.
Available Version                                               The available version number.
Package Name                                                    The name of the software update.
Reboot Required                                                 Specifies whether the update requires a system reboot.

Related link
  System Update

Non-Compliant Configurations
Table 53. Non-Compliant Configurations

Field                                                           Description
Device Name                                                     Displays the name of the device.
Service Tag                                                     A unique identifier, that provides the service
                                                                lifecycle information.
Model                                                           The model name of the system. For example, PowerEdge.
Compliance Baseline                                             The configuration baseline associated with the device.
Inventory Last Run                                              Time and date of inventory.


Device Search
The search options available are:




                                                                                                                                 117
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 119 of 388


•     Run an existing query
•     Create a new query
•     Delete a query

Table 54. Device Search

Field                                         Description
Run Existing Query                            Select this option and then select a query from the drop-down
                                              list.
Delete Query                                  Select to delete a query after you complete the following action.
                                              Select the Run Existing Query option, then from the drop down
                                              list select the query that you want to delete.
Create New Query                              Select this option to create a query and then enter a name for
                                              the query in the adjoining field.
Query logic                                   Select from the query logic options to create multiple query
                                              options. Select the check box to enable and include an
                                              argument.
Run Query                                     Runs the selected query.
Save Query                                    Saves the selected query.

Related link
  Query Results

Query Results
The device search lists these options:
Table 55. Query Results

Field                                         Description
Health Status                                 Displays the health status of the device. The status options are
                                              Normal, Warning, Critical, and Unknown.
Connection Status                             Displays the connection status of the device. The connection
                                              status are On or Off.
Name                                          Displays the name of the device.
OS Name                                       Displays the operating system installed on the device.
OS Revision                                   Displays the version of the operating system installed on the
                                              device.
Service Tag                                   Displays a unique identifier, that provides the service lifecycle
                                              information.
Asset Tag                                     Displays the defined asset tag for the device.
Device Model                                  Displays the system’s model name. For example, PowerEdge
                                              R710.
Device type                                   Displays the type of device. For example, for the Device Model
                                              PowerEdge R710, the Device Type value is Server.
System Revision Number                        Displays the revision history of the device.


Creating Device Group




118
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 120 of 388



Device Group Configuration
Table 56. Device Group Configuration

Field                                                                Description
Name                                                                 Provide name of the new group.
Parent                                                               The device under which this group is created.
Description                                                          Provide description for the device group.


Device Selection
You can select predefined groups (device types), custom groups, specific devices, or a device query.
To use device query, select a query from the list.
Click New to create a new device query to search and assign the devices to the alert action.
Click Edit to change the query logic.
Select groups or devices from the tree, you can use the query option to create very specific criteria for the selection.

Device Selection Options
Table 57. Device Selection Options

Field                                                                Description
All Devices                                                          Select to include all the devices that are managed in
                                                                     OpenManage Essentials.

Citrix XenServers                                                    Select to include Citrix XenServers.

Clients                                                              Select to include client devices, such as desktops, portables, and
                                                                     workstations.

Hyper-Converged Infrastructure                                       Select to include VxRail and XC Series devices.

HA Clusters                                                          Select to include High Availability server clusters.

KVM                                                                  Select to include keyboard video mouse devices.

Microsoft Virtualization Servers                                     Select to include Microsoft virtualization servers.

Modular Systems                                                      Select to include modular systems.

Network Devices                                                      Select to include network devices.

OOB Unclassified Devices                                             Select to include out of band Unclassified Devices like Lifecycle
                                                                     Controller enabled devices.

Power Devices                                                        Select to include PDUs and UPS.

PowerEdge C Servers                                                  Select to include PowerEdge C servers.

Printers                                                             Select to include printers.

RAC                                                                  Select to include devices with remote access controllers.

Servers                                                              Select to include servers.

Storage Devices                                                      Select to include storage devices.

Unknown                                                              Select to include unknown devices.

VMware ESX Servers                                                   Select to include VMware ESX servers.




                                                                                                                                     119
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 121 of 388


Field                                                              Description
VxFlex Ready Nodes                                                 Select to include VxFlex Ready Nodes and ScaleIO Ready
                                                                   Nodes.


Summary — Group Configuration
View and edit selections.


Map View Interface—Devices Tab
The following are the items displayed in the Map View and their descriptions.
Table 58. Map View (Devices) Tab Interface

Item                                                               Description
Search bar                                                         Enables you to search for locations on the map.

Internet connection warning                                        Indicates if the system is not connected to the Internet.

        NOTE: The Internet connection warning is displayed
        only if the Show internet connection warning when
        unable to connect to the internet option is selected in
        Map Settings.

Overlays menu                                                      Enables you to overlay the health or connection status of the
                                                                   device on the pin. The options available are:

                                                                   •   Health
                                                                   •   Connectivity

                                                                   A tick mark is displayed beside the option that is selected.

Actions menu                                                       Enables you to select a list of actions that can be performed.
                                                                   The available actions are:

                                                                   •   Show All Map Locations
                                                                   •   Go to Home View
                                                                   •   Save Current View as Home View
                                                                   •   Add Licensed Device
                                                                   •   Import Licensed Devices
                                                                   •   Remove All Map Locations
                                                                   •   Export
                                                                   •   Settings
                                                                   •   Edit Location Details
                                                                   •   Remove Location
                                                                   •   Zoom to Street Level

                                                                         NOTE: The Zoom to Street Level option is displayed only
                                                                         when a device is selected on the map.

                                                                         NOTE: The Edit Location Details, Remove Location, and
                                                                         Zoom to Street Level options in the Actions menu are
                                                                         device-specific. These options must be used after
                                                                         selecting a device on the map.

Navigation toolbar                                                 Enables you to move the map, zoom in or zoom out, and select
                                                                   a map service provider. The options available map providers are:




120
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 122 of 388


Item                                                               Description

                                                                   •   MapQuest Provider (Licensed)
                                                                   •   Bing Road Provider (Licensed)
                                                                   •   Bing Satellite Provider (Licensed)

Scale                                                              Displays the current zoom level of the map in meters or
                                                                   kilometers.


Devices at this location
The Device at this location window is displayed when you double-click or right-click a multi-pin group and then select Details. The
following are the fields displayed in the Devices at this location window:
Table 59. Devices at this location

Field                                                              Description
Health Status                                                      Displays the health status of the device. The status options are
                                                                   Normal, Warning, Critical, and Unknown.

Connection Status                                                  Displays the connection status of the device. The connection
                                                                   statuses are On or Off.

Device Name                                                        Displays the name of the device.

Service Tag                                                        Displays a unique identifier, that provides the service lifecycle
                                                                   information.

Asset Tag                                                          Displays the defined asset tag for the device.

Model                                                              Displays the model name of the system. For example,
                                                                   PowerEdge R710.

Description                                                        Displays the description of the device.

Address                                                            Displays the location information of the device.

Contact                                                            Displays the contact information of the device.


Map Settings
The following table provides information about the fields displayed in the Map Settings dialog box.
Table 60. Map Settings

Field                                                              Description
Update map view on any device or device group selection            Select to configure the map to display only the pin or pins that
                                                                   correspond to the device or device group selected in the device
                                                                   tree.
Show internet connection warning when unable to connect to Select to display a message on the map when an Internet
the internet                                               connection is not available.
Bing Key                                                           Select to provide a valid Bing key required by the Bing map
                                                                   provider.
MapQuest Key                                                       Select to provide a valid MapQuest key required by the
                                                                   MapQuest map provider.
Key                                                                Allows you to enter a valid Bing key or MapQuest key for
                                                                   rendering the Map View.
Cancel                                                             Click to close the Map Settings dialog box.



                                                                                                                                       121
        Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 123 of 388


Field                                     Description
Apply                                     Click to save the updates in the Map Settings dialog box.

Related link
  Using Map View




122
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 124 of 388




                                                                                                                                    9
Deployment and reprovisioning
Every server and chassis has a large list of attribute values that describe the settings and functionality of the device. These settings
must be set properly before deploying an operating system to make the server functional. The Deployment Portal enables you to
perform initial server or chassis configuration and operating system deployment. The portal allows you to create a server or chassis
configuration templates that include settings for Lifecycle Controller system, iDRAC, BIOS, RAID, NIC for servers, and CMC for
chassis. These configuration templates can then be deployed to multiple servers or chassis for initial configuration before an
operating system deployment process is kicked off from a predefined bootable ISO image.
Using the Deployment Portal, you can:

•   Create a device configuration template
•   Edit a device configuration template
•   Create a chassis infrastructure template
•   Add devices to the repurpose and bare-metal group
•   Modify or remove devices from the repurpose and bare-metal group
•   Deploy a bare-metal server
•   Create a virtual I/O identity pool
•   Create a compute pool
•   Deploy a server with virtual I/O identities (stateless deployment)
•   Replace a server
•   View the tasks that have been created and their status
•   Configure the deployment file share

      NOTE: In OpenManage Essentials version 2.5, streaming functionality is used for the device configuration deployment
      and configuration compliance tasks of:

      •   PowerEdge servers with the latest version of iDRAC7 or 8, and firmware versions of 2.50.50.50 and later installed.
      •   PowerEdge servers with the latest version of iDRAC9, and firmware versions of 3.00.00.00 and later installed.

      It is recommended to upgrade the servers to the latest firmware versions, and avoid using file share settings because of
      security reasons in the Windows operating systems.
      NOTE: Devices in the repurpose and bare-metal group are displayed as targets for device configuration deployment. You
      must explicitly add devices to the repurpose and bare-metal group for deploying a device configuration. On bare-metal
      deployments, you can remove the devices from the repurpose and bare-metal group after the deployment is complete.
      NOTE: The device configuration deployment and configuration compliance features are licensed (fee-based) for
      supported PowerEdge servers with iDRAC. The CMC Enterprise License is required for creating and deploying device
      configuration along with verifying configuration compliance on PowerEdge VRTX and PowerEdge FX2/FX2s chassis. For
      more information about licensing, see OpenManage Essentials — Server Configuration Management License.
      NOTE: No license is required for creating or deploying device configuration on PowerEdge M1000e chassis or IOA.




                                                                                                                                     123
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 125 of 388


Related links
  Configuring the deployment file share
  Creating a device deployment template
  Adding devices to repurpose and bare-metal devices group
  Managing device deployment templates
  Deploying a device deployment template—Bare-metal deployment
  Deploying a device configuration template—Stateless deployment
  Deploying a network ISO image
  Auto deploying device configurations
  Viewing the Deployment Tasks
  Additional information


Server Configuration Management license
        NOTE: Installing and using OpenManage Essentials does not require the Server Configuration Management license. The
        server configuration management feature requires the Server Configuration Management license be installed on target
        servers.

The Server Configuration Management license enables you to deploy a device configuration and verify device configuration
compliance on licensed servers. The license is a perpetual license that is valid for the life of a server, and can be bound to the Service
Tag of only one server at a time.
        NOTE: Enabling the server configuration management feature in OpenManage Essentials does not require any separate
        license. If the Server Configuration Management license is installed on a target server, you can use the server
        configuration management feature on that server.

        NOTE: The Server Configuration Management license is required only for deploying device configurations and verifying
        configuration compliance on servers, and this license is not required for creating device configuration template from a
        server.

Licensable servers
You can apply Server Configuration Management license to the following servers:

•     PowerEdge servers having iDRAC7 with firmware version 1.57.57 or later
•     PowerEdge servers having iDRAC8 with firmware version 2.00.00.00 or later
•     PowerEdge servers having iDRAC9 with firmware version 3.00.00.00 or later

Purchasing license
You can purchase the Server Configuration Management license when you purchase a server or by contacting your Sales
Representative. You can download the purchased license from the Software License Management Portal at Dell.com/support/retail/
lkm.

Deploying the license
If you purchase a license after you have purchased a server, you can deploy the license on the server using the Dell EMC License
Manager. You can install License Manager using the OpenManage Essentials installation package. For information about deploying
the license, see the Dell EMC License Manager User’s Guide at Dell.com/OpenManageManuals.

Verifying license information
You can verify if the Server Configuration Management license is installed on a server through one of the following methods:

•     In the Reports portal, Managed Systems Reports > Warranty & License, click License Information. The License Description
      column indicates the license that has been installed on the licensed devices.



124
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 126 of 388


•    Select a device in the device tree. The License Information table in the device inventory indicates the licenses installed on the
     device.

Viewing unlicensed server targets
To view the server targets for configuration management that do not have the Server Configuration Management license installed:

1.    Navigate to the Manage > Configuration > Device Configuration Compliance Portal.
2.    In the Device Compliance pie-chart, click the Non-licensed segment. All the Non-licensed Devices window displays the
      possible targets for server configuration management that do not have a license.

Related links
  Deploying a device deployment template—Bare-metal deployment
  Deploying a device configuration template—Stateless deployment
  Setting up device configuration auto deployment—Bare-metal deployment
  Setting up device configuration auto deployment—Stateless deployment
  Configuring the credentials and device configuration inventory schedule


Device requirements for deployment and compliance tasks
The following are the device requirements for device configuration deployment and configuration compliance tasks:

•    For servers:

     – PowerEdge servers with the latest version of iDRAC7, 8, or 9 with the Lifecycle Controller firmware installed.
     – Server Configuration Management license installed on the iDRAC. This license is not the same as the iDRAC license.
     – iDRAC Enterprise or iDRAC Express license. This license is not the same as the Server Configuration Management license. If
       the iDRAC Enterprise license is not installed on target servers, certain features of iDRAC are not available.
•    For chassis:

     – Supported firmware versions:

         ◦   PowerEdge MX7000—firmware version 1.0 and later installed.
         ◦   PowerEdge M1000e—firmware version 6.1 and later installed.
         ◦   PowerEdge VRTX—firmware version 3.1 and later installed.
         ◦   PowerEdge FX2 or FX2s—firmware version 2.1 and later installed.
     – PowerEdge FX2, FX2s, and VRTX chassis must have an Enterprise license.
•    For IOAs:

     – IOAs must be configured in one of the following operational modes:

         ◦   Standalone
         ◦   Virtual Link Trunk (VLT)
         ◦   Programmable MUX (PMUX)

                 NOTE: Compliance tasks are not supported for IOAs and IOA attributes in the chassis templates.

     – The IO aggregator must have firmware version of 9.10.0.0, 9.10.0.1P10, 9.11.0.0, 9.11.2.0, 9.13.0.0, and 9.14.0.0 installed.




                                                                                                                                      125
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 127 of 388


Related links
  Creating a device deployment template from a device configuration file
  Creating a device deployment template from a reference device
  Deploying a device deployment template—Bare-metal deployment
  Deploying a device configuration template—Stateless deployment
  Deploying a network ISO image
  Setting up device configuration auto deployment—Bare-metal deployment
  Configuring the credentials and device configuration inventory schedule
  Viewing the device configuration inventory


Getting started for device configuration deployment
Before you deploy a device configuration to target devices, you must:

1.    Configure the deployment file share on the server running OpenManage Essentials.
            NOTE: In OpenManage Essentials version 2.5, streaming functionality is used for the device configuration
            deployment and configuration compliance for the following devices:

            •   PowerEdge servers with the latest version of iDRAC7 or 8, and firmware versions of 2.50.50.50 and later installed.
            •   PowerEdge servers with the latest version of iDRAC9, and firmware versions of 3.00.00.00 and later installed.
            NOTE: It is recommended to upgrade the servers to the latest firmware versions, and avoid using file share settings
            due to security reasons in the Windows operating systems.
2.    Add target devices to the repurpose and bare-metal group.

Related links
  Overview of bare-metal deployment
  Overview of Stateless Deployment
  Configuring the deployment file share
  Adding devices to repurpose and bare-metal devices group


Viewing the Deployment Portal
To view the deployment portal, click Deployment → Deployment Portal.


Configuring the deployment file share
Before creating or deploying a configuration template from a chassis, you must configure the deployment file share in OpenManage
Essentials. However, configuring deployment file share for iDRAC devices is optional. iDRAC with the latest firmware version uses
streaming functionality for creating or deploying a configuration template. The deployment file share temporarily stores the
configuration file that retrieves and applies the configuration settings on a target server or chassis.
To configure the deployment file share:

1.    Perform one of the following:

      •   Click Settings → Deployment Settings.
      •   Click Deployment. In the Common Tasks pane, click File Share Settings.
      •   Click Deployment → Getting Started for Deployment → Configure Deployment File Share.
      •   Click Manage → Configuration. In the Common Tasks pane, click File Share Settings.

      The File Share Settings window is displayed.
2.    Type the domain\user name and password of the server that is running OpenManage Essentials.
3.    If not selected by default, select the Allow using the file share for Device Configuration feature on server check box.
4.    Click Apply.



126
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 128 of 388


     A warning message is displayed indicating that you must upgrade to the latest firmware version which uses the streaming
     functionality. Indicate your confirmation to proceed.

The deployment file share is now configured.
Related link
  Getting started for device configuration deployment


Adding devices to repurpose and bare-metal devices group
Adding devices to the Repurpose and Bare Metal Devices group is a prerequisite for deploying either a configuration template or a
network ISO image on those devices.
      CAUTION: Ensure that only the appropriate devices are added to the repurpose and bare-metal devices group. After
      deploying a configuration template on a repurpose and bare-metal device, it may not be possible to revert the device to
      its original configuration.
      NOTE: Servers that you want to add to the Repurpose and Bare Metal Device Group must have the Server Configuration
      Management license installed. For more information, see OpenManage Essentials — Server Configuration Management
      License.
To add devices to the repurpose and bare-metal devices group:

1.   Click Deployment → Deployment Portal.
2.   In the Repurpose and Bare Metal Devices tab, click Modify Devices.
     The Modify Devices of the Repurpose and Bare Metal Device Group window is displayed.
3.   From the All Applicable Devices tree, select the devices that you want to add to the Repurpose and Bare Metal Devices
     group.
4.   Click Finish.
     The devices are listed in the Repurpose and Bare Metal Devices tab in the right pane, and in the Repurpose and Bare Metal
     Devices group in the device tree.

Related links
  Deploying a device deployment template—Bare-metal deployment
  Getting started for device configuration deployment
  Repurpose and Bare Metal Devices


Overview of bare-metal deployment
The steps that you must perform to deploy a device configuration template on target devices are as follows:

1.   Create a device configuration template—Use the Create Template task in the Common Tasks pane to create a device
     configuration template. You can choose to create the template from either a configuration file or a reference device.
2.   Edit the device configuration template—Select the template from the Templates pane, and edit the desired configuration
     attributes displayed in the right pane.
3.   Deploy the device configuration template on target devices—Use the Deploy Template task in the Common Tasks pane to
     select the template, target devices, edit device-specific attributes, and then deploy the configuration attributes. You can also
     use the Setup Auto Deployment task to deploy a device configuration template on devices that you will be discovering later.

      NOTE: If the hardware of the device from which the device configuration template was created and the hardware of the
      deployment targets are identical, it enhances the possibility of the attributes being deployed successfully. If the hardware
      is not entirely identical, the deployment task may not complete successfully. However, the attributes for the matching
      components are deployed successfully.




                                                                                                                                   127
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 129 of 388


Related links
  Getting started for device configuration deployment
  Creating a device deployment template
  Editing a device deployment template
  Deploying a device deployment template—Bare-metal deployment


Creating a device deployment template
The Create Template task creates a device deployment template that includes the attributes of a server, chassis, or an IOA. Using
the device deployment template, you can:

•     Deploy the configuration on another server, chassis, or an IOA.
•     Create a chassis infrastructure configuration template.
•     Verify the compliance of either a server or chassis to the configuration baseline.
            NOTE: Compliance tasks are not supported for IOA templates.

You can create a device deployment template from:

•     A device configuration file.
•     A server or chassis that you have discovered.

Related links
  Creating a device deployment template from a device configuration file
  Creating a device deployment template from a reference device

Creating a device deployment template from a device configuration file
You can create a device deployment template from an existing server or chassis configuration (.xml) file, or IOA configuration (.txt)
file.
Before you create a deployment template from a device configuration file, ensure that:

•     The deployment file share is configured. For more information, see Configuring the Deployment File Share.
•     The configuration file is from a device that meets the requirements specified in Device Requirements for Deployment and
      Compliance Tasks.
•     For IOA templates only—Ensure that the IOA template that you want to import has not been edited after it was created. Editing
      an IOA template, compromises the integrity of the template. Therefore, deploying the edited IOA template results in a failure.

To create a device deployment template from a device configuration file:

1.     Click Deployment → Deployment Portal.
2.     Perform one of the following:

       •   In the Common Tasks pane, click Create Template.
       •   In the Templates pane, right-click Server Template, Chassis Template, or IOA Template, and then click Create Template.
       •   In the Common Tasks pane, click either Getting Started for Deployment or Getting Started for Compliance → Create
           Template.

       The Create Template Wizard is displayed.

             NOTE: If the deployment file share settings are not configured, a message stating that One or more settings
             require configuring for this action is displayed. If you click OK, the File Share Settings window is
             displayed. After you configure the file share settings, the Create Template Wizard is displayed.
3.     In the Name field, enter a name for the template.
4.     Click Create from File.
5.     Click Browse.



128
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 130 of 388


6.    Navigate and select the configuration file, and then click Open.
7.    Click Finish.

The deployment template that is created is displayed in the Templates pane.

          NOTE: IOA templates can only be created and deployed. The IOA templates that you create are displayed only in the
          Deployment Portal.
Related links
  Create Template Wizard
  Device requirements for deployment and compliance tasks

Creating a device deployment template from a reference device
You can create a device deployment template from a server, chassis, or an IOA that you have discovered in OpenManage Essentials.
Before you create a deployment template from a reference device, ensure that:

•    The deployment file share is configured. For more information, see Configuring the Deployment File Share.
•    You are creating a device configuration template from a device that meets the requirements specified in Device Requirements for
     Deployment and Compliance Tasks.

To create a device deployment template from a reference device:

1.    Click Deployment → Deployment Portal.
2.    Perform one of the following:

      •     In the Common Tasks pane, click Create Template.
      •     In the Templates pane, right-click Server Template, Chassis Template, or IOA Template, and then click Create Template.

      The Create Template window is displayed.

              NOTE: If the deployment file share settings are not configured, a message stating that One or more settings
              require configuring for this action is displayed. If you click OK, the File Share Settings window is
              displayed. After you configure the file share settings, the Create Template Wizard is displayed.
3.    Enter a name for the template.
4.    Select the device type (Server, Chassis, or IOA) and perform one of the following:

      •     Select a device from the All Applicable Devices tree.
      •     Search for a device by using the Search Devices box.

              NOTE: In the Create Template Wizard, under All Applicable Devices tree, all the devices discovered and inventoried
              are listed. The devices without an enterprise license and supported firmware are disabled and cannot be selected.
5.    Under Execution Credentials, provide the device credentials that have Administrator rights, and click Finish.
6.    In the task submission message, click Ok.

A Create Template task is created in the Tasks tab in the right pane. You can view the status of the deployment template in Task
Execution History in the right pane. You can double-click the task in Task Execution History to view the task execution details. The
template that is created is displayed in the Templates pane.

          NOTE: IOA templates can only be created and deployed. The IOA templates that you create are displayed only in the
          Deployment Portal.
Related links
  Create Template Wizard
  Device requirements for deployment and compliance tasks




                                                                                                                                 129
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 131 of 388



Managing device deployment templates
The device deployment templates contain various attributes of a server, chassis, or IOA. Before you use the template for deployment,
you can:

•     View the attributes of a device deployment template.
•     Clone a device deployment template.
•     Edit a device deployment template.
•     Export a device deployment template.
•     View the properties of a device deployment template.

Related links
  Viewing device deployment template attributes
  Cloning a device deployment template
  Editing a device deployment template
  Exporting a device deployment template

Viewing device deployment template attributes
1.     Click Deployment → Deployment Portal.
2.     In the Templates pane, click either a sample template or a template that you created.

The attributes of the template are displayed in the Attributes tab in the right pane. The total number of attributes in the template is
displayed at the upper right of the Attributes tab.

        NOTE: The device-specific attributes and virtual I/O identity attributes of a device deployment template can only be
        viewed in the Edit Attributes tab of the Deploy Template Wizard.

        NOTE: IOA templates can only be created and deployed. The IOA templates that you create are displayed only in the
        Deployment Portal.

        NOTE: If the device deployment template was created from a blade server, the right pane also displays the IOA VLAN
        Attributes tab. This tab contains the VLAN attributes that you can deploy on the IOA while deploying a blade server.
Related links
  Managing device deployment templates
  Device Configuration Template Details

Cloning a device deployment template
You can clone a device deployment template to create a template that you can edit and deploy.
To clone a device deployment template:

1.     Click Deployment → Deployment Portal.
2.     In the Templates pane, right-click a template, and then click Clone.
       The Clone Configuration Template window is displayed.
3.     Enter a name for the template, and click Ok.

The cloned template is displayed in the Templates pane under the sample templates.
Related link
  Managing device deployment templates




130
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 132 of 388



Editing a device deployment template
You can edit a device deployment template to change the values of the attributes before you deploy on the target devices.
      NOTE: Editing of an IOA template is not supported.

To edit a device deployment template:

1.   Click Deployment → Deployment Portal.
2.   In the Templates pane, right-click a template, and then click Edit.
3.   The boot configurations and the network interface settings are displayed in the Boot and Network Configuration tab in the
     right pane. Under First Boot Configuration, select the boot mode and the boot type.
               NOTE: The default boot type is selected based on the boot type that is specified in the captured template.

     If FC is selected as the boot type, then enter details in the following fields:
     a.   First Target WWPN—the WWPN address
     b.   First Target LUN Id—the LUN ID for the first target
     c.   Second Target WWPN—the WWPN address
     d.   Second Target LUN Id—the LUN ID for the second target.
     If FCoE is selected as the Boot Type, then enter details in the following fields:
     a. First Target WWPN—the WWPN address
     b. First Target LUN Id—the LUN ID for the first target
4.   Click More Settings to change the boot sequence and the hard drive sequence.
5.   Under Network Interface Settings, all the network interfaces settings available in the selected template are displayed.
     a. If the partitioning is supported, then enable the partitioning and provide the Minimum Bandwidth (%) and Maximum
        Bandwidth (%).
     b. For the templates captured from the modular servers, provide the Tagged VLAN(s) and the Untagged VLAN values for the
        IOA ports under Integrated NIC.
6.   Click Save.
     The values that are provided in the Tagged VLAN(s) and the Untagged VLAN fields are displayed in the IOA VLAN Attributes
     tab.
7.   The attributes of the template are displayed in the Attributes tab in the right pane. If you do not want to deploy a particular
     attribute in the template and want to retain the current attribute value on the target device, clear the check box for that
     attribute in the Deploy column.
8.   To select or clear all the attributes in the template, select or clear the check box that is displayed next to the Deploy column
     title.
               NOTE: If the value of an attribute depends on another attribute, the dependency is indicated in the Dependencies
               column of the configuration template. To deploy the dependent attributes, you must first edit the primary attributes,
               and then edit the dependent attribute.
9.   To select multiple rows of attributes, select the row that has the first attribute, press and hold the <Shift> key, and click the row
     that has the last attribute. To select or clear the attributes of the selected rows, right-click and select Check or Uncheck.
10. Edit or select the values in the Value column based on your preference.
     The total number of attributes in the template and the number of attributes that you edit are displayed in the upper right of the
     Attributes tab.
11. To configure network and VLAN settings for the compute sleds in a MX7000 chassis:
     a. To configure a network:

          1.      Click MX Chassis Networks → Add New.
          2.      Enter a name, description, and a valid VLAN ID for the network.
          3.      Select a network type from the drop-down list and click Ok. For more information about the available network types,
                  see Network Types.
          4.      To save the configured network attributes, click Save, and then click Yes to confirm.




                                                                                                                                        131
              Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 133 of 388


       b. To assign IOA ports to the configured VLANs:

             1.   Click VLAN Configuration.
             2.   Select the port, and then assign the Tagged and Untagged VLANs.
        3. To save the VLAN attributes, click Save, and then click Yes to confirm.
12. Click Save.

Related link
  Managing device deployment templates

Exporting a device deployment template
You can export a device deployment template to an XML (server configuration template) or an INI (chassis configuration template)
file. Exporting the attributes enables you to use an alternative method to edit the attributes. After editing the template, you can
import the template and use it for deployment.
To export a device deployment template:
           NOTE: Exporting a device template exports all the attributes of the template, including attributes that are not selected.

1.     Click Deployment → Deployment Portal.
2.     In the Templates pane, right-click either a sample template or a template that you created, and then click Export Template.
3.     Navigate to the location where you want to export the template, provide a filename, and then click Save.

Related link
  Managing device deployment templates


Deploying a device deployment template—Bare-metal deployment
The Deploy Template task allows you to deploy a configuration template that includes a set of configuration attributes to specific
devices. Deploying a device configuration template on the devices ensures that the devices are uniformly configured. Bare-metal
servers and chassis are devices that only have basic iDRAC communication configured are not yet provisioned for operations.
Before you begin deploying a device deployment template, ensure that:

•     The deployment file share is configured. For more information, see Configuring the Deployment File Share.
•     The target devices are added to the repurpose and bare-metal group, or a compute pool. For more information, see Adding
      Devices to the Repurpose and Bare Metal Devices Group.
•     You have either created a device deployment template or cloned a sample template.
•     The target devices meet the requirements specified in Device Requirements for Deployment and Compliance Tasks.
•     The Server Configuration Management license is installed on all target servers. For more information, see OpenManage
      Essentials — Server Configuration Management License.
•     For IOA VLAN configuration deployment, the template must be created from a blade server.

           NOTE: Dell EMC recommends that you deploy the configuration templates that are captured from a server with BOSS-S1
           AHCI controller as-is without editing the attributes.
           CAUTION: Deploying a configuration template on a device may result in potentially destructive changes to the device
           configuration including performance, connectivity, and ability to boot the device.
To deploy the configuration template on bare-metal devices:

1.     Click Deployment.
       The Deployment Portal is displayed.
2.     Perform one of the following:

       •     In the Common Tasks pane, click Deploy Template.
       •     In the Compute Pools pane, right-click the compute pool that has the target devices, and then click Deploy.



132
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 134 of 388


     The Deploy Template Wizard wizard is displayed.
3.   On the Name and Deploy Options page:
     a. Enter an appropriate name for the task.
     b. Under Deploy Target, select Bare Metal.
     c. Under Select Deploy Options, select Deploy Template.
              NOTE: If you want to deploy a configuration template and then boot the device to a network ISO image, you can
              select both Deploy Template and Boot to Network ISO. Separate tasks are created for each operation.
     d. Click Next.
4.   On the Select Template page:
     a. Based on the target device type, click Server Template or Chassis Template.
     b. Select the configuration template you want to deploy.
              NOTE: Only configuration templates that you have either created or cloned are available for selection.
     c. Click Next.
5.   On the Select Virtual I/O Pool page, click Next.
6.   On the Select Devices page, select the target devices from the Repurpose and Bare Metal Devices tree, and click Next.
           NOTE: Only devices added to the repurpose and bare-metal group that are not assigned to a compute pool are
           available for selection.
7.   On the Edit Attributes page:
           NOTE: OpenManage Essentials does not include any passwords from the source when the configuration template is
           created. If you want to set the passwords for the target devices, all password attributes must be edited in the
           configuration template before deployment. If you want to change the password, ensure to run the deployment task
           as a different user. If you are changing the password of the device through the deployment, ensure that you run the
           deployment task with a different user account.
     a. Click the Template Attributes tab.
     b. Click the attribute group name to view the list of attributes in a group.
     c. If you do not want to deploy a particular attribute in the template and want to retain the current attribute value on the
        target device, clear the check box in the Deploy column.
     d. Edit or select the values in the Value column based on your preference.
        The total number of attributes in the template and the number of attributes that you edit are displayed in the Grouped by
        bar.
     e. Click Save.
     f. Click the Device Specific Attributes tab to edit the attributes that are unique for the target device.
               NOTE: The Device Specific Attributes tab may or may not display attributes based on the template selected for
               deployment.
     g. Click the attribute group name to view the list of attributes in a group.
     h. To assign a new Static IPv4 Address for the deployment, enter the Static IPv4 Address in the Value column of IPv4Static 1
        IPv4 Address attribute.
              NOTE: Deploying the template with the changed Static IPv4 Address initiates a new discovery task for the
              device. For more information on the task details, see Task Status. The new Static IPv4 Address is added to the
              discovery range under Manage → Discovery and Inventory → Discovery Ranges → All Ranges.

              NOTE: If Static IPv4 Address is used in the deployment of a chassis template, then all the components in the
              chassis are rediscovered after the deployment task is completed.

               NOTE: If Static IPv4 Address is provided and the DHCP attribute is enabled, then the DHCP settings take
               precedence over the provided Static IPv4 address. Similarly, If Static IPv4 Address is provided and the DHCP
               attribute is disabled, then the Static IPv4 Address is used for the template deployment.
     i. If you do not want to deploy a particular attribute in the template and want to retain the current attribute value on the
        target device, clear the check box in the Deploy column.
     j. Edit or select the values in the Value column based on your preference.
     k. Click Save.



                                                                                                                                    133
                    Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 135 of 388


       l. (For IOA VLAN configuration deployment only) Click the IOA VLAN Attributes tab to view the IOA VLAN attributes for the
          selected template.
       m. Click Next.
8.     On the Set Schedule page:
       a. Select either Run now, or click the calendar icon and select the date and time you want to run the task.
       b. Under Execution Credentials:

                •    For server configuration deployment — type the credentials that have Administrator privileges on the iDRAC of the
                     target servers.
                •
              For chassis configuration deployment — type the credentials that have Administrator privileges on the CMC of the
              target chassis.
       c. (Only for IOA VLAN configuration deployment) Under IOA Credentials, type the credentials that have Administrator
          privileges on the IOA.
       d. Click Next.
9.     On the Preview page:
       a. Optional: Click Preview to verify if the attributes of the device configuration template will be deployed successfully on the
          target devices.
       b. Click Next.
10. On the Summary page, review the information that you have provided, and then click Finish.
       The Deploy Template warning is displayed.
11. If you want to continue the deployment, click Yes.

The Deploy Template task is created and run based on the schedule you have selected. You can double-click the task in Task
Execution History to view the task execution details.
The Deploy Template task fails if:

•     The file share setting is not enabled for servers with unsupported firmware versions installed.
•     The streaming functionality is disabled on target servers and if the file share setting is not enabled on OpenManage Essentials.

            NOTE: In OpenManage Essentials 2.5, the device configuration deployment by using the streaming functionality is taking
            longer than deploying by using the file share setting. The following table lists the time taken for the device configuration
            deployment tasks to complete in an environment with 1–100 devices by using the file share and streaming functionality:
            Table 61. Time taken by the device configuration deployment task

            Number of        Time required for configuration deployment by using      Time required for configuration deployment by
            device(s)        the file share and iDRAC 2.41.40.40 when...              using the streaming functionality and iDRAC
                                                                                      2.52.52.52 when...
                             Devices are turned off        Devices are turned on      Devices are turned      Devices are turned on
                                                                                      off
            1                2 minutes 30 seconds          1 minute 50 seconds        5 minutes 40            2 minutes 10 seconds
                                                                                      seconds

            50               2 hours                       1 hour 30 minutes          3 hours                 2 hours

            100              5 hours 20 minutes            3 hours 40 minutes         7 hours                 4 hours 30 minutes

Related links
  Deploy Template Wizard
  Device Configuration Setup Wizard
  Server Configuration Management license
  Device requirements for deployment and compliance tasks


Creating a chassis deployment template from a chassis
You can create a chassis deployment template from a chassis that you have discovered along with the IOAs.
Before you create a chassis deployment template from a chassis, ensure that:



134
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 136 of 388


•    The deployment file share is configured. For more information, see Configuring the Deployment File Share.
•    The device from which you are creating a chassis template meets the requirements specified in Device Requirements for
     Deployment and Compliance Tasks.
•    The chassis and IOAs must be discovered by using WS-Man, REST, and SNMP protocols.

          NOTE: The chassis template cannot be created if devices are discovered by using SNMP protocol only.

To create a chassis deployment template from a chassis:

1.    Click Deployment → Deployment Portal.
2.    Perform one of the following:

      •     In the Common Tasks pane, click Create Template.
      •     In the Templates pane, right-click the Chassis Template and then click Create Template.

      The Create Template window is displayed.

              NOTE: If the deployment file share settings are not configured, a message stating that One or more settings
              require configuring for this action is displayed. If you click OK, the File Share Settings window is
              displayed. After you configure the file share settings, the Create Template Wizard is displayed.
3.    Type a Name for the template.
4.    Select the device type (Chassis or MX Chassis), and perform one of the following:

      •     Select a chassis device from the All Applicable Devices tree.
                 NOTE: Only the chassis with an Enterprise license and supported firmware version can be selected.

      • Search for a chassis device by using the Search Devices box.
5.    Under Execution Credentials, type the chassis credentials and IOA credentials(optional), and click Finish.
      If the IOA Credentials are not provided, OpenManage Essentials creates only the chassis template and the IOA attributes are
      not captured in the template.

              NOTE: If any mismatch of the credentials, the template creation task displays Warning state in the Task Execution
              History tab and the IOA attributes are not captured.
6.    In the task submission message, click Ok.

An import chassis template task is created in the Tasks tab in the right pane. You can view the status of the chassis deployment
template in one of the following ways:

•    View in the Task Execution History in the right pane.
•    Double-click the task in Task Execution History to view the task execution details.

The chassis template is displayed in the Chassis Templates under Templates tab. Click the chassis template to view the chassis and
IOAs attributes.
The IOAs are displayed as A1, A2, B1, B2, C1, C2, and selected by default for deployment. Click each IOA to view their attributes.


Managing chassis deployment templates
The chassis deployment templates contain various attributes of a chassis, or IOA (optional). Before you use the chassis template for
deployment, you can:

•    View the attributes of chassis deployment template.
•    Deploy a chassis deployment template.
•    Clone a chassis deployment template.
•    Rename a chassis deployment template.
•    Delete a chassis deployment template.
•    Export the chassis deployment template.



                                                                                                                                     135
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 137 of 388


        NOTE: Compliance-related tasks are not supported for IOA attributes.


Viewing and editing chassis deployment template attributes
1.     Click Deployment → Deployment Portal → Templates pane.
2.     Select either a sample chassis template or a chassis template that you created.
       For MX7000 chassis, select an MX chassis template from the list.
       The different groups of template attributes are displayed in the right pane
3.     To edit an attribute, expand a group, and select the attribute that you want to edit, and then enter the new values for the
       attributes.
4.     Click Save.
       The template is updated with the changed attribute values.

             NOTE: While editing an MX7000 chassis template attributes, you must select all the attributes available under a
             group, else the chassis template deployment task might fail.

Exporting a chassis deployment template
The export option allows you to export the chassis infrastructure template into a .zip file. The .zip file contains the chassis template
in .xml format and IOA template in .txt format.
To export a chassis template:
        NOTE: Exporting a chassis deployment template exports all the attributes of the chassis template, including attributes
        that are not selected.

1.     Click Deployment → Deployment Portal.
2.     In the Templates pane, right-click either a sample template or a template that you created, and then click Export Template.
       The Export Template dialog box is displayed.
3.     Click Ok.
4.     Navigate to the location where you want to export the template, provide a file name, and then click Save.
       Within the.zip file, the chassis template is saved in.xml format and IOA templates are saved in .txt format.

Cloning a chassis deployment template
You can clone a chassis deployment template to create a template that you can edit and deploy.
To clone a chassis deployment template:

1.     Click Deployment → Deployment Portal
2.     In the Templates pane, right-click a chassis template, and then click Clone.
       The Clone Configuration Template window is displayed.
3.     Type a name for the template, and click Ok.

The cloned template is displayed in the Templates pane under the chassis templates.


Deploying a chassis infrastructure template
The Deploy Template task allows you to deploy a chassis infrastructure template that includes chassis and IOA attributes, on a
target device (chassis or IOA).
Before you begin deploying a chassis infrastructure template, ensure that:

•     The deployment file share is configured. For more information, see Configuring the Deployment File Share.
•     The target devices are added to the repurpose and bare-metal group. For more information, see Adding Devices to the
      Repurpose and Bare Metal Devices Group.




136
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 138 of 388


             NOTE: From the All Applicable Devices tree, select only chassis to add to the repurpose and bare-metal group.
             Selecting the IOAs is not mandatory. If the IOA attributes are present in the template and the target chassis is in the
             bare-metal group, then the deployment happens on the IOAs also.
•    You have created a chassis infrastructure template.
•    The target devices meet the requirements that are specified in Device Requirements for Deployment and Compliance Tasks.
•    The Server Configuration Management license is installed on all target servers. For more information, see OpenManage
     Essentials — Server Configuration Management License.

          CAUTION: Deploying a chassis infrastructure template on a device may result in potentially destructive changes to the
          device configuration including performance, connectivity, and ability to boot the device.
To deploy the chassis infrastructure template:

1.    Click Deployment.
      The Deployment Portal is displayed.
2.    Perform one of the following:

      •     In the Common Tasks pane, click Deploy Template.
      •     In the Templates → Chassis Templates pane, right-click the chassis infrastructure template, and then click Deploy.
      •     In the Templates → MX Chassis Templates pane, right-click the MX chassis template, and then click Deploy.

      The Deploy Template Wizard is displayed.
3.    On the Name and Deploy Options page:
      a.    Enter an appropriate name for the task.
      b.    Under Deploy Target, select Bare Metal.
      c.    Under Select Deploy Options, select Deploy Template.
      d.    Click Next.
4.    On the Select Template page:
      a. Click Chassis Templates or MX Chassis Templates.
      b. Select the chassis infrastructure template that you want to deploy.
                  NOTE: Only configuration templates that you have either created or cloned are available for selection.
      c. Click Next.
5.    On the Select Devices page, select the target devices from the All Applicable Devices tree, and click Next.
              NOTE: Only devices of the same chassis model for which the chassis infrastructure template was created are
              available for selection.
6.    On the Edit Attributes page:
              NOTE: OpenManage Essentials do not include any passwords from the source when the configuration template is
              created. If you want to set the passwords for the target devices, all password attributes must be edited in the
              configuration template before deployment. If you want to change the password, ensure to run the deployment task
              as a different user. If you are changing the password of the device through the deployment, ensure that you run the
              deployment task with a different user account.
      a. Click the Template Attributes tab to view the attribute groups with the list of attributes in a group.
                  NOTE: The IOA fabrics that are selected for deployment of the chassis infrastructure template are displayed.
      b. Click the Device Specific Attributes tab to edit the attributes that are unique for the target device.
                NOTE: The Device Specific Attributes tab may or may not display attributes depending on the template that is
                selected for deployment.
      c. Click the attribute group name to view the list of attributes in a group.
      d. To assign a new Static IPv4 Address for the deployment, enter the Static IPv4 Address in the Value column of IPv4Static 1
         IPv4 Address attribute.




                                                                                                                                  137
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 139 of 388


                NOTE: Deploying the template with the changed Static IPv4 Address starts a new discovery task for the device.
                For more information about the task details, see Task Status. The new Static IPv4 Address is added to the
                discovery range under Manage → Discovery and Inventory → Discovery Ranges → All Ranges.

                NOTE: If Static IPv4 Address is used in the deployment of a chassis template, then all the components in the
                chassis are rediscovered after the deployment task is completed.
       e. To edit the hostname of the IOA, enter the new hostname in the Value column of IOA hostname attribute.
                 NOTE: The IOA hostname is changed to the new hostname after the discovery task is successful. For more
                 information about the task details, see Task Status. The IOAs with the new host names can be viewed under
                 Manage → Devices → All Devices.
       f. Edit or select the values in the Value column depending on your preference.
       g. If you do not want to deploy a particular attribute in the template and want to retain the current attribute value on the
          target device, clear the check box in the Deploy column.
       h. Click Save.
       i. Click Next.
7.     On the Options page:
       a. Select Continue on warnings to continue with the deployment task even if the template is incompatible or shows warning
          messages.
       b. Click Next.
8.     On the Set Schedule page:
       a. Select either Run now, or click the calendar icon and select the date and time you want to run the task.
       b. Under Execution Credentials, type the chassis credentials.
       c. Under IOA Credentials, type the credentials that have the Administrator privileges on the IOA.
                NOTE: Ensure all the target IOAs have the same credentials. If the credentials mismatch on any of the IOA, then
                the deployment task fails for the particular IOA.
       d. Click Next.
9.     On the Summary page, review the information that you have provided, and then click Finish.
       The Deploy Template warning is displayed.
10. If you want to continue the deployment, click Yes.

The Deploy Template task is created and run based on the schedule you have selected. You can double-click the task in Task
Execution History to view the task execution details.


Deploying IOA configuration template
The Deploy Template task allows you to deploy an IOA configuration template on a target device.
Before you begin deploying an IOA device configuration template, ensure that:

•     The deployment file share is configured. For more information, see Configuring the Deployment File Share.
•     The target devices are added to the Repurpose and Bare Metal Devices group or a compute pool. For more information, see
      Adding Devices to the Repurpose and Bare Metal Devices Group.
•     You have created a device configuration template from an IOA.
•     The target devices meet the requirements specified in Device Requirements for Deployment and Compliance Tasks.

        NOTE: Ensure that the IOA template that you want to import has not been edited after it was created. Editing an IOA
        template, compromises the integrity of the template. Therefore, deploying the edited IOA template results in a failure.
        CAUTION: Deploying a configuration template on a device may result in potentially destructive changes to the device
        configuration including performance, connectivity, and ability to boot the device.
To deploy the IOA configuration template:

1.     Click Deployment.




138
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 140 of 388


     The Deployment Portal is displayed.
2.   Perform one of the following:

     •    In the Common Tasks pane, click Deploy Template.
     •    In the Templates pane, right-click the IOA template that you want to deploy, and click Deploy.
     •    In the Compute Pools pane, right-click a compute pool that has the target device, and then click Deploy.

     The Deploy Template Wizard wizard is displayed.
3.   On the Name and Deploy Options page:
     a.   Type an appropriate name for the task.
     b.   Under Deploy Target, select Bare Metal.
     c.   Under Select Deploy Options, select Deploy Template.
     d.   Click Next.
4.   On the Select Template page:
     a. Select the IOA template that you want to deploy.
                NOTE: Only configuration templates that you have either created or cloned are available for selection.
     b. Click Next.
5.   If applicable, on the Select Virtual I/O Pool page, click Next.
6.   On the Select Devices page, select the target devices from the All Applicable Devices tree, and click Next.
            NOTE: Only devices added to the Repurpose and Bare Metal Devices group are available for selection.
7.   On the Edit Attributes page:
     a.   Select a device from the Select Devices list.
     b.   Click the attribute group name to view the list of attributes in a group.
     c.   Select the attributes that you want to deploy.
     d.   Enter the values in the Value column based on your preference.
     e.   Click Save.
     f.   Click Next.
8.   On the Options page:

     •    If you only want to verify if the device configuration template is deployed successfully, select Perform pre-check only.
                NOTE: If the Perform pre-check only option is selected, by default the Continue on warnings option is disabled.

     •    If you do not want to stop the deployment when the template is incompatible with the target devices, select Continue on
          warnings.
              NOTE: When this option is selected, the warnings are ignored (if any) and the deployment task continues to run
              even if the device configuration template is incompatible.
9.   On the Set Schedule page:
     a. Select either Run now, or click the calendar icon and select the date and time you want to run the task.
     b. Under Execution Credentials, type the credentials that have the Administrator privileges on the IOA.
     c. Click Next.
10. On the Summary page, review the information that you have provided, and then click Finish.
     The Deploy Template warning is displayed.
11. If you want to continue the deployment, click Yes.

The Deploy Template task is created and run based on the schedule you have selected. You can double-click the task in Task
Execution History to view the task execution details.




                                                                                                                                     139
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 141 of 388



IOA operational modes and the deployment task status
Table 62. IOA operational modes and the deployment task status

 Operational mode of the IOA from which Operational mode of the IOA on which               Deployment task status
 the template is created or imported    the template is deployed
 Stack                                         Any mode                                    Failed

 Any mode                                      Stack                                       Failed

 Standalone                                    Programmable MUX (PMUX)                     Warning

 Standalone                                    Standalone                                  Complete

 PMUX                                          PMUX                                        Warning/ Complete

 PMUX                                          Standalone                                  Warning/ Complete

 Virtual Link Trunk (VLT)                      VLT                                         Complete

 VLT                                           Non-VLT                                     Failed

 Non-VLT                                       VLT                                         Failed


Deploying a network ISO image
The deploy template task allows you to boot a server to a network ISO image, after which you can deploy the ISO image on the
server.
Before you begin deploying a network ISO image, ensure that:

•     The deployment file share is configured. For more information, see Configuring the Deployment File Share.
•     The target devices are added to the repurpose and bare-metal group. For more information, see Adding Devices to the
      Repurpose and Bare Metal Devices Group.
•     You have Full Control permission on the network share where the ISO image is available.
•     The target devices meet the requirements specified in Device Requirements for Deployment and Compliance Tasks.
•     The Server Configuration Management license is installed on all target servers. For more information, see OpenManage
      Essentials — Server Configuration Management License.

To deploy a network ISO image:

1.     Click Deployment.
2.     In the Common Tasks pane, click Deploy Template.
       The Deploy Template wizard is displayed.
3.     On the Name and Deploy Options page:
       a. Type an appropriate name for the task.
       b. Under Select Deploy Options, clear Deploy Template and select Boot to Network ISO.
                NOTE: If you want to deploy an operating system and a configuration template, you can select both the Deploy
                Template and Boot to Network ISO options. Separate tasks are created for each operation.
       c. Click Next.
4.     On the Select ISO Location page:
       a.   Under ISO File Name, type the name of the ISO image file.
       b.   Under Share Location, type the IP address and name of the network share.
       c.   Under Share Credentials, type the user name and password.
       d.   Click Next.
5.     On the Select Devices page, select the target devices from the Repurpose and Bare Metal Devices tree, and click Next.



140
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 142 of 388


6.   On the Set Schedule page:
     a. Select either Run now or click the calendar icon and select the date and time you want to run the task.
     b. Under Execution Credentials, type the credentials that have Administrator privileges on the iDRAC of the target servers.
     c. Click Next.
7.   On the Summary page, review the information that you have provided, and then click Finish.
8.   If you want to continue the deployment, click Yes.

The Boot to Network ISO task is created and the task runs based on the schedule you have selected. You can double-click the task
in Task Execution History to view the task execution details. After the target server boots to the network ISO image, you must
launch the iDRAC virtual console and select the options for deploying the ISO image.
Related links
   Deploy Template Wizard
   Device Configuration Setup Wizard
   Device requirements for deployment and compliance tasks


Removing devices from the repurpose and bare-metal devices group
You can remove devices from the Repurpose and Bare Metal Device group after the device configuration deployment, network ISO
image deployment, or auto deployment task is complete.
To remove devices from the Repurpose and Bare Metal Devices group:

1.   Click Deployment → Deployment Portal.
2.   In the Repurpose and Bare Metal Devices tab, select the devices you want to remove.
3.   Perform one of the following:

     •     Click Remove Selected Devices.
     • Right-click and select Remove.
4.   On the confirmation dialog box, click Yes.
     The devices are removed from the Repurpose and Bare Metal Devices tab in the right pane, and in the Repurpose and Bare
     Metal Devices group in the device tree.

Related link
  Repurpose and Bare Metal Devices


Auto deploying device configurations
The Setup Auto Deployment task enables you to deploy either a device configuration or network ISO image on target devices that
you discover later. For example, if your company has ordered 500 systems that are expected to be delivered through the next two
weeks, you can create the Setup Auto Deployment task. The Setup Auto Deployment task runs periodically and deploys the
configuration after the devices are discovered.
When creating the task, you must import a .csv file that includes the Service Tags or node IDs of target devices on which you want
to deploy the configuration. By default, the Setup Auto Deployment task is run every 60 minutes to identify if the target devices
have been discovered. If a target device is discovered, the device configuration is automatically deployed to the target device. You
can also modify the recurrence of the Setup Auto Deployment task based on your preference.
         NOTE: If you create auto deployment tasks in OpenManage Essentials version 2.0, 2.0.1, or 2.1 and then upgrade to
         version 2.2, 2.3, 2.4 or 2.5, the auto deployment tasks do not run successfully. In this scenario, Dell EMC recommends
         that you recreate the auto deployment tasks after upgrading OpenManage Essentials to version 2.2, 2.3,2.4, or 2.5.
         NOTE: Auto Deployment feature is not applicable for IOA templates.




                                                                                                                                   141
              Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 143 of 388


Related links
  Configuring Auto Deployment Settings
  Setting up device configuration auto deployment—Bare-metal deployment
  Managing Auto Deployment Credentials
  Adding a Discovery Range for Auto Deployment

Configuring Auto Deployment Settings
The Auto Deployment Settings allows you to perform the following:

•     Enable or disable the device configuration auto deployment.
•     Set the recurrence of the device configuration auto deployment task.

To configure the auto deployment settings:

1.     Click Settings → Deployment Settings.
       The Deployment Settings page is displayed.
2.     Select or clear Enable auto deployment for recently discovered devices to enable or disable auto deployment of device
       configuration.
3.     Edit the Run auto deployment every xx Minutes field based on your preference.
4.     Click Apply.

Related link
  Auto deploying device configurations

Setting up device configuration auto deployment—Bare-metal deployment
The Setup Auto Deployment task enables you to deploy a configuration template, which includes a set of configuration attributes, to
devices that you will discover at a later time. Deploying a device configuration template on the devices ensures that the devices are
uniformly configured.
Before you create a device configuration auto deployment task, ensure that:

•     The deployment file share is configured. For more information, see Configuring the Deployment File Share.
•     The auto deployment setting is enabled and configured. For more information, see Configuring Auto Deployment Settings.
•     The Service Tag or node ID of each target device is available in a .csv file. The Service Tags or node IDs should be listed under
      the title ‘ServiceTag’, ‘Service Tag’, or ‘Node ID’ in the .csv file.
              NOTE: On devices which have multiple compute nodes (such as the PowerEdge FM120x4), all of the compute nodes
              have the same Service Tag. Therefore, the node ID must be used to identify the specific compute node to use. In
              the .csv file, you must include the node IDs of the specific compute nodes that you want to auto deploy.
•     You have either created a device configuration template or cloned a sample template.
•     The target devices meet the requirements specified in Device Requirements for Deployment and Compliance Tasks.
•     The Server Configuration Management license is installed on all target servers. For more information, see OpenManage
      Essentials — Server Configuration Management License.

           CAUTION: Deploying a configuration template on a device may result in potentially destructive changes to the device
           configuration including performance, connectivity, and ability to boot the device.
To auto deploy the configuration template on devices that will be discovered at a later time:

1.     Click Deployment.
       The Deployment Portal is displayed.
2.     Perform one of the following:

       •     In the Common Tasks pane, click Setup Auto Deployment.
       •     Click Auto Deployment, and then click Add Devices.



142
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 144 of 388


     The Setup Auto Deployment wizard is displayed.
3.   On the Select Deploy Options page:
     a. Under Deploy Target, click Bare Metal.
     b. If you want to auto deploy a configuration template and then boot the device to an operating system ISO image, you can
        select both the Deploy Template and Boot to Network ISO options. Separate tasks are created for each operation.
     c. Click Next.
4.   On the Select Template page:
     a. Based on the target device type, click Server Template or Chassis Template.
     b. Select the configuration template you want to deploy.
              NOTE: Only configuration templates that you have either created or cloned are available for selection.
     c. Click Next.
5.   On the Import Service Tags/Node IDs page:
     a. Click Import.
     b. Browse and select the .csv file that includes the Service Tags or node IDs.
              NOTE: You can only import valid Service Tags or node IDs that have not already been discovered.
     c. Click Open.
        The Import Summary is displayed.
     d. Click Ok.
     e. Click Next.
6.   On the Edit Attributes page:
           NOTE: OpenManage Essentials does not include any passwords from source when the configuration template is
           created. If you want to set the passwords for the target devices, all password attributes must be edited in the
           configuration template before deployment.
     a. Click the Template Attributes tab.
     b. Click the attribute group name to view the list of attributes in a group.
     c. If you do not want to deploy a particular attribute in the template and want to retain the current attribute value on the
        target device, clear the check box in the Deploy column.
     d. Edit or select the values in the Value column based on your preference.
        The total number of attributes in the template and the number of attributes that you edit are displayed in the Grouped by
        bar.
     e. Click the Device Specific Attributes tab to edit the attributes that are unique for the target device.
               NOTE: The Device Specific Attributes tab may or may not display attributes based on the template selected for
               deployment.
     f. Click the attribute group name to view the list of attributes in a group.
     g. To assign a new Static IPv4 Address for the deployment, enter the Static IPv4 Address in the Value column of IPv4Static 1
        IPv4 Address attribute.
              NOTE: Deploying the template with the changed Static IPv4 Address initiates a new discovery task for the
              device. For more information on the task details, see Task Status. The new Static IPv4 Address is added to the
              discovery range under Manage → Discovery and Inventory → Discovery Ranges → All Ranges.

               NOTE: If Static IPv4 Address is used in the deployment of a chassis template, then all the components in the
               chassis are rediscovered after the deployment task is completed.
     h. If you do not want to deploy a particular attribute in the template and want to retain the current attribute value on the
        target device, clear the check box in the Deploy column.
     i. Edit or select the values in the Value column based on your preference.
              NOTE: You can also export the Device Specific Attributes for a specific device or for all devices as .csv file, edit
              the attributes, and import the attributes. To export or import the Device Specific Attributes, click Import/Export.
     j. (For IOA VLAN configuration deployment only) Click the IOA VLAN Attributes tab to edit the IOA VLAN attributes for the
        selected template.
     k. Select the Deploy check box for the attributes that you want to deploy.



                                                                                                                                    143
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 145 of 388


      l. Type the values for the tagged VLANs and untagged VLAN.
      m. Click Save.
      n. Click Next.
7.    On the Execution Credentials page:
      a. On the Credentials section, click Add New Credentials.
                NOTE: For server configuration deployment — provide the iDRAC Administrator credentials; For chassis
                configuration deployment — provide the CMC Administrator credentials.

         The Add Credentials window is displayed.
      b. Type the description, Administrator user name, and password required to run the task on the target devices.
      c. If you want to set the credentials as the default credentials for all target devices, select Default, and then click Finish.
      d. Repeat step a to step c until you have configured the credentials required for running the task on all target devices.
      e. On the Devices section, set the Execution Credentials for each target device.
      f. (Only for IOA VLAN configuration deployment) Under IOA Credentials, type the credentials that have Administrator
         privileges on the IOA.
      g. Click Next.
8.    On the Summary page, review the information that you have provided, and then click Finish.
      The Deploy Template warning is displayed.
9.    If you want to continue creating the Setup Auto Deployment task, click Yes.

The Service Tags or Node IDs are displayed in the Auto Deployment tab until the devices are discovered and inventoried in
OpenManage Essentials. The Deploy Configuration to Undiscovered Devices task runs periodically and verifies if the devices are
discovered and inventoried in OpenManage Essentials.

       NOTE: The Deploy Configuration to Undiscovered Devices runs based on the frequency configured in Settings →
       Deployment Settings.

After the discovery and inventory of the devices is completed and a deploy task is created, the devices are moved to the repurpose
and bare-metal devices group. You can double-click the tasks in Task Execution History to view the task execution details. If you do
not want to deploy any other device configuration on the devices, you can remove the devices from the repurpose and bare-metal
devices group.

       NOTE: Devices in the Auto Deployment tab are moved to the repurpose and bare-metal devices group, even if the auto
       deployment task fails. If you want to deploy the configuration template on those devices, you must create a new
       deployment task.
Related links
  Auto deploying device configurations
  Setup Auto Deployment Wizard
  Importing Device Specific Attributes
  Exporting Device Specific Attributes
  Server Configuration Management license
  Device requirements for deployment and compliance tasks
  Auto Deployment

Managing Auto Deployment Credentials
The Manage Auto Deployment Credentials task enables you to configure and assign execution credentials for target devices that
have been set up for auto deployment.
To manage auto deployment credentials:

1.    Click Deployment.
      The Deployment Portal is displayed.
2.    In the Common Tasks pane, click Manage Auto Deployment Credentials.
      The Manage Auto Deployment Credentials window is displayed.
3.    If you want to add new credentials that you want to assign to a target device, click Add New Credentials.


144
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 146 of 388


           NOTE: For server configuration deployment — provide the iDRAC Administrator credentials; For chassis
           configuration deployment — provide the CMC Administrator credentials.
     a. In the Add Credentials window, type the description, user name, and password.
     b. If you want to set the credentials as the default credentials for all target devices, select Default, and then click Finish.
         The credentials that you added are displayed in the Credentials section.
4.   If you want to update an existing credential, click the update icon.
     a. In the Add Credentials window, edit the description, user name, and password as required.
     b. If you want to set the credentials as the default credentials for all new target devices, select Default, and then click Finish.
5.   If you want to delete an existing credential, click the delete icon, and then click Ok in the Confirmation Required dialog box.
     The credentials that you deleted are removed from the Credentials section.
6.   If you want to assign credentials to a target device, in the Devices section, select the appropriate credentials under Execution
     Credentials.
7.   Click Finish.

Related links
  Auto deploying device configurations
  Manage Auto Deployment Credentials

Adding a Discovery Range for Auto Deployment
You can create a discovery range for the auto deployment task through either the Auto Deployment tab or the Discovery and
Inventory portal.
Before you can add a discovery range through the Auto Deployment tab, you must setup an auto deployment task.
To add a discovery range through the Auto Deployment tab:

1.   Click Deployment → Deployment Portal.
     The Repurpose and Bare Metal Devices tab is displayed in the right pane.
2.   In the right pane, click the Auto Deployment tab, and then click Add Discovery Range.
     The Discover Devices wizard is displayed.
3.   Follow the instructions from step 2 to step 5 in Creating a Discovery and Inventory Task to create the discovery range.
     The discovery range is created in the Discovery and Inventory portal.

Related links
  Auto deploying device configurations
  Auto Deployment

Removing Devices From an Auto Deployment Task
If you do not want to perform auto deployment on a particular devices, you can remove those devices from the auto deployment
task.
To remove devices from an auto deployment task:

1.   Click Deployment → Deployment Portal.
     The Repurpose and Bare Metal Devices tab is displayed in the right pane.
2.   On the right pane, click the Auto Deployment tab, and select the devices you want to remove.
3.   Perform one of the following:

     •   Click Remove Selected Devices.
     • Right-click and select Delete.
4.   On the confirmation dialog box, click Yes.
     The devices are removed from the Auto Deployment tab.

Related link
  Auto Deployment


                                                                                                                                       145
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 147 of 388



Importing Device Specific Attributes
You can also import the device specific attributes for deployment, if you already have a .csv file that includes the attributes.
Before you begin, make sure that the .csv file that you want to import meets the requirements specified in Import File Requirements.
To import the attributes:

1.    On the Edit Attributes page of the Deployment Template Wizard or Setup Auto Deployment wizard, click Import/Export.
      The Import/Export Device Specific Attributes window is displayed.
2.    Click Import.
      The import confirmation dialog box is displayed.
3.    Click Yes.
4.    Navigate and select the .csv file, and click Open.
      The Import Summary dialog box displays the number of imported attributes.
5.    Click OK.
6.    In the Import/Export Device Specific Attributes window, click Close.

Related link
  Import File Requirements


Import File Requirements
The following table describes the column titles and data to be included in the .csv file that is used for importing device specific
attributes.
Table 63. Import File Requirements

 Field                                                                Description
 Device Name                                                          The name of the device. During import, the device name is used
                                                                      to match with the name of the device selected for deployment.

 Service Tag                                                          The Service Tag of the device. The Service Tag must be
                                                                      provided for auto deployment tasks. For the deployment task,
                                                                      the Service Tag is optional if the device name is provided.

 Parent                                                               The attribute's direct parent fully qualified descriptor (FQDD).
                                                                      The parent value is used to match during import.

 Attribute                                                            The raw name of the configuration attribute. The name is used
                                                                      to match during import.

 Value                                                                The value of the attribute.

                                                                            NOTE: Empty values are also valid and will be imported.
                                                                            Secure values are exported in a masked format. All
                                                                            imported values are selected for deployment.

 Possible Values                                                      The list of allowable values.

                                                                            NOTE: If you include a value that is not permitted or
                                                                            present in the list, the value is not imported.


Exporting Device Specific Attributes
You can also export the device specific attributes to a .csv file, edit the attributes, and then import the attributes. Exporting the
attributes enables you to use an alternative method to edit he attributes.
To export the attributes:



146
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 148 of 388


       NOTE: If you want to export the device specific attributes for only a specific device, select the device in the Edit
       Attributes page.

1.    On the Edit Attributes page of the Deployment Template Wizard or Setup Auto Deployment wizard, click Import/Export.
      The Import/Export Device Specific Attributes window is displayed.
2.    Click either Export Selected Device or Export All Devices based on your preference.
      If you selected Export All Devices, a confirmation dialog box is displayed.
3.    Click Yes.
4.    Navigate to the location where you want to save the .csv file, and click Save.


Viewing the Deployment Tasks
To view the deployment tasks that have been created:

1.    Click Deployment → Deployment Portal.
2.    In the Tasks pane on the left, select a task type.
      The Task tab on the right pane displays the tasks that have been created.

Related link
  Tasks


Managing the Virtual Input-Output Identities of a Server—Stateless
Deployment
The I/O interfaces of a server, such as NICs or HBAs, have unique identity attributes that are assigned by the manufacturer of the
interfaces. These unique identity attributes are collectively known as the I/O identity of a server. The I/O identities uniquely identify a
server on a network and also determine how the server communicates with a network resource using a specific protocol. Using
OpenManage Essentials, you can automatically generate and assign virtual identity attributes to the I/O interfaces of a server.
Servers deployed using a device configuration template that contains virtual I/O identities are known to be stateless. Stateless
deployments allow you to create a server environment that is dynamic and flexible. For example, deploying a server with virtual I/O
identities in a boot-from-SAN environment allows you to quickly perform the following:

•    Replace a failing or failed server by moving the I/O identity of the server to another spare server.
•    Deploy additional servers to increase the computing capability during high workload.

The Deployment portal allows you to perform the following tasks that are required to manage the virtual I/O identity of a server:

•    Create virtual I/O pools
•    Create compute pools
•    Deploy a server
•    Reclaim the virtual I/O identity of a server
•    Replace a server

Overview of Stateless Deployment
The steps that you must perform to deploy a device configuration template with virtual I/O attributes on target devices are as
follows:

1.    Create a device configuration template — Use the Create Template task in the Common Tasks pane to create a device
      configuration template. You can choose to create the template from either a configuration file or a reference device.
2.    Edit the device configuration template — Select the template from the Templates pane, and edit the desired configuration
      attributes displayed in the right pane.




                                                                                                                                       147
              Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 149 of 388


3.     Create Virtual I/O Pool — Use the Create Virtual I/O Pool task in the Common Tasks pane to create a pool of one or more
       virtual I/O identity types. The virtual I/O identity pool is used to assign virtual I/O identities to the target devices.
4.     Create Compute Pool — Use the Create Compute Pool task in the Common Tasks pane to create a group of servers that
       you want to use for a specific purpose. You can associate a device configuration template and virtual I/O pool to the compute
       pool.
5.     Deploy the device configuration template on target devices — Use the Deploy Template task in the Common Tasks pane to
       deploy the device configuration template and virtual I/O identities on the target devices.

Related links
  Getting started for device configuration deployment
  Creating a device deployment template
  Editing a device deployment template
  Creating a Virtual Input-Output Pool
  Creating a Compute Pool
  Deploying a device configuration template—Stateless deployment


Virtual Input-Output Pools
A virtual I/O pool is a collection of one or more virtual I/O identity types that are required for network communication. A virtual I/O
pool can contain a combination of any of the following virtual I/O identity types:

•     Ethernet identity which is defined by the Media Access Control (MAC) address. MAC addresses are required for Ethernet (LAN)
      communications.
•     Fibre Channel (FC) identity which is defined by the World Wide Node Name (WWNN) and World Wide Port Name (WWPN). A
      WWNN identity is assigned to a node (device) in an FC fabric and may be shared by some or all ports of a device. A WWPN
      identity is assigned to each port in an FC fabric and is unique to each port. WWNN and WWPN identities are required to support
      boot-from-SAN and for data access using FC and Fibre Channel over Ethernet (FCoE) protocols.
•     iSCSI identity which is defined by the iSCSI Qualified Name (IQN). IQN identities are required to support boot-from-SAN using
      the iSCSI protocol.

OpenManage Essentials utilizes the virtual I/O pools to automatically assign virtual I/O identities to the device configuration template
that is used for deploying a server.
           NOTE: A virtual I/O pool can be associated with one or more compute pools.

Related links
  Creating a Virtual Input-Output Pool
  Editing a Virtual Input-Output Pool
  Viewing the Definitions of a Virtual Input-Output Pool
  Renaming a Virtual Input-Output Pool
  Deleting a Virtual Input-Output Pool

Creating a Virtual Input-Output Pool
You can create a virtual I/O pool that contains one or more virtual I/O identity types.
To create a pool of virtual I/O identity types:

1.     Click Deployment.
       The Deployment Portal is displayed.
2.     Perform one of the following:

       •     On the left pane, under Common Tasks, click Create Virtual I/O Pool.
       •     On the left pane, under Virtual I/O Pools, right-click Virtual I/O Pools → Create Virtual I/O Pool.

       The Create Virtual I/O Pool wizard is displayed.
3.     On the Name and Description page, type a unique name for the virtual I/O pool and an appropriate description, and then click
       Next.


148
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 150 of 388


4.   On the Ethernet Identities page, perform one of the following:
             NOTE: If you do not want to include MAC addresses in the virtual I/O pool, clear the Include MAC addresses in this
             pool option, and then click Next.
     a. To specify the start address and the number of identities, perform the following:

        1.      In the Specify the start address box, type the start address that you want to predefine in the MAC addresses that will
                be generated.
                      NOTE: The input address range (start address + number of identities) is validated against the existing
                      address ranges for overlap when you are creating or editing a virtual I/O pool. The number of identities
                      requested cannot be guaranteed in case the requested address range is overlapping with an existing virtual
                      I/O pool address range.
        2.      In the Number of Identities box, type the identity values that you want to define, and then click Next.
                   NOTE: For Converged Network Adapter (CNA) cards, WWNN and WWPN identities are derived from virtual
                   FIP MAC address. In these scenarios, though the identities are not generated from the Ethernet Identities
                   pool, these derived identities are counted against the Ethernet Identities pool. Ensure that necessary buffer
                   is added while defining the Ethernet Identities pool size when virtual pool is used for deployment on servers
                   with CNA cards.
     b. If you want to import the MAC addresses from a .csv file, click Import from file and perform the following:
                NOTE: You can import up to 1000 identities using a .csv file. The .csv file must have a column titled Name or
                Value.

        1.      Click Import.
        2.      On the Import Wizard, click Import.
        3.      Browse and select the .csv file and click Open. The Import Results window is displayed.
        4.      Close the Import Results window and the Import Wizard, and then click Next.




        Figure 23. Sample .csv file with MAC addresses

5.   On the FCoE Node Name Identities page, perform one of the following:
             NOTE: It is not necessary to have a virtual I/O pool with FC attributes for deploying on a Converged Network
             Adapter (CNA) card because the FC attributes are automatically generated by OpenManage Essentials based on the
             virtual FIP MAC address.

             NOTE: If you do not want to include fibre channel WWNN identities in the virtual I/O pool, clear the Include Fibre
             Channel WWNN Identities in the pool option, and then click Next.
     a. To specify the start address for the WWNN identities and the number of identities to be generated, perform the following:

        1.      In the Specify the start address box, type the start address that you want to predefine in the WWNN identities that
                will be generated.
                      NOTE: The input address range (start address + number of identities) is validated against the existing
                      address ranges for overlap when you are creating or editing a virtual I/O pool. The number of identities
                      requested cannot be guaranteed in case the requested address range is overlapping with an existing virtual
                      I/O pool address range.
        2. In the Number of Identities box, type the identity values that you want to define, and then click Next.
     b. If you want to import the WWNN identities from a .csv file, click Import from file and perform the following:




                                                                                                                                  149
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 151 of 388


                 NOTE: You can import up to 1000 identities using a .csv file. The .csv file must have a column titled Name or
                 Value.

         1.      Click Import.
         2.      On the Import Wizard, click Import.
         3.      Browse and select the .csv file and click Open. The Import Results window is displayed.
         4.      Close the Import Results window and the Import Wizard, and then click Next.




         Figure 24. Sample .csv file with WWNN identities

6.    On the FCoE Port Name Identities page, perform one of the following:
              NOTE: If you do not want to include fibre channel WWPN identities in the virtual I/O pool, clear the Include Fibre
              Channel WWPN Identities in the pool option, and then click Next.
      a. To specify the start address for the WWPN identities and the number of identities to be generated, perform the following:

         1.      In the Specify the start address box, type the start address that you want to predefine in the WWPN identities that
                 will be generated.
                      NOTE: The input address range (start address + number of identities) is validated against the existing
                      address ranges for overlap when you are creating or editing a virtual I/O pool. The number of identities
                      requested cannot be guaranteed in case the requested address range is overlapping with an existing virtual
                      I/O pool address range.
         2. In the Number of Identities box, type the identity values that you want to define, and then click Next.
      b. If you want to import the WWPN identities from a .csv file, click Import from file and perform the following:
                 NOTE: You can import up to 1000 identities using a .csv file. The .csv file must have a column titled Name or
                 Value.

         1.      Click Import.
         2.      On the Import Wizard, click Import.
         3.      Browse and select the .csv file and click Open. The Import Results window is displayed.
         4.      Close the Import Results window and the Import Wizard, and then click Next.




         Figure 25. Sample .csv file with WWPN identities

7.    On the iSCSI IQN Identities page, perform one of the following:
              NOTE: If you do not want to include iSCSI IQN identities in the virtual I/O pool, clear the Include IQN Identities in
              the pool option, and then click Next.
      a. If you want to provide a prefix for the iSCSI IQN identities that will be generated, click Specify a prefix to allocate from,
         and type the IQN in the appropriate field.


150
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 152 of 388


               NOTE: The typical iSCSI IQN format is: iqn.date.domainname-in-reverse:storage-identifier. For example, iqn.
               2001-04.com.example:storage.disk2.sys1.xyz.

               NOTE: The iSCSI IQN identifier string can include the following special characters: hyphen, comma, colon, and
               period.
     b. If you want to import the iSCSI IQN identities from a .csv file, click Import from file and perform the following:
               NOTE: You can import up to 1000 identities using a .csv file. The .csv file must have a column titled Name or
               Value.

         1.   Click Import.
         2.   On the Import Wizard, click Import.
         3.   Browse and select the .csv file and click Open. The Import Results window is displayed.
         4.   Close the Import Results window and the Import Wizard, and then click Next.




         Figure 26. Sample .csv file with iSCSI IQN identities

8.   On the Summary page, review the definitions with the number of identities that you provided for the I/O identity types, and
     then click Finish.

The virtual I/O pool that you created is displayed under Virtual I/O Pools on the left pane.
Related links
  Virtual Input-Output Pools
  Create Virtual Input-Output Pool Wizard

Editing a Virtual Input-Output Pool
You can edit a virtual I/O pool to add ranges that you had not specified earlier, add a new I/O identity type, or delete identity type
ranges that have not been assigned to any compute pool.
To edit the definitions of a virtual I/O pool:

1.   Click Deployment.
     The Deployment Portal is displayed.
2.   On the left pane, under Virtual I/O Pools, right-click a virtual I/O pool, and then click Edit.
     The Create Virtual I/O Pool Wizard is displayed.
3.   Make the required changes to the definitions on the appropriate pages of the wizard.
4.   On the Summary page, click Finish.

The changes you made to the virtual I/O pool are saved.
Related links
  Virtual Input-Output Pools
  Create Virtual Input-Output Pool Wizard

Viewing the Definitions of a Virtual Input-Output Pool
To view the definitions of a virtual I/O pool:

1.   Click Deployment.
     The Deployment Portal is displayed.
2.   On the left pane, under Virtual I/O Pools, right-click a virtual I/O pool, and then click View.
     The Create Virtual I/O Pool Wizard is displayed.



                                                                                                                                         151
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 153 of 388


3.    Click Next to view the various I/O identity definitions of the virtual I/O pool.

Related links
  Virtual Input-Output Pools
  Create Virtual Input-Output Pool Wizard

Renaming a Virtual Input-Output Pool
To rename a virtual I/O pool:

1.    Click Deployment.
      The Deployment Portal is displayed.
2.    On the left pane, under Virtual I/O Pools, right-click the virtual I/O pool that you want to rename, and then click Rename.
      The Rename Virtual I/O Pool window is displayed.
3.    Type a new name and then click OK.

The virtual I/O pool is renamed.
Related link
  Virtual Input-Output Pools

Deleting a Virtual Input-Output Pool
You can delete a virtual I/O pool if the virtual I/O pool is not locked.
To delete a virtual I/O pool:

1.    Click Deployment.
      The Deployment Portal is displayed.
2.    On the left pane, under Virtual I/O Pools, right-click the virtual I/O pool that you want to delete, and then click Delete.
3.    At the Delete Confirmation prompt, click Yes.

The virtual I/O pool is deleted.
Related link
  Virtual Input-Output Pools

Viewing the Virtual Input-Output Identities Assigned or Deployed on a Device
Deployed I/O identities are identities from a virtual I/O pool that are deployed on target devices. Assigned I/O identities are identities
from a virtual I/O pool that are assigned to target devices prior to deploying the devices. You can assign virtual I/O identities to
target devices using the Edit Attributes → Identity Attributes tab of the Deploy Template Wizard.
To view the virtual I/O identities that are assigned or deployed on a device:
          NOTE: If you want to view all devices and their assigned or deployed virtual I/O identities, click Reports → Server
          Configuration → Assigned Identity Attributes.

1.    Click Deployment.
      The Deployment Portal is displayed.
2.    Under Virtual I/O Pools on the left pane, select a virtual I/O pool.
      The Virtual I/O Pool Summary page is displayed on the right pane.
3.    On the Virtual I/O Pool Summary page, click the Devices with Identities tab.
      Devices with assigned or deployed virtual I/O identities are displayed on a grid.
4.    Perform one of the following:

      •     Right-click a device on the grid, and then click View Identities.
      •     Double-click a device on the grid.

      The Identity Assignments window displays the virtual I/O identities that are either assigned or deployed on the device.



152
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 154 of 388



Compute Pools
A compute pool is a group of servers that you want to use for a specific purpose. Typically, the servers in a compute pool share the
same hardware configurations and attributes. Based on your requirement, you can create compute pools for various purposes such
as:

•    Managing the workload
•    Managing servers of a business unit
•    Managing servers in a geographic region

Creating a compute pool allows you to quickly deploy a new server or replace an existing server in a production environment.
         NOTE: A compute pool can be associated with only one virtual I/O pool and one device configuration template.

Related links
  Creating a Compute Pool
  Deploying a device configuration template—Stateless deployment
  Unlocking a Compute Pool
  Editing the Definitions of a Compute Pool
  Viewing the Definitions of a Compute Pool
  Removing a Server From a Compute Pool
  Renaming a Compute Pool
  Deleting a Compute Pool

Creating a Compute Pool
You can create a compute pool to group a set of servers for a specific purpose.
To create a compute pool:

1.   Click Deployment.
     The Deployment Portal is displayed.
2.   Perform one of the following:

     •     On the left pane, under Common Tasks, click Create Compute Pool.
     •     On the left pane, under Compute Pools, right-click Repurpose and Bare Metal → Create Compute Pool.

     The Create Compute Pool Wizard is displayed.
3.   On the Name and Description page, type a unique name for the compute pool and an appropriate description, and then click
     Next.
4.   On the Select Template page, perform the following:
             NOTE: Selecting a template is optional. You can select a template at a later time, either by editing the compute pool
             or while deploying a server. If you do not want to select a template, ensure that the Select Template for the Compute
             Pool option is not selected, and then click Next.

             NOTE: Only templates that you have previously created from a server or cloned are available for selection.

             NOTE: Templates that are already associated with a compute pool are not available for selection.

             NOTE: The template you select must be imported from a PowerEdge server with the latest iDRAC firmware
             installed. The template must include persistence policy attributes that allow the deployed virtual I/O identities to be
             persistent across reboots.
     a. Select the Select Template for the Compute Pool option.
     b. Select a template from the list and click Next.
5.   On the Select ISO Location page, perform the following:




                                                                                                                                  153
              Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 155 of 388


               NOTE: If you do not want to provide the ISO location details, ensure that the Boot Compute Pool from Network ISO
               option is not selected, and then click Next.
       a. Select the Boot Compute Pool from Network ISO option.
       b. Type the ISO file name, IP address and name of the network share in the appropriate fields, and then click Next.
6.     On the Select Virtual I/O Pool page, perform one of the following:

       •     If you want to provide the virtual I/O identity attributes manually while deploying the template, click User defined I/O
             assignment, and then click Next.
       •   If you want OpenManage Essentials to automatically assign virtual I/O identities to the servers in the compute pool, click
           Automatic I/O assignment, select a virtual I/O pool from the list, and then click Next.
7.     On the Select Devices page, select the target devices you want to include in the compute pool from the All Applicable Devices
       tree, and click Next.
               NOTE: Only devices in the Repurpose and Bare Metal group that are not members of any other compute pools are
               available for selection.

               NOTE: A device that is already included in a compute pool cannot be included in another compute pool.

               NOTE: Only devices that you select to include in the compute pool are available for stateless deployment.
8.     (Only if you selected a template in step 4) On the Edit Attributes page, select and update the attributes based on your
       requirement, and click Next.
9.     On the Summary page, review your selections, and then click Finish.

The compute pool that you created is displayed under Compute Pools on the left pane.
Related links
  Compute Pools
  Create Compute Pool Wizard

Deploying a device configuration template—Stateless deployment
The Deploy Template task allows you to deploy a configuration template that includes a set of configuration attributes to specific
devices. Deploying a device configuration template on the devices ensures that the devices are uniformly configured.
Before you begin deploying a device configuration template, ensure that:

•     The deployment file share is configured. For more information, see Configuring the Deployment File Share.
•     The target devices are added to the compute pool. For more information, see Creating a Compute Pool and Editing a Compute
      Pool.
•     You have either created or cloned a device configuration template.
•     The target devices meet the requirements specified in Device Requirements for Deployment and Compliance Tasks.
•     The Server Configuration Management license is installed on all target servers. For more information, see OpenManage
      Essentials — Server Configuration Management License.
•     On servers with a Mellanox HBA adapter, make sure that the version of adapter firmware installed is 02.34.50.10 X08 or later.
•     For IOA configuration deployment, the template must be created from a blade server.

           NOTE: For the list of HBA card types that support stateless deployment, see “Supported cards for I/O Identity
           Optimization” in the iDRAC User’s Guide at Dell.com/idracmanuals.
           CAUTION: Deploying a configuration template on a device may result in potentially destructive changes to the device
           configuration including performance, connectivity, and ability to boot the device.
To deploy a configuration template on devices:

1.     Click Deployment.
       The Deployment Portal is displayed.
2.     Perform one of the following:

       •     In the Common Tasks pane, click Deploy Template.
       •     In the Compute Pools pane, right-click the compute pool that includes the devices that you want to deploy, and then click
             Deploy.


154
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 156 of 388


     The Deploy Template Wizard wizard is displayed.
3.   On the Name and Deploy Options page:
     a.   Type an appropriate name for the task.
     b.   Under Deploy Target, select Compute Pool.
     c.   Select a compute pool from the Select a Compute Pool list.
     d.   Under Select Deploy Options, select Deploy Template.
     e.   Click Next.
4.   On the Select Template page, select a device configuration template and click Next.
            NOTE: Only device configuration templates that you have either created or cloned are available for selection. A
            template that is already assigned to a compute pool is not available for selection.
5.   On the Select Virtual I/O Pool page, perform one of the following, and then click Next.

     •    Select User defined I/O assignment if you want to manually provide virtual I/O identities for the devices.
     •  Select Automatic I/O assignment and select a virtual I/O pool from the list to allow OpenManage Essentials to
        automatically assign virtual I/O identities to the devices.
6.   On the Select Devices page, select one or more target devices from the compute pool tree, and then click Next.
7.   On the Edit Attributes page:
            NOTE: OpenManage Essentials does not include any passwords from the source when the configuration template is
            created. If you want to set the passwords for the target devices, all password attributes must be edited in the
            configuration template before deployment.

            NOTE: If you selected User defined I/O assignment in step 5, you must edit the I/O attributes of the template and
            provide the appropriate values in the Edit Attributes → Device Specific Attributes tab.

            NOTE: The BIOS attributes list of the device configuration template contains the BIOS.Virtual instance with the
            following attributes: EnableBootDevices and DisableBootDevices. Devices that you want to boot from must be
            included in the EnableBootDevices list.
     a. Click the Template Attributes tab to edit the attributes of the device configuration template.
     b. Click the attribute group name to view the list of attributes in a group.
     c. If you do not want to deploy a particular attribute in the template and want to retain the current attribute value on the
        target devices, clear the check box in the Deploy column.
     d. Edit or select the values in the Value column based on your preference.
        The total number of attributes in the template and the number of attributes that you edit are displayed on the Grouped by
        bar.
     e. Click Save.
     f. Click the Device Specific Attributes tab to edit the attributes that are unique for the target devices.
               NOTE: The Device Specific Attributes tab may or may not display attributes based on the template selected for
               deployment.
     g. Under Select Devices, select a device.
     h. Click the attribute group name to view the list of attributes in a group.
     i. To assign a new Static IPv4 Address for the deployment, enter the Static IPv4 Address in the Value column of IPv4Static 1
        IPv4 Address attribute.
               NOTE: Deploying the template with the changed Static IPv4 Address initiates a new discovery task for the
               device. For more information on the task details, see Task Status. The new Static IPv4 Address is added to the
               discovery range under Manage → Discovery and Inventory → Discovery Ranges → All Ranges.
     j. If you do not want to deploy a particular attribute in the template and want to retain the current attribute value on the
        target device, clear the check box in the Deploy column.
     k. Edit or select the values in the Value column based on your preference.
     l. Click Save.
     m. (For automatic virtual I/O assignment only) Click the Identity Attributes tab to assign the virtual I/O identities.
               NOTE: For FCoE WWPN, WWNN, and virtual FIP attributes, if you deselect an attribute, all the other related
               attributes are deselected automatically.



                                                                                                                                    155
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 157 of 388


                 NOTE: For Intel network adapters, a single iSCSI initiator name is generated and deployed on all ports. You
                 cannot deploy the IQN identity to only one port. By default, the IQN identity is deployed to all ports.

                 NOTE: The Status column displays an Error status if the selected virtual I/O pool either does not contain the
                 virtual I/O attributes or does not have sufficient virtual I/O identities.

            1.   Optional: Click Assign Identities to assign virtual I/O identities from the virtual I/O pool.
            2. On the Results prompt, click OK. The Identity Assignments tab is displayed.
       n.   (For IOA VLAN configuration deployment only) Click the IOA VLAN Attributes tab to edit the IOA VLAN attributes for the
            selected template.
       o.   Select the Deploy check box for the attributes that you want to deploy.
       p.   Type the values for the tagged VLANs and untagged VLAN.
       q.   Click Save.
       r.   Click Next.
8.     On the Set Schedule page:
       a. Select either Run now, or click the calendar icon and select the date and time you want to run the task.
       b. Under Execution Credentials, type the credentials of the iDRAC that have Administrator privileges.
       c. (Only for IOA VLAN configuration deployment) Under IOA Credentials, type the credentials that have Administrator
          privileges on the IOA.
       d. Click Next.
9.     On the Preview page:
       a. Optional: Click Preview to verify if the attributes of the device configuration template will be deployed successfully on the
          target devices.
       b. Click Next.
10. On the Summary page, review the information that you have provided, and then click Finish.
       The Deploy Template warning is displayed.
11. If you want to continue the deployment, click Yes.

The Deploy Template task is created and the task runs based on the schedule you have selected. You can double-click the task in
Task Execution History to view the task execution details. After the deployment is completed successfully, the template deployed

icon         and the text, Deployed, are displayed along with the device name in the compute pool.

        NOTE: On stateless deployment for FCoE protocol, the first octet for WWNN will be 20:00 and the first octet for the
        WWPN will be 20:01. The remaining octets will be the same as the virtual FIP MAC address.
Related links
  Server Configuration Management license
  Device requirements for deployment and compliance tasks
  Compute Pools
  Automatic Locking of a Compute Pool

Automatic Locking of a Compute Pool
After the first successful deployment of any server in a compute pool, the compute pool is automatically locked. When a compute

pool is locked, the associated device configuration template and the virtual I/O pool are also locked. A lock icon      is displayed in
the user interface to indicate that the resource is locked. Locking of the compute pool ensures that all servers in the pool utilize the
same device configuration template and virtual I/O pool. You can only perform the following on a locked compute pool:

•     View the definitions of the compute pool
•     Add or remove servers from the compute pool
•     Deploy servers that are members of the compute pool

        NOTE: If you want to use a locked device configuration template for other purposes, you can clone and use the device
        configuration template.




156
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 158 of 388



Unlocking a Compute Pool
You can unlock a compute pool if you want to update the compute pool after the compute pool is deployed and locked. For example,
after unlocking a compute pool, you can edit the device configuration template, and then redeploy the servers in the compute pool.
To unlock a compute pool:

1.   Click Deployment.
     The Deployment Portal is displayed.
2.   On the left pane, under Compute Pools, right-click the compute pool that you want to unlock, and then click Unlock.
3.   At the confirmation prompt, click Yes.

The compute pool is unlocked. However, the servers in the compute pool that were already deployed remain in the deployed state.
Unlocking the compute pool also unlocks the associated device configuration template and virtual I/O pool.
Related links
  Compute Pools
  Automatic Locking of a Compute Pool

Editing the Definitions of a Compute Pool
The definitions of a compute pool that you can edit depend on the whether the compute pool is locked or unlocked. After any server
in a compute pool is successfully deployed, the compute pool is automatically locked. In a locked compute pool, you can only add and
deploy servers.
To edit the definitions of a compute pool:

1.   Click Deployment.
     The Deployment Portal is displayed.
2.   On the left pane, under Compute Pools, right-click a compute pool, and then click Edit.
     The Create Compute Pool Wizard is displayed.
3.   Make the required changes to the definitions on the appropriate pages of the wizard.
4.   On the Summary page, review the information, and then click Finish.

The changes you made to the compute pool are saved.
Related links
  Compute Pools
  Create Compute Pool Wizard

Viewing the Definitions of a Compute Pool
To view the definitions of a compute pool:

1.   Click Deployment.
     The Deployment Portal is displayed.
2.   On the left pane, under Compute Pools, right-click a compute pool, and then click View.
     The Create Compute Pool Wizard is displayed.
3.   Click Next to view the various definitions of the compute pool.

Related links
  Compute Pools
  Create Compute Pool Wizard




                                                                                                                                 157
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 159 of 388



Removing a Server From a Compute Pool
You can remove a server from a compute pool based on your requirement. For example, you can remove a server from a compute
pool for the purpose of moving the server to another compute pool or for deploying the server without virtual I/O identities.
To remove a server from a compute pool:

1.    Click Deployment.
      The Deployment Portal is displayed.
2.    On the left pane, under Compute Pools, right-click the server that you want to remove from the compute pool, and then click
      Remove from Pool.
3.    At the confirmation prompt, click Yes.

The server is removed from the compute pool and is moved to the Repurpose and Bare Metal Devices group.
Related link
  Compute Pools

Renaming a Compute Pool
To rename a compute pool:

1.    Click Deployment.
      The Deployment Portal is displayed.
2.    On the left pane, under Compute Pools, right-click the compute pool that you want to rename, and then click Rename.
      The Rename Compute Pool window is displayed.
3.    Type a new name and then click OK.

The compute pool is renamed.
Related link
  Compute Pools

Deleting a Compute Pool
To delete a compute pool:

1.    Click Deployment.
      The Deployment Portal is displayed.
2.    On the left pane, under Compute Pools, right-click the compute pool that you want to delete, and then click Delete.
3.    At the Delete Confirmation prompt, click Yes.

The compute pool is deleted and all servers from the pool are returned to the Repurpose and Bare Metal group. The virtual I/O pool
and the device configuration template that was associated with the compute pool are unlocked. However, virtual I/O identities that
were either assigned or deployed are retained by the servers.

       NOTE: Even if the compute pool is deleted, the servers that were part of the compute pool remain in the deployed state.

Related link
  Compute Pools

Replacing a Server
The replace server task allows you to quickly replace a production server with another server from within the same compute pool.
For example, you can use the replace server task to quickly replace a failing or failed server with another spare server. When the
replace server task runs, the attributes of a device configuration template and the virtual I/O identities of the source server are
migrated to the target server.
Before you begin the replace server task, ensure that:




158
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 160 of 388


•    The compute pool contains a minimum of two servers, one or both of the servers in a deployed state.
•    The source server is deployed within the same compute pool.
•    The target server is within the same compute pool as the source server.

To replace a server:
          CAUTION: The replace server task may result in potentially destructive changes to the device configuration including
          performance, connectivity, ability to boot the device, and/or data loss.

1.    Click Deployment.
      The Deployment Portal is displayed.
2.    Perform one of the following:

      •     In the Common Tasks pane, click Replace Server.
      •     In the Compute Pools pane, right-click the compute pool that includes the server you want to replace, and then click
            Replace Server.

      The Replace Server Wizard wizard is displayed.
3.    On the Name page, type an appropriate name for the task, and then click Next.
4.    On the Source and Target page:
              NOTE: The target servers are displayed only after you select the source server. The servers displayed in the Select
              Target section also include servers that are already in a deployed state.
      a. Under Select Source, select the source server.
      b. Under Select Target, select the target server.
      c. Click Next.
5.    On the Review Source Attributes page, review the template attributes, IOA VLAN attributes (if applicable), device specific
      attributes, and virtual I/O identity assignments, and then click Next.
6.    On the Options page, select any of the following options based on your preference:

      •     Remove source from compute pool — Select to move the source server from the compute pool to the Repurpose and
            Bare Metal Devices group after the server is replaced.
      •   Deploy to target even if virtual identities cannot be reclaimed from the source — Select to reclaim the virtual I/O
          identities of the source server, even if the source server is unreachable.
7.    Click Next.
8.    On the Credentials page, type the iDRAC user name and password of the source server and target server in the appropriate
      fields, and then click Next.
9.    On the Summary page, review the selections you have made, and then click Finish.
      The Replace Server warning is displayed.
10. If you want to continue the replacement, click Yes.

The replace server task is created and the task runs immediately. You can double-click the task in Task Execution History to view

the task execution details. After the deployment is completed successfully, the template deployed icon        and the text, Deployed,
are displayed along with the device name in the compute pool.

          NOTE: When a server is replaced, all selected attributes of the device configuration template (including device-specific
          identity attributes for workload movement) are deployed on the target server. If you try to redeploy the device
          configuration template after replacing the server, the device-specific attributes are not populated automatically in the
          Deploy Template wizard. Therefore, if required, you must manually enter the device-specific attributes in the Edit
          Template page of the Deploy Template wizard.

          NOTE: When the replace server task runs, the pie chart in the Device Compliance portal displays the source server as
          two devices — one as Not Compliant or Compliant and another as Not Inventoried. After the server replacement task is
          completed, the pie chart displays the correct compliance status for the source server.




                                                                                                                                    159
              Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 161 of 388



Reclaiming Deployed Virtual Input-Output Identities of a Server
The reclaim identities task allows you to reclaim all deployed virtual I/O identities from a server.
Before you begin the reclaim identities task, ensure that:

•     The server has been deployed from a compute pool.
•     The server has been assigned virtual I/O identities using OpenManage Essentials.

To reclaim the deployed virtual I/O identities of a server:
           CAUTION: The reclaim identities task may impact one or more network settings of the server and may result in loss of
           connectivity to the server.

1.     Click Deployment.
       The Deployment Portal is displayed.
2.     Perform one of the following:

       •     In the Common Tasks pane, click Reclaim Identities.
       •     In the Compute Pools pane, right-click the compute pool that includes the server you want to replace, and then click
             Reclaim Identities.
       •     In the Virtual I/O Pools pane, click a virtual I/O pool. On the right-side pane, click the Devices with Identities tab. Right-
             click a device and then click Reclaim Deployed Virtual Identities.

       The Reclaim Identities Wizard wizard is displayed.
3.     On the Name page, type an appropriate name for the task, and then click Next.
4.     On the Select Devices page, click Next.
5.     On the Identity Assignments page, review the virtual I/O identity attributes, and then click Next.
6.     On the Options page, select any of the following options based on your preference:

       •     Remove source from compute pool — Select to move the servers from the compute pool to the Repurpose and Bare
             Metal Devices group after reclaiming the virtual I/O identities.
       •   Force reclaim action even if target cannot be contacted — Select to reclaim the virtual I/O identities of the server, even
           if source server is unreachable.
7.     Click Next.
8.     On the Credentials page, type the user name and password of the iDRAC in the appropriate fields, and then click Next.
9.     On the Summary page, review the selections you have made, and then click Finish.
       The Reclaim Identities warning message is displayed.
10. If you want to continue reclaiming the virtual I/O identities of the server, click Yes.

The reclaim identities task is created and the task runs immediately. You can double-click the task in Task Execution History to view
the task execution details.

Reclaiming Assigned Virtual Input-Output Identities
You can also reclaim the assigned virtual I/O identities from a device based on your preference.
To reclaim the assigned virtual I/O identities:

1.     Click Deployment.
       The Deployment Portal is displayed.
2.     Under Virtual I/O Pools on the left pane, select a virtual I/O pool.
       The Virtual I/O Pool Summary page is displayed on the right pane.
3.     On the Virtual I/O Pool Summary page, click the Devices with Identities tab.
       Devices with assigned or deployed virtual I/O identities are displayed on a grid.
4.     Right-click a device on the grid and then click Reclaim Assigned Identities.
       The reclaim assigned identities warning message is displayed.



160
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 162 of 388


5.    If you want to continue reclaiming the assigned virtual I/O identities of the device, click Yes.

The reclaimed virtual I/O identities are returned to the virtual I/O pool.

Setting up device configuration auto deployment—Stateless deployment
The Setup Auto Deployment task enables you to deploy a configuration template, which includes a set of configuration attributes, to
devices that you will discover at a later time. Deploying a device configuration template on the devices ensures that the devices are
uniformly configured.
Before you create a device configuration auto deployment task, ensure that:

•    The deployment file share is configured. For more information, see Configuring the Deployment File Share.
•    The auto deployment setting is enabled and configured. For more information, see Configuring Auto Deployment Settings.
•    The Service Tag or node ID of each target device is available in a .csv file. The Service Tags or node IDs should be listed under
     the title ‘ServiceTag’, ‘Service Tag’, or ‘Node ID’ in the .csv file.
             NOTE: On devices which have multiple compute nodes (such as the PowerEdge FM120x4), all of the compute nodes
             have the same Service Tag. Therefore, the node ID must be used to identify the specific compute node to use. In
             the .csv file, you must include the node IDs of the specific compute nodes that you want to auto deploy.
•    You have either created a device configuration template or cloned a sample template.
•    You have already created a compute pool. For more information, see Creating a Compute Pool.
•    The target devices meet the requirements specified in Device Requirements for Deployment and Compliance Tasks.
•    The Server Configuration Management license is installed on all target servers. For more information, see OpenManage
     Essentials — Server Configuration Management License.
•    On servers with a Mellanox HBA adapter, make sure that the version of adapter firmware installed is 02.34.50.10 X08 or later.
•    For IOA configuration deployment, the template must be created from a blade server.

          CAUTION: Deploying a configuration template on a device may result in potentially destructive changes to the device
          configuration including performance, connectivity, and ability to boot the device.
To auto deploy the configuration template on devices that will be discovered at a later time:

1.    Click Deployment.
      The Deployment Portal is displayed.
2.    Perform one of the following:

      •     In the Common Tasks pane, click Setup Auto Deployment.
      •     Click Auto Deployment, and then click Add Devices.

      The Setup Auto Deployment wizard is displayed.
3.    On the Select Deploy Options page:
      a. Under Deploy Target, select a compute pool from the Select a Compute Pool list.
      b. Under Select Deploy Options, select Deploy Template.
      c. Click Next.
4.    On the Select Template page, select a configuration template, and then click Next.
              NOTE: Only configuration templates that you have either created or cloned are available for selection.
5.    On the Select Virtual I/O Pool page, perform one of the following, and then click Next.

      •     Select User defined I/O assignment if you want to edit the attributes of the template to provide virtual I/O identities for
            the devices.
      •  Select Automatic I/O assignment and select a virtual I/O pool from the list to allow OpenManage Essentials to
         automatically assign virtual I/O identities to the devices.
6.    On the Select Virtual I/O Pool page,
7.    On the Import Service Tags/Node IDs page:
      a. Click Import.
      b. Browse and select the .csv file that includes the Service Tags or node IDs.



                                                                                                                                          161
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 163 of 388


                NOTE: You can only import valid Service Tags or node IDs that have not already been discovered.
      c. Click Open.
         The Import Summary is displayed.
      d. Click Ok.
      e. Click Next.
8.    On the Edit Attributes page:
             NOTE: OpenManage Essentials does not include any passwords from source when the configuration template is
             created. If you want to set the passwords for the target devices, all password attributes must be edited in the
             configuration template before deployment.
      a. Click the Template Attributes tab.
      b. Click the attribute group name to view the list of attributes in a group.
      c. If you do not want to deploy a particular attribute in the template and want to retain the current attribute value on the
         target device, clear the check box in the Deploy column.
      d. Edit or select the values in the Value column based on your preference.
         The total number of attributes in the template and the number of attributes that you edit are displayed in the Grouped by
         bar.
      e. If you made any changes, click Save.
      f. Click the Device Specific Attributes tab to edit the attributes that are unique for the target device.
                NOTE: The Device Specific Attributes tab may or may not display attributes based on the template selected for
                deployment.
      g. Click the attribute group name to view the list of attributes in a group.
      h. If you do not want to deploy a particular attribute in the template and want to retain the current attribute value on the
         target device, clear the check box in the Deploy column.
      i. Edit or select the values in the Value column based on your preference.
                  NOTE: You can also export the Device Specific Attributes for a specific device or for all devices as .csv file, edit
                  the attributes, and import the attributes. To export or import the Device Specific Attributes, click Import/Export.
      j.   Click the Identity Attributes tab to review the virtual I/O attributes.
      k.   If you do not want to deploy a particular attribute in the template and want to retain the current attribute value on the
           target device, clear the check box in the Deploy column.
      l.   If you made any changes, click Save.
      m.   (For IOA VLAN configuration deployment only) Click the IOA VLAN Attributes tab to edit the IOA VLAN attributes that are
           unique for the target device.
      n.   Select the Deploy check box for the attributes that you want to deploy.
      o.   Type the values for the tagged VLANs and untagged VLAN.
      p.   Click Save.
      q.   Click Next.
9.    On the Execution Credentials page:
      a. On the Credentials section, click Add New Credentials.
         The Add Credentials window is displayed.
      b. Type the description, Administrator user name, and password required to run the task on the target devices.
      c. If you want to set the credentials as the default credentials for all target devices, select Default, and then click Finish.
      d. Repeat step a to step c until you have configured the credentials required for running the task on all target devices.
      e. On the Devices section, set the Execution Credentials for each target device.
      f. (Only for IOA VLAN configuration deployment) Under IOA Credentials, type the credentials that have Administrator
         privileges on the IOA.
      g. Click Next.
10. On the Summary page, review the information that you have provided, and then click Finish.
      The Deploy Template warning is displayed.
11. If you want to continue creating the Setup Auto Deployment task, click Yes.




162
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 164 of 388


The Service Tags or Node IDs are displayed in the Auto Deployment tab until the devices are discovered and inventoried in
OpenManage Essentials. The Deploy Configuration to Undiscovered Devices task runs periodically and verifies if the devices are
discovered and inventoried in OpenManage Essentials.

         NOTE: The Deploy Configuration to Undiscovered Devices runs based on the frequency configured in Settings →
         Deployment Settings.

After the discovery and inventory of the devices is completed and a deploy task is created, the devices are moved to appropriate
compute pool. You can double-click the tasks in Task Execution History to view the task execution details. After the deployment is

completed successfully, the template deployed icon         and the text, Deployed, are displayed along with the device name in the
compute pool.
Related link
  Server Configuration Management license

Viewing device profiles
The profile of a device contains a list of last deployed attributes of the device configuration template, including the device-specific
and virtual I/O identity attributes.
To view a device profile with last deployed attributes:

     Perform one of the following:

     •     On the Devices portal, select the deployed device from the device tree. On the right-pane, click Configuration → Profile.
     •     On the Deployment portal, select the deployed device from the Compute Pool section. On the right-pane, click Profile.

     The last deployed attributes are displayed within the Template Attributes, Device-Specific Attributes, and Virtual Identities
     tabs.

             NOTE: Only attributes that you selected in the device configuration template for the deployment are displayed in the
             Profile tab.


Known limitations for stateless deployment
The following are the known limitations for deploying virtual I/O identities on target servers:

•   On Broadcom network adapters, OpenManage Essentials does not support boot from ISO for installing the operating system on
    a SAN along with the virtual I/O identity deployment. However, if an operating system is already installed on the SAN, after
    deployment of virtual I/O identities, the server can boot from the SAN.
•   For PowerEdge FC430, FC630, and FC830 sleds, the PCIe cards (FC and iSCSI) in the shared PCIe slots of the PowerEdge
    FX2s chassis are supported for stateless deployment. However, if the PCIe cards are mapped, replacement can be performed
    only to an exactly similar sled in the same slot with the same PCIe mapping in another chassis. If the PCIe cards are not mapped,
    replacement can be performed on any similar sled.
•   For performing stateless deployment on blade servers, the FlexAddress mode must be disabled on the blade server to prevent
    the host chassis from assigning I/O identity attributes. Even if the FlexAddress mode is enabled, OpenManage Essentials
    overrides the FlexAddress mode.
•   While performing a stateless deployment on a server with a QLogic Converged Network Adapter, OpenManage Essentials
    generates different attribute values for the virtual MAC (vMAC) and virtual FIP (vFIP) MAC attributes. However, only the value
    of the vMAC attribute is deployed for both the vMAC and vFIP MAC attributes. If you create a zone for SAN boot before the
    deployment, ensure that the zone is created based on the vMAC address generating virtual WWPN (vWWPN) and virtual
    WWNN (vWWNN). For example, 20:00:vMAC for vWWNN and 20:01:vMAC for vWWPN.
•   Intel NIC cards do not support unique iSCSI initiator name for each port. OpenManage Essentials deploys the same IQN value for
    all ports in the Intel NIC card.

Additional information
The following technical white papers and files available at delltechcenter.com provide additional information about the device
configuration template, attributes, and workflows:




                                                                                                                                      163
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 165 of 388


•     Server Cloning with Server Configuration Profiles
•     Server Configuration XML File
•     Configuration XML Workflows
•     Configuration XML Workflow Scripts
•     XML Configuration File Examples

You can also find detailed information about bare-metal and stateless deployments by using OpenManage Essentials in the server
deployment technical white paper available at DellTechCenter.com/OME.




164
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 166 of 388




                                                                                                                        10
Deployment—Reference
You can access the following from the Deployment → Deployment Portal page:

•   Deploy Device Configuration Portal

    – Getting Started for Deployment—Displays the information required to setup, use, and get started with the device
      configuration deployment features.
    – Deployment Portal—Displays the default view of the Deployment Portal.
•   Common Tasks—Displays the deployment setup tasks and other tasks that you can create.

    – Create Template
    – Create Virtual I/O Pool
    – Create Compute Pool
    – Deploy Template
    – Setup Auto Deployment
    – Manage Auto Deployment Credentials
    – File Share Settings
    – Replace Server
    – Reclaim identities
•   Templates—Displays the sample device configuration templates and templates that you have created or cloned.

    – Server Templates

       ◦   Sample - iDRAC SNMP Management Settings
       ◦   Sample - iDRAC Auto Update Settings
       ◦   Sample - Enable Broadcom Partitioning
       ◦   Sample - BIOS Setup System Password
       ◦   Sample - iDRAC static IP address
       ◦   Sample - iDRAC System Location
       ◦   Sample - iDRAC Thermal Alert Monitor
       ◦   Sample - iDRAC Timezone NTP
       ◦   Sample - Configure iDRAC Users
       ◦   Sample - iDRAC Initialized Virtual Disk
       ◦   Sample - Set Virtual Disk As Boot
       ◦   Sample - Delete BIOS System Setup Password
       ◦   Sample - Enable PXE Boot
       ◦   Sample - One Time BIOS Boot Device
       ◦   Sample - One Time HD Boot Device
       ◦   Sample - One Time UEFI Boot Device
       ◦   Sample - Set BIOS Boot Order
       ◦   Sample - Set HD Boot Order



                                                                                                                         165
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 167 of 388


         ◦   Sample - iDRAC Set Power Cap
         ◦   Sample - Set UEFI Boot Order
         ◦   Sample - Set SNMP Email Alerts
      – Chassis Templates

         ◦   Sample - FX2 Chassis
         ◦   Sample - VRTX Chassis
         ◦   Sample - M1000e Chassis
      – MX Chassis Templates

         ◦   Sample - MX7000 Chassis
      – IOA Templates
•     Compute Pools—Displays the devices you have added to the Repurpose and Bare Metal group and the compute pools that you
      have created.
•     Virtual I/O Pools—Displays the virtual I/O identity pools that you have created.
•     Tasks—Displays the tasks of the selected category in the Tasks tab in the right pane.

      – Configuration Tasks

         ◦   MX Chassis Configuration Deployment—Displays the device configuration deployment tasks that you have created for
             MX7000 Chassis.
         ◦   MX Chassis Configuration Import—Displays the Create Template tasks you have created for MX7000 chassis.
         ◦   IOA Configuration Pre-Check—Displays the device configuration pre-check tasks that you have created for IOAs.
         ◦   IOA Configuration Deployment—Displays the device configuration deployment tasks that you have created for IOAs.
         ◦   IOA Configuration Import—Displays the Create Template tasks that you have created for IOAs.
         ◦   Replace Server—Displays the history of the replaced servers.
         ◦   Reclaim Identities—Displays the history of the reclaimed virtual I/O identities.
         ◦   Device Configuration Preview—Displays the history of the device configuration deployment preview.
         ◦   Deploy to Undiscovered Devices—Displays the Auto Deployment Tasks you have created.
         ◦   Device Configuration Image Deploy—Displays the Boot to Network ISO tasks that you have created.
         ◦   Chassis Configuration Deployment—Displays the device configuration deployment tasks you have created for chassis.
         ◦   Chassis Configuration Import—Displays the Create Template tasks you have created for chassis.
         ◦   Device Configuration Deployment—Displays the device configuration deployment tasks you have created for servers.
         ◦   Device Configuration Import—Displays the Create Template tasks you have created for servers.

        NOTE: For information on the sample device configuration templates, see the iDRAC documentation at Dell.com/
        support.


Icons and descriptions
Table 64. Icons and descriptions

Icon                        Description
                            Read-only device configuration template. Read-only templates must be cloned before you can use it for
                            deployment or configuration compliance tasks.

                            Created, imported, or cloned device configuration template.


                            Device configuration template is successfully deployed on the target device.




166
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 168 of 388


Icon                      Description
                          Virtual I/O pool.


                          Compute pool.


                          A locked resource.


                          Read-only but deployable device configuration template.


Related links
  Repurpose and Bare Metal Devices
  Auto Deployment
  Tasks
  Task Execution History
  Device Configuration Template Details
  IOA VLAN Attributes
  Device Configuration Setup Wizard
  Create Template Wizard
  Deploy Template Wizard
  Setup Auto Deployment Wizard
  Manage Auto Deployment Credentials


Repurpose and Bare Metal Devices
The Repurpose and Bare Metal Devices tab displays the devices that you have added to the Repurpose and Bare Metal Devices
group and the compute pools that you have created. This tab also displays the last deploy result and last template deployed to the
devices.
        NOTE: The Repurpose and Bare Metal Devices tab only displays devices that are not included in any compute pool.

The fields displayed in the Repurpose and Bare Metal Devices tab are described in the following table.
Table 65. Repurpose and Bare Metal Devices

Field                                                              Description
Last Deploy Result                                                 Displays the result of the last deployment task.
Device Name                                                        Displays the device name.
Service Tag                                                        Displays the unique identifier assigned to the system.
Model                                                              Displays the model name of the system. For example,
                                                                   PowerEdge R710.
Last Template Deployed                                             Displays the latest template deployed.
End Time                                                           Displays the date and time when the latest template was
                                                                   deployed.
Modify Devices                                                     Displays the All Applicable Devices tree view. Select or clear
                                                                   devices to add or remove the devices from the Repurpose and
                                                                   Bare Metal Devices group.
Remove Selected Devices                                            Removes the selected devices from the Repurpose and Bare
                                                                   Metal Devices group.




                                                                                                                                 167
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 169 of 388


Related links
  Removing devices from the repurpose and bare-metal devices group
  Adding devices to repurpose and bare-metal devices group


Auto Deployment
The Auto Deployment tab displays the target devices that you have selected for the auto deployment tasks.
The fields displayed in the Auto Deployment tab are described in the following table.
Table 66. Auto Deployment

Field                                                               Description
Service tag or Node ID                                              Displays the unique identifier assigned to the system.
Template to Deploy                                                  Displays the template selected for deployment on the device.
Compute Pool                                                        Displays the name of the compute pool to which the device
                                                                    belongs.
Virtual IO Pool                                                     Displays the name of the virtual IO pool to which the device
                                                                    belongs.
Boot to Network ISO                                                 Displays if you have selected to boot the server to a network
                                                                    ISO image.
Configure VLANs on IOAs                                             Displays if you have selected to configure the VLANs on the
                                                                    IOAs.
Created On                                                          Displays the date the auto deployment task was created.
Created By                                                          Displays the name of the user who created the task.
Add Discovery Range                                                 Displays the Discovery Range Configuration wizard that
                                                                    enables you to add a discovery range.
Add Devices                                                         Displays the Setup Auto Deployment wizard.
Remove Selected Devices                                             Removes the selected devices from the associated Setup Auto
                                                                    Deployment tasks.

Related links
  Adding a Discovery Range for Auto Deployment
  Removing Devices From an Auto Deployment Task
  Setting up device configuration auto deployment—Bare-metal deployment


Tasks
The fields displayed in the Tasks tab of the Deployment portal are described in the following table.
Table 67. Tasks

Field                                                               Description
Schedule                                                            Displays if the task schedule is active or inactive.

Task Name                                                           Displays the name of the task.

Type                                                                Displays the type of the task.

Description                                                         Displays a brief description about the task.

Updated On                                                          Displays the date and time the task was updated.

Updated By                                                          Displays the name of the user who updated the task.

Created On                                                          Displays the date and time the task was created.



168
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 170 of 388


Field                                                               Description
Created By                                                          Displays the name of the user who created the task.

Related link
  Viewing the Deployment Tasks


Task Execution History
The Task Execution History tab displays the status of tasks.
The fields displayed in the Task Execution History tab are described in the following table.
Table 68. Task Execution History

Field                                                               Description
Status                                                              Displays an icon representing the task status:

                                                                        — Running or pending
                                                                        — Complete
                                                                        — Stopped
                                                                        — Failed

                                                                         — Warning

Task Name                                                           Displays the name of the task.

Start Time                                                          Displays the start time of the task.

% Completed                                                         Displays the progress information of the task.

Task State                                                          Displays the state of the task:

                                                                    •   Running
                                                                    •   Complete
                                                                    •   Stopped
                                                                    •   Failed
                                                                    •   Warning

End Time                                                            Displays the end time of the task.

Executed by User                                                    Displays the name of the user who executed the task.


Device Configuration Template Details
The fields displayed in the Attributes pane of the Deployment Portal are described in the following table.
Table 69. Device Configuration Template Details

Field                                                               Description
Undo                                                                Click to undo the changes made to the configuration template.

Save                                                                Click to save the changes to the configuration template.

Grouped by                                                          Displayed if you have chosen to display the attributes as groups.

Total                                                               Displays the total number of attributes in the template.

Modified                                                            Displays the number of attributes you have modified.




                                                                                                                                   169
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 171 of 388


Field                                                             Description
Deploy                                                            Select to deploy an attribute. If you do not select an attribute,
                                                                  the attribute value is not deployed on the target device and the
                                                                  current value will be retained on the target device. You can
                                                                  select all the attributes in the template by selecting the check
                                                                  box in the Deploy column header.

Modified                                                          Displays if you have modified the value of an attribute.

Section                                                           Displays the component that the attribute belongs to. For
                                                                  example, iDRAC, BIOS, NIC, and so on.

Instance                                                          Displays the instance of the component that the attribute
                                                                  belongs to.

Attribute Name                                                    Displays the name of the attribute.

Value                                                             Displays the value of the attribute.

Dependencies                                                      Displays if the attribute is dependent on any other attributes. To
                                                                  edit a dependent attribute, you must first set the primary
                                                                  attribute.

Destructive                                                       Displays if deploying the attribute may result in destructive
                                                                  changes to the device configuration including performance,
                                                                  connectivity, and ability to boot the device.

Group                                                             Displays the group the attribute belongs to.

Related link
  Viewing device deployment template attributes


IOA VLAN Attributes
The fields displayed in the IOA VLAN Attributes pane of the Deployment Portal are described in the following table.
Table 70. IOA VLAN Attributes

Field                                                             Description
Undo                                                              Click to undo the changes made to the IOA template.

Save                                                              Click to save the changes to the IOA template.

Total                                                             Displays the total number of attributes.

Modified                                                          Displays the number of attributes that you have modified.

Deploy                                                            Select to deploy an attribute. If an attribute is not selected, the
                                                                  attribute value will not be deployed on the target device and the
                                                                  current value will be retained on the target device. You can
                                                                  select all the attributes in the template by selecting the check
                                                                  box in the Deploy column header.

Modified                                                          Displays if you have modified the attributes.

NIC                                                               Displays the Fully Qualified Device Descriptor (FQDD) of the
                                                                  NIC.

Fabric                                                            Displays the fabric associated with a specific slot of the chassis.
                                                                  The fabric is identified by a combination of the group name (A,
                                                                  B, or C) and slot number (1 or 2).



170
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 172 of 388


Field                                                                Description
Tagged VLAN(s)                                                       Field to enter the tagged VLANs values.

Untagged VLAN                                                        Field to enter the untagged VLAN value.


Device Configuration Setup Wizard
The Device Configuration Setup Wizard guides you through the steps to get started with the configuration deployment and
compliance tasks.
        NOTE: The Device Configuration Setup Wizard is only displayed if you try to perform a task that is missing required
        information.

File Share Settings
The fields displayed in the File Share Settings page are described in the following table.
Table 71. File Share Setting

Field                                                                Description
Domain \ Username                                                    User name to access the file share on the server running
                                                                     OpenManage Essentials.

Password                                                             Password to access the file share on the server running
                                                                     OpenManage Essentials.

File Share Status                                                    Indicates the status of the deployment file share configuration.

Allow using file share for Device Configuration feature on           Allows using file share for device configuration features on the
server                                                               server.


Add devices to repurpose and bare-metal devices group
        NOTE: Adding devices to the repurpose and bare-metal devices group is applicable only for the device configuration
        deployment task.

        NOTE: Servers that you add to the repurpose and bare-metal devices group must have the Server Configuration
        Management license installed.

The Add Devices to Repurpose and Bare Metal Device Group page displays the servers and chassis that you can add to the
repurpose and bare-metal devices group.


Add Network
Table 72. Add Network

Network types                                                        Description
Name                                                                 Name for the network.
Description                                                          Description for the network.
VLAN ID                                                              VLAN IDs for the network. The valid VLAN IDs are: 1 to 4000
                                                                     and 4021 to 4094.
Network Type                                                         Type of the network.




                                                                                                                                        171
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 173 of 388



Network Types
Table 73. Network Types

Network types                                                      Description
Bronze General Purpose                                             Used for low priority data traffic.
Gold General Purpose                                               Used for high priority data traffic
Silver General Purpose                                             Used for standard or default priority data traffic
Platinum General Purpose                                           Used for extremely high priority data traffic
Cluster Interconnect                                               Used for cluster heartbeat VLANs
Hypervisor Management                                              Used for hypervisor management connections such as the ESXi
                                                                   management VLAN
iSCSI Storage                                                      Used for iSCSI VLANs
FCoE Storage                                                       Used for FCoE VLANs
Data Replication Storage                                           Used for VLANs supporting storage data replication such as for
                                                                   VMware Virtual Storage Area Network (VSAN)
VM Migration                                                       Used for VLANs supporting vMotion and similar technologies
VMWare FT Logging                                                  Used for VLANs supporting VMware Fault Tolerance


Create Template Wizard
The following table describes the fields displayed in the Create Template Wizard.
Table 74. Create Template Wizard

Field                                                              Description
Name                                                               Provide the name of the configuration template.
Create from File                                                   Select if you want to create the configuration template from an
                                                                   existing file.
Create from Device                                                 Select if you want to create the configuration template from a
                                                                   reference server or chassis.
Device Type                                                        Select a Server, Chassis, MX Chassis, or an IOA based on the
                                                                   device from which you want to create the configuration
                                                                   template.
All Applicable Devices                                             Displays the devices from which you can create a configuration
                                                                   template.
Execution Credentials
User Name                                                          Provide the user name required to execute the task on the
                                                                   device.
Password                                                           Provide the password required to execute the task on the
                                                                   device.

Related links
  Creating a device deployment template from a device configuration file
  Creating a device deployment template from a reference device




172
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 174 of 388



Create Virtual Input-Output Pool Wizard
The Create Virtual I/O Pool Wizard guides you through the creation of a pool of one or more virtual I/O identity types.
OpenManage Essentials utilizes the virtual I/O identities from the pool to assign an unique identity to the network interfaces of a
server. The fields displayed on the various pages of the wizard are described in the following sections.
        NOTE: Creating a virtual I/O pool is a prerequisite for automatically assigning and managing the virtual identities of the
        network interfaces of a server.
Related links
  Name and Description
  Ethernet Identities
  FCoE Node Name Identities
  FCoE Port Name Identities
  iSCSI IQN Identities
  Summary

Name and Description
The Name and Description page allows you to provide a name and description for the task.
The fields displayed on the Name and Description page of the Create Virtual I/O Pool Wizard are described in the following table.
Table 75. Name and Description

Field                                                               Description
Name                                                                Provide a name for the virtual I/O pool.
Description (optional)                                              Provide a description for the virtual I/O pool.

Related link
  Create Virtual Input-Output Pool Wizard

Ethernet Identities
The Ethernet Identities page allows you to generate or import Media Access Control (MAC) addresses to the virtual I/O pool. MAC
addresses are required for Ethernet (LAN) communications.
The fields displayed on the Ethernet Identities page of the Create Virtual I/O Pool Wizard are described in the following table.
Table 76. Ethernet Identities

Field                                                               Description
Include MAC addresses in this pool                                  Select to include MAC addresses in the virtual I/O pool.

Specify the start address                                           Select to specify the start address for the MAC addresses that
                                                                    will be generated.

Number of Identities                                                Set the number of identities that you want to predefine in the
                                                                    MAC addresses that will be generated.

Import from file                                                    Select to import MAC addresses from a .csv file.

Import                                                              Click to open the wizard used to import MAC addresses from
                                                                    a .csv file.

                                                                          NOTE: The .csv must include only one address or
                                                                          identity per line.

View                                                                Click to view the MAC addresses in the virtual I/O pool.




                                                                                                                                      173
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 175 of 388


Field                                                            Description

                                                                       NOTE: You can only view MAC addresses that you have
                                                                       already imported from a .csv file.


Related link
  Create Virtual Input-Output Pool Wizard

FCoE Node Name Identities
The FCoE Node Name Identities page allows you to generate or import World Wide Node Name (WWNN) identities to the virtual
I/O pool. WWNN identities are required for Fibre Channel (FC) and Fibre Channel over Ethernet (FCoE) communications.
The fields displayed on the FCoE Node Name Identities page of the Create Virtual I/O Pool Wizard are described in the following
table.
Table 77. FCoE Node Name Identities

Field                                                            Description
Include Fibre Channel WWNN Identities in the pool                Select to include WWNN identities in the virtual I/O pool.

Specify the start address                                        Select to specify the start address for the WWNN identities
                                                                 that will be generated.

Number of Identities                                             Set the number of identities that you want to predefine in the
                                                                 WWNN identities that will be generated.

Import from file                                                 Select to import WWNN identities from a .csv file.

Import                                                           Click to open the wizard used to import WWNN identities from
                                                                 a .csv file.

                                                                       NOTE: The .csv must include only one address or
                                                                       identity per line.

View                                                             Click to view the WWNN identities in the virtual I/O pool.

                                                                       NOTE: You can only view WWNN identities that you
                                                                       have already imported from a .csv file.


Related link
  Create Virtual Input-Output Pool Wizard

FCoE Port Name Identities
The FCoE Port Name Identities page allows you to generate or import World Wide Port Name (WWPN) identities to the virtual I/O
pool. WWPN identities are required for Fibre Channel (FC) and Fibre Channel over Ethernet (FCoE) communications.
The fields displayed on the FCoE Port Name Identities page of the Create Virtual I/O Pool Wizard are described in the following
table.
Table 78. FCoE Port Name Identities

Field                                                            Description
Include Fibre Channel WWPN Identities in the pool                Select to include WWPN identities in the virtual I/O pool.

Specify the start address                                        Select to specify the start address for the WWPN identities that
                                                                 will be generated.

Number of Identities                                             Set the number of identities that you want to predefine in the
                                                                 WWPN identities that will be generated.




174
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 176 of 388


Field                                                              Description
Import from file                                                   Select to import WWPN identities from a .csv file.

Import                                                             Click to open the wizard used to import WWPN identities from
                                                                   a .csv file.

                                                                         NOTE: The .csv must include only one address or
                                                                         identity per line.

View                                                               Click to view the WWPN identities in the virtual I/O pool.

                                                                         NOTE: You can only view WWPN identities that you
                                                                         have already imported from a .csv file.


Related link
  Create Virtual Input-Output Pool Wizard

iSCSI IQN Identities
The iSCSI IQN Identities page allows you to generate or import iSCSI Qualified Name (IQN) identities to the virtual I/O pool. The
IQN identities are required to support boot-from-SAN using the iSCSI protocol.
The fields displayed on the iSCSI IQN Identities page of the Create Virtual I/O Pool Wizard are described in the following table.
Table 79. iSCSI IQN Identities

Field                                                              Description
Include IQN Identities in the Pool                                 Select to include IQN identities in the virtual I/O pool.

Specify a prefix to allocate from                                  Select to specify a prefix for the IQN identities that will be
                                                                   generated.

                                                                         NOTE: The typical iSCSI IQN format is:
                                                                         iqn.date.domainname-in-reverse:storage-identifier. For
                                                                         example, iqn.
                                                                         2001-04.com.example:storage.disk2.sys1.xyz.

Import from file                                                   Select to import IQN identities from a .csv file.

Import                                                             Click to open the wizard used to import IQN identities from
                                                                   a .csv file.

                                                                         NOTE: The .csv must include only one address or
                                                                         identity per line.

View                                                               Click to view the IQN identities in the virtual I/O pool.

                                                                         NOTE: You can only view IQN identities that you have
                                                                         already imported from a .csv file.


Related link
  Create Virtual Input-Output Pool Wizard

Summary
The Summary page displays the definitions you provided for the create virtual I/O pool task.
The fields displayed on the Summary page are described in the following table.




                                                                                                                                    175
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 177 of 388


Table 80. Summary

Field                                                               Description
Name                                                                Displays the task name.

Ethernet Definition                                                 Displays the MAC address definition.

Number of Ethernet Identities                                       Displays the virtual I/O pool size of the ethernet identities.

FCoE WWNN Definition                                                Displays the WWNN identity definition.

Number of FCOE WWNN Identities                                      Displays the virtual I/O pool size of the WWNN identities.

FCoE WWPN Definition                                                Displays the WWPN identity definition.

Number of FCOE WWPN Identities                                      Displays the virtual I/O pool size of the WWPN identities.

IQN Definition                                                      Displays the IQN definition of the iSCSI initiator.

Number of iSCSI IQN Identities                                      Displays the virtual I/O pool size of the iSCSI IQN identities.
                                                                           NOTE: The Number of iSCSI IQN Identities is displayed
                                                                           only when the iSCSI IQN identities are imported from
                                                                           a .csv file.


Related link
  Create Virtual Input-Output Pool Wizard


Virtual Input-Output Pools
The Virtual I/O Pools page displays details about all the virtual I/O pools you have created.
The fields displayed on the Virtual I/O Pools page are described in the following table.
Table 81. Virtual I/O Pools

Field                                                               Description
Grouped by                                                          Displays the grouping you have selected for displaying the
                                                                    details of the virtual I/O pools.

Locked                                                              Displays if the virtual I/O pool is locked.

Name                                                                Displays the name of the virtual I/O pool.

Number of Identities                                                Displays the total number of identities of the virtual I/O pool.

Total Identities in use                                             Displays the total number of virtual I/O identities that are either
                                                                    assigned or deployed to target devices.


Virtual Input-Output Pool Summary
The Virtual I/O Pool Summary page displays details about the virtual I/O pool that you have selected.
The fields displayed on the Virtual I/O Pool Summary page are described in the following table.




176
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 178 of 388



Summary
Table 82. Summary

Field                                       Description
Grouped by                                  Displays the grouping you have selected for displaying the
                                            details of the virtual I/O pool.

Identity Type                               Displays the virtual identity type included in the virtual I/O pool.

Range Information                           Displays the definition that you provided for the virtual identity
                                            type.

Number of Identities                        Displays the total number of identities of the virtual I/O pool.

Total Identities in use                     Displays the total number of virtual I/O identities that are either
                                            assigned or deployed to target devices.


Devices with Identities
Table 83. Devices with Identities

Field                                       Description
Grouped by                                  Displays the grouping that you selected for displaying the details
                                            of the devices.

Device Name                                 Displays the name of the device.

Service Tag or Node ID                      Displays the unique identifier assigned to the device.

Total Assigned Identities                   Displays the total number of virtual I/O identities assigned to the
                                            device.

Total Deployed Identities                   Displays the total number of virtual I/O identities deployed on
                                            the device.

Total Identities in use                     Displays the total number of virtual I/O identities that are either
                                            assigned or deployed on the device.

Is Device Deleted                           Displays if the device was deleted from OpenManage Essentials
                                            after it was deployed with virtual I/O identities.

Template Name                               Displays the name of the template assigned to the device.

Compute Pool                                Displays the name of the compute pool to which the device
                                            belongs.

Last Deploy Time                            Displays the time stamp of the last deployment on the device.

Model                                       Displays the model name of the device, if available. For example,
                                            PowerEdge R710.




                                                                                                                 177
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 179 of 388



Create Compute Pool Wizard
The Create Compute Pool Wizard guides you through the creation of a pool of servers that you want to use for a specific purpose.
The fields displayed on the various pages of the wizard are described in the following sections.
Related links
  Name and Description
  Select Template
  Select ISO Location
  Select Virtual Input-Output Pool
  Select Devices
  Edit Attributes
  Summary

Name and Description
The Name and Description page allows you to provide a name and description for the task.
The fields displayed on the Name and Description page of the Create Compute Pool Wizard are described in the following table.
Table 84. Name and Description

Field                                                                 Description
Name                                                                  Provide a name for the compute pool.

Description (optional)                                                Provide a description for the compute pool.

Related link
  Create Compute Pool Wizard

Select Template
The Select Template page allows you to select the template that you want to assign to the compute pool.
        NOTE: Selecting a template is optional. You can select a template at a later time, either by editing the compute pool or
        while deploying a server.

The fields displayed on the Select Template page of the Create Compute Pool Wizard are described in the following table.
Table 85. Select Template

Field                                                                 Description
Select Template for the Compute Pool                                  Select to assign a template to the compute pool.

Server Templates                                                      Displays a list of templates that you can assign to the compute
                                                                      pool. Click the template name to select a template.

                                                                            NOTE: Only templates that are not assigned to any
                                                                            compute pool are displayed.


Related link
  Create Compute Pool Wizard

Select ISO Location
The Select ISO Location page allows you to provide the details of a bootable operating system ISO file.
        NOTE: Providing the ISO file details is applicable only for target servers that do not have virtual I/O identities. Typically,
        servers with virtual I/O identities are expected to boot from a SAN.




178
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 180 of 388


The fields displayed on the Select ISO Location page of the Create Compute Pool Wizard are described in the following table.
Table 86. Select ISO Location

Field                                                               Description
Boot Compute Pool from Network ISO                                  Select to boot devices included in the compute pool from an
                                                                    operating system ISO file.

ISO Filename                                                        Provide the name of the ISO file.

Share IP                                                            Provide the IP address of the network share where the ISO file
                                                                    is available.

Share Name                                                          Provide the name of the network share where the ISO file is
                                                                    available.

Related link
  Create Compute Pool Wizard

Select Virtual Input-Output Pool
The Select Virtual I/O Pool page allows you to select the method of assigning the virtual I/O identity on the target servers.
The fields displayed on the Select Virtual I/O Pool page are described in the following table.
Table 87. Select Virtual I/O Pool

Field                                                               Description
User-defined I/O assignment                                         Select to manually assign the virtual I/O identities.

Automatic I/O assignment                                            Select to allow OpenManage Essentials to automatically assign
                                                                    virtual I/O identities to the target servers. The virtual I/O
                                                                    identities are assigned from the virtual I/O pool that you select.

                                                                          NOTE: The virtual I/O pools are available for selection
                                                                          only if you have already created the virtual I/O pools.


Related link
  Create Compute Pool Wizard

Select Devices
The Select Devices page allows you to select the servers you want to include in the compute pool.
        NOTE: Only servers that you have added to the Repurpose and Bare Metal group are available for selection.

The Select Devices page displays a tree-view of the servers that you can include in the compute pool. You can select one or more
servers for inclusion in the compute pool.
Related link
   Create Compute Pool Wizard

Edit Attributes
The Edit Attributes page enables you to edit the attributes of the selected device configuration template, device-specific attributes,
and the IOA VLAN attributes.
        NOTE: The Edit Attributes page is only displayed if you have selected or assigned a template for compute pool.

        NOTE: Editing the attributes of the template is optional. You can edit the attributes of the template at a later time, either
        by editing the compute pool or while deploying the server.




                                                                                                                                     179
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 181 of 388



Template Attributes
The fields displayed on the Template Attributes tab are described in the following table.
Table 88. Template Attributes

Field                                                               Description
Grouped by                                                          Displayed if you choose to display the attributes as groups.

Total                                                               Displays the total number of attributes.

Modified                                                            Displays the number of attributes that you have modified.

Attributes for                                                      Displays the name of the selected device configuration
                                                                    template.

Device Specific Attributes for                                      Displays the following:

                                                                    •   For a deployment task — The device name, Service Tag,
                                                                        and device model.
                                                                    •   For an auto deployment task — The Service Tag of the
                                                                        device to be discovered later.

Deploy                                                              Select to deploy an attribute. If you do not select an attribute,
                                                                    the attribute value is not deployed on the target device and the
                                                                    current value will be retained on the target device. You can
                                                                    select all the attributes in the template by selecting the check
                                                                    box in the Deploy column header.

Modified                                                            Displays if you have modified the value of the attribute.

Section                                                             Displays the component that the attribute belongs to. For
                                                                    example, iDRAC, BIOS, NIC, and so on.

Instance                                                            Displays the instance of the component that the attribute
                                                                    belongs to.

Attribute Name                                                      Displays the name of the attribute.

Value                                                               Displays the value of the attribute.

Dependencies                                                        Displays if the attribute is dependent on any other attributes. To
                                                                    edit a dependent attribute, you must first set the primary
                                                                    attribute.

Destructive                                                         Displays if deploying the attribute may result in destructive
                                                                    changes to the device configuration including performance,
                                                                    connectivity, and ability to boot the device.

Undo                                                                Click to undo the changes made to the configuration template.

Save                                                                Click to save the changes to the configuration template.

IOA VLAN Attributes
The fields displayed on the IOA VLAN Attributes tab are described in the following table.
Table 89. IOA VLAN Attributes

Field                                                               Description
IOA VLAN Attributes for Template                                    Displays the name of the selected template.

Total                                                               Displays the total number of attributes.




180
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 182 of 388


Field                                                               Description
Modified                                                            Displays the number of attributes that you have modified.

Deploy                                                              Select to deploy an attribute. If an attribute is not selected, the
                                                                    attribute value will not be deployed on the target device and the
                                                                    current value will be retained on the target device. You can
                                                                    select all the attributes in the template by selecting the check
                                                                    box in the Deploy column header.

Modified                                                            Displays if you have modified the attributes.

NIC                                                                 Displays the Fully Qualified Device Descriptor (FQDD) of the
                                                                    NIC.

Fabric                                                              Displays the fabric associated with a specific slot of the chassis.
                                                                    The fabric is identified by a combination of the group name (A,
                                                                    B, or C) and slot number (1 or 2).

Tagged VLAN(s)                                                      Displays the list of tagged VLANs for the selected fabric.

Untagged VLAN                                                       Displays the untagged VLAN for the selected fabric.

Undo                                                                Click to undo the changes made to the IOA VLAN attributes of
                                                                    the selected template.

Save                                                                Click to save the changes to the IOA VLAN attributes of the
                                                                    selected template.

Device Specific Attributes
The fields displayed on the Device Specific Attributes tab are described in the following table.
Table 90. Template Attributes

Field                                                               Description
Grouped by                                                          Displayed if you choose to display the attributes as groups.

Total                                                               Displays the total number of attributes.

Modified                                                            Displays the number of attributes that you have modified.

Attributes for                                                      Displays the name of the selected device configuration
                                                                    template.

Device Specific Attributes for                                      Displays the following:

                                                                    •   For a deployment task — The device name, Service Tag,
                                                                        and device model.
                                                                    •   For an auto deployment task — The Service Tag of the
                                                                        device to be discovered later.

Deploy                                                              Select to deploy an attribute. If you do not select an attribute,
                                                                    the attribute value is not deployed on the target device and the
                                                                    current value will be retained on the target device. You can
                                                                    select all the attributes in the template by selecting the check
                                                                    box in the Deploy column header.

Modified                                                            Displays if you have modified the value of the attribute.

Section                                                             Displays the component that the attribute belongs to. For
                                                                    example, iDRAC, BIOS, NIC, and so on.




                                                                                                                                     181
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 183 of 388


Field                                                                Description
Instance                                                             Displays the instance of the component that the attribute
                                                                     belongs to.

Attribute Name                                                       Displays the name of the attribute.

Value                                                                Displays the value of the attribute.

Dependencies                                                         Displays if the attribute is dependent on any other attributes. To
                                                                     edit a dependent attribute, you must first set the primary
                                                                     attribute.

Destructive                                                          Displays if deploying the attribute may result in destructive
                                                                     changes to the device configuration including performance,
                                                                     connectivity, and ability to boot the device.

Undo                                                                 Click to undo the changes made to the configuration template.

Save                                                                 Click to save the changes to the configuration template.

Import/Export Device Specific Attributes
The fields displayed on the Import/Export Device Specific Attributes window are described in the following table.
Table 91. Import/Export Device Specific Attributes

Field                                                                Description
Export Selected Device                                               Click to export the device specific attributes for the selected
                                                                     device to a .csv file.

Export All Devices                                                   Click to export the device specific attributes for all selected
                                                                     devices to a .csv file.

Import                                                               Click to import the device-specific attributes.

File Requirements and Info                                           Displays the requirements of the .csv file you must use to import
                                                                     device-specific attributes.

View Logs                                                            Displays the user interface logs.

Close                                                                Click to close the Import/Export Device Specific Attributes
                                                                     window.

Identity Attributes
The fields displayed on the Identity Attributes tab are described in the following table.
Table 92. Identity Attributes

Field                                                                Description
Attributes for Template                                              Displays the selected device configuration template.

Grouped by                                                           Displayed if you choose to display the attributes as groups. By
                                                                     default, the attributes are grouped by Section.

Total                                                                Displays the total number of attributes.

Modified                                                             Displays the number of attributes that you have modified.

Deploy                                                               Select to deploy an attribute. If an attribute is not selected, the
                                                                     attribute value will not be deployed on the target device and the
                                                                     current value will be retained on the target device. You can
                                                                     select all the attributes in the template by selecting the check
                                                                     box on the Deploy column header.




182
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 184 of 388


Field                                                               Description
Modified                                                            Displays if you have modified the value of the attribute.

Identity Impact                                                     Displays if the identity attribute will be automatically generated.

Status                                                              Displays the status of the generation of the identity attribute. An
                                                                    Error status is displayed if the selected virtual I/O pool either
                                                                    does not contain the virtual I/O attribute or does not have
                                                                    sufficient attributes.

Section                                                             Displays the component that the attribute belongs to. For
                                                                    example, iDRAC, BIOS, NIC, and so on.

Instance                                                            Displays the instance of the component that the attribute
                                                                    belongs to.

Attribute Name                                                      Displays the name of the attribute.

Value                                                               Displays the value of the attribute.

Dependencies                                                        Displays if the attribute is dependent on any other attributes. To
                                                                    edit a dependent attribute, you must first set the primary
                                                                    attribute.

Destructive                                                         Displays if deploying the attribute may result in destructive
                                                                    changes to the device configuration including performance,
                                                                    connectivity, and ability to boot the device.

Group                                                               Displays the logical group that the attribute belongs to.

Assign Identities                                                   Click to automatically assign virtual I/O identities to the target
                                                                    devices.

Undo                                                                Click to undo the changes made to the configuration template.

Save                                                                Click to save the changes to the configuration template.

Import/Export                                                       Displays the Import/Export Device Specific Attributes
                                                                    window.

Identity Assignments
The fields displayed on the Identity Assignments tab are described in the following table.

        NOTE: The Identity Assignments tab is displayed only when you click Assign Identities on the Identity Attributes tab.

Table 93. Identity Assignments

Field                                                               Description
Device                                                              Displays the selected device configuration template.

Section                                                             Displays the component that the attribute belongs to. For
                                                                    example, iDRAC, BIOS, NIC, and so on.

Instance                                                            Displays the instance of the component that the attribute
                                                                    belongs to.

Attribute Name                                                      Displays the name of the attribute.

Value                                                               Displays the value of the attribute.

Related link
  Create Compute Pool Wizard



                                                                                                                                         183
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 185 of 388



Summary
The Summary page displays the details you have provided for creating the compute pool.
The fields displayed on the Summary page are described in the following table.
Table 94. Summary

Field                                                             Description
Name                                                              Displays the task name.

Selected Template                                                 Displays the name of the template you have selected.

ISO Filename                                                      Displays the name of the ISO file.

Share IP                                                          Displays the IP address of the network share where the ISO file
                                                                  is available.

Share Name                                                        Displays the name of the network share where the ISO file is
                                                                  available.

Identity Assignment                                               Displays the type of I/O identity assignment that you have
                                                                  selected.

Associated Devices                                                Displays the devices that you have selected for inclusion in the
                                                                  compute pool.

Device Specific Attributes                                        Displays if the device-specific attributes are set.

Configure VLANs on IOAs                                           Displays if you have selected to configure the VLANs on the
                                                                  IOAs.

Related link
  Create Compute Pool Wizard


Compute Pool Summary
The fields displayed on the Compute Pool Summary page are described in the following table.
Table 95. Compute Pool Summary

Field                                                             Description
Grouped by                                                        Displays the grouping you have selected for displaying the
                                                                  details of the compute pools.

Locked                                                            Displays if the compute pool is locked.

Pool Name                                                         Displays the name of the compute pool.

Server Template                                                   Displays the name of the template that is assigned to the
                                                                  compute pool.

Virtual I/O Pool                                                  Displays the name of the virtual I/O pool that is assigned to the
                                                                  compute pool.

Total servers                                                     Displays the total number of servers in the compute pool.

Deployed servers                                                  Displays the number of servers in the compute pool that have
                                                                  been deployed.




184
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 186 of 388



Compute Pool Details
The fields displayed on the Compute Pool Details page are described in the following table.
Table 96. Compute Pool Details

Field                                                                Description
Template                                                             Displays the name of the template assigned to the compute
                                                                     pool. Click the template name to view the attributes of the
                                                                     template.

Virtual I/O Pool                                                     Displays the name of the virtual I/O pool that is assigned to the
                                                                     compute pool.

Network ISO Image                                                    Displays the name of the network ISO file assigned to the
                                                                     compute pool.

Device count                                                         Displays the total number of servers in the compute pool.

Deployed count                                                       Displays the number of servers in the compute pool that have
                                                                     been deployed.

Grouped by                                                           Displays the grouping you have selected for displaying the
                                                                     compute pool details.

Device                                                               Displays the name of the server.

Deployed                                                             Displays if the server is deployed.

Last Deploy Time                                                     Displays the time stamp of the last deployment on the server.


Server Details
The fields displayed on the server Details page are described in the following table.
Table 97. Server Details

Field                                                                Description
Server Template                                                      Displays the name of the template that is assigned to the server.

Virtual I/O Pool                                                     Displays the name of the virtual I/O pool that is assigned to the
                                                                     server.

Inventory                                                            Displays an inventory of the configuration attributes of the
                                                                     server.

Profile                                                              Displays the template attributes, device-specific attributes, and
                                                                     virtual I/O identity attributes that were last deployed on the
                                                                     server.




                                                                                                                                     185
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 187 of 388



Deploy Template Wizard
The Deploy Template Wizard guides you through the steps to deploy a configuration template and/or boot to a network ISO image.
The steps displayed in the wizard may vary based on the deploy option you select. The fields displayed in the various pages of the
wizard are described in the following sections.
Related links
  Name and Deploy Options
  Select Template
  Select Devices
  Select ISO Location
  Edit Attributes
  Options
  Set Schedule
  Preview
  Summary

Name and Deploy Options
The Name and Deploy Options page enables you to provide a name for the task and also select the deployment options.
The fields displayed in the Name and Deploy Options page of the Deploy Template Wizard are described in the following table.
Table 98. Name and Deploy Options

Field                                                             Description
Task Name                                                         Provide a name for the task.

Deploy Target

Compute Pool                                                      Select to deploy a device configuration template on one or more
                                                                  devices in a compute pool.

Select a Compute Pool                                             Select a compute pool on which you want to deploy a device
                                                                  configuration template.

Bare metal                                                        Select to deploy the device configuration template on one or
                                                                  more devices in the Repurpose and Bare Metal group.

Select Deploy Options

Deploy Template                                                   Select to deploy a device configuration template to one or more
                                                                  devices.

Boot to Network ISO                                               Select to boot each target device from a specified network ISO
                                                                  image.

                                                                        NOTE: If the Deploy Template option is also selected,
                                                                        the boot-to-ISO operation starts after the deployment is
                                                                        completed.

Related link
  Deploy Template Wizard

Select Template
The Select Template page enables you to select the template you want to deploy on the target devices.
        NOTE: The Select Template page is only displayed if you select the Deploy Template option in the Name and Deploy
        Options or Select Deploy Options page.



186
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 188 of 388


The fields displayed in the Select Template page are described in the following table.
Table 99. Select Template

Field                                                               Description
Server Templates                                                    Displays the server configuration templates that you have either
                                                                    created or cloned.

Chassis Templates                                                   Displays the chassis configuration templates that you have
                                                                    either created or cloned.
        NOTE: If you select both Deploy Template and Boot to
        Network ISO in the Name and Deploy Options or Select
        Deploy Options page, the Chassis Templates option is
        disabled.

IOA Templates                                                       Displays the IOA configuration templates that you have either
                                                                    created or cloned.
        NOTE: If you select Compute Pool in the Name and
        Deploy Options page, the IOA Templates option is not
        displayed.

        NOTE: If you select both Deploy Template and Boot to
        Network ISO in the Name and Deploy Options page, the
        IOA Templates option is disabled.

MX Chassis Templates                                                Displays the MX chassis configuration templates that you have
                                                                    either created or cloned.
        NOTE: If you select both Deploy Template and Boot to
        Network ISO in the Name and Deploy Options or Select
        Deploy Options page, the MX Chassis Templates option
        is disabled.


Related link
  Deploy Template Wizard

Select Devices
The Select Devices page enables you to select target devices for deployment.
The Select Devices page displays the Repurpose and Bare Metal Devices tree-view that includes the target devices. You can
select more than one target device for deployment.
Related link
   Deploy Template Wizard

Select ISO Location
The Select ISO Location page enables you to provide the details of the ISO file.
        NOTE: The Select ISO Location page is only displayed if you select the Boot to Network ISO option on the Name and
        Deploy Options or Select Deploy Options page.

The fields displayed in the Select ISO Location page are described in the following table.
Table 100. Select ISO Location

Field                                                               Description
ISO Filename

ISO Filename                                                        Provide the name of the ISO file.

Share Location




                                                                                                                                    187
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 189 of 388


Field                                                               Description
Share IP                                                            Provide the IP address of the network share where the ISO file
                                                                    is available.

Share Name                                                          Provide the name of the network share where the ISO file is
                                                                    available.

Share Credentials

Share Username                                                      Provide the user name required to access the network share.

Share Password                                                      Provide the password required to access the network share.

Related link
  Deploy Template Wizard

Select Virtual Input-Output Pool
The Select Virtual I/O Pool page allows you to select the method of assigning the virtual I/O identity on the target servers.
The fields displayed on the Select Virtual I/O Pool page are described in the following table.
Table 101. Select Virtual I/O Pool

Field                                                               Description
User-defined I/O assignment                                         Select to manually assign the virtual I/O identities.

Automatic I/O assignment                                            Select to allow OpenManage Essentials to automatically assign
                                                                    virtual I/O identities to the target servers. The virtual I/O
                                                                    identities are assigned from the virtual I/O pool that you select.

                                                                          NOTE: The virtual I/O pools are available for selection
                                                                          only if you have already created the virtual I/O pools.


Related link
  Create Compute Pool Wizard

Edit Attributes
The Edit Attributes page enables you to edit the attributes of the selected configuration template, device-specific attributes, and
the IOA VLAN attributes.
        NOTE: The Edit Attributes page is only displayed if you select the Deploy Template option in the Name and Deploy
        Options or Deploy Options page.

Template Attributes
        NOTE: The Template Attributes tab will not be displayed if you select the IOA Template option for deployment.

The fields displayed in the Template Attributes tab of the Edit Attributes page are described in the following table.
Table 102. Template Attributes

Field                                                               Description
Grouped by                                                          Displayed if you choose to display the attributes as groups.

Total                                                               Displays the total number of attributes.

Modified                                                            Displays the number of attributes that you have modified.

Attributes for                                                      Displays the name of the selected device configuration
                                                                    template.



188
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 190 of 388


Field                                                              Description
Device Specific Attributes for                                     Displays the following:

                                                                   •   For a deployment task — The device name, Service Tag,
                                                                       and device model.
                                                                   •   For an auto deployment task — The Service Tag of the
                                                                       device to be discovered later.

Deploy                                                             Select to deploy an attribute. If you do not select an attribute,
                                                                   the attribute value is not deployed on the target device and the
                                                                   current value will be retained on the target device. You can
                                                                   select all the attributes in the template by selecting the check
                                                                   box in the Deploy column header.

Modified                                                           Displays if you have modified the value of the attribute.

Section                                                            Displays the component that the attribute belongs to. For
                                                                   example, iDRAC, BIOS, NIC, and so on.

Instance                                                           Displays the instance of the component that the attribute
                                                                   belongs to.

Attribute Name                                                     Displays the name of the attribute.

Value                                                              Displays the value of the attribute.

Dependencies                                                       Displays if the attribute is dependent on any other attributes. To
                                                                   edit a dependent attribute, you must first set the primary
                                                                   attribute.

Destructive                                                        Displays if deploying the attribute may result in destructive
                                                                   changes to the device configuration including performance,
                                                                   connectivity, and ability to boot the device.

Undo                                                               Click to undo the changes made to the configuration template.

Save                                                               Click to save the changes to the configuration template.

IOA VLAN Attributes
The fields displayed on the IOA VLAN Attributes tab are described in the following table.
Table 103. IOA VLAN Attributes

Field                                                              Description
IOA VLAN Attributes for Template                                   Displays the name of the selected template.

Total                                                              Displays the total number of attributes.

Modified                                                           Displays the number of attributes that you have modified.

Deploy                                                             Select to deploy an attribute. If an attribute is not selected, the
                                                                   attribute value will not be deployed on the target device and the
                                                                   current value will be retained on the target device. You can
                                                                   select all the attributes in the template by selecting the check
                                                                   box in the Deploy column header.

Modified                                                           Displays if you have modified the attributes.

NIC                                                                Displays the Fully Qualified Device Descriptor (FQDD) of the
                                                                   NIC.




                                                                                                                                   189
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 191 of 388


Field                                                               Description
Fabric                                                              Displays the fabric associated with a specific slot of the chassis.
                                                                    The fabric is identified by a combination of the group name (A,
                                                                    B, or C) and slot number (1 or 2).

Tagged VLAN(s)                                                      Displays the list of tagged VLANs for the selected fabric.

Untagged VLAN                                                       Displays the untagged VLAN for the selected fabric.

Undo                                                                Click to undo the changes made to the IOA VLAN attributes of
                                                                    the selected template.

Save                                                                Click to save the changes to the IOA VLAN attributes of the
                                                                    selected template.

Device Specific Attributes
The fields displayed on the Device Specific Attributes tab are described in the following table.
Table 104. Device Specific Attributes

Field                                                               Description
Select Devices                                                      Displays the devices that you have selected for deployment. You
                                                                    can select a device to view the attributes specific to that
                                                                    device.

Device Specific Attributes for                                      Displays the model number and Service Tag of the selected
                                                                    device.

Grouped by                                                          Displayed if you have chosen to display the attributes as groups.

Total                                                               Displays the total number of attributes.

Modified                                                            Displays the number of attributes that you have modified.

Deploy                                                              Select to deploy an attribute. If an attribute is not selected, the
                                                                    attribute value will not be deployed on the target device and the
                                                                    current value will be retained on the target device. You can
                                                                    select all the attributes in the template by selecting the check
                                                                    box in the Deploy column header.

Modified                                                            Displays if you have modified the value of the attribute.

Section                                                             Displays the component that the attribute belongs to. For
                                                                    example, iDRAC, BIOS, NIC, and so on.

Instance                                                            Displays the instance of the component that the attribute
                                                                    belongs to.

Attribute Name                                                      Displays the name of the attribute.

Value                                                               Displays the value of the attribute.

Dependencies                                                        Displays if the attribute is dependent on any other attributes. To
                                                                    edit a dependent attribute, you must first set the primary
                                                                    attribute.

Destructive                                                         Displays if deploying the attribute may result in destructive
                                                                    changes to the device configuration including performance,
                                                                    connectivity, and ability to boot the device.

Undo                                                                Click to undo the changes made to the configuration template.




190
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 192 of 388


Field                                                                Description
Save                                                                 Click to save the changes to the configuration template.

Import/Export                                                        Displays the Import/Export Device Specific Attributes
                                                                     window.

Import/Export Device Specific Attributes
The fields displayed on the Import/Export Device Specific Attributes window are described in the following table.
Table 105. Import/Export Device Specific Attributes

Field                                                                Description
Export Selected Device                                               Click to export the device specific attributes for the selected
                                                                     device to a .csv file.

Export All Devices                                                   Click to export the device specific attributes for all selected
                                                                     devices to a .csv file.

Import                                                               Click to import the device-specific attributes.

File Requirements and Info                                           Displays the requirements of the .csv file you must use to import
                                                                     device-specific attributes.

View Logs                                                            Displays the user interface logs.

Close                                                                Click to close the Import/Export Device Specific Attributes
                                                                     window.

Identity Attributes
The fields displayed on the Identity Attributes tab are described in the following table.
Table 106. Identity Attributes

Field                                                                Description
Attributes for Template                                              Displays the selected device configuration template.

Grouped by                                                           Displayed if you choose to display the attributes as groups. By
                                                                     default, the attributes are grouped by Section.

Total                                                                Displays the total number of attributes.

Modified                                                             Displays the number of attributes that you have modified.

Deploy                                                               Select to deploy an attribute. If an attribute is not selected, the
                                                                     attribute value will not be deployed on the target device and the
                                                                     current value will be retained on the target device. You can
                                                                     select all the attributes in the template by selecting the check
                                                                     box on the Deploy column header.

Modified                                                             Displays if you have modified the value of the attribute.

Identity Impact                                                      Displays if the identity attribute will be automatically generated.

Status                                                               Displays the status of the generation of the identity attribute. An
                                                                     Error status is displayed if the selected virtual I/O pool either
                                                                     does not contain the virtual I/O attribute or does not have
                                                                     sufficient attributes.

Section                                                              Displays the component that the attribute belongs to. For
                                                                     example, iDRAC, BIOS, NIC, and so on.




                                                                                                                                       191
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 193 of 388


Field                                                               Description
Instance                                                            Displays the instance of the component that the attribute
                                                                    belongs to.

Attribute Name                                                      Displays the name of the attribute.

Value                                                               Displays the value of the attribute.

Dependencies                                                        Displays if the attribute is dependent on any other attributes. To
                                                                    edit a dependent attribute, you must first set the primary
                                                                    attribute.

Destructive                                                         Displays if deploying the attribute may result in destructive
                                                                    changes to the device configuration including performance,
                                                                    connectivity, and ability to boot the device.

Group                                                               Displays the logical group that the attribute belongs to.

Assign Identities                                                   Click to automatically assign virtual I/O identities to the target
                                                                    devices.

Undo                                                                Click to undo the changes made to the configuration template.

Save                                                                Click to save the changes to the configuration template.

Import/Export                                                       Displays the Import/Export Device Specific Attributes
                                                                    window.

Identity Assignments
The fields displayed on the Identity Assignments tab are described in the following table.

        NOTE: The Identity Assignments tab is displayed only when you click Assign Identities on the Identity Attributes tab.

Table 107. Identity Assignments

Field                                                               Description
Device                                                              Displays the selected device configuration template.

Section                                                             Displays the component that the attribute belongs to. For
                                                                    example, iDRAC, BIOS, NIC, and so on.

Instance                                                            Displays the instance of the component that the attribute
                                                                    belongs to.

Attribute Name                                                      Displays the name of the attribute.

Value                                                               Displays the value of the attribute.

Related links
  Deploy Template Wizard
  Importing Device Specific Attributes
  Exporting Device Specific Attributes

Options
The Options page enables you to select the options you can use to verify if the IOA template is compatible with the target devices.
        NOTE: The Options page is only displayed if you select an IOA template in the Select Template page.

The fields displayed in the Options page of the Deploy Template Wizard are described in the following table.




192
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 194 of 388


Table 108. Options

Field                                                               Description
Perform pre-check only                                              Select Perform pre-check only to only verify (not deploy) if the
                                                                    device configuration template will be deployed successfully.

                                                                          NOTE: If the Perform pre-check only option is selected,
                                                                          by default the Continue on warnings option is disabled.

Continue on warnings                                                Select Continue on warnings to continue deploying the
                                                                    template even if the template is incompatible with the target
                                                                    devices.

                                                                          NOTE: When this option is selected, warnings (if any)
                                                                          will be ignored and the deployment task runs even if the
                                                                          device configuration template is incompatible.

Related link
  Deploy Template Wizard

Set Schedule
The Set Schedule page enables you to set the date and time at which you want to deploy the task.
The fields displayed in the Set Schedule page are described in the following table.
Table 109. Set Schedule

Field                                                               Description
Run Now                                                             Select to run the deployment task immediately.

Run At                                                              Select to schedule the deployment task.

Execution Credentials

User Name                                                           Provide the user name required to run the task.

Password                                                            Provide the password required to run the task.

IOA Credentials                                                           NOTE: The IOA Credential fields are displayed only in
                                                                          the following scenarios:

                                                                          •   The selected device configuration template was
                                                                              created from a blade server.
                                                                          •   You have selected to deploy VLAN attributes on the
                                                                              IOA.

User Name                                                           Provide the IOA administrator user name required to deploy the
                                                                    VLAN attributes.

Password                                                            Provide the IOA administrator password required to deploy the
                                                                    VLAN attributes.

Related link
  Deploy Template Wizard

Preview
        NOTE: The preview activity is optional.

The Preview page allows you to view the attributes of the selected configuration template that will not be applied successfully on a
target device. The preview activity sends the pending configuration to each target device, but for validation only (no configuration



                                                                                                                                    193
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 195 of 388


changes are made). Each device verifies the validity of the settings in the configuration and identifies any problems. The verification
can identify problems with attribute values themselves, or problems based on inter-attribute dependencies. For example, creating a
device configuration template from a PowerEdge R720 server and deploying the template on a PowerEdge R620 server would result
in errors. Running the preview allows you to identify the attributes that will not be deployed successfully. After identifying those
attributes, if required, you can clear those attributes from the template and then deploy the template.
        NOTE: The preview activity identifies many problems; however, some problems cannot be determined before the actual
        deployment.

Click the Preview button to validate the attributes of the device configuration template with the selected device.
Related link
   Deploy Template Wizard

Summary
The Summary page displays the options you have selected for the deployment task.
The fields displayed in the Summary page are described in the following table.
Table 110. Summary

Field                                                               Description
Task Name                                                           Displays the task name.

Deploy Template                                                     Displays if the task will deploy a configuration template.

Boot to Network ISO                                                 Displays if the task will boot to a network ISO image.

Deploy Target                                                       Displays the target devices that you have selected.

Selected Template                                                   Displays the configuration template selected for deployment.

Device Specific Attributes                                          Displays if the device-specific attributes are set.

ISO Filename                                                        Displays the name of the ISO file.

Share IP                                                            Displays the IP address of the network share where the ISO file
                                                                    is available.

Share Name                                                          Displays the name of the network share where the ISO file is
                                                                    available.

Share Username                                                      Displays the user name provided to access the network share.

Identity Assignment                                                 Displays the type of I/O identity assignment that you have
                                                                    selected.

Virtual IO Pool                                                     Displays the name of the virtual IO pool to which the device
                                                                    belongs.

Associated Devices                                                  Displays the selected target devices.

Configure VLANs on IOA                                              Displays if you have selected to deploy VLAN attributes on the
                                                                    IOA.

Perform pre-check only                                              Displays if you have selected the Perform pre-check only
                                                                    option.

Continue on warnings                                                Displays if you have selected the Continue on warnings option.

Schedule                                                            Displays the schedule selected for the task.

Related link
  Deploy Template Wizard



194
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 196 of 388



Setup Auto Deployment Wizard
The Setup Auto Deployment wizard guides you through the steps to deploy a configuration template and/or boot to a network ISO
image on target devices that you will discover later. The steps displayed in the wizard may vary based on the deployment option you
select. The fields displayed in the various pages of the wizard are described in the following sections.
Related links
   Select Deploy Options
   Select Template
   Select ISO Location
   Import Service Tags or Node IDs
   Edit Attributes
   Execution Credentials
   Summary

Select Deploy Options
The Select Deploy Options page enables you to select the deployment options.
The fields displayed in the Select Deploy Options page of the Setup Auto Deployment wizard are described in the following table.
Table 111. Select Deploy Options

Field                                                               Description
Deploy Target

Compute Pool                                                        Select to auto deploy the servers within a compute pool.

Select a Compute Pool                                               Select a compute pool on which you want auto deploy a device
                                                                    configuration template with virtual I/O identities.

Bare Metal                                                          Select to auto deploy a device configuration template on bare
                                                                    metal servers.

Select Deploy Options

Deploy Template                                                     Select to auto deploy a device configuration template on the
                                                                    target servers.

Boot to Network ISO                                                 Select to boot the target servers to a network ISO image.


Select Template
The Select Template page enables you to select the template you want to deploy on the target devices.
        NOTE: The Select Template page is only displayed if you select the Deploy Template option in the Name and Deploy
        Options or Select Deploy Options page.

The fields displayed in the Select Template page are described in the following table.
Table 112. Select Template

Field                                                               Description
Server Template                                                     Displays the server configuration templates that you have either
                                                                    created or cloned.

Chassis Template                                                    Displays the chassis configuration templates that you have
                                                                    either created or cloned.




                                                                                                                                    195
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 197 of 388


Field                                                               Description

        NOTE: If you select both Deploy Template and Boot to
        Network ISO in the Name and Deploy Options or Select
        Deploy Options page, the Chassis Template option is
        disabled.


Select ISO Location
The Select ISO Location page enables you to provide the details of the ISO file.
        NOTE: The Select ISO Location page is only displayed if you select the Boot to Network ISO option on the Name and
        Deploy Options or Select Deploy Options page.

The fields displayed in the Select ISO Location page are described in the following table.
Table 113. Select ISO Location

Field                                                               Description
ISO Filename

ISO Filename                                                        Provide the name of the ISO file.

Share Location

Share IP                                                            Provide the IP address of the network share where the ISO file
                                                                    is available.

Share Name                                                          Provide the name of the network share where the ISO file is
                                                                    available.

Share Credentials

Share Username                                                      Provide the user name required to access the network share.

Share Password                                                      Provide the password required to access the network share.

Related link
  Deploy Template Wizard

Select Virtual Input-Output Pool
The Select Virtual I/O Pool page allows you to select the method of assigning the virtual I/O identity on the target servers.
The fields displayed on the Select Virtual I/O Pool page are described in the following table.
Table 114. Select Virtual I/O Pool

Field                                                               Description
User-defined I/O assignment                                         Select to manually assign the virtual I/O identities.

Automatic I/O assignment                                            Select to allow OpenManage Essentials to automatically assign
                                                                    virtual I/O identities to the target servers. The virtual I/O
                                                                    identities are assigned from the virtual I/O pool that you select.

                                                                          NOTE: The virtual I/O pools are available for selection
                                                                          only if you have already created the virtual I/O pools.


Related link
  Create Compute Pool Wizard




196
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 198 of 388



Import Service Tags or Node IDs
The Import Service Tags/Node IDs page of the Setup Auto Deployment wizard displays the Import button. Click Import to import
a .csv file that includes Service Tags or node IDs of devices that you will discover later.
        NOTE: On devices which have multiple compute nodes (such as the PowerEdge FM120x4), all of the compute nodes
        have the same Service Tag. Therefore, the node ID must be used to identify the specific compute node to use. In
        the .csv file, you must include the node IDs of the specific compute nodes that you want to auto deploy.

        NOTE: The Service Tags or node IDs that you want to import:

        •   Must be listed in the .csv file in a column titled ‘ServiceTag’, ‘Service Tag’, or ‘Node ID’.
        •   Must be valid Service Tags or node IDs.
        •   Must not be Service Tags or node IDs of devices that are already discovered.

The following is an example of the .csv file format that contains Service Tags and node IDs:




Figure 27. Sample CSV file

Edit Attributes
The Edit Attributes page enables you to edit the attributes of the selected configuration template, device-specific attributes, and
the IOA VLAN attributes.
        NOTE: The Edit Attributes page is only displayed if you select the Deploy Template option in the Name and Deploy
        Options or Deploy Options page.

Template Attributes
        NOTE: The Template Attributes tab will not be displayed if you select the IOA Template option for deployment.

The fields displayed in the Template Attributes tab of the Edit Attributes page are described in the following table.
Table 115. Template Attributes

Field                                                                     Description
Grouped by                                                                Displayed if you choose to display the attributes as groups.

Total                                                                     Displays the total number of attributes.

Modified                                                                  Displays the number of attributes that you have modified.

Attributes for                                                            Displays the name of the selected device configuration
                                                                          template.

Device Specific Attributes for                                            Displays the following:

                                                                          •   For a deployment task — The device name, Service Tag,
                                                                              and device model.




                                                                                                                                         197
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 199 of 388


Field                                                              Description

                                                                   •   For an auto deployment task — The Service Tag of the
                                                                       device to be discovered later.

Deploy                                                             Select to deploy an attribute. If you do not select an attribute,
                                                                   the attribute value is not deployed on the target device and the
                                                                   current value will be retained on the target device. You can
                                                                   select all the attributes in the template by selecting the check
                                                                   box in the Deploy column header.

Modified                                                           Displays if you have modified the value of the attribute.

Section                                                            Displays the component that the attribute belongs to. For
                                                                   example, iDRAC, BIOS, NIC, and so on.

Instance                                                           Displays the instance of the component that the attribute
                                                                   belongs to.

Attribute Name                                                     Displays the name of the attribute.

Value                                                              Displays the value of the attribute.

Dependencies                                                       Displays if the attribute is dependent on any other attributes. To
                                                                   edit a dependent attribute, you must first set the primary
                                                                   attribute.

Destructive                                                        Displays if deploying the attribute may result in destructive
                                                                   changes to the device configuration including performance,
                                                                   connectivity, and ability to boot the device.

Undo                                                               Click to undo the changes made to the configuration template.

Save                                                               Click to save the changes to the configuration template.

IOA VLAN Attributes
The fields displayed on the IOA VLAN Attributes tab are described in the following table.
Table 116. IOA VLAN Attributes

Field                                                              Description
IOA VLAN Attributes for Template                                   Displays the name of the selected template.

Total                                                              Displays the total number of attributes.

Modified                                                           Displays the number of attributes that you have modified.

Deploy                                                             Select to deploy an attribute. If an attribute is not selected, the
                                                                   attribute value will not be deployed on the target device and the
                                                                   current value will be retained on the target device. You can
                                                                   select all the attributes in the template by selecting the check
                                                                   box in the Deploy column header.

Modified                                                           Displays if you have modified the attributes.

NIC                                                                Displays the Fully Qualified Device Descriptor (FQDD) of the
                                                                   NIC.

Fabric                                                             Displays the fabric associated with a specific slot of the chassis.
                                                                   The fabric is identified by a combination of the group name (A,
                                                                   B, or C) and slot number (1 or 2).




198
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 200 of 388


Field                                                               Description
Tagged VLAN(s)                                                      Displays the list of tagged VLANs for the selected fabric.

Untagged VLAN                                                       Displays the untagged VLAN for the selected fabric.

Undo                                                                Click to undo the changes made to the IOA VLAN attributes of
                                                                    the selected template.

Save                                                                Click to save the changes to the IOA VLAN attributes of the
                                                                    selected template.

Device Specific Attributes
The fields displayed on the Device Specific Attributes tab are described in the following table.
Table 117. Device Specific Attributes

Field                                                               Description
Select Devices                                                      Displays the devices that you have selected for deployment. You
                                                                    can select a device to view the attributes specific to that
                                                                    device.

Device Specific Attributes for                                      Displays the model number and Service Tag of the selected
                                                                    device.

Grouped by                                                          Displayed if you have chosen to display the attributes as groups.

Total                                                               Displays the total number of attributes.

Modified                                                            Displays the number of attributes that you have modified.

Deploy                                                              Select to deploy an attribute. If an attribute is not selected, the
                                                                    attribute value will not be deployed on the target device and the
                                                                    current value will be retained on the target device. You can
                                                                    select all the attributes in the template by selecting the check
                                                                    box in the Deploy column header.

Modified                                                            Displays if you have modified the value of the attribute.

Section                                                             Displays the component that the attribute belongs to. For
                                                                    example, iDRAC, BIOS, NIC, and so on.

Instance                                                            Displays the instance of the component that the attribute
                                                                    belongs to.

Attribute Name                                                      Displays the name of the attribute.

Value                                                               Displays the value of the attribute.

Dependencies                                                        Displays if the attribute is dependent on any other attributes. To
                                                                    edit a dependent attribute, you must first set the primary
                                                                    attribute.

Destructive                                                         Displays if deploying the attribute may result in destructive
                                                                    changes to the device configuration including performance,
                                                                    connectivity, and ability to boot the device.

Undo                                                                Click to undo the changes made to the configuration template.

Save                                                                Click to save the changes to the configuration template.

Import/Export                                                       Displays the Import/Export Device Specific Attributes
                                                                    window.




                                                                                                                                    199
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 201 of 388



Import/Export Device Specific Attributes
The fields displayed on the Import/Export Device Specific Attributes window are described in the following table.
Table 118. Import/Export Device Specific Attributes

 Field                                                               Description
 Export Selected Device                                              Click to export the device specific attributes for the selected
                                                                     device to a .csv file.

 Export All Devices                                                  Click to export the device specific attributes for all selected
                                                                     devices to a .csv file.

 Import                                                              Click to import the device-specific attributes.

 File Requirements and Info                                          Displays the requirements of the .csv file you must use to import
                                                                     device-specific attributes.

 View Logs                                                           Displays the user interface logs.

 Close                                                               Click to close the Import/Export Device Specific Attributes
                                                                     window.

Identity Attributes
The fields displayed on the Identity Attributes tab are described in the following table.
Table 119. Identity Attributes

 Field                                                               Description
 Attributes for Template                                             Displays the selected device configuration template.

 Grouped by                                                          Displayed if you choose to display the attributes as groups. By
                                                                     default, the attributes are grouped by Section.

 Total                                                               Displays the total number of attributes.

 Modified                                                            Displays the number of attributes that you have modified.

 Deploy                                                              Select to deploy an attribute. If an attribute is not selected, the
                                                                     attribute value will not be deployed on the target device and the
                                                                     current value will be retained on the target device. You can
                                                                     select all the attributes in the template by selecting the check
                                                                     box on the Deploy column header.

 Modified                                                            Displays if you have modified the value of the attribute.

 Identity Impact                                                     Displays if the identity attribute will be automatically generated.

 Status                                                              Displays the status of the generation of the identity attribute. An
                                                                     Error status is displayed if the selected virtual I/O pool either
                                                                     does not contain the virtual I/O attribute or does not have
                                                                     sufficient attributes.

 Section                                                             Displays the component that the attribute belongs to. For
                                                                     example, iDRAC, BIOS, NIC, and so on.

 Instance                                                            Displays the instance of the component that the attribute
                                                                     belongs to.

 Attribute Name                                                      Displays the name of the attribute.

 Value                                                               Displays the value of the attribute.




200
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 202 of 388


Field                                                               Description
Dependencies                                                        Displays if the attribute is dependent on any other attributes. To
                                                                    edit a dependent attribute, you must first set the primary
                                                                    attribute.

Destructive                                                         Displays if deploying the attribute may result in destructive
                                                                    changes to the device configuration including performance,
                                                                    connectivity, and ability to boot the device.

Group                                                               Displays the logical group that the attribute belongs to.

Assign Identities                                                   Click to automatically assign virtual I/O identities to the target
                                                                    devices.

Undo                                                                Click to undo the changes made to the configuration template.

Save                                                                Click to save the changes to the configuration template.

Import/Export                                                       Displays the Import/Export Device Specific Attributes
                                                                    window.

Identity Assignments
The fields displayed on the Identity Assignments tab are described in the following table.
        NOTE: The Identity Assignments tab is displayed only when you click Assign Identities on the Identity Attributes tab.

Table 120. Identity Assignments

Field                                                               Description
Device                                                              Displays the selected device configuration template.

Section                                                             Displays the component that the attribute belongs to. For
                                                                    example, iDRAC, BIOS, NIC, and so on.

Instance                                                            Displays the instance of the component that the attribute
                                                                    belongs to.

Attribute Name                                                      Displays the name of the attribute.

Value                                                               Displays the value of the attribute.

Related links
  Deploy Template Wizard
  Importing Device Specific Attributes
  Exporting Device Specific Attributes

Execution Credentials
The Execution Credentials page enables you to add and/or assign credentials that are required for running the auto deployment
task on the target device. The fields displayed in the Execution Credentials page of the Setup Auto Deployment wizard are
described in the following sections.

Credentials
The Credentials section displays a table that includes credentials that you have configured for target devices that you will discover
later. The following are the fields displayed in the credentials table.




                                                                                                                                         201
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 203 of 388


Table 121. Credentials

Field                                                                 Description
Add New Credentials                                                   Click to open the Add Credentials window that enables you to
                                                                      provide credentials for target devices.

Description                                                           Displays the description provided for the credentials.

Username                                                              Displays the user name.

Password                                                              Displays the password in a masked format.

Is Default                                                            Displays a check box that you can select to associate the
                                                                      credentials to all new target devices.

Update                                                                Displays an icon that you can click to edit the credentials.

Delete                                                                Displays an icon that you can click to delete the credentials.

Devices
The Devices section displays a table that includes the target devices that you selected through the Import Service Tags page. The
following are the fields displayed in the devices table.
Table 122. Devices

Field                                                                 Description
Device Name                                                           Displays the Service Tag of the device.

Device Model                                                          Displays the model name of the system, if available.

Execution Credentials                                                 Displays the credentials that have been assigned to the device
                                                                      for running the deployment task.

IOA Credentials
        NOTE: The IOA Credentials fields are displayed only in the following scenarios:

        •   The selected device configuration template was created from a modular server.
        •   You have selected to deploy VLAN attributes on the IOA.
Table 123. IOA Credentials

Field                                                                 Description
User Name                                                             Provide the IOA administrator user name required to deploy the
                                                                      VLAN attributes.

Password                                                              Provide the IOA administrator password required to deploy the
                                                                      VLAN attributes.

Related link
  Add Credentials

Add Credentials
The Add Credentials window enables you to provide credentials required for running the auto deployment task on target devices.
The fields displayed in the Add Credentials window are described in the following table.




202
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 204 of 388


Table 124. Add Credentials

Field                                                              Description
Description                                                        Provide a description for the credentials.

Username                                                           Provide the user name required to run the task on the target
                                                                   device.

Password                                                           Provide the password required to run the task on the target
                                                                   device.

Default                                                            Select to associate the credentials to all new target devices.


Summary
The Summary page displays the options you have selected for the auto deployment task.
The fields displayed in the Summary page are described in the following table.
Table 125. Summary

Field                                                              Description
Name                                                               Displays the task name.

Deploy Template                                                    Displays if the task will deploy a configuration template.

Boot to Network ISO                                                Displays if the task will boot to a network ISO image.

Selected Template                                                  Displays the configuration template selected for deployment.

ISO Filename                                                       Displays the name of the ISO file.

Share IP                                                           Displays the IP address of the network share where the ISO file
                                                                   is available.

Share Name                                                         Displays the name of the network share where the ISO file is
                                                                   available.

Share Username                                                     Displays the user name provided to access the network share.

Associated Service Tags/Node IDs                                   Displays the Service Tags or node IDs of the target devices.

Device Specific Attributes                                         Displays if the device-specific attributes are set.

Configure VLANs on IOA                                             Displays if you have selected to deploy VLAN attributes on the
                                                                   IOA.


Manage Auto Deployment Credentials
The Manage Auto Deployment Credentials page enables you to add and/or assign credentials that are required for running the auto
deployment task on the target device. The fields displayed in the Manage Auto Deployment Credentials page are described in the
following sections.

Credentials
The Credentials section displays a table that includes credentials that you have configured for the auto deployment task. The
following are the fields displayed in the credentials table.




                                                                                                                                    203
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 205 of 388


Table 126. Credentials

Field                                                             Description
Add New Credentials                                               Click to open the Add Credentials window that enables you to
                                                                  provide credentials for target devices.

Description                                                       Displays the description provided for the credentials.

Username                                                          Displays the user name.

Password                                                          Displays the password in a masked format.

Is Default                                                        Displays a check box that you can select to associate the
                                                                  credentials to all new target devices.

Update                                                            Displays an icon that you can click to edit the credentials.

Delete                                                            Displays an icon that you can click to delete the credentials.


Devices
The Devices section displays a table that includes the target devices that you selected through the Import Service Tags page of the
Setup Auto Deployment wizard. The following are the fields displayed in the devices table.
Table 127. Devices

Field                                                             Description
Device Name                                                       Displays the Service Tag of the device.

Device Model                                                      Displays the model name of the system, if available.

Execution Credentials                                             Displays the credentials that have been assigned to the device
                                                                  for running the deployment task. You can use this field to assign
                                                                  the credentials required for running the auto deployment task on
                                                                  the device.

Related link
  Managing Auto Deployment Credentials


Replace Server Wizard
The Replace Server Wizard guides you through the replacement of a production server with another server from within the same
compute pool. The fields displayed on the various pages of the wizard are described in the following sections.
Related links
  Replacing a Server
  Name
  Source and Target
  Review Source Attributes
  Options
  Credentials
  Summary

Name
The Name page allows you to provide a name for the task.
Related link
  Replace Server Wizard




204
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 206 of 388



Source and Target
The Source and Target page allows you to select the source server and the target server for the replacement.
The fields displayed on the Source and Target page of the Replace Server Wizard are described in the following table.
Table 128. Source and Target

Field                                                               Description
Select Source                                                       Displays a tree-view of the servers within the compute pool that
                                                                    are already deployed.

Select Target                                                       Displays all other servers within the same compute pool.

                                                                          NOTE: Target servers are displayed only after you select
                                                                          the source server.


Related link
  Replace Server Wizard

Review Source Attributes
The Review Source Attributes page allows you to view and edit the device configuration template, including the I/O identity
attributes.

Template Attributes
The fields displayed on the Template Attributes tab are described in the following table.
Table 129. Template Attributes

Field                                                               Description
Grouped by                                                          Displayed if you choose to display the attributes as groups.

Total                                                               Displays the total number of attributes.

Modified                                                            Displays the number of attributes that you have modified.

Section                                                             Displays the component that the attribute belongs to. For
                                                                    example, iDRAC, BIOS, NIC, and so on.

Instance                                                            Displays the instance of the component that the attribute
                                                                    belongs to.

Attribute Name                                                      Displays the name of the attribute.

Value                                                               Displays the value of the attribute.

Dependencies                                                        Displays if the attribute is dependent on any other attributes. To
                                                                    edit a dependent attribute, you must first set the primary
                                                                    attribute.

Destructive                                                         Displays if deploying the attribute may result in destructive
                                                                    changes to the device configuration including performance,
                                                                    connectivity, and ability to boot the device.

Undo                                                                Click to undo the changes made to the device configuration
                                                                    template.

Save                                                                Click to save the changes to the device configuration template.

IOA VLAN Attributes
The fields displayed on the IOA VLAN Attributes tab are described in the following table.



                                                                                                                                    205
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 207 of 388


Table 130. IOA VLAN Attributes

Field                                                               Description
IOA VLAN Attributes for Template                                    Displays the name of the selected template.

Total                                                               Displays the total number of attributes.

Modified                                                            Displays the number of attributes that you have modified.

Deploy                                                              Select to deploy an attribute. If an attribute is not selected, the
                                                                    attribute value will not be deployed on the target device and the
                                                                    current value will be retained on the target device. You can
                                                                    select all the attributes in the template by selecting the check
                                                                    box in the Deploy column header.

Modified                                                            Displays if you have modified the attributes.

NIC                                                                 Displays the Fully Qualified Device Descriptor (FQDD) of the
                                                                    NIC.

Fabric                                                              Displays the fabric associated with a specific slot of the chassis.
                                                                    The fabric is identified by a combination of the group name (A,
                                                                    B, or C) and slot number (1 or 2).

Tagged VLAN(s)                                                      Displays the list of tagged VLANs for the selected fabric.

Untagged VLAN                                                       Displays the untagged VLAN for the selected fabric.

Undo                                                                Click to undo the changes made to the IOA VLAN attributes of
                                                                    the selected template.

Save                                                                Click to save the changes to the IOA VLAN attributes of the
                                                                    selected template.

Device Specific Attributes
The fields displayed on the Device Specific Attributes tab are described in the following table.
Table 131. Template Attributes

Field                                                               Description
Grouped by                                                          Displayed if you choose to display the attributes as groups.

Total                                                               Displays the total number of attributes.

Modified                                                            Displays the number of attributes that you have modified.

Attributes for                                                      Displays the name of the selected device configuration
                                                                    template.

Device Specific Attributes for                                      Displays the following:

                                                                    •   For a deployment task — The device name, Service Tag,
                                                                        and device model.
                                                                    •   For an auto deployment task — The Service Tag of the
                                                                        device to be discovered later.

Deploy                                                              Select to deploy an attribute. If you do not select an attribute,
                                                                    the attribute value is not deployed on the target device and the
                                                                    current value will be retained on the target device. You can
                                                                    select all the attributes in the template by selecting the check
                                                                    box in the Deploy column header.




206
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 208 of 388


Field                                                               Description
Modified                                                            Displays if you have modified the value of the attribute.

Section                                                             Displays the component that the attribute belongs to. For
                                                                    example, iDRAC, BIOS, NIC, and so on.

Instance                                                            Displays the instance of the component that the attribute
                                                                    belongs to.

Attribute Name                                                      Displays the name of the attribute.

Value                                                               Displays the value of the attribute.

Dependencies                                                        Displays if the attribute is dependent on any other attributes. To
                                                                    edit a dependent attribute, you must first set the primary
                                                                    attribute.

Destructive                                                         Displays if deploying the attribute may result in destructive
                                                                    changes to the device configuration including performance,
                                                                    connectivity, and ability to boot the device.

Undo                                                                Click to undo the changes made to the configuration template.

Save                                                                Click to save the changes to the configuration template.

Identity Assignments
The fields displayed on the Identity Assignments tab are described in the following table.
Table 132. Identity Assignments

Field                                                               Description
Grouped by                                                          Displayed if you choose to display the attributes as groups.

Section                                                             Displays the component that the attribute belongs to. For
                                                                    example, NIC.

Instance                                                            Displays the instance of the component that the attribute
                                                                    belongs to.

Attribute Name                                                      Displays the name of the attribute.

Value                                                               Displays the value of the attribute.

Related link
  Replace Server Wizard

Options
The Options page allows you to select your preferences for the server replacement task.
The fields displayed on the Options page of the Replace Server Wizard are described in the following table.
Table 133. Options

Field                                                               Description
Remove source from compute pool                                     Select to move the source server from the compute pool to the
                                                                    Repurpose and Bare Metal Devices group after the server is
                                                                    replaced.




                                                                                                                                    207
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 209 of 388


Field                                                              Description

                                                                         NOTE: If this option is not selected, the source server is
                                                                         retained within the compute pool after the server is
                                                                         replaced.

Deploy to target even if virtual identities cannot be reclaimed    Select to reclaim the virtual I/O identities of the source server,
from the source                                                    even if the server is unreachable.

                                                                         NOTE: If the source server is not reachable and this
                                                                         option is:

                                                                         •   Not selected — The replace server task is
                                                                             unsuccessful.
                                                                         •   Selected — You may notice servers with duplicate I/O
                                                                             identities on the network, if the source server is added
                                                                             back to the network.

Related link
  Replace Server Wizard

Credentials
The Credentials page allows you to provide the credentials of the source server and target server.
The fields displayed on the Credentials page of the Replace Server Wizard are described in the following table.
Table 134. Credentials

Section                                      Field                                        Description
Source Credentials                           User Name                                    Provide the user name of the iDRAC of
                                                                                          the source server.

                                             Password                                     Provide the password of the iDRAC of the
                                                                                          source server.

Target Credentials                           User Name                                    Provide the user name of the iDRAC of
                                                                                          the target server.

                                             Password                                     Provide the password of the iDRAC of the
                                                                                          target server.

Related link
  Replace Server Wizard

Summary
The Summary page displays the options you have selected for the server replacement task.
The fields displayed on the Summary page of the Replace Server Wizard are described in the following table.
Table 135. Summary

Field                                                              Description
Name                                                               Displays the name that you have provided for the task.

Compute Pool                                                       Displays the name of the compute pool that you have selected.

Source                                                             Displays the name of the source server that you have selected.

Target                                                             Displays the name of the target server that you have selected.




208
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 210 of 388


Field                                                               Description
Configure VLANs on IOAs                                             Displays if you have selected to configure the VLANs on the
                                                                    IOAs.

Remove from Pool                                                    Displays if you have chosen to remove the source server from
                                                                    the compute pool.

Force reclaim identities                                            Displays if you have chosen to reclaim the virtual I/O identities
                                                                    of the source server, even if source server is unreachable.

Schedule                                                            Displays the predefined task schedule.

Related link
  Replace Server Wizard


Reclaim Identities Wizard
The Reclaim Identities Wizard allows you to reclaim all managed virtual I/O identities from a server. The fields displayed on the
various pages of the wizard are described in the following sections.
Related links
  Name
  Select Devices
  Identity Assignments
  Options
  Credentials
  Summary
  Reclaiming Deployed Virtual Input-Output Identities of a Server

Name
The Name page allows you to provide a name for the task.
Related link
  Reclaim Identities Wizard

Select Devices
The Select Devices page allows you to select devices from which you can reclaim the managed virtual I/O identities.
The fields displayed on the Select Devices page of the Reclaim Identities Wizard are described in the following tables.
Table 136. Select Devices

Field                                                               Description
Device Name                                                         Displays the name of the device.
Service Tag or Node ID                                              Displays the unique identifier assigned to the device.
Total of Identities in use                                          Displays the total number of identities that are deployed on the
                                                                    device.
Is Device Deleted                                                   Displays if the device was deleted from OpenManage Essentials
                                                                    after it was deployed with virtual I/O identities.
Template Name                                                       Displays the name of the device configuration template assigned
                                                                    to the device.
Compute Pool                                                        Displays the name of the compute pool that the device belongs
                                                                    to.
Last Deploy Time                                                    Displays the time stamp of the last deployment of the device.




                                                                                                                                    209
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 211 of 388


Field                                                               Description
Model                                                               Displays the model name of the device, if available. For example,
                                                                    PowerEdge R710.

Related link
  Reclaim Identities Wizard

Identity Assignments
The Identity Assignments page allows you to view the virtual I/O identities that are assigned to the selected server.
The fields displayed on the Identity Assignments page of the Reclaim Identities Wizard are described in the following tables.
Table 137. Identity Assignments

Field                                                               Description
Device                                                              Displays the name of the device.

Is Device Deleted                                                   Displays if the device was deleted from OpenManage Essentials
                                                                    after it was deployed with virtual I/O identities.

Section                                                             Displays the component that the attribute belongs to. For
                                                                    example, NIC.

Instance                                                            Displays the instance of the component that the attribute
                                                                    belongs to.

Attribute Name                                                      Displays the name of the attribute

Value                                                               Displays the value of the attribute.

Related link
  Reclaim Identities Wizard

Options
The Options page allows you to select your preferences for the reclaim identities task.
The fields displayed on the Options page of the Reclaim Identities Wizard are described in the following table.
Table 138. Options

Field                                                               Description
Remove source from compute pool                                     Select to move the server from the compute pool to the
                                                                    Repurpose and Bare Metal Devices group after reclaiming the
                                                                    identities of the server.

                                                                          NOTE: If this option is not selected, the server is
                                                                          retained within the compute pool after reclaiming the
                                                                          identities of the server.

Force reclaim action even if target cannot be contacted             Select to reclaim the virtual I/O identities of the selected server,
                                                                    even if the server is unreachable.




210
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 212 of 388


Field                                                              Description

                                                                         NOTE: If the source server is not reachable and this
                                                                         option is:

                                                                         •   Not selected — The reclaim identities task is
                                                                             unsuccessful.
                                                                         •   Selected — The virtual I/O identities are reclaimed and
                                                                             available for use. However, you may notice devices with
                                                                             duplicate I/O identities on the network if the server is
                                                                             added back to the network.

Related link
  Reclaim Identities Wizard

Credentials
The Credentials page allows you to provide the credentials of the selected server.
The fields displayed on the Credentials page of the Reclaim Identities Wizard are described in the following tables.
Table 139. Credentials

Field                                                              Description
User Name                                                          Provide the user name of the iDRAC of the server.

Password                                                           Provide the password of the iDRAC of the server.

Related link
  Reclaim Identities Wizard

Summary
The Summary page displays the options you have selected for the reclaim identities task.
The fields displayed on the Summary page of the Reclaim Identities Wizard are described in the following table.
Table 140. Summary

Field                                                              Description
Name                                                               Displays the name you have provided for the task.

Associated Devices                                                 Displays the name of the device that you have selected for
                                                                   reclaiming the virtual I/O identities.

Remove from Pool                                                   Displays if you have chosen to remove the server from the
                                                                   compute pool after reclaiming the virtual I/O identities.

Force reclaim identities                                           Displays if you have chosen to reclaim the virtual I/O identities
                                                                   of the server, even if the source server is unreachable.

Schedule                                                           Displays the predefined task schedule.

Related link
  Reclaim Identities Wizard




                                                                                                                                       211
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 213 of 388




                                                                                                                                11
Managing device configuration baseline
The configuration of a server or chassis in a production environment must be properly maintained to ensure availability of the server.
These server configuration settings tend to be drifted over time because of various reasons. The Device Compliance Portal enables
you to verify and ensure the compliance of multiple servers and chassis to a device configuration baseline that serves as a baseline.
The compliance status indicates if there is any difference between the current configuration settings and its corresponding baseline
configuration. The Device Compliance Portal also allows you to create baselines, and assign the desired baseline to multiple
production servers for establishing the compliance.
        NOTE: A device is considered to be compliant if it matches with all the settings defined in the associated baseline. A
        device with additional hardware (for example, an additional NIC card), is also considered to be compliant. A device may
        become non-compliant if there is a change in either the device inventory or the associated baseline. If the associated
        baseline is changed, the baseline must be redeployed to the associated devices.
        NOTE: Compliance tasks are not supported for IOA templates.

Using the Device Compliance Portal, you can:

•     Create a configuration baseline from a server or chassis
•     Associate a configuration baseline to a server or chassis
•     View the tasks that have been created and their status
•     Configure the deployment file share

        NOTE: The device configuration deployment and configuration compliance features are licensed (fee-based) for
        supported PowerEdge servers with iDRAC. To use these features on any PowerEdge VRTX or PowerEdge FX2/FX2s
        devices an Enterprise license is required. However, using it on PowerEdge M1000e devices does not require a license.
        Creating a device configuration baseline from a server does not require a license. For more information on licensing, see
        OpenManage Essentials — Server Configuration Management License.
Related links
  Configuring the deployment file share
  Creating a device deployment template
  Configuring the credentials and device configuration inventory schedule
  Associating target devices with a baseline
  Viewing compliance status of devices
  Viewing compliance tasks
  Additional information


Viewing the Device Compliance Portal
To view the device compliance portal, click Manage → Configuration → Device Compliance Portal.


Getting started for device configuration compliance
Before you can verify the compliance status of devices to a device configuration baseline, you must:

1.     Configure the deployment file share on the server running OpenManage Essentials.
2.     Configure the credentials and inventory schedule for target devices.




212
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 214 of 388


Related links
  Configuring the deployment file share
  Configuring the credentials and device configuration inventory schedule
  Device configuration compliance overview


Device configuration compliance overview
The steps that you must perform to verify the compliance status of a device and to make a device compliant to a device
configuration baseline are as follows:

1.    Create a Baseline — Use the Create Baseline task in the Common Tasks pane to create a device configuration baseline. You
      can choose to create the baseline from either a configuration file or a reference device.
2.    Associate Devices to a Baseline — Select a baseline and associate it to applicable devices to view the compliance status.
3.    View the compliance status — The Device Compliance Portal displays the compliance summary of all devices associated to
      the baselines. To view the compliance status of a device to an associated baseline, select the baseline in the Baselines pane. To
      view the detailed compliance results for each device, double-click the Device Compliance graph or table. Alternatively, you can
      also select the device in the device tree (Manage → Devices), and click the Configuration tab in the right-pane to view the
      compliance status.

Related link
  Getting started for device configuration compliance


Configuring the credentials and device configuration inventory
schedule
The Configuration Inventory Schedule task enables you to collect an inventory of the device configuration attributes from
applicable devices at periodic intervals. The inventory information is used to verify the compliance status of the devices to a specific
device configuration baseline.
Before you configure the device inventory schedule, ensure that:

•    The target devices meet the requirements that are specified in Device Requirements for Deployment and Compliance Tasks.
•    The Server Configuration Management license is installed on all target servers. For more information, see OpenManage
     Essentials — Server Configuration Management License.

         NOTE: Scheduled configuration inventory collection or update is not applicable for IOAs.

To configure the device configuration inventory schedule:

1.   Click Manage → Configuration.
2.   Perform one of the following:

     •     In the Common Tasks pane, click Configuration Inventory Schedule.
     •     In the Device Configuration Compliance Portal pane, click Getting Started for Compliance → Configure Credentials and
           Inventory Schedule for Target Devices.

     The Configuration Inventory Schedule wizard is displayed.
3.   On the Inventory Credentials page:
     a. Click Add New Credential.
        The Add Credentials window is displayed.
     b. Enter the description, username, and password.
                 NOTE: You must provide the iDRAC credentials that have Administrator rights.

               NOTE: The credentials can be edited at a later time only by the OpenManage Essentials user who added the
               credentials to the target devices.
     c. If you want to set the credentials as the default credentials for all new target devices, select Default, and then click Finish.



                                                                                                                                      213
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 215 of 388


      d. On the Devices section, set the Execution Credentials for each target device.
      e. Click Next.
4.    On the Schedule page:
      a. Select Enable Configuration Inventory.
      b. If you want to run the configuration inventory immediately, select Run Inventory on Finish.
      c. Select the desired scheduling parameters.
      d. (Optional) You can adjust the Inventory Polling Speed slider for faster task execution; however, this consumes more system
         resources.
      e. Click Finish.

The status of the task is displayed in Task Execution History. You can double-click the task in Task Execution History to view the
task execution details.
Related links
   Server Configuration Management license
   Device requirements for deployment and compliance tasks
   Configuration Inventory Schedule Wizard


Viewing the device configuration inventory
You can view the configuration inventory of a device through the Devices portal.
Before you begin, ensure that the device for which you want to view the configuration inventory, meets the requirements specified in
Device Requirements for Deployment and Compliance Tasks.
To view the configuration inventory:

1.    Click Manage → Devices.
      The Devices portal is displayed.
2.    On the device tree, right-click the device for which you want to view the configuration inventory details, click Device
      Configuration → Refresh Device Configuration Inventory.
3.    On the right pane, click Configuration → Inventory.
      The inventory configuration details are displayed. If the inventory configuration task has not been run for the device, the Run
      Configuration Inventory button in is displayed. You can click Run Configuration Inventory to view the configuration details,
      provided you have configured the credentials of the device in the Inventory Configuration Schedule.

Related link
  Device requirements for deployment and compliance tasks


Creating a device compliance baseline for servers and chassis
You can create a device compliance baseline for a server or chassis that you have discovered.
          NOTE: The chassis baseline does not include the IOA attributes.

To create a baseline for a server or chassis:

1.    Click Manage → Configuration.
2.    In the Common Tasks pane, click Create Baseline.
      The Create Baseline Wizard is displayed.
3.    In the Name field, enter a name for the baseline.
4.    Select one of the following:

      •     Create from File: To create a baseline by importing an XML template.
      • Create from Device: To create a baseline from a device.
5.    Select the device type (Server, Chassis, or MX Chassis) and perform one of the following:

      •     Select a device from the All Applicable Devices tree.
      •     Search for a device by using the Search Devices box.


214
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 216 of 388


6.   Under Execution Credentials, provide the device credentials that have the Administrator rights, and click Finish.
7.   Click Ok in the task submission message.
             NOTE: The destructive and password attributes information is not displayed while configuring a baseline. Only the
             non-destructive attribute information of the baseline is displayed.


Associating target devices with a baseline
The Associate Devices to a Baseline task enables you to designate the baseline to be used for verifying the compliance status of
target devices.
         NOTE: Before you begin to associate a configuration baseline to target devices, you must configure the credentials to run
         the device inventory. See Configuring the credentials and device configuration inventory schedule.
         NOTE: A device can only have one associated device configuration baseline. If you associate a second baseline to a
         device, the second baseline will become the only configuration baseline associated to the device.
To associate target devices to a baseline:

1.   Click Manage → Configurations.
2.   Perform one of the following:

     •     In the Common Tasks pane, click Associate Devices to a Baseline.
     •  In the Compliance by Baseline pane, either you right-click a baseline, and then click Associate Devices, or you click a
        baseline. The Associate Devices pop up wizard is displayed, and then click Associate Devices.
3.   The Associate Devices to a Baseline Wizard is displayed.
4.   On the Select Baseline page, select a server baseline, chassis baseline, or MX Chassis baseline from the list you want to
     associate with the target device, and then click Next.
             NOTE: Only configuration baselines that you have either created or cloned are available for selection.
5.   On the Select Devices page, select the target devices listed based on the baseline selected in step 4 from the All Applicable
     Devices tree, and then click Finish.
     To view the updated compliance status of the devices, you must run the configuration inventory task. See Viewing compliance
     status of devices.

Related links
  Baseline Association
  Associate Devices To a Baseline Wizard


Viewing compliance status of devices
Before you can view the compliance status of a device to an associated configuration baseline, you must run the device
configuration inventory task. To run the device configuration inventory task, you can either create an inventory configuration
schedule or select the device in the device tree and click Run Configuration Inventory on the Configuration tab in the right pane.
         NOTE: Compliance tasks are not supported for IOA templates.

To view the compliance status of devices to the associated configuration baseline:

1.   Click Manage → Configurations → Device Compliance Portal.
     The Device Compliance graph and grid display the compliance status of the devices.
2.   To view the devices by compliance status, click the Device Compliance graph.
3.   To view the compliance status of a particular device, click the device in the Device Compliance grid.

         NOTE: You can also select the device in the device tree (Manage → Devices), and click the Configuration tab in the
         right-pane to view the compliance status.




                                                                                                                                   215
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 217 of 388



Remediating noncompliant devices
The devices which are not conforming to the associated baselines can be remediated to make them conform to the baseline
configurations.
       NOTE: The destructive and password attributes of the devices are not considered for compliance. As a result, these
       attributes are not considered for the remediation task.
       NOTE: The user configuration attributes are successfully remediated only if the same user exists on the target devices.
       You cannot create a new user as the password attributes are not considered for remediation. For more details on creating
       an user, see Deployment and reprovisioning.
       NOTE: The remediation task fails for the devices which are noncompliant because of the missing attributes, or because
       of the dependency of attributes on other attributes that are not part of the compliance baseline. Clear the Deploy check
       box for the missing attributes in the corresponding baselines to make the devices compliant.
To remediate the devices which are not in compliance:

1.    Click Manage → Configuration → Make Device(s) Complaint.
      The Name page is displayed.
2.    Enter the Name for the remediation task, and click Next.
3.    On the Select Devices page, the list of noncompliant servers and chassis with the corresponding noncompliant attributes are
      displayed. Select all the noncompliant devices or the required devices from the list, and click Next.
4.    On the Options page:
      a. Select Manual Server Reboot to manually reboot the servers during the maintenance period. The compliance of the server
         is updated when the configuration inventory is refreshed as per the schedule or manually, post the reboot. The baselines
         that are associated with the chassis are deployed and the configuration changes are applied immediately.
      b. Select Automatic Server Reboot to deploy the baselines that are associated with the selected devices immediately. If the
         configuration changes require the server to be rebooted, then a graceful shutdown is attempted first. If the graceful
         shutdown fails, then a force shutdown is carried out.
            NOTE: The chassis configurations are applied immediately and do not reboot the associated servers.
5.    On the Set Schedule page:
      a. Select either Run now, or click the calendar icon and select the date and time you want to run the task.
      b. Under Execution Credentials, type the credentials of the selected device(s).
      c. Click Next.
6.    On the Summary page, review the information that you have provided, and then click Finish.
      The remediation task is created and is run as per the selected schedule. You can double-click the task in Task Execution History
      to view the task execution details. The new attribute values that are assigned during the remediation task can be viewed in the
      Details 1 tab.

The compliance of the devices is computed based on the remediation task result. To view the compliance status of the devices, see
Viewing compliance status of devices.

       NOTE: In an MCM group, you can propagate the compliant attributes of the lead MX7000 chassis to the member
       chassis.


Viewing compliance tasks
To view the compliance tasks that have been created:

1.    Click Manage → Configuration.
2.    In the Tasks pane on the left, select a task type.
      The Task tab on the right pane displays the tasks that have been created.

            NOTE: Compliance tasks are not supported for IOA templates.




216
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 218 of 388


Related link
  Tasks


Viewing server backup profiles
The server backup profile is created by scheduling a device configuration inventory. The device should be a part of the Repurpose
and Bare Metal Devices group and should not be a part of the virtual I/O compute pool.
The backed-up profiles of the servers are visible under Configuration Backup → Backed-up Devices. Selecting one of the backed-
up profiles under the Devices section, displays the attributes of the profile under the Attributes section. The attributes of the
backed-up profiles are read-only and cannot be modified.
To replace a target server with the backup profile, see Replacing a server from backup profile


Replacing a server from backup profile
The replace server task allows you to replace a production server from the backup profile. When the replace server task runs, the
attributes of the source server are migrated to the target server.
Before you begin to replace the target server, ensure that:

•    The deployment file share is configured. For more information, see Configuring the Deployment File Share.
•    The credentials are configured and the configuration inventory of the devices is scheduled. See Configuring the credentials and
     device configuration inventory schedule
•    The source and target devices are added to the Repurpose and Bare Metal Devices group. For more information, see Adding
     Devices to the Repurpose and Bare Metal Devices Group.

To replace the target server from the backup profile:

1.    Click Replace Server under Manage → Configuration.
      Replace Server Wizard is displayed.

            NOTE: To select an individual backup profile, in the Devices pane, right-click on the backed-up Device Name and
            select Replace.
2.    Enter the task name, and click Next.
3.    On the Source and Target page:
      a. Under Select Source, select the source server.
      b. Under Select Target, select the target server.
      c. Click Next.
      Note: The target server must be in the repurpose and bare metal group. To manually add the target server to the bare
      metal group, see Adding Devices to the Repurpose and Bare Metal Devices Group.
4.    In Review Source Attributes, the Template Attributes, the Device Specific Attributes, and the Indentity Attributes are
      displayed. Click Next.
            NOTE: The attributes displayed under Review Source Attributes are read-only.
5.    On the Options page, select any of the following options based on your preference:

      •   Remove target from bare metal pool — Select to remove the target server from the Repurpose and Bare Metal Devices
          group after the server is replaced.
      •   Select Deploy to target even if virtual identities cannot be removed from the source to reclaim the virtual I/O identities
          of the source server, even if the source server is unreachable.
6.    In the Credentials page, enter the Source Credentials and the Target Credentials. Click Next.
      The Summary page is displayed.
7.    The various attributes along with their values are listed in the Summary page. Review the selections you have made, and then
      click Finish.
      The target server is replaced with the backup profile of the source server, and the replace server task is seen under Tasks →
      Configuraton Tasks → Restore Server Configuration From Backup. You can right-click the task in Task Execution History to



                                                                                                                                    217
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 219 of 388


      view the task execution details. The virtual identities reclaimed from the source devices are listed in the Details 1 tab. The
      Details 2 tab lists the attributes that are deployed on the target servers.

            NOTE: If Remove target from bare metal pool option is selected, then the target server is removed from the
            Repurpose and Bare Metal Devices group.
            NOTE: The target server is rediscovered, and the inventory details are updated for the target server.




218
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 220 of 388




                                                                                                                          12
Configuration – Reference
You can access the following from the Manage → Configuration page:

•   Device Configuration Compliance Portal

    – Getting Started for Compliance — Displays the information required to setup, use, and get started with the device
      configuration compliance features.
    – Device Compliance Portal — Displays the default view of the Device Compliance Portal.
•   Common Tasks — Displays the configuration compliance setup tasks and other tasks that you can create.

    – Create Baseline
    – Associate Devices to a Baseline
    – Make Device(s) Compliant
    – Configuration Inventory Schedule
    – File Share Settings
    – Replace Server
•   Compliance by Baseline — Displays the sample device configuration baselines and the baselines that you have created or cloned.

    – Server Baselines

       ◦   Samples
    – Chassis Baselines

       ◦   Samples
    – MX Chassis Baselines

       ◦   Samples
•   Configuration Backup — Displays the backed-up devices which can be replaced with the target device.

    – Backed-Up Devices
•   Tasks — Displays the tasks of the selected category in the Tasks tab in the right pane.

    – Configuration Tasks

       ◦   MX Chassis Baseline Configuration Import — Create Baseline tasks you have created for MX7000 chassis.
       ◦   Remediate Device Configuration — Remediation tasks of the non-complaint devices.
       ◦   Replace Server Configuration From Backup — Replace Server tasks you have created for target devices.
       ◦   Chassis Baseline Configuration Import — Create Baseline tasks you have created for chassis.
       ◦   Device Baseline Configuration Import — Create Baseline tasks you have created for servers.

      NOTE: For information on the sample device configuration templates, see the iDRAC documentation at Dell.com/
      support.




                                                                                                                               219
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 221 of 388


Related links
  Device Compliance
  Tasks
  Task Execution History
  Associate Devices To a Baseline Wizard
  Configuration Inventory Schedule Wizard
  Backed-Up Devices


Device Compliance
The Device Compliance graph and table enable you to view the compliance status of the devices.

Device Compliance Graph
The device compliance graph provides a pie chart distribution of the compliance status. Click a segment of the pie chart to view
more information on the systems. The pie chart displays the following segments to indicate the device compliance status:

•   Compliant — Devices that are compliant to the associated configuration baseline.
•   Non Compliant — Devices that are not compliant to the associated configuration baseline.
•   Non Inventoried — Devices on which configuration inventory is not completed.
•   Non Associated — Devices that are not associated to a configuration baseline.
•   Non Licensed — Devices that do not have the Server Configuration Management license installed.

Device Compliance Table
The fields displayed in the Device Compliance table of the Device Compliance portal are described in the following table.
Table 141. Device Compliance Table

Field                                                               Description
Compliance Status                                                   Displays an icon that indicates the compliance status of the
                                                                    device to the associated configuration baseline.

Device Name                                                         Displays the unique name of the system that identifies it on the
                                                                    network.

Service Tag                                                         Displays the unique identifier assigned to the system.

Model                                                               Displays the model name of the system. For example,
                                                                    PowerEdge R710.

Compliance Template                                                 Displays the device configuration template that is associated to
                                                                    the device.

Inventory Last Ran                                                  Displays the date and time the last device configuration
                                                                    inventory was completed.


Tasks
The Tasks tab displays all the tasks that have been created.
The fields displayed in the Tasks tab of the Device Compliance portal are described in the following table.




220
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 222 of 388


Table 142. Tasks

Field                                                               Description
Schedule                                                            Displays if the task schedule is active or inactive.

Task Name                                                           Displays the name of the task.

Type                                                                Displays the type of task.

Description                                                         Displays a brief description about the task.

Updated on                                                          Displays the date and time the task was updated.

Updated by                                                          Displays the name of the user who updated the task.

Created on                                                          Displays the date and time the task was created.

Created by                                                          Displays the name of the user who created the task.

Related link
  Viewing compliance tasks


Task Execution History
The Task Execution History tab displays the status of tasks.
The fields displayed in the Task Execution History tab are described in the following table.
Table 143. Task Execution History

Field                                                               Description
Status                                                              Displays an icon representing the task status:

                                                                        — Running or pending
                                                                        — Complete
                                                                        — Stopped
                                                                        — Failed

                                                                         — Warning

Task Name                                                           Displays the name of the task.

Start Time                                                          Displays the start time of the task.

% Completed                                                         Displays the progress information of the task.

Task State                                                          Displays the state of the task:

                                                                    •   Running
                                                                    •   Complete
                                                                    •   Stopped
                                                                    •   Failed
                                                                    •   Warning

End Time                                                            Displays the end time of the task.

Executed by User                                                    Displays the name of the user who executed the task.




                                                                                                                           221
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 223 of 388



Associate Devices To a Baseline Wizard
The Associate Devices to a Baseline Wizard enables you to associate devices to a baseline. The fields displayed in the Associate
Devices to a Baseline Wizard are described in the following sections.
Related links
  Select Baseline
  Select Devices
  Associating target devices with a baseline

Select Baseline
The Select Baseline page enables you to select the baseline you want to associate to target devices.
The fields displayed in the Select Baseline page are described in the following table.
Table 144. Select Baseline

Field                                                                Description
Server Baselines                                                     Displays the server configuration baselines that you have either
                                                                     created or cloned.

Chassis Baselines                                                    Displays the chassis configuration baselines that you have either
                                                                     created or cloned.

MX Chassis Baselines                                                 Displays the MX chassis configuration baselines that you have
                                                                     either created or cloned.


Select Devices
The Select Devices page enables you to select target devices to verify configuration compliance.
The Select Devices page displays the All Applicable Devices tree-view that includes the target devices. You can associate one or
more target devices to a device configuration baseline.


Make Devices Compliant
The Make Devices Compliant Wizard enables you to remediate the non-compliant devices. The fields displayed in the Make
Devices Compliant Wizard are described in the following sections.

Name
Table 145. Name

Field                                                                Description
Name                                                                 Displays the name of the remediation task.


Select Devices
Table 146. Select Devices

Field                                                                Description
Checkbox                                                             Select a device or all the devices from the list of non-compliant
                                                                     devices.

Device Name                                                          Displays the name of the device.

Service Tag                                                          Displays the unique identifier assigned to the system.




222
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 224 of 388


Field                                       Description
Model                                       Displays the model name of the system. For example,
                                            PowerEdge R710.

Compliance Template                         Displays the device configuration template that is associated to
                                            the device.

Inventory Last Run                          Displays the date and time the last device configuration
                                            inventory was completed.

Non-Compliant Results                       Displays the count of missing and non-compliant attributes.

Device Name                                 Displays the name of the device.

Compliance Result                           Displays the compliance result of the device to the associated
                                            configuration baseline.

Component Name                              Displays the name of the component that the attribute belongs
                                            to.

Attribute Name                              Displays the name of the attribute.

Template Value                              Displays the template value of the attribute.

Inventory Value                             Displays the inventory value of the attribute.


Options
Table 147. Options

Field                                       Description
Manual Server Reboot                        Select to manually reboot the server during the maintenance
                                            period. The baselines associated with the chassis are deployed
                                            and the configuration changes are applied immediately.
                                                  NOTE: The configuration changes on the chassis will not
                                                  result in the reboot of the servers associated with the
                                                  particular chassis.

Automatic Server Reboot                     Select to deploy the baselines associated with the devices
                                            immediately. If the configuration changes require the server to
                                            be rebooted, then a graceful shutdown is attempted first. If the
                                            graceful shutdown fails, then a force shutdown is carried out.
                                                  NOTE: The configuration changes on the chassis will not
                                                  result in the reboot of the servers associated with the
                                                  particular chassis.


Set Schedule
Table 148. Set Schedule

Field                                       Description
Run now                                     Select to run the remediation task immediately.

Run at                                      Select to schedule a task at a required date and time.

Execution Credentials

User Name                                   Provide the user name configured on the device to run the task.

Password                                    Provide the password required to run the task.




                                                                                                             223
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 225 of 388



Summary
Table 149. Summary

Field                                                               Description
Name                                                                Displays the name of the remediation task.

Non-Compliant Devices                                               Displays the selected non-compliant device name.

Reboot Option                                                       Displays the selected reboot option.

Schedule                                                            Displays the selected schedule to run the remediation task.


Configuration Inventory Schedule Wizard
The Configuration Inventory Schedule wizard enables you to associate the credentials to discovered devices and set the schedule
for configuration inventory. The fields displayed in the pages of the wizard are described in the following sections.
Related links
   Inventory Credentials
   Schedule
   Configuring the credentials and device configuration inventory schedule

Inventory Credentials
The Inventory Credentials page enables you to add credentials and associate credentials to target devices. The fields that are
displayed in the Inventory Credentials page are described in the following table.

Credentials
The Credentials section displays a table that includes credentials that you have configured for the configuration inventory task.
Table 150. Credentials

Field                                                               Description
Add New Credentials                                                 Click to open the Add Credentials window that enables you to
                                                                    provide credentials for target devices.

Description                                                         Displays the description that is provided for the credentials.

Username                                                            Displays the username.

Password                                                            Displays the password in a masked format.

Is Default                                                          Displays a check box that you can select to associate the
                                                                    credentials to all new target devices.

Update                                                              Displays an icon that you can click to edit the credentials.

Delete                                                              Displays an icon that you can click to delete the credentials.

Created By                                                          Displays the name of the user who provided the credentials.

Devices
The Devices section displays a table that includes the target devices for configuration compliance tasks.
Table 151. Devices

Field                                                               Description
Device Name                                                         Displays the Service Tag of the device.

Device Model                                                        Displays the model name of the system, if available.




224
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 226 of 388


Field                                                               Description
Execution Credentials                                               Displays the credentials that have been assigned to the device
                                                                    for running the configuration inventory task. You can use this
                                                                    field to assign the credentials that are required for running the
                                                                    configuration inventory task on the device.


Schedule
The Schedule page enables you to configure the schedule for the configuration inventory.
The fields displayed in the Schedule page are described in the following table.
Table 152. Schedule

Field                                                               Description
Enable Configuration Inventory                                      Select to schedule configuration inventory.

Run Inventory on Finish                                             Select to run the configuration inventory after the inventory
                                                                    configuration is completed.

Configure Global Inventory Polling Interval                         Set the frequency of the inventory in weekly or daily intervals.
                                                                          NOTE: OpenManage Essentials performs configuration
                                                                          inventory only on devices that have already been
                                                                          discovered.

                                                                    •   Every Week On — Specify the day or days of the week
                                                                        that you want to schedule the inventory and the time that
                                                                        you want it to begin.
                                                                    •   Every <n> Days <n> Hours interval — Specify the intervals
                                                                        between inventory cycles. The maximum discovery interval
                                                                        is 365 days and 23 hours.

Inventory Polling Speed                                             Set the amount of resources available for accelerating the
                                                                    inventory poll speed. The faster you set the inventory poll speed,
                                                                    the more resources are required, but less time is required to
                                                                    perform the inventory.
                                                                    After changing the speed, OpenManage Essentials may take
                                                                    several minutes to adjust to the new speed.


Backed-Up Devices
The Backed-Up Devices windows displays the devices that are backed-up. The tables displayed in the Backed-Up Devices window
are described in the following sections.

Devices Table
The fields displayed in the Devices table of the Backed-Up Devices portal are described in the following table.
Table 153. Devices Table

Field                                                               Description
Connection Status                                                   Displays the connection status of the device. The connection
                                                                    status are On or Off.

Health Status                                                       Displays the health status of the device. The status options are
                                                                    Normal, Warning, Critical, and Unknown.

Device Name                                                         Displays the unique name of the device that identifies it on the
                                                                    network.




                                                                                                                                    225
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 227 of 388


Field                                                             Description
Service Tag                                                       Displays the unique identifier assigned to the device.

Model                                                             Displays the model name of the device. For example,
                                                                  PowerEdge R730.

Last Backup Result                                                Displays the result of the last backup operation of the device.

Last Successful Backup Time                                       Displays the last successful backup time of the device.


Attributes Table
The fields displayed in the Attributes table of the Backed-Up Devices portal are described in the following table. The Grouped By
filter can be used to display the table contents based on the filter option that is selected.
Table 154. Attributes Table

Field                                                             Description
Section                                                           Displays the component that the attribute belongs to. For
                                                                  example, iDRAC, BIOS, NIC, and so on.

Instance                                                          Displays the instance of the component that the attribute
                                                                  belongs to.

Attribute Name                                                    Displays the name of the attribute.

Value                                                             Displays the value of the attribute.

Dependencies                                                      Displays if the attribute is dependent on any other attributes. To
                                                                  edit a dependent attribute, you must first set the primary
                                                                  attribute.

Destructive                                                       Displays if deploying the attribute may result in destructive
                                                                  changes to the device configuration including performance,
                                                                  connectivity, and ability to boot the device.

Group                                                             Displays the group the attribute belongs to.




226
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 228 of 388




                                                                                                                              13
Viewing inventory reports
OpenManage Essentials provides pre-defined reports for all discovered and inventoried devices. With these reports, you can:

•   Consolidate information about devices in your environment.
•   Filter report data based on the devices by clicking the Filter by: drop-down list. You can also add a new group of devices from
    the dashboard by clicking Add New Group from the Filter by: drop-down list.
•   Export data for use in another application in the XML file format.
          NOTE: By default, the reports display the latest device information when you access the reports. If a report is open
          and you have not navigated from the report, you must click the refresh button to view the latest device information
          on the report.
          NOTE: You cannot create new reports.


Choosing predefined reports
To view predefined reports, click Reports.
The Managed Systems Reports displays the predefined reports. Select from the available reports to view particular information
about the devices in your environment. You can filter the reports based on the devices by clicking the Filter by: drop-down list. You
can also add a new group of devices by clicking Add New Group from the Filter by: drop-down list.

Predefined reports
Table 155. Predefined reports

Category                                      Report                                      Description
Server Inventory                              Agent and Alert Summary                     Identifies the OpenManage Server
                                                                                          Administrator versions installed on devices
                                                                                          in the environment and allows you to
                                                                                          identify the devices generating the most
                                                                                          alerts. If the Server Administrator is not
                                                                                          installed on a server, it is displayed as
                                                                                          None.

                                                                                          •   The upper left web part identifies the
                                                                                              OpenManage Server Administrator
                                                                                              versions in your environment.
                                                                                          •   Clicking the OpenManage Server
                                                                                              Administrator version in the
                                                                                              OpenManage Server Administrator pie
                                                                                              chart in the top right web part shows
                                                                                              you the list of servers with that
                                                                                              version installed.
                                                                                          •   The lower left web part lists in
                                                                                              descending order the devices
                                                                                              generating the most alerts since initial
                                                                                              discovery and inventory.
                                                                                          •   The top five event generating devices
                                                                                              are identified in the lower right web




                                                                                                                                   227
       Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 229 of 388


Category                    Report                           Description

                                                                 part. Click on a specific device to view
                                                                 the events associated with it.

                            Agent Health Status              Provides information about the agent
                                                             such as the system name, agent global
                                                             status, agent name, and agent
                                                             description.

                            Server Overview                  Provides information about the servers
                                                             such as the system name, operating
                                                             system installed on the server, processors,
                                                             and memory.

                            FRU Information                  Provides details on replaceable server
                                                             components.

                            Hard Drive Information           Identifies serial number, revision,
                                                             manufacturer, bus type, and self-
                                                             encrypting capability for hard drives.

                            iDRAC Performance Min/Max        Provides the minimum and maximum
                                                             utilization of the processor, memory, and
                                                             I/O bandwidth of a server.

                            iDRAC Performance Avg/Peak       Provides the average and peak utilization
                                                             of the processor, memory, and I/O
                                                             bandwidth of a server.

                            Memory Information               Provides details on DIMMs and identifies
                                                             the slot a particular DIMM occupies within
                                                             a server.

                            Modular Enclosure Information    Provides information about the enclosure
                                                             type, firmware version, enclosure Service
                                                             Tag, and so on.

                            NIC Information                  Identifies the NIC model-IP address, MAC
                                                             address, manufacturer and part and serial
                                                             numbers for NICs.

                            PCI Device Information           Identifies model, manufacturer, and slot
                                                             for PCI and PCIe controllers in each
                                                             server.

                            Processor Information            Provides details about the processors in a
                                                             server.

                            Storage Controller Information   Identifies the storage controllers on the
                                                             server and provides the controller name,
                                                             vendor, controller type, and controller
                                                             state:

                                                             •   Ready: The storage controller is ready
                                                                 for use.
                                                             •   Degraded: There is a potential
                                                                 problem with the controller.
                                                                 Investigation is required.




228
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 230 of 388


Category                      Report                            Description
                              Virtual Disk Information          Provides information about the virtual disk
                                                                such as size, layout, stripe size, and so on.

Server Configuration          Server Components and Versions    Identifies BIOS, driver, and firmware
                                                                versions on all discovered and inventoried
                                                                servers.

                              BIOS Configuration                Provides the BIOS configuration
                                                                information of the system.

                              iDRAC Network Configuration       Provides IPMI over LAN, SSH, and Telnet
                                                                status of the iDRAC.

                              Device Configuration Compliance   Provides information about the
                                                                compliance of a server or chassis to an
                                                                associated device configuration template.

                              Template Association              Provides information about the device
                                                                configuration templates and the devices
                                                                associated to the templates.

                              Assigned Identity Attributes      Provides information about the virtual I/O
                                                                identities that are assigned or deployed on
                                                                a device and managed by OpenManage
                                                                Essentials.

                              All Identity Attributes           Provides information about all the virtual
                                                                I/O identities that are present on a device
                                                                and inventoried by OpenManage
                                                                Essentials.

Warranty & License            Warranty Information              See Viewing Warranty Reports for details
                                                                on how to run the warranty report and
                                                                the information it provides.

                              License Information               Provides the licensing information for the
                                                                device.

Virtualization                ESX Information                   Identifies ESX and ESXi virtual machine
                                                                hosts and associated virtual machines.

                              HyperV Information                Identifies the HyperV virtual machine
                                                                hosts and associated virtual machines.

Asset                         Asset Acquisition Information     Provides acquisition information about the
                                                                devices.

                              Asset Maintenance Information     Provides the maintenance information
                                                                about the devices.

                              Asset Support Information         Provides the support information about
                                                                the devices.

                              Device Location Information       Provides information about the location of
                                                                a device in a data center.




                                                                                                          229
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 231 of 388



Filtering report data
You can filter the results by dragging and dropping column headers to the top of reports. You can choose one or more attributes
when revising the view to meet your specific needs.
For example, in the NIC Information report, drag the System Type and System Name to the top of the report. The view immediately
changes to a nesting of information based on your preference. In this example, you can view nested data for NICs; NIC IP Address,
MAC Address, and NIC description.




Figure 28. NIC Information Report


Exporting reports
Exporting a report enables you to manipulate and reformat the data. To export a report:

1.    In the Reports list, right-click on any report to display the Export option.
2.    Scroll over the Export option to display supported formats.
3.    Choose your preferred format (CSV, HTML, or XML) and provide a file name for the exported report.




230
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 232 of 388




                                                                                                                               14
Reports — Reference
In the Reports portal, you can view various reports that are available under the following sections:

•   Server Inventory
•   Server Configuration
•   Warranty & License
•   Virtualization
•   Asset

You can also filter the information based on a device or group by clicking Filter by and then selecting the device or group.
Related links
  Server Inventory Reports
  Server Configuration Reports
  Warranty and License Reports
  Virtualization Reports
  Asset Reports


Server Inventory Reports
The Server Inventory section contains the following reports:

•   Agent and Alert Summary
•   Agent Health Status
•   Server Overview
•   FRU Information
•   Hard Drive Information
•   iDRAC Performance Minimum/Maximum
•   iDRAC Performance Average/Peak
•   Memory Information
•   Modular Enclosure Information
•   NIC Information
•   PCI Device Information
•   Processor Information
•   Storage Controller Information
•   Virtual Disk Information




                                                                                                                                231
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 233 of 388


Related links
  Agent and Alert Summary
  Agent Health Status
  Server Overview
  Field Replaceable Unit Information
  Hard Drive Information
  iDRAC Performance Minimum or Maximum
  iDRAC Performance Average or Peak
  Memory Information
  Modular Enclosure Information
  NIC Information
  PCI Device Information
  Processor Information
  Storage Controller Information
  Virtual Disk Information

Agent and Alert Summary
The Agent and Alert Summary displays the following:

•   Agent Summary
•   iDRAC Service Module Summary
•   Alerts per Device
•   Top Alert Generators

Agent Summary
The Agent Summary pane displays the agent summary information in a table and also as a chart.
Table 156. Agent Summary

Field                                                             Description
Number of systems using specific Server Administrator agent

Agent Details                                                     Displays the name and version of the agent.

Number of systems utilizing this agent                            Displays the number of systems utilizing a specific version of the
                                                                  agent.

iDRAC Service Module Summary
The iDRAC Service Module Summary pane displays the iDRAC Service Module summary information in a table and also as a chart.
Table 157. iDRAC Service Module Summary

Field                                                             Description
Number of systems using specific iDRAC Service Module

iDRAC Service Module Details                                      Displays the possibility of the iDRAC Service Module
                                                                  deployment on the discovered servers.

Number of systems                                                 Displays the number of servers.

The iDRAC Service Module Summary chart displays the servers as:

•   Capable Linux — The server does not meet some of the requirements for deploying iDRAC Service Module. For example, the
    server may not be running a 64-bit operating system or the version of the iDRAC firmware installed on the system may be prior
    to 1.51.51.
•   Deployable Linux — iDRAC Service Module can be deployed on the server.




232
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 234 of 388


•   Capable Windows — The server does not meet some of the requirements for deploying iDRAC Service Module. For example, the
    system may not be running a 64-bit operating system or the version of the iDRAC firmware installed on the system may be prior
    to 1.51.51.
•   Deployable Windows — iDRAC Service Module can be deployed on the server.
•   Incapable — iDRAC Service Module cannot be installed on the server. For example, the system may be a Dell 11th generation or
    earlier PowerEdge server.

Alerts per Device
Table 158. Alerts per Device

Field                                                            Description
Most active discovered systems based on alert occurrence

Device Name                                                      Displays the unique name of the system that identifies it on the
                                                                 network.

Number of Associated Events                                      Displays the number of alerts from the device.

Last Discovered On                                               Displays the IP address range or host name.

Inventory Time                                                   Displays the time and date information for the last run inventory.

Top Alert Generators
The Top Alert Generators pane displays the top five systems with the maximum alerts.

Agent Health Status
Table 159. Agent Health Status

Field                                                            Description
System Name                                                      Displays the host name of the system.

System Type                                                      Displays the model name of the system.

Service Tag                                                      Displays the unique identifier assigned to the system.

Agent Global Status                                              Displays the global health status of the agent.

Agent Name                                                       Displays the name of the agent.

Agent Version                                                    Displays the version of the agent.

Agent Description                                                Displays the agent details for the device.

Agent Manufacturer                                               Displays the name of the agent manufacturer.


Server Overview
Table 160. Server Overview

Field                                                            Description
System Name                                                      Displays the host name of the system.

System Type                                                      Displays the model name of the system. For example,
                                                                 PowerEdge R710.

Operating System                                                 Displays the operating system installed on the system.

Processor Count                                                  Displays the number of processors installed on the system.

Processor Family                                                 Displays the type of processor installed on the system.




                                                                                                                                233
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 235 of 388


Field                                                 Description
Processor Cores                                       Displays the number of processor cores.

Processor Speed                                       Displays the speed of the processor.

Total Cores                                           Displays the total number of cores present in the system.

Total Memory                                          Displays the total memory installed on the system


Field Replaceable Unit Information
Table 161. Field Replaceable Unit (FRU) Information

Field                                                 Description
System Name                                           Displays the unique name of the system that identifies it on the
                                                      network.

System Type                                           Displays the model name of the system. For example,
                                                      PowerEdge R710.

Service Tag                                           Displays the unique identifier assigned to the system.

FRU Device Name                                       Displays the standard FRU name assigned to the device.

FRU Manufacturer                                      Displays the name of the FRU manufacturer.

FRU Serial Number                                     Displays the manufacturer specified identification number of the
                                                      FRU.

FRU Part Number                                       Displays the industry specific number that differentiates the
                                                      type of FRU.


Hard Drive Information
Table 162. Hard Drive Information

Field                                                 Description
System Name                                           Displays the unique name of the system that identifies it on the
                                                      network.

System Type                                           Displays the model name of the system. For example,
                                                      PowerEdge R710.

Service Tag                                           Displays the unique identifier assigned to the system.

Enclosure ID                                          Displays the enclosure ID is assigned to the enclosure by
                                                      Storage Management. Storage Management numbers the
                                                      enclosures attached to the controller starting with zero.

Description                                           Displays the description of the media.

Channel                                               Displays the number of channels.

Target ID                                             Displays the SCSI ID of the backplane (internal to the server) or
                                                      the enclosure to which the controller connector is attached. The
                                                      value is usually 6.

LUN ID                                                Displays the LUN ID. In computer storage, a logical unit number
                                                      or LUN number used to identify a logical unit, which is a device




234
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 236 of 388


Field                                                          Description
                                                               addressed by the SCSI protocol or similar protocols such as
                                                               Fibre Channel or iSCSI.

Size (GB)                                                      Displays the size of the hard drive in GB.

Bus Type                                                       Displays the type of bus connection used. A bus, in computing,
                                                               is an information pathway between components of a system.

Serial Number                                                  Displays the roll number assigned to the device by the
                                                               manufacturer.

Revision                                                       Displays the revision history of the hard drive.

Media Type                                                     Displays the type of media. For example, HDD.

Vendor                                                         Displays the name of the organization that supplies the hard
                                                               drive.

Model Number                                                   Displays the model number of the physical device.

Part Number                                                    Displays the unique number associated with a drives and drive
                                                               capacity of a specific OEM vendor.

Remaining Rated Write Endurance                                Displays the wear-out level or remaining life of the Solid State
                                                               Drive (SSD) connected to a PERC in % units. If the drive does
                                                               not support this property, it displays Not Applicable.

Supported Encryption Types                                     Displays the list of hard drives that are encryption capable. It
                                                               displays:

                                                               •   Self Encrypting Drive (SED): If the hard drive is encryption
                                                                   capable.
                                                               •   None: If the drive is not encryption capable.
                                                               •   Not Available (N/A): If the data cannot be retrieved from
                                                                   the inventory.

                                                                     NOTE: This feature is only available for iDRAC devices
                                                                     using WS-MAN protocol and OMSA devices using
                                                                     SNMP protocol.


iDRAC Performance Minimum or Maximum
        NOTE: The iDRAC Performance Minimum/Maximum report provides information for Dell’s 13th generation or later
        PowerEdge servers only.
Table 163. iDRAC Performance Minimum/Maximum

Field                                                          Description
System Name                                                    Displays the host name of the system.

System Type                                                    Displays the model name of the system. For example,
                                                               PowerEdge R710.

Service Tag                                                    Displays the unique identifier assigned to the system.

Attribute                                                      Displays the name of the performance attribute that is reported.

Last Hour (%)                                                  Displays the usage level of the attribute in the last hour.




                                                                                                                                  235
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 237 of 388


Field                                                          Description
Last Hour Time Stamp                                           Displays the time at which the usage level was reported in the
                                                               last hour.

Last Day (%)                                                   Displays the usage level of the attribute in the last day.

Last Day Time Stamp                                            Displays the time at which the usage level was reported in the
                                                               last day.

Last Week (%)                                                  Displays the usage level of the attribute in the last week.

Last Week Time Stamp                                           Displays the time at which the usage level was reported in the
                                                               last week.


iDRAC Performance Average or Peak
        NOTE: The iDRAC Performance Average/Peak report provides information for Dell’s 13th generation or later PowerEdge
        servers only.
Table 164. iDRAC Performance Average/Peak

Field                                                          Description
System Name                                                    Displays the host name of the system.

System Type                                                    Displays the model name of the system. For example,
                                                               PowerEdge R710.

Service Tag                                                    Displays the unique identifier assigned to the system.

Attribute                                                      Displays the performance attribute that is reported.

Average Last Hour (%)                                          Displays the average usage level of the attribute in the last hour.

Average Last Day (%)                                           Displays the average usage level of the attribute in the last day.

Average Last Week (%)                                          Displays the average usage level of the attribute in the last
                                                               week.

Peak Time Stamp                                                Displays the time at which the peak usage level was reported in
                                                               the last week.


Memory Information
Table 165. Memory Information

Field                                                          Description
System Name                                                    Displays the unique name of the system that identifies it on the
                                                               network.

System Type                                                    Displays the model name of the system. For example,
                                                               PowerEdge R710.

Service Tag                                                    Displays the unique identifier assigned to the system.

Name                                                           Displays the named assigned to the device by the manufacturer.
                                                               For example, DIMMI_A.

Size (MB)                                                      Displays the size of the memory device in GB.

Memory Device Type                                             Displays the type of the memory device. For example, DDR3.




236
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 238 of 388


Field                                       Description
Memory Device Type Details                  Displays details about the memory device type.

Memory Device Manufacturer                  Displays the name of the device manufacturer.

Memory Device Part Number                   Displays the industry specific number assigned to the device.

Memory Device Serial Number                 Displays the roll number assigned to the device by the
                                            manufacturer.


Modular Enclosure Information
Table 166. Modular Enclosure Information

Field                                       Description
Enclosure Model Type                        Displays the model name of the enclosure. For example,
                                            PowerEdge M1000e.

Slot                                        Displays the slot number on the enclosure.

Subslot                                     Displays the sub slot name.

Slot Name                                   Displays the slot name of the enclosure.

Slot Content                                Displays whether the slot is available or occupied in the modular
                                            enclosure.

Firmware Version                            Displays the firmware version installed on the enclosure.

Enclosure Service Tag                       Displays the unique identifier assigned to the enclosure.

Enclosure Name                              Displays the unique enclosure name that identifies it on the
                                            network.

Blade Model Type                            The model name of the blade server. For example, PowerEdge
                                            M710.

Blade Service Tag                           Displays the unique identifier assigned to the blade server.

Blade Host Name                             Displays the host name of the blade server.

Blade OS                                    Displays the operating system installed on the blade server.


NIC Information
Table 167. NIC Information

Field                                       Description
System Name                                 Displays the unique name of the system that identifies it on the
                                            network.

System Type                                 Displays the model name of the system. For example,
                                            PowerEdge R710.

IPv4 Address                                Displays the unique IPv4 address assigned to the NIC device.

IPv6 Address                                Displays the unique IPv6 address assigned to the NIC device.

MAC Address                                 Displays the unique Media Access Control address (MAC
                                            address) identifier assigned to network interfaces for
                                            communications on the physical network segment.



                                                                                                            237
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 239 of 388


Field                                      Description
Vendor                                     Displays the name of the NIC supplier.

NIC Description                            Displays information on the NIC device.


PCI Device Information
Table 168. PCI Device Information

Field                                      Description
System Name                                Displays the unique name of the system that identifies it on the
                                           network.

System Type                                Displays the model name of the system. For example,
                                           PowerEdge R710.

Service Tag                                Displays the unique identifier assigned to the system.

Device Card Description                    Displays the type of Peripheral Component Interconnect card
                                           used. For example, 82546GB Gigabit Ethernet Controller.

Device Card Manufacturer                   Displays the manufacturer information.

Device Card Slot Type                      Displays the type of slot on the mother board into which the
                                           card is inserted.


Processor Information
Table 169. Processor Information

Field                                      Description
System Name                                Displays the host name of the system.

System Type                                Displays the model name of the system. For example,
                                           PowerEdge R710.

Service Tag                                Displays the unique identifier assigned to the system.

Family                                     Displays the name of the processor family.

Speed (MHz)                                Displays the speed of the processor in MHz.

Max Speed (MHz)                            Displays the maximum speed of the processor in MHz.

Cores                                      Displays the number of cores in the processor.

Brand                                      Displays the name of the processor manufacturer.

Model                                      Displays the model information of the processor.

Stepping                                   Displays the version of the processor model.

Slot                                       Displays the slot occupied by the processor.

Status                                     Displays the status of the processor.




238
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 240 of 388



Storage Controller Information
Table 170. Storage Controller Information

Field                                                              Description
System Name                                                        Displays the unique name of the system that identifies it on the
                                                                   network. The storage controller is present on this system.

System Type                                                        Displays the model name of the system. For example,
                                                                   PowerEdge R710.

Controller Name                                                    Displays the name of the storage controller. For example, SAS
                                                                   6/iR Integrated.

Vendor                                                             Displays the supplier information. For example, SAS 6/iR
                                                                   Integrated is supplied by Dell.

Controller Type                                                    Displays the type of controller. For example, SAS 6/iR Integrated
                                                                   is of type SAS.

Controller State                                                   Displays the state of the controller. For example, ready to use.


Virtual Disk Information
Table 171. Virtual Disk Information

Field                                                              Description
System Name                                                        Displays the unique name of the system that identifies it on the
                                                                   network.

System Type                                                        Displays the model name of the system. For example,
                                                                   PowerEdge R710.

Service Tag                                                        Displays the unique identifier assigned to the system.

Target ID                                                          Displays the SCSI ID of the backplane (internal to the server) or
                                                                   the enclosure to which the controller connector is attached.

Name                                                               Displays the name of the virtual disk.

Device Name                                                        Displays the name of the device on which the virtual disk is
                                                                   present.

Size (GB)                                                          Displays the size of the virtual disk in GB.

Layout                                                             Displays the RAID level.

Cache Policy                                                       Displays the cache policy used for storage.

Read Policy                                                        Displays the read policy used for storage.

Write Policy                                                       Displays the write policy used for storage.

Strip Size (Bytes)                                                 Displays the size of the stripe in bytes.


Server Configuration Reports
The Server Configuration section contains the following reports:

•   Server Components and Versions



                                                                                                                                      239
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 241 of 388


•   BIOS Configuration
•   iDRAC Network Configuration
•   Device Configuration Compliance
•   Template Association
•   Assigned Identity Attributes
•   All Identity Attributes

Related links
  Server Components and Versions
  BIOS Configuration
  iDRAC Network Configuration
  Device Configuration Compliance
  Baseline Association
  Assigned Identity Attributes
  All Identity Attributes

Server Components and Versions
Table 172. Server Components and Versions

Field                                       Description
System Name                                 Displays the unique name of the system that identifies it on the
                                            network.

System Type                                 Displays the model name of the system. For example,
                                            PowerEdge R710.

Service Tag                                 Displays the unique identifier assigned to the system.

Description                                 Displays the software information.

Software Type                               Displays the type of software that is available on the system. For
                                            example, firmware.

Software Version                            Displays the version number of the software that is available on
                                            the system.


BIOS Configuration
Table 173. BIOS Configuration

Field                                       Description
System Name                                 Displays the unique name of the system that identifies it on the
                                            network.

System Type                                 Displays the model name of the system. For example,
                                            PowerEdge R710.

Service Tag                                 Displays the unique identifier assigned to the system.

Virtualization Technology                   Displays whether the additional hardware capabilities provided
                                            by Virtualization Technology are enabled or disabled.

System Profile                              Displays the selected system profile: Performance Per Watt
                                            (DAPC), Performance Per Watt (OS), Performance, Dense
                                            Configuration, or Custom.

User Accessible USB Ports                   Displays the status of the User Accessible USB Ports option.



240
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 242 of 388


Field                                      Description
Cores per Processor                        Displays the number of cores enabled in each processor.

Node Interleaving                          Displays whether the Node Interleaving option is enabled or
                                           disabled.

Logical Processor                          Displays whether the logical processor option is enabled or
                                           disabled.

Integrated RAID Controller                 Displays whether the integrated RAID controller is enabled or
                                           disabled.

SR-IOV Global Enable                       Displays whether the configuration of Single Root I/O
                                           Virtualization (SR-IOV) devices is enabled or disabled.

Execute Disable                            Displays whether the execute disable memory protection
                                           technology is enabled or disabled.


iDRAC Network Configuration
Table 174. iDRAC Network Configuration

Field                                      Description
System Name                                Displays the unique name of the system that identifies it on the
                                           network.

System Type                                Displays the model name of the system. For example,
                                           PowerEdge R710.

Service Tag                                Displays the unique identifier assigned to the system.

IPMI over Lan                              Displays whether the IPMI over LAN interface option is enabled
                                           or disabled.

IPMI Community                             Displays the SNMP community name for traps.

SSH                                        Displays whether SSH connection is enabled or disabled.

SSH Port                                   Displays the port number used by iDRAC for an SSH
                                           connection.

SSH Timeout                                Displays the duration an SSH connection is allowed to remain
                                           idle.

Telnet                                     Displays whether Telnet connection is enabled or disabled.

Telnet Port                                Displays the port number used by iDRAC for a Telnet
                                           connection.

Telnet Timeout                             Displays the duration a Telnet connection is allowed to remain
                                           idle.




                                                                                                            241
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 243 of 388



Device Configuration Compliance
Table 175. Device Configuration Compliance

Field                                          Description
Compliance Status                              Displays the compliance status of the device to the associated
                                               configuration baseline.

Device Name                                    Displays the unique name of the system that identifies it on the
                                               network.

Service Tag                                    Displays the unique identifier assigned to the system.

Model                                          Displays the model name of the system. For example,
                                               PowerEdge R710.

Compliance Baseline                            Displays the device configuration baseline that is associated to
                                               the device.

Inventory Last Ran                             Displays the date and time the last device configuration
                                               inventory was completed.


Baseline Association
Table 176. Baseline Association

Field                                          Description
System Name                                    Displays the unique name of the system that identifies it on the
                                               network.

System Type                                    Displays the model name of the system. For example,
                                               PowerEdge R710.

Service Tag                                    Displays the unique identifier assigned to the system.

Associated Baseline                            Displays the device configuration baseline associated to the
                                               system.

Related link
  Associating target devices with a baseline

Assigned Identity Attributes
Table 177. Assigned Identity Attributes

Field                                          Description
System Name                                    Displays the unique name of the system that identifies it on the
                                               network.

System Type                                    Displays the model name of the system. For example,
                                               PowerEdge R710.

Service Tag                                    Displays the unique identifier assigned to the system.

Section                                        Displays the component to which the attribute belongs. For
                                               example, NIC, FC, and so on.




242
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 244 of 388


 Field                                                             Description
 Instance                                                          Displays the instance of the component to which the attribute
                                                                   belongs.

 Attribute Name                                                    Displays the name of the attribute.

 Value                                                             Displays the virtual I/O identity assigned or deployed on the
                                                                   system.

 Compute Pool                                                      Displays the name of the compute pool to which the device
                                                                   belongs.

 Virtual I/O Pool                                                  Displays the name of the virtual I/O pool from which the virtual
                                                                   I/O identity is assigned to the system.

 Status                                                            Displays if the system is deployed with virtual I/O identities.

         NOTE: The deployed state of the identity attributes may be redundant if there are duplicate identities generated by
         OpenManage Essentials in the network.

All Identity Attributes
Table 178. All Identity Attributes

 Field                                                             Description
 System Name                                                       Displays the unique name of the system that identifies it on the
                                                                   network.

 System Type                                                       Displays the model name of the system. For example,
                                                                   PowerEdge R710.

 Service Tag                                                       Displays the unique identifier assigned to the system.

 Section                                                           Displays the component to which the attribute belongs. For
                                                                   example, NIC, FC, and so on.

 Instance                                                          Displays the instance of the component to which the attribute
                                                                   belongs.

 Attribute Name                                                    Displays the name of the attribute.

 Value                                                             Displays the virtual I/O identity assigned or deployed on the
                                                                   system.


Warranty and License Reports
The Warranty & License section contains the following reports:

•   Warranty Information
•   License Information

Related links
  Warranty Information
  License Information




                                                                                                                                     243
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 245 of 388



Warranty Information
Table 179. Warranty Information

Field                                       Description
View and Renew Warranty                     Displays a link you can click to open the Dell website from where
                                            you can view and renew the device warranty.

Device Name                                 Displays the unique name of the system that identifies it on the
                                            network. If applicable, the proxy settings must be configured to
                                            retrieve warranty data from Dell.com/support.

Model                                       Displays the model name of the system. For example,
                                            PowerEdge R710.

Device Type                                 Displays the type of device. For example, Server, Remote
                                            Access Controller, and so on.

Service Tag                                 Displays the unique identifier assigned to the system.

Service Level Code                          Displays the service level code such as parts only warranty
                                            (POW), next business day onsite (NBD), and so on for a
                                            particular system.

Warranty Type                               Displays the warranty type. For example, initial, extended, and so
                                            on.

Warranty Description                        Displays the warranty details applicable for the device.

Service Provider                            Displays the name of the organization that will provide the
                                            warranty service support for the device.

Shipped Date                                Displays the date on which the device was sent from the
                                            factory.

Start Date                                  Displays the date from which the warranty is available.

End Date                                    Displays the date on which the warranty will expire.

Days Remaining                              Displays the number of days the warranty is available for the
                                            device.


License Information
Table 180. License Information

Field                                       Description
System Name                                 Displays the unique name of the system that identifies it on the
                                            network.

Model Type                                  Displays the model name of the system. For example,
                                            PowerEdge R710.

License Description                         Displays the level of features enabled in the license.

License Duration                            Displays the duration of the license.

Entitlement ID                              Displays the unique identifier for the license.

Time Remaining                              Displays the days remaining until the license expires.




244
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 246 of 388



Virtualization Reports
The Virtualization section contains the following reports:

•   ESX Information
•   HyperV Information

Related links
  ESX Information
  HyperV Information

ESX Information
Table 181. ESX Information

Field                                                        Description
System Name                                                  Displays the unique name of the system that identifies it on the
                                                             network. The embedded bare-metal product is installed on this
                                                             system.

System Type                                                  Displays the model name of the system. For example,
                                                             PowerEdge R710.

VM Type                                                      Displays the type of embedded bare-metal product installed on
                                                             the system. For example, VMware ESX.

Version                                                      Displays the version of the embedded bare-metal that is
                                                             installed on the system.

Guest Name                                                   Displays the name of the guest virtual machine.

Guest OS Type                                                Displays the operating system that is installed on the virtual
                                                             machine.

Guest Memory Size (MB)                                       Displays the size of the RAM on the virtual machine.

Guest State                                                  Displays whether the virtual machine is powered off or powered
                                                             on.


HyperV Information
Table 182. HyperV Information

Field                                                        Description
System Name                                                  Displays the host name of the system on which the HyperV is
                                                             installed.

System Type                                                  Displays the model name of the system. For example,
                                                             PowerEdge R710.

Guest Name                                                   Displays the name of the guest virtual machine.

Guest Memory Size (MB)                                       Displays the size of the RAM on the virtual machine.

Guest State                                                  Displays whether the virtual machine is powered off or powered
                                                             on.




                                                                                                                              245
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 247 of 388



Asset Reports
The Asset section contains the following reports:

•   Asset Acquisition Information
•   Asset Maintenance Information
•   Asset Support Information
•   Device Location Information

The reports in the Asset section depend on the following:

•   The server must be discovered in-band with SNMP protocol.
•   The asset information must be set in OMSA. To set the asset information in OMSA, go to System → Properties → Asset
    Information.

Related links
  Asset Acquisition Information
  Asset Maintenance Information
  Asset Support Information
  Device Location Information

Asset Acquisition Information
Table 183. Asset Acquisition Information

Field                                                           Description
System Name                                                     Displays the unique name of the system that identifies it on the
                                                                network.

System Type                                                     Displays the model name of the system. For example,
                                                                PowerEdge R710.

Service Tag                                                     Displays the unique identifier assigned to the system.

Purchase Cost                                                   Displays the price the owner paid for the system.

Purchase Date                                                   Displays the date the owner purchased the system.

Way Bill Number                                                 Displays the receipt from the carrier for the goods received.

Purchase Order Number                                           Displays the number of the document that authorized payment
                                                                for the system.

Installation Date                                               Displays the date the system was put to service.

Expensed                                                        Displays whether the system is charged to a specific purpose or
                                                                department such as research and development or sales.

Cost Center                                                     Displays the name or code for the business entity that acquired
                                                                the system.

Signing Authority Name                                          Displays the name of the person who approved the purchase or
                                                                the service call on the system.

Vendor                                                          Displays the business entity that offers service on the system.

Depreciation Duration                                           Displays the number of years or months over which a system is
                                                                depreciated.




246
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 248 of 388


Field                                      Description
Depreciation Duration Unit Type            Displays the unit in months or years.

Depreciation Percentage                    Displays the portion of 100 that an asset is devalued or
                                           depreciated.

Depreciation Method                        Displays the steps and assumptions used to compute the
                                           system's depreciation.

Ownership Code                             Defines the ownership code for this system.

Corporate Owner Name                       Displays the business entity that owns the system.

Insurance Company                          Displays the name of the company that insures the system.


Asset Maintenance Information
Table 184. Asset Maintenance Information

Field                                      Description
System Name                                Displays the unique name of the system that identifies it on the
                                           network.

System Type                                Displays the model name of the system. For example,
                                           PowerEdge R710.

Service Tag                                Displays the unique identifier assigned to the system.

Multiple Schedules                         Displays whether there are multiple schedules for the lease.

Buyout Amount                              Displays the balance purchase price for the system.

Lease Rate Factor                          Displays the rate factor for the lease on the system.

Lease End Date                             Displays the end date for the lease on the system.

Fair Market Value                          Displays the fair market value of the system.

Lessor                                     Displays the name of the lessor of the system.

Maintenance Provider                       Displays the maintenance provider's name.

Maintenance Restrictions                   Displays the maintenance agreement restrictions.

Maintenance Start Date                     Displays the start date for maintenance on this system.

Maintenance End Date                       Displays the end date for maintenance on this system.

Outsourcing Problem Description            Displays the problem encountered with the outsourcing service
                                           provider.

Outsourcing Service Fee                    Displays the amount that the outsourcing vendor charges for
                                           service.

Outsourcing Provider Fee                   Displays any additional outsourcing charge for service.

Outsourcing Provider Service Level         Displays the service level agreement for the system.

Outsourcing Signing Authority              Displays the name of the person who can sign the authorization
                                           for service.




                                                                                                          247
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 249 of 388



Asset Support Information
Table 185. Asset Support Information

Field                                        Description
System Name                                  Displays the unique name of the system that identifies it on the
                                             network.

System Type                                  Displays the model name of the system. For example,
                                             PowerEdge R710.

Service Tag                                  Displays the unique identifier assigned to the system.

Warranty Cost                                Displays the extended warranty cost date for the system.

Warranty Duration                            Displays the duration of the warranty.

Warranty Duration Type                       Displays the warranty duration type for the system.

Warranty End Date                            Displays the warranty end date for the system.

Extended Warranty Cost                       Displays the cost of the warranty for the system.

Extended Warranty Start Date                 Displays the extended warranty start date for the system.

Extended Warranty End Date                   Displays the extended warranty end date for the system.

Extended Warranty Provider Name              Displays the name of the extended warranty provider for the
                                             system.

Contract Renewed                             Displays whether the service contract for the system was
                                             renewed.

Contract Type                                Displays the name of the service contract type for the system.

Contract Vendor                              Displays the name of the service contract provider for the
                                             system.

Outsourced                                   Displays whether the support for the system is outsourced or
                                             not.

Support Type                                 Displays the type of component, system, or network problem
                                             that occurred.

Help Desk                                    Displays the help desk information provided

Automatic Fix                                Displays the method used to fix the problem.


Device Location Information
Table 186. Device Location Information

Field                                        Description
System Name                                  Displays the unique name of the system that identifies it on the
                                             network.

System Type                                  Displays the model name of the system. For example,
                                             PowerEdge R710.

Service Tag                                  Displays the unique identifier assigned to the system.

Location                                     Displays the location of the system.



248
        Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 250 of 388


Field                                     Description
Data Center                               Displays the data center where the system is available.

Room                                      Displays the name of the room where the system is available.

Aisle                                     Displays the aisle where the system is available.

Rack                                      Displays the rack where the system is available.




                                                                                                         249
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 251 of 388




                                                                                                                                15
Viewing warranty reports
Warranty information is available for devices with valid Service Tags, including clients, servers, switches, storage, and so on. Warranty
information is automatically retrieved at the time devices are discovered.
The Warranty Information report is unique among OpenManage Essentials reports as it requires Internet access to pull warranty
information from the warranty database. If you do not have internet access, no warranty information is populated. It is downloaded
the next time you connect to the internet and open the Warranty Report.
      NOTE: The warranty information (including expired and renewed) displayed in OpenManage Essentials for a particular
      Service Tag, may not match with the warranty record displayed at Dell.com/support. The service level code and model
      name of a warranty record displayed at Dell.com/support may not exactly match with the OpenManage Essentials
      warranty report.


Extending warranty
To extend support for the devices, click View and Renew Warranty in the Reports → Warranty Information page. This opens the
warranty site. You must log in to the warranty site with your company account to see all the devices and their warranty information.




250
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 252 of 388




                                                                                                                                16
Managing alerts
       NOTE: You can receive alert notifications from OpenManage Essentials on your Android or iOS device by installing and
       setting up the OpenManage Mobile application. For more information, see OpenManage Mobile Settings and the
       OpenManage Mobile User’s Guide at Dell.com/OpenManageManuals.
With OpenManage Essentials you can:

•   View alerts and alert categories
•   Manage alert actions
•   Configure alert log settings
•   Manage MIB files
•   Manage traps

Viewing alerts and alert categories
To view the alerts page, from OpenManage Essentials, click Manage → Alerts.
       NOTE: Alerts for deleted devices are not displayed in the console. However, these alerts are not deleted from the
       database until the purge limits are reached.

Viewing alert logs
To view alert logs, click Manage → Alerts → Alert Logs.

Understanding alert types
Table 187. Alert types

Icon                                     Alert                                       Description
                                         Normal Alerts                               An event from a server or a device that
                                                                                     describes the successful operation of a
Figure 29. Normal alert icon                                                         unit, such as a power supply turning on or a
                                                                                     sensor reading returning to normal.
                                         Warning Alerts                              An event that is not necessarily significant,
                                                                                     but may indicate a possible future problem,
Figure 30. Warning alert icon                                                        such as crossing a warning threshold.

                                         Critical Alerts                             A significant event that indicates actual or
                                                                                     imminent loss of data or loss of function,
Figure 31. Critical alert icon                                                       such as crossing a failure threshold or a
                                                                                     hardware failure.
                                         Unknown Alerts                              An event has occurred but there is
                                                                                     insufficient information to classify it.
Figure 32. Unknown alert icon

                                         Information Alerts                          Provides information only.

Figure 33. Information alert icon




                                                                                                                                 251
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 253 of 388



Viewing internal alerts
Before viewing internal alerts, ensure that you enable internal health alerts in the Alert Settings of the Settings tab. See Alert
Settings.
To view internal alerts, click Manage → Alerts → Alert Logs → All Internal Alerts.
The All Internal Alerts filter is a reference to the internal alerts that OpenManage Essentials generates when a change occurs in the
global health or connection status of a managed device.

Viewing alert categories
To view alert categories, click Manage → Alerts → Alert Categories.
The predefined alert categories are listed in alphabetical order.

Viewing alert source details
To view an alert category, in the alert categories list, expand an alert category, and then select an alert source.
        NOTE: You cannot create a new event source.

For example, expand Environmental alert category and then select the alertCoolingDeviceFailure alert source.

Alert source values and descriptions for alertCoolingDeviceFailure
Table 188. Alert source values and descriptions for alertCoolingDeviceFailure

 Field Name                                 Value                                           Description
 Name                                       alertCoolingDeviceFailure
 Type                                       SNMP                                            An SNMP alert based source.
 Catalog                                    MIB — 10892
 Severity                                   Critical                                        If this alert is received, then the system is in
                                                                                            critical state and immediate action is
                                                                                            required.
 Format String                              $3
 SNMP Enterprise OID                        .1.3.6.1.4.1.674.10892.1
 SNMP Generic Trap OID                      6
 SNMP Specific Trap OID                     1104


Viewing previously configured alert actions
This section provides instructions to view previously configured alert actions.

Viewing application launch alert action
1.    Select Manage → Alerts → Alert Actions.
2.    In Alert Actions, select Application Launch.

Viewing email alert action
1.    Select Manage → Alerts → Alert Actions.
2.    In Alert Actions, select Email.




252
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 254 of 388



Viewing alert ignore action
1.   Select Manage → Alerts → Alert Actions.
2.   In Alert Actions, select Ignore.

Viewing alert trap forward action
1.   Select Manage → Alerts → Alert Actions.
2.   In Alert Actions, select Trap Forwarding.


Handling alerts
Flagging an alert
After you have completed action on an alert, flag the alert as acknowledged. Acknowledging an alert indicates it is resolved or does
not require further action as a reminder to yourself. To acknowledge alerts:

1.   Select Manage → Alerts → Alert Logs.
2.   Click the alert you want to acknowledge.
           NOTE: You can acknowledge multiple alerts simultaneously. Use <Ctrl> or <Shift> to select multiple alerts.
3.   Right-click and click Acknowledge → Set → Selected Alerts or Filtered Alerts.
     If you choose Selected Alerts, the highlighted alerts are acknowledged.
     If you choose Filtered Alerts, all alerts in the current filter/view are acknowledged.

Creating and editing a new view
To personalize the way you view alerts, create a new view or modify an existing view. To create a new view:

1.   Click Manage → Alerts → Common Tasks → New Alert View Filter.
2.   In Name and Severity Association, enter a name for the new filter, and then check one or more severities. Click Next.
3.   In Categories and Sources Association, assign the alert category or source to which you want to associate with this view filter
     and click Next.
4.   In Device Association, create query for searching devices or assign the device or device groups, which you want to associate to
     this view filter and then click Next.
5.   (Optional) By default the alert view filter is always active. To limit activity, in Date Time Association, enter a date range, time
     range, or days, and then click Next.
6.   (Optional) In Acknowledged Association, set duration when this alert action is active, and then click Next. The default is always
     active.
7.   In Summary, review inputs and click Finish.


Configuring alert actions
Alert actions occur on all alerts received by the OpenManage Essentials console. The alert is received and processed by the
OpenManage Essentials console whether or not OpenManage Essentials has discovered the device so long as OpenManage
Essentials is listed in the device's SNMP trap forward destinations list. To prevent this, remove OpenManage Essentials from the
SNMP trap forward destinations list on the device.

Setting up email notifications
You can create email notifications when an alert is received. For example, an email is sent if a critical temperature alert is received
from a server.




                                                                                                                                          253
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 255 of 388


To configure an email notification when alerts are received:

1.    Select Manage → Alerts → Common Tasks → New Alert Email Action.
2.    In Name and Description, provide email alert action name and description and then click Next.
3.    In E-mail Configuration, do the following and then click Next.
      a. Provide email information for the To: and From: recipients and provide the substitution information. Separate each recipient
         or distribution list with a semi-colon.
      b. Customize the email message format with any of the following substitution parameters:

         •    $n = Device
         •    $ip = Device IP
         •    $m = Message
         •    $d = Date
         •    $t = Time
         •    $sev = Severity
         •    $st = Service Tag
         •    $r = Recommended Resolution
         •    $e = Enterprise OID
         •    $sp = Specific Trap OID
         •    $g = Generic Trap OID
         •    $cn = Alert Category Name
         •    $sn = Alert Source Name
         •    $pkn = Package Name
         •    $at = Asset Tag
         •    $loc = Device Location
         • $mod = Model Name
      c. Click Email Settings and provide SMTP server name or IP Address, to test email settings and click OK.
      d. Click Test Action to send test email.
4.    In Severity Association, assign the alert severity to which you want to associate this email alert and then click Next.
5.    In Categories and Sources Association, assign the alert categories or alert sources to which you want to associate this email
      alert and then click Next.
6.    In Device Association, assign the device or device groups to which you want to associate this email alert and then click Next.
7.    By default the Email Notification is always active. To limit activity, in Date Time Association, enter a date range, time range, or
      days, and then click Next.
8.    In Summary, review the inputs and click Finish.

Related links
  Alert Logs
  Alert Logs Fields
  Alert Log Settings
  Severity

Ignoring alerts
Sometimes you will receive alerts you might want to ignore. For example, you may want to ignore multiple alerts generated when
Send authentication trap is selected within the SNMP service on the managed node.
       NOTE: You can ignore all alerts from a particular device by using the Ignore All Alerts from Device option available when
       you right-click either a device on the device tree or an alert in the Alerts portal.
To ignore an alert:

1.    From OpenManage Essentials, select Manage → Alerts → Common Tasks → New Alert Ignore Action.
2.    In Name and severity Association, provide a name, assign the alert severity to which you want to associate this ignore alert
      action, and then click Next.


254
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 256 of 388


3.    In Categories and Sources Association, assign the alert categories source to which you want to associate this alert ignore
      action and then click Next.
4.    In Device Association, assign the device or device groups to which you want to associate this alert ignore action and then click
      Next.
5.    By default the Ignore Alert is always active. To limit activity, in Date Time Association, enter a date range, time range, or days,
      and then click Next.
6.    In Duplicate Alert Correlation, select yes to exclude duplicate alerts received within the set time limit, and then click Next.
7.    In Summary, review inputs and click Finish.

Running a custom script
In response to a specific alert received, you can run custom scripts or launch a specific application. This file must be present on the
OpenManage Essentials service tier system (where OpenManage Essentials is installed) and not on the client browser system. For
example:
•    If you receive a temperature warning, you can use a custom script to create an incident ticket for your internal Help Desk.
•    If you receive an MD Array storage alert, you can launch the Modular Disk Storage Manager (MDSM) application to view the
     status of the array.

Creating a custom script
1.    Select Manage → Alerts → Alert Actions.
2.    In Alert Actions, right-click Application Launch and select New Alert Application Launch Action.
3.    In Name and Description, provide an application launch name and description and then click Next.
4.    In Application Launch Configuration, provide an executable name (provide an absolute file path, for example, C:\ProgramFiles
      \Dell\Application.exe) and provide the substitution information, and then click Next.
5.    In Severity Association, assign the alert severity to which you want to associate this alert application launch and then click
      Next.
6.    In Categories and Sources Association, assign the alert categories or alert sources to which you want to associate this alert
      application launch and then click Next.
7.    In Device Association, assign the device or device groups to which you want to associate this alert application launch and then
      click Next.
8.    By default the Application Launch Action is always active. To limit activity, in Date Time Association, enter a date range, time
      range, or days, and then click Next.
9.    In Summary, review inputs and click Finish.

Related links
  Alert Logs
  Alert Logs Fields
  Alert Log Settings
  Severity

Forwarding alerts
You may want to consolidate alerts from multiple management stations to one management station. For example, you have
management stations in multiple locations and you want to view status and take action from one central location. For information
about the behavior of forwarded alerts, see Forwarding Alerts Use Case.
To create alert forwards:

1.    Select Manage → Alerts → Common Tasks → New Alert Trap Forward Action.
2.    In Name and Description, provide Trap Forward name and description and then click Next.
3.    In Trap Forwarding Configuration, provide destination host name or IP address, provide community information, to send a test
      trap to the destination management station, click Test Action. To forward the trap in the same format to the configured
      destination, click Forward Trap in Original Format and click Next.
4.    In Severity Association, assign the alert severity to which you want to associate this trap forwarding alert and then click Next.
5.    In Categories and Sources Association, assign the alert categories source to which you want to associate this trap forwarding
      alert and then click Next.


                                                                                                                                        255
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 257 of 388


6.    In Device Association, assign the device or device groups to which you want to associate this trap forwarding alert and then
      click Next.
7.    By default the Trap Forward Action is always active. To limit activity, in Date Time Association, enter a date range, time range,
      or days, and then click Next.
8.    In Summary, review inputs and click Finish.
      The severity status for any trap is set to normal and for a successful alert action, combination of severity, category, and device
      has to confer with the selections in the preceding steps.

Forwarding alerts use case scenarios
This section describes scenarios about forwarding alerts using the SNMP v1 and SNMP v2 protocols. The scenarios consists of the
following components:

•    Managed node with an SNMP v1 agent, referred to as MNv1
•    Managed node with an SNMP v2/v2c agent, referred to as MNv2
•    Managed station 1 with OpenManage Essentials, referred to as MS1
•    Managed station 2 with OpenManage Essentials, referred to as MS2
•    Managed station 3 with a third-party software, referred to as MS3

Scenario 1 — Forwarding Alerts in the Original Format Using SNMP v1 Protocol
In this scenario, SNMP v1 alerts are sent from MNv1 to MS1 and then forwarded from MS1 to MS2. If you try to retrieve the remote
host of the forwarded alert, it displays the name of MNv1 as the alert originates from MNv1. MNv1 is displayed because the SNMP
v1 alert standards allow you to set the agent name in the SNMP v1 alert.

Scenario 2 — Forwarding Alerts in the Original Format Using SNMP v2/v2c Protocol
In this scenario, SNMP v2 alerts are sent from MNv2 to MS1 and then forwarded from MS1 to MS3. If you try to retrieve the remote
host of the forwarded alert from MS3, it is displayed as MS1
Since there are no fields in an SNMP v2 alert to specify the agent name, the host which sends the alert is assumed as the agent.
When an SNMP v2 alert is forwarded from MS1 to MS3, MS1 is considered as the source of problem. To resolve this issue, while
forwarding SNMP v2 or v2c alerts, a varbind is added with OID as .1.3.6.1.6.3.18.1.3.0 with the variable value as Agent Address. This
has been set based on the standard OID specified in RFC2576-MIB. When you try to retrieve the Agent Address from MS3, it is
displayed as MNv2

        NOTE: If the SNMP v2 alert is forwarded from MS1 to MS2, the remote host is displayed as MNv2 because MS1 parses
        the extra OID along with the forwarded trap.

Scenario 3 — Forwarding Alerts in the OMEssentials Format Using Either SNMP v1/v2 Protocol
In this scenario, SNMP v1 alerts are sent from MNv1 to MS1 and then forwarded to MS2. If you try to retrieve the remote host of
the forwarded alert, it is displayed as MS1. The severity and the message of the alert is also defined by MS1 and does not display the
original severity and message defined by MNv1.

        NOTE: The same behavior applies for SNMPv2 traps.


Working with sample alert action use cases
Sample alert actions are available for the Application Launch, E-mail, Ignore, and Trap Forwarding alert actions. Sample alert action
use cases are disabled by default.
To enable a sample use case, right-click the use case and select Enable.

Use cases in alert actions
Application Launch
Sample - Run Script on Server Critical Alert—Enable this use case to run a custom script when a critical alert is received.
Email




256
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 258 of 388


•    Sample - Email Alerts to Service Desk—Enable this use case to send an e-mail to the service desk account from the
     OpenManage Essentials server when an alert criteria is matched.
•    Sample - Email Critical Server Alerts to Admin—Enable this use case to send an e-mail to an administrator from the
     OpenManage Essentials server when an alert criteria is matched.

Ignore

•    Sample - Ignore Alerts During Maintenance Window—Enable this use case to ignore alerts during a specified time interval.
•    Sample - Ignore Duplicate Alerts with 15s—Enable this use case to ignore duplicate alerts from the same system.
•    Sample - Ignore Non-Critical Alerts from Printers—Enable this use case to ignore non-critical alerts related to printers.

Trap Forwarding
Sample - Forward Critical Server Alerts to Other Monitoring Console—Enable this use case to forward SNMP alerts another
monitoring console.


Configuring alert log settings
You can configure alert log settings to set the maximum size of alert logs; to generate a warning alert when the alert log reaches a
set threshold, and to purge the alert logs. To modify the default settings:

1.    Select Manage → Alerts → Common Tasks → Alert Log Settings.
      Alert Log Settings window is displayed.
2.    Enter a value or use the increment/decrement arrow buttons to increase or decrease the value of the following fields:
      a. Maximum size of Alert Logs
      b. Log a warning when the Alert Log size reaches
      c. When the Alert Logs reach the Maximum size, purge
            NOTE: The default maximum size of alert logs is 40,000 alerts. Once that value is reached, the older alerts are
            purged.
3.    Select Save purged Alerts to save the purged alert logs in .csv format.
4.    Enter the Purged Alerts Location.
5.    Click Finish.
      The Alert Log Settings are configured and the specified Alert Logs are purged when the Maximum size is reached. The status of
      Alert Logs purging task is shown under Logs → Application Logs.


Renaming alert categories and alert sources
1.    Click Manage → Alerts → Alert Categories.
2.    In Alert Categories, right-click any of the alert categories (under the Alert Category heading in the left pane) and select
      Rename.
3.    Provide a name for the alert category and click OK.


Alert pop-up notifications
The alert pop-up notification is displayed in the bottom-right corner of the OpenManage Essentials console when a Critical or
Warning alert is received. The information displayed in the alert pop-up notification varies based on the number of alerts received.
If only one alert is received, the following information is displayed:

•    Alert type — Warning or Critical.
•    Name of the device that generated the alert.
•    Alert description.
•    View Alert — To view the Alert Details window.
•    Go to Device — To navigate to the device in the device tree.
•    Disable — To disable alert pop-up notifications.



                                                                                                                                    257
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 259 of 388


If more than one alert is received, the following information is displayed:

•    Alert type and frequency.
•    Name of each device as a link to navigate to the device in the device tree.
             NOTE: The device link is displayed only for the first three alerts.
•    View Alerts — To view the All Recent Warning and Critical Alerts window.
•    Go to Alert Console — To navigate to the Alerts portal.
•    Disable — To disable alert pop-up notifications.

By default, the alert pop-up notification is enabled. You can configure OpenManage Essentials to disable alert pop-up notifications or
set the time interval between each alert pop-up notification.
          NOTE: The Alert Pop-up Notification Settings is user-specific. The settings you have configured is not applicable to
          other users.
Related links
  Configuring alert pop-up notifications
  Enabling or disabling alert pop-up notifications

Configuring alert pop-up notifications
1.    Click Settings → Alert Settings.
      The Alert Settings page is displayed.
2.    Under Alert Popup Notification Settings, select or clear Enable Alert Popup Notifications to enable or disable alert pop-up
      notifications.
3.    In the seconds between popup notifications box, select the time interval between each pop-up notification.
4.    Click Apply.

Related link
  Alert pop-up notifications

Enabling or disabling alert pop-up notifications
To enable or disable alert pop-up notifications:
          NOTE: To quickly disable alert pop-up notifications, click the Disable link displayed in the alert pop-up notification. When
          the Disable Alert Popup Notifications prompt is displayed, click Yes.

1.    Click Settings → Alert Settings.
      The Alert Settings page is displayed.
2.    In Alert Popup Notification Settings:

      •     Select the Enable Alert Popup Notifications option to enable alert pop-up notifications when a Warning or Critical alert is
            received.
      •     Clear the Enable Alert Popup Notifications option to disable alert pop-up notifications.
3.    Click Apply.

Related link
  Alert pop-up notifications


Managing MIB files
OpenManage Essentials provides support for formatting hardware alerts (SNMP traps) for most enterprise devices. If you have non-
Dell devices, you can use the Alerts portal to define new alerts for OpenManage Essentials. Defining alerts allows OpenManage
Essentials to monitor a wider range of hardware and set up email and forwarding rules for these devices.
The Alerts portal allows you to extract trap definitions from SMIv1 or SMIv2 management information base (MIB) files. The
extracted traps can be viewed and edited before importing them to OpenManage Essentials. This utility also allows you to manually



258
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 260 of 388


define and manage traps. Using the imported and manually-managed trap definitions, OpenManage Essentials properly classifies the
incoming trap from a specific device.
     NOTE: Importing traps portal is optional and only needed for formatting alerts from non-Dell devices.


About importing MIBs
Use case scenario: As an administrator you want to monitor (listen and classify incoming traps) a device that is not supported by
OpenManage Essentials.
Solution: Verify whether the device supports SNMP protocol. If the device supports SNMP protocol, ensure that the service is
running and the trap destination points to the OpenManage Essentials-based system. For unsupported device traps, define the traps
in OpenManage Essentials by importing the trap definitions using the Alerts portal. The following table provides information about
traps before and after they are imported to the OpenManage Essentials database.
Table 189. Importing MIBs

Feature                                       Before Importing the MIB to the                 After Importing the MIB to the
                                              OpenManage Essentials Database                  OpenManage Essentials Database
Can I see traps coming from the device in     Yes                                             Yes
the OpenManage Essentials alerts portal?

Will traps have a severity value?             No, the severity is unknown.                    Yes

Will traps have a valid name?                 No, the name is unknown.                        Yes, the trap name is defined in the MIB.

Will traps have a valid event category        No, the event category name is unknown.         Yes, a new category is created by default.
name?

Will traps have a description?                Yes, all the description details are present.   Yes, the description is present in the
                                              However, the details are not formatted.         format defined while importing the trap.

Will the trap display the trap variable       Yes                                             Yes (by default), provided the format
values?                                                                                       string values are not removed prior to
                                                                                              importing the traps to OpenManage
                                                                                              Essentials.

Will the trap display the Enterprise object   Yes                                             Yes
identifier (OID), Specific OID, and Generic
OID?

Will the trap display additional trap         Yes, however, the details are not               Yes
variables which can be used for               formatted.
debugging?

Will the trap display the host name or IP     Yes                                             Yes
address of the device?

Can I use traps in various alert actions to   Yes, but the features are limited. Rules        Yes, the traps are defined so all the alert
forward the trap to another management        specific to severity, event category, event     actions are supported based on the trap
console, execute a task, or filter the        name, and so on are not possible.               name, category, severity, and so on.
unwanted traps?

Can I perform various UI actions              Yes                                             Yes
(acknowledge, delete, and so on) on the
traps?

Will purging of alerts work on the traps?     Yes                                             No




                                                                                                                                        259
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 261 of 388



Importing MIBs
Before you begin, ensure that you are logged in with OmeAdministrator privileges.

1.    Click Manage → Alerts → Manage MIBs.
2.    In Manage MIBs, click Import MIB.
3.    In Select files for upload, click Browse.

      a.   Select the MIB files that you want to import.
      b. Click Open.
4.    From the Select a MIB File list, select a MIB file and then click Parse MIB.
      The trap data appears in a grid format.
5.    Click Import Traps to import traps into the OpenManage Essentials database.

Removing MIBs from OpenManage Essentials
Removing MIBs from OpenManage Essentials impacts the associated alert actions and existing alerts in the console.
Before you begin, ensure that you are logged in with OmeAdministrator privileges.

1.    Click Manage → Alerts → Manage MIBs.
2.    In Manage MIBs, click Remove MIB.
3.    Select the MIBs in the Imported MIBs.
4.    Click Remove MIB.


Managing traps
Customizing trap definitions
The Custom Trap Definitions view enables you to add trap definitions to the OpenManage Essentials database. You can add a new
trap definition or search unknown traps received in OpenManage Essentials, define the trap details and add the trap.
       NOTE: When you use the Unknown Traps button to add unknown traps received in OpenManage Essentials, the
       Enterprise OID, Generic ID and Specific ID fields are automatically populated.
Before you begin, ensure that you are logged in with OmeAdministrator privileges.
To add traps:

1.    Click Manage → Alerts → Manage Traps.
2.    In Manage Traps, click Custom Trap Definitions.
      The Custom Trap Definitions view is displayed.
3.    If you want to add a new trap definition:
      a. In the Category Name list, select an existing category or type a new category name.
      b. Provide the Trap Name, Description, Enterprise OID, Specific ID, and Format String.
      c. In the Severity list, select a severity level for the trap.
4.    If you want to add an unknown trap received in OpenManage Essentials:
      a. Click Search Unknown Traps.
         The Unknown Traps in OpenManage Essentials window is displayed.
      b. Select an unknown trap you want to define and add and click OK.
         The Enterprise OID, Generic ID and Specific ID fields are populated automatically based on the selected unknown trap.
      c. In the Category Name list, select either an existing category or type a new category name.
      d. Provide the Trap Name, Description, and Format String.
      e. In the Severity list, select a severity level for the trap.
5.    Click Add Trap.
      The trap details you provided are displayed in the User-defined Traps grid.



260
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 262 of 388



Deleting traps
The Custom Trap Definitions view also enables you to delete user-defined traps. Traps that are pre-defined in OpenManage
Essentials cannot be deleted.
Before you begin, ensure that you are logged in with OmeAdministrator privileges.
To delete traps:

1.   Click Manage → Alerts → Manage Traps.
2.   In Manage Traps, click Custom Trap Definitions.
3.   In the User Defined Traps grid, select the traps you want to delete.
     The selected traps are highlighted
4.   Click Delete Trap.
     The confirmation dialog box is displayed.
5.   Click Yes.

Resetting built-in trap definitions
The Reset Built-in Trap Definitions view enables you to reset a pre-defined OpenManage Essentials trap that you edited earlier.
Before you begin, ensure that you are logged in with OmeAdministrator privileges.
To revert traps:

1.   Click Manage → Alerts → Manage Traps.
2.   In Manage Traps, click Reset Built-in Trap Definitions.
     The Revert Trap view displays all the pre-defined trap definitions that you edited.
3.   In the Edited Traps grid, select the traps you want to revert and click Revert Traps.
     The confirmation dialog box is displayed.
4.   Click Yes.

Configuring SNMPv3 traps
The latest version of OpenManage Essentials supports SNMPv3 traps. The SNMPv3 traps offer enhanced security than V1/V2c
notifications. The Windows trap service is disabled when SNMPv3 traps is selected. For more information, see Alert Settings.
To configure SNMPv3 traps:

1.   Select Manage → Alerts → Common Tasks → SNMP V3 Trap Configuration.
     SNMP V3 Trap Configuration window is displayed.

           NOTE: The SNMPv3 trap configuration details are automatically populated for the devices discovered using the
           SNMPv3 protocol. To receive the SNMPv3 traps, enable SNMPv3 trap listener under Settings → Alert Settings.
2.   Enter the details in the following columns for the devices discovered using SNMP V1/V2c or WSMAN protocols:
           NOTE: The details in the SNMP V3 Trap Configuration window can be edited only if Support V1/V2c/V3 Traps is
           selected under Alert Settings → SNMP Listener Settings. If Support V1/V2c is selected, then you can view the
           details only.
     a.   Username
     b.   Authentication Protocol
     c.   Authentication Password
     d.   Encryption Protocol
     e.   Encryption Password
3.   To configure the SNMPv3 trap manually:
     a. Click Add New.
        SNMP V3 Trap Configuration window is displayed.
     b. Enter the details in the following fields:




                                                                                                                                  261
               Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 263 of 388


           •    Agent IP Address
           •    Engine ID
         • Username
      c. Select the Authentication Protocol from the list.
                  NOTE: SHA1 is the authentication protocol selected by default.
      d. Enter the Authentication Password.
      e. Select the Encryption Protocol from the list.
                  NOTE: AES is the encryption protocol selected by default.

                  NOTE: If the Authentication Protocol is set to None, then the authentication and encryption options are disabled.
      f.   Click OK.
           The configured SNMPv3 trap profile is displayed in the SNMP V3 Trap Configuration window.
4.    Alternatively, to import the .csv file containing the credentials:
      a. Click Export to generate a sample .csv file.
      b. Save the file to your system, and populate the Agent IP Address, Engine ID, Username, Authentication Protocol,
         Authentication Password, Encryption Protocol, and Encryption Password fields in the .csv file.
      c. Click Import to import the .csv file.
           The imported credentials are displayed in the SNMP V3 Trap Configuration window.




262
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 264 of 388




                                                                                                                        17
Alerts — Reference
This page provides the following information:

•   Common Tasks

    – Alert Log Settings
    – New Alert View Filter
    – New Alert Application Launch Action
    – New Alert Email Action
    – New Alert Ignore Action
    – New Alert Trap Forward Action
    – SNMP V3 Trap Configuration
•   Alert Logs

    – Alert View Filters

        ◦   All Alerts
        ◦   All Internal Alerts
        ◦   Critical Alerts
        ◦   Info Alerts
        ◦   Normal Alerts
        ◦   Unknown Alerts
        ◦   Warning Alerts
•   Alert Actions

    – Application Launch
    – E-mail
    – Ignore
    – Trap Forwarding
•   Alert Categories
•   Manage MIBs
•   Manage Traps


Alert Logs
You can view alerts from Alerts Logs. The Alert Logs allow you to view all alerts filtered by the active view filter.
The criteria for matching the alerts in the view filter include:

•   Alert severity. See Severity.
•   Alert category or source. See Category and Sources Association.
•   Alert device or device group source. See Device Association.
•   Alert date, time, or day of week. See Date and Time Range.
•   Alert acknowledged flag. See Acknowledgement.




                                                                                                                        263
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 265 of 388


Related links
  Configuring alert log settings
  Configuring alert actions
  Setting up email notifications
  Creating a custom script
  Alert Logs Fields
  Alert Log Settings
  Severity

Predefined Alert View Filters
The following table lists the predefined alert view filters.
Table 190. Predefined Alert View Filters

 Field                                                             Description
 All Alerts                                                        Select to view all the alerts.
 Critical Alerts                                                   Select to view all the systems that are critical.
 Info Alerts                                                       Select to view informational alerts.
 Normal Alerts                                                     Select to view normal alerts.
 Unknown Alerts                                                    Select to view alerts that OpenManage Essentials cannot
                                                                   categorize.
 Warning Alerts                                                    Select to view all the warnings.

Select Continuous Updates to enable the user interface to update automatically when new alerts are received.

Alert Logs Fields
Table 191. Alert Logs Fields

 Field                                                             Description
 Severity                                                          The alert severity
 Acknowledged                                                      Whether the alert has been acknowledged or not by the user.
 Time                                                              The date and time the alert was generated.
 Device                                                            The device which generated the alert.
 Details                                                           The message contained in the alert.
 Category                                                          The categorization of the alert.
 Source                                                            The name of the alert source definition.

Group By Column
To group by in All Alerts, drag the All Alert column that you want to group by and drop it in Drag a column header and drop it here
to group by that column.
For example, In All Alerts, if you want to group by severity, select Severity and drag and drop it in the Drag a column header and
drop it here to group by that column bar.
The alerts are displayed by severity.




264
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 266 of 388



Alert Details
Table 192. Alert Details

Field                                                              Description
Severity                                                           The alert severity.

Acknowledged                                                       Whether the alert has been acknowledged or not by the user.

Recommended Resolution                                             Click to view the recommended resolution for the issue that
                                                                   resulted in the alert.

                                                                         NOTE: The recommended resolution is available only for
                                                                         alerts received from either OMSA installed on the server
                                                                         or the iDRAC of the server. Alerts received from OMSA
                                                                         include the recommended resolution only if the
                                                                         Enhanced Message Format option is enabled in OMSA.

Device                                                             The device which generated the alert.

Time                                                               The date and time the alert was generated.

Category                                                           The categorization of the alert.

Source                                                             The name of the alert source definition.

Description                                                        The message contained in the alert.

SNMP Enterprise OID                                                Provides the enterprise OID (SNMP OID prefix) of the
                                                                   management information base (MIB) file that defines the event
                                                                   source that you want to monitor.

SNMP Generic Trap OID                                              Provides the generic trap ID of the SNMP trap that you want to
                                                                   monitor from the desired event source. See the Dell
                                                                   OpenManage Server Administrator SNMP Reference Guide at
                                                                   Dell.com/OpenManageManuals for more information on SNMP
                                                                   traps.

SNMP Specific Trap OID                                             Provides the specific trap ID of the SNMP trap that you want to
                                                                   monitor from the desired event source. See the Dell
                                                                   OpenManage Server Administrator SNMP Reference Guide at
                                                                   Dell.com/OpenManageManuals for more information on SNMP
                                                                   traps.


Alert Log Settings
Configure settings which control the size, messaging, and purge settings of the Alert Logs.
Table 193. Alert Log Settings

Field                                                              Description
Maximum size of Alert Logs                                         Determines the maximum number of alerts the alert logs can
                                                                   have before purging occurs.
Log a warning when the Alert Log size reaches                      A warning alert is sent to the application log when this size is
                                                                   reached.
When the Alert Logs reach the Maximum size, purge                  Purges the specified number of alerts when the maximum size is
                                                                   reached.




                                                                                                                                      265
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 267 of 388


 Field                                                                   Description
 Save Purged Alerts                                                      If selected, the specified number of alerts are purged and saved
                                                                         in a .csv file.
 Purged Alerts Location                                                  Specifies the location where the purged alerts are saved as
                                                                         a .csv file.


Alert View Filters
         NOTE: You can receive alert notifications from OpenManage Essentials on your Android or iOS device by installing and
         setting up the OpenManage Mobile application. For more information, see OpenManage Mobile Settings and the Dell
         OpenManage Mobile User’s Guide at Dell.com/OpenManageManuals.

Alert Filter Name
In OpenManage Essentials, you use alert filters that are associated with alert actions to implement alerting capabilities. For example:

•      You can create alert action associations to trigger actions, such as sending e-mails, when an alert condition is met.
•      You can create ignore, exclude, or both associations to ignore SNMP traps and CIM indications when they are received. You use
       these associations to suppress alert floods.
•      You can create alert view filters to customize the Alert Logs view.

For more information about creating alert action associations, see Managing Alerts.
Use this window to perform the following tasks:

•      Create new alert action associations, ignore/exclude filters, and alert view associations.
•      View summary information for alert action associations, ignore/exclude associations, and alert view filters.
•      Edit, delete, rename, and copy alert action associations, ignore/exclude associations, and alert view filters.

Severity
This page provides a list of alert severity.
Table 194. Severity

 Field                                                                   Description
 Name                                                                    Name of the item (applicable only for ignore action and view
                                                                         filter).
 Enabled                                                                 Select to enable the alert action (applicable only for ignore
                                                                         action).
 Severity                                                                The available alert types.
 All                                                                     Select to include all types of alerts.
 Unknown                                                                 Select to include unknown alerts.
 Info                                                                    Select to include informational alerts.
 Normal                                                                  Select to include normal alerts.
 Warning                                                                 Select to include warning alerts.
 Critical                                                                Select to include critical alerts.




266
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 268 of 388



Acknowledgement
Table 195. Acknowledgement

Field                                                                Description
Limit alerts based on the acknowledge flag                           Select to configure the alert view filter to display alerts based on
                                                                     whether the alerts have been acknowledged or not. This option
                                                                     is disabled by default.
Match only acknowledged alerts                                       Select to display acknowledged alerts.
Match only unacknowledged alerts                                     Select to display unacknowledged alerts.


Summary — Alert View Filter
The Summary page is shown on the final page of the Alert View Filter wizard or when clicking the View Summary right-click option
in the tree.
Table 196. Alert View Filter

Field                                                                Description
Name                                                                 The name of the alert action.
Type                                                                 The alert action type — App Launch, Email, Ignore, Trap, and
                                                                     Forward.
Description                                                          The description of the alert action.
Associated Severity                                                  The alert severity criteria used when matching alerts.
Associated Alert Categories                                          The alert category criteria used when matching alerts.
Associated Alert Sources                                             The alert source criteria used when matching alerts.
Associated Device Groups                                             The alert source device group criteria used when matching
                                                                     alerts.
Associated Devices                                                   The alert source device criteria used when matching alerts.
Associated Date Range                                                The alert date range criteria used when matching alerts.
Associated Time Range                                                The alert time range criteria used when matching alerts.
Associated Days                                                      The alert days criteria used when matching alerts.
Associate Acknowledge                                                If enabled, uses the alert acknowledged flag when matching
                                                                     alerts.


Alert Actions
Alert actions are triggered when an incoming alert matches the specific criteria defined in the alert action. The criteria for matching
the alert include:

•   Alert severity. See Severity Association.
•   Alert category or source. See Category and Sources Association.
•   Alert device or device group source. See Device Association.
•   Alert date, time, or day of week. See Date and Time Range.

There are four types of alert actions:

•   Alert Application Launch Action — Launch a script or batch file when the alert action criteria is matched.
•   Alert Email Action — Send an e-mail when the alert action criteria is matched.
•   Alert Ignore Action — Ignore the alert when the alert action criteria is matched.



                                                                                                                                      267
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 269 of 388


•     Alert Trap Forward Action — Forward the SNMP Trap to another management console when the alert action criteria is
      matched.

By default, new alert actions are enabled. If you want to turn off the alert action without deleting it, you can disable it either through
the right-click menu or the edit wizard for the alert action.
Several common alert action use cases are pre-installed in the disabled state to illustrate common usage. When using these pre-
installed actions, it is recommended to clone the example to a new action specific to your needs. Make sure to enable and test the
new action during this process.

Name and Description
Table 197. Name and Description

Field                                                                 Description
Name                                                                  The name of the alert action.
Description                                                           The description of the e-mail action.
Enabled                                                               Select to activate the alert action.


Severity Association
Table 198. Severity Association

Field                                                                 Description
Severity                                                              The available alert types.
All                                                                   Select to include all types of alerts.
Unknown                                                               Select to include unknown alerts.
Info                                                                  Select to include informational alerts.
Normal                                                                Select to include normal alerts.
Warning                                                               Select to include warning alerts.
Critical                                                              Select to include critical alerts.


Application Launch Configuration
Use this window to configure the application that you want to launch and to test the launch.

        NOTE: Alert actions are run when a matching alert is received so the alert application launch action is a script or batch
        file that does not require user interaction.
Table 199. Application Launch Configuration

Field                                                                 Description
Executable Name                                                       Specifies the fully qualified path name and file name of the
                                                                      executable file that launches the application program.
Arguments                                                             Specifies or edits any required or desired command line
                                                                      parameters to be used in launching the application program. You
                                                                      can use the following variable substitutions to specify
                                                                      information in the Arguments field:

                                                                      •   $n = Device
                                                                      •   $ip = Device IP
                                                                      •   $m = Message
                                                                      •   $d = Date
                                                                      •   $t = Time



268
        Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 270 of 388


Field                                     Description

                                          •   $sev = Severity
                                          •   $st = Service Tag
                                          •   $r = Recommended Resolution
                                          •   $e = Enterprise OID
                                          •   $sp = Specific trap ID
                                          •   $g = Generic trap ID
                                          •   $cn = Alert Category Name
                                          •   $sn = Alert Source Name
                                          •   $pkn = Package Name
                                          •   $at = Asset Tag
                                          •   $loc = Device Location
                                          •   $mod = Model Name

                                          Executable file: If you have an executable file (for example,
                                          createTroubleTicket.exe), to create a trouble ticket with
                                          parameters –arg1, -arg2, and so on; configure the alert
                                          application launch as follows:

                                          •   Executable Name (with the full path): C:\temp
                                              \createTroubleTicket.exe
                                          •   Argument: -arg1 –arg2

                                          When the alert action is triggered, it runs the command C:\temp
                                          \createTroubleTicket.exe –arg1 -arg2 to perform the associated
                                          application launch alert action.
                                          Batch file: If you have a batch file (for example,
                                          createTroubleTicket.bat), to create a trouble ticket with
                                          parameters –arg1, -arg2, and so on, configure the alert
                                          application launch as follows:

                                          •   Executable Name (with the full path): C:\temp
                                              \createTroubleTicket.bat
                                          •   Argument: -arg1 –arg2

                                          When the alert action is triggered, it runs the command C:\temp
                                          \createTroubleTicket.bat –arg1 -arg2 to perform the associated
                                          application launch alert action.
                                          VB script: When configuring vb script files as an alert action,
                                          provide the executable and arguments as follows. For example,
                                          if you have a script (createTroubleTicket.vbs), to create a trouble
                                          ticket that contains one parameter arg1, configure the
                                          application launch as follows:

                                          •   Executable Name: cscript.exe or C:\Windows
                                              \System32\cscript.exe (full path)
                                          •   Argument: C:\temp\createTroubleTicket.vbs arg1

                                          When the alert action is triggered, it runs the command
                                          cscript.exe C:\temp\ createTroubleTicket.vbs arg1 to perform
                                          the associated application launch alert action.
                                                NOTE: If an alert action is not working, ensure that you
                                                have entered complete command from the command
                                                prompt.
                                          See the sample alert action under Application Launch alert
                                          action for more information.
Test Action                               Allows you to test the application launch.




                                                                                                          269
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 271 of 388


Field                                                                 Description

                                                                            NOTE: Alert actions are run when a matching alert is
                                                                            received; so the alert application launch action is a script
                                                                            or batch file that does not require user interaction.


E-Mail Configuration
You can configure Essentials so that you receive e-mail each time the alert associations for your devices meet specific alert criteria.
For example, you may want to receive an e-mail message for all warning and critical alerts.
Use this window to specify the parameters for configuring the e-mail alert action.
Table 200. E-Mail Configuration

Field                                                                 Description
To                                                                    Specifies a valid e-mail address served by the company's SMTP
                                                                      server of the person who is to receive the e-mail.
From                                                                  Specifies the originating e-mail address.
Subject                                                               Specify the e-mail subject using text or the available alert
                                                                      tokens.
Message                                                               Specify the e-mail message using text or the available alert
                                                                      tokens.
Email Settings                                                        Select to provide the SMTP server name or IP address.
Test Action                                                           Allows you to test the e-mail action.
                                                                            NOTE: After sending the test e-mail, verify that the e-
                                                                            mail was received successfully and has the expected
                                                                            content.


        NOTE: Alert tokens are substituted at the time the alert action occurs. They are not substituted for a test action.

        NOTE: Certain paging vendors support alphanumeric paging through e-mail. OpenManage Essentials supports paging
        through the e-mail option.

Trap Forwarding
Simple Network Management Protocol (SNMP) traps are generated in response to changes in the status of sensors and other
monitored parameters on a managed device. To correctly forward these traps, you must configure an SNMP trap destination,
defined either by IP address or host name. For information about forwarding SNMPv1 and SNMP v2 traps in both the original format
and OMEssentials format, see Forwarding Alerts Use Case Scenarios.
For example, you may want to use trap forwarding if you are in a multi-tiered enterprise environment using OpenManage Essentials
to create associations and forward traps to the enterprise manager.
If the trap is being processed locally and then forwarded to the destination or it is just forwarded to the destination.
Use this window to specify the parameters for configuring trap forwarding.
Table 201. Trap Forwarding

Field                                                                 Description
Destination                                                           Provide the IP address or host name for the system that is
                                                                      hosting the enterprise management application.
Community                                                             Provide the SNMP community to which the destination IP
                                                                      address or host name belongs.
Forward Trap in Original Format                                       Select this check box to forward the trap in the same format
                                                                      received by OpenManage Essentials.



270
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 272 of 388


Field                                                             Description
Test Action                                                       Forwards a test trap to the specified destination using the
                                                                  specified community string.


SNMP V3 Configuration
The following table describes the fields displayed in the SNMP V3 Configuration.
Table 202. SNMP V3 Configuration

Field                                                             Description
Agent IP Address                                                  Provide the SNMP agent IP address.
Engine ID                                                         Provide the unique engine ID of the SNMP agent.
Username                                                          Provide the user name required to execute the task on the
                                                                  device.
Authentication Protocol                                           Select the authentication protocol for the discovery of the
                                                                  devices. The available options are MD5, SHA1, and none. The
                                                                  device must be configured using the same authentication
                                                                  protocol for the discovery to be successful. If the authentication
                                                                  protocol is selected to be none, then the encryption option is
                                                                  also disabled.
Authentication Password                                           Provide the authentication password.
Encryption Protocol                                               Select the encryption protocol for the discovery of the devices.
                                                                  The available options are AES, DES, and none. The device must
                                                                  be configured using the same encryption protocol for the
                                                                  discovery to be successful.
Encryption Password                                               Provide the encryption password.
Refresh                                                           Click to refresh the SNMP V3 Configuration page to display the
                                                                  added SNMP V3 traps.
Add New                                                           Click to configure the SNMP V3 traps manually.
Import                                                            Click to import the .csv file containing the SNMP V3 trap
                                                                  credentials.
Export                                                            Click to export the SNMP V3 trap credentials to a .csv file.
Save                                                              Click to save the SNMP V3 traps after importing the credentials
                                                                  from a .csv file or by providing the credentials manually.
Delete                                                            Click to delete the selected SNMP V3 traps from the list.


SNMP V3 Configuration Wizard
Table 203. SNMP V3 Configuration Wizard

Field                                                             Description
Agent IP Address                                                  Provide the SNMP agent IP address.
Engine ID                                                         Provide the unique engine ID of the SNMP agent.
Username                                                          Provide the user name required to execute the task on the
                                                                  device.
Authentication Protocol                                           Select the authentication protocol for the discovery of the
                                                                  devices. The available options are MD5, SHA1, and none. The
                                                                  device must be configured using the same authentication
                                                                  protocol for the discovery to be successful. If the authentication
                                                                  protocol is selected to be none, then the encryption option is
                                                                  also disabled.



                                                                                                                                 271
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 273 of 388


Field                                                                Description
Authentication Password                                              Provide the authentication password.
Encryption Protocol                                                  Select the encryption protocol for the discovery of the devices.
                                                                     The available options are AES, DES, and none. The device must
                                                                     be configured using the same encryption protocol for the
                                                                     discovery to be successful.
Encryption Password                                                  Provide the encryption password.


Category and Sources Association
OpenManage Essentials has many alert categories and sources that are predefined and prepopulated for management agents. Select
any of the predefined alert categories or sources to associate it with the alert action or filter. For more information and the complete
list of categories and alert sources, see Alert Categories.

Device Association
You can select predefined groups (device types), custom groups, specific devices, or a device query. Device association currently
only covers predefined groups.
For custom groups, create a custom group using the New Custom Group Wizard. The custom group shows up in the tree.
To use device query, select a query from the list.
Click New to create a new device query to search and assign the devices to the alert action.
Click Edit to change the query logic.
Select groups or devices from the tree, you can use the query option to create a specific criteria for the selection.

Device Query Options
Table 204. Device Query Options

Field                                                                Description
Select a query                                                       Select a query from the drop-down list.

New                                                                  Add a new query.

Edit                                                                 Edit an existing query.

All Devices                                                          Select to include all the Devices that is managed in
                                                                     OpenManage Essentials.

Clients                                                              Select to include client devices, such as desktops, portables, and
                                                                     workstations.

HA Clusters                                                          Select to include High Availability server clusters.

KVM                                                                  Select to include keyboard video mouse devices.

Microsoft Virtualization Servers                                     Select to include Microsoft Virtualization Servers.

Modular Systems                                                      Select to include Modular Systems.

Network Devices                                                      Select to include Network Devices.

OOB Unclassified Devices                                             Select to include out of band Unclassified Devices like Lifecycle
                                                                     Controller enabled devices.

Power Devices                                                        Select to include PDUs and UPS.

Printers                                                             Select to include Printers.

RAC                                                                  Select to include devices with Remote Access controllers.




272
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 274 of 388


Field                                                                 Description
Servers                                                               Select to include Dell servers.

Storage Devices                                                       Select to include storage devices.

Unknown                                                               Select to include unknown devices.

VMware ESX Servers                                                    Select to include VMware ESX servers.

VxFlex Ready Nodes                                                    Select to include VxFlex Ready Nodes and ScaleIO Ready
                                                                      Nodes.


Date and Time Range
Table 205. Date and Time Range

Field                                                                 Description
Limit Date Range                                                      Specifies a specific date range to match alerts.
Limit Time Range                                                      Specifies a specific time range to match alerts.
Limit Days                                                            Select to specify the days on which to enable the alert
                                                                      association. If you do not enable this option, the association is
                                                                      applied continuously within the time frame that you specify.
                                                                      Each of these fields are exclusive of the other, so selecting date
                                                                      8/1/11- 10/1/11, 1am to 4 AM, Friday, will match alerts on only
                                                                      Fridays from 1-4 AM only within that date range.
                                                                            NOTE: It is possible to input a date range and days
                                                                            selection that will never produce a result. For example,
                                                                            9/1/11 and Monday — since 9/1/11 was a Thursday, it
                                                                            will never match.
                                                                      If none of these are checked, it means that the alert selection
                                                                      will have no date/time filter.


Alert Action — Duplicate Alert Correlation
Table 206. Duplicate Alert Correlation

Field                                                                 Description
Yes. Only duplicate alerts that match this filter will be             Enabling this option deletes duplicate alerts (with the same ID
executed.                                                             and from the same device) received within the specified
                                                                      interval. Use this option to prevent a device from sending an
                                                                      overabundance of alerts to the console.
Ignore duplicate alerts that are received during the interval (1      Select this option and set the required time interval to ignore
second - 24 hours).                                                   duplicate alerts. This option can be used to ignore alerts for
                                                                      maximum of 24 hours.
No                                                                    Select this option if you do not want duplicate alerts to run at
                                                                      increased duration.


Summary — Alert Action Details
View and edit selections.
The alert action details screen is shown on the final page of the alert action wizards or when clicking any alert action in the tree.
The alert action will have a subset of the following properties, depending on alert action type and filter criteria chosen (this probably
should be a table):




                                                                                                                                         273
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 275 of 388


Table 207. Summary — Alert Action Details

Field                                                                 Description
Name                                                                  The name of the alert action.
Action Enabled                                                        Specifies if the alert action is enabled or disabled.
Type                                                                  The alert action type — App Launch, Email, Ignore, and
                                                                      Trap Forward.
Description                                                           The description of the alert action.
To                                                                    The e-mail addresses to which the e-mail is sent.
From                                                                  The e-mail address from whom the e-mail originates.
Subject                                                               The subject of the e-mail which may include alert tokens.
Message                                                               The message of the e-mail which may include alert tokens.
Destination                                                           The destination name or IP address used for trap forwarding.
Community                                                             The community string used for trap forwarding.
Executable Name                                                       The name of the executable, script, or batch file to be used by
                                                                      the alert action.
Arguments                                                             The command line arguments used when invoking the
                                                                      alert action.
Associated Severity                                                   The alert severity criteria used when matching alerts.
Associated Alert Categories                                           The alert category criteria used when matching alerts.
Associated Alert Sources                                              The alert source criteria used when matching alerts.
Associated Device Groups                                              The alert source device group criteria used when
                                                                      matching alerts.
Associated Devices                                                    The alert source device criteria used when matching alerts.
Associated Date Range                                                 The alert date range criteria used when matching alerts.
Associated Time Range                                                 The alert time range criteria used when matching alerts.
Associated Days                                                       The alert days criteria used when matching alerts.
Minimum Repeat Time                                                   If enabled, specifies the minimum time in seconds between two
                                                                      of the same alerts from the same device.


Alert Categories
OpenManage Essentials has many alert categories and sources that are predefined and pre populated for management agents.
Alert categories are organizational levels of the Alert Categories tree. Alert sources specify the low level details of each alert. To
monitor the alert categories and sources, apply an alert action association to the alert source or to its parent category.
This page provides a list of categories and the alerts sources within that category. Use this page to configure alerts based on
categories.

Alert Categories Options
Table 208. Alert Categories Options

Field                                                                 Description
Brocade-Switch                                                        Select this category to include alerts for Brocade-Switch.
Compellent                                                            Select this category to include alerts for Compellent storage
                                                                      devices.




274
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 276 of 388


Field                                        Description
Advanced Infrastructure Management           Select this category to include alerts for Advanced
                                             Infrastructure Management.
Environmental                                Select this category to include alerts for temperature, fan
                                             enclosure, fan speed, thermal, and cooling.
EqualLogic Storage                           Select this category to include alerts for EqualLogic storage.
FC-Switch                                    Select this category to include alerts for Fibre Channel switches.
General Redundancy                           Select this category to include alerts for General Redundancy.
HyperV Server                                Select this category to include alerts for HyperV Server.
iDRAC                                        Select this category to include alerts for iDRAC.
Juniper-Switch                               Select this category to include alerts for Juniper switches.
Keyboard-Video-Mouse (KVM)                   Select this category to include alerts for KVMs.
Memory                                       Select this category to include alerts for memory.
Network                                      Select this category to include alerts related to Dell Networking
                                             switches.
Other                                        Select this category to include alerts for other devices.
PDU                                          Select this category to include alerts for PDUs.
Physical Disk                                Select this category to include alerts for physical disks.
Power                                        Select this category to include alerts for power.
Power Center                                 Select this category to include alerts for power center.
Printers                                     Select this category to include alerts for printers.
Processor                                    Select this category to include alerts for processor.
Removable Flash Media                        Select this category to include alerts for removable flash media.
Security                                     Select this category to include alerts for security.
Storage Enclosure                            Select this category to include alerts for storage enclosures.
Storage Peripheral                           Select this category to include alerts for storage peripherals.
Storage Software                             Select this category to include alerts for storage software.
System Events                                Select this category to include alerts for system events.
Tape                                         Select this category to include alerts for tape drives.
Test Events                                  Select this category to include alerts for test events.
Unknown                                      Select this category to include unknown alerts related statuses.
UPS                                          Select this category to include alerts for UPS.
Virtual Disk                                 Select this category to include alerts for virtual disks.
VMware ESX Server                            Select this category to include alerts for VMware ESX servers.




                                                                                                               275
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 277 of 388



Edit Trap Definitions
Table 209. Edit Trap Definitions

Field                                                                Description
Trap Name or Enterprise OID                                          Field to provide the trap name or enterprise OID of the trap you
                                                                     want to edit.

Search                                                               Click to search the OpenManage Essentials database for the
                                                                     trap name or enterprise OID that you provided.

Event Category                                                       Click to display the event categories defined in the
                                                                     OpenManage Essentials database. You can select a category to
                                                                     display all the traps defined for that category in the Edit Trap(s)
                                                                     grid. You can also navigate and select a particular trap from the
                                                                     category.

Edit Traps

Name                                                                 Displays the trap name.

Category Name                                                        Displays the category name of the trap.

Severity                                                             Displays the severity of the trap.

Format String                                                        Displays the message string that is displayed in the
                                                                     OpenManage Essentials alert logs.

Enterprise OID                                                       Displays the enterprise OID (SNMP OID prefix) of the event
                                                                     source that you want to monitor.

Description                                                          Displays the trap description.

Generic Trap ID                                                      Displays the generic trap ID of the SNMP trap that you want to
                                                                     monitor from the required event source.

Specific Trap ID                                                     Displays the specific trap ID of the SNMP trap that you want to
                                                                     monitor from the required event source.

Save                                                                 Click to save the changes to the OpenManage Essentials
                                                                     database.


Alert Source
Each Alert Category contains alert sources. Click an alert category to view alert sources. Expand a category to view the list of alert
sources, and select an alert source.
Table 210. Alert Source

Field                                                                Description
Name                                                                 The name of the new alert source, for example, myFanAlert.
Type                                                                 The protocol information.
Catalog                                                              Provides the catalog information.
Severity                                                             Specifies the severity assigned to the alert that is triggered if
                                                                     the alert source generates the specified SNMP trap.
Format string                                                        Provides the message string that appears in the Alert Logs if the
                                                                     alert source generates an alert of sufficient severity to trigger
                                                                     the alert. You can use formatting commands to specify parts of



276
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 278 of 388


Field                                                              Description
                                                                   the message string. For SNMP, the valid formatting commands
                                                                   are:
                                                                   $n = system name
                                                                   $d = date
                                                                   $t = time
                                                                   $s = severity
                                                                   $e = enterprise object identifier (OID)
                                                                   $sp = specific trap OID
                                                                   $g = generic trap OID
                                                                   $1 - $# = varbind values
SNMP Enterprise OID                                                Provides the enterprise OID (SNMP OID prefix) of the
                                                                   management information base (MIB) file that defines the event
                                                                   source that you want to monitor.
SNMP Generic Trap OID                                              Provides the generic trap ID of the SNMP trap that you want to
                                                                   monitor from the desired event source. See the Dell
                                                                   OpenManage Server Administrator SNMP Reference Guide
                                                                   at Dell.com/OpenManageManuals for more information on
                                                                   SNMP traps.
SNMP Specific Trap OID                                             Provides the specific trap ID of the SNMP trap that you want to
                                                                   monitor from the desired event source. See the Dell
                                                                   OpenManage Server Administrator SNMP Reference Guide
                                                                   at Dell.com/OpenManageManuals for more information on
                                                                   SNMP traps.


Manage MIBs
Manage MIBs Pane
The Manage MIBs pane consists of:

•   Import MIB view — To import the MIB file. See Importing the MIB File.
•   Remove MIB view — To remove the MIB file from the OpenManage Essentials database. See Removing the MIB File from
    OpenManage Essentials.

Manage Traps Pane
The Manage Traps pane consists of:

•   Custom Trap Definitions view — To add trap definitions to OpenManage Essentials database. See Adding Traps.
•   Reset Built-in Trap Definitions view — To reset a pre-defined trap that you edited. See Reverting Traps.

Import MIB
Table 211. Import MIB

Field                                                              Description
Select files for upload                                            Displays the MIB files that you have selected for upload.

Select the MIB File                                                Displays the path of the file selected for parsing.

Browse                                                             Click to navigate to the file location.

Event Details




                                                                                                                               277
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 279 of 388


Field                                                             Description
Category Name                                                     Select to display the event category names defined in
                                                                  OpenManage Essentials and the category name of the parsed
                                                                  MIB.

Severity                                                          Select to display the severity defined in OpenManage Essentials.

Apply the selected event category to all traps                    Select to change the category name of all the traps.

                                                                        NOTE: If you do not select the check box, you have to
                                                                        manually select the traps and select the category name
                                                                        from the drop-down list.

Apply the selected severity to all traps                          Select this check box to change the severity of all the traps.

                                                                        NOTE: If you do not select the check box, you have to
                                                                        manually select the traps and select the severity from
                                                                        the drop-down list.

Traps Available for Import

Name                                                              Displays the trap name from the MIB file.

Category Name                                                     Displays the category name of the trap.

Severity                                                          Displays the severity of the trap. You can modify the severity of
                                                                  the trap to:

                                                                  •   Unknown
                                                                  •   Info
                                                                  •   Normal
                                                                  •   Warning
                                                                  •   Critical
                                                                  •   By Value. See Severity Configuration By Value.

Format String                                                     Displays the trap description.

Enterprise OID                                                    Displays the enterprise OID (SNMP OID prefix) of the MIB file
                                                                  that defines the event source that you want to monitor.

Description                                                       Displays the description of the trap.

Generic Trap ID                                                   Displays the generic trap ID of the SNMP trap that you want to
                                                                  monitor from the required event source.

Specific Trap ID                                                  Displays the specific trap ID of the SNMP trap that you want to
                                                                  monitor from the required event source.

Reset All                                                         Click to revert the severity of all the traps to the default values.

Import Traps                                                      Click to import traps to the OpenManage Essentials database.

Severity Configuration by Value
The Severity Configuration By Value window enables you to specify the severity of the alert based on the value of one or more
variable bindings associated with the trap.




278
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 280 of 388


Table 212. Severity Configuration by Value

Field                                                               Description
Trap Variable                                                       Displays the trap variable index.

Severity                                                            Displays the severity assigned for each object value or object ID.

Object ID                                                           Displays the numerical value based on the trap variable index.

Object Value                                                        Displays the string value based on the trap variable index.

Add New                                                             Click to add the severity configuration.

Select the Variable                                                 Select the trap variable that you want to update.

OK                                                                  Click to save the changes.

Reset                                                               Click to revert the severity of the trap to the default values.


Remove MIB
Table 213. Remove MIB

Field                                                               Description
Imported MIB(s)                                                     Displays the list of MIBs that are imported in the OpenManage
                                                                    Essentials database.

Remove MIB                                                          Click to remove the imported MIBs from the OpenManage
                                                                    Essentials database.


Troubleshooting MIB Import
Issue: The MIB Import displays the following error message: Dependent MIB files need to be imported. Please
import: RFC1155-SMI to the Mib Repository before continuing to import this Mib.
Cause: An MIB file may be dependent on another MIB file. While parsing a source MIB file, all the files referred by the source MIB file
must be present in the reference directory or the MIB repository. The error message is displayed because the referred MIB file is
missing from the reference directory.
Resolution: To resolve this issue:

•   Ensure that you have administrator privileges in OpenManage Essentials. You must launch OpenManage Essentials at least once
    before importing the MIB file.
•   Retrieve the missing MIB file and add the file to the reference directory. If there are multiple dependencies of the parent MIB on
    more than one file, import all the required MIB files, and then parse the parent MIB file.

        NOTE: The above resolution also applies for an invalid MIB file.

Issue: Unable to parse the MIB file.
Resolution: Check the logs to see if there are any MIB compiler issues. If there are no compiler issues, compile the MIB using a
standard MIB compiler and verify whether the MIB is properly defined.
Issue: Unable to import the parsed trap definitions into OpenManage Essentials after parsing the MIB file.
Resolution: See the Readme at C:\Program Files (x86)\Dell\MIBImport for the list of MIB files that cannot be imported into
OpenManage Essentials.




                                                                                                                                      279
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 281 of 388



Manage Traps
Custom Trap Definitions
Table 214. Custom Trap Definitions

Field                                        Description
Add Trap

Category Name                                To select the event category names defined in OpenManage
                                             Essentials or to provide a new category name.

Unknown Traps                                Click to display the unknown traps received in OpenManage
                                             Essentials.

Description                                  To provide the trap description.

Trap Name                                    To provide or edit the trap name.

Generic ID                                   To provide or edit the generic trap ID of the SNMP trap that you
                                             want to monitor from the required event source.

Enterprise OID                               To provide or edit the enterprise OID (SNMP OID prefix) of the
                                             event source that you want to monitor.

Specific ID                                  To provide the specific trap ID of the SNMP trap that you want
                                             to monitor from the required event source.

Format String                                To provide or edit the message string that is displayed in the
                                             OpenManage Essentials alert logs.

Severity                                     Displays the severity of the trap. You can modify the severity of
                                             the trap to:

                                             •   Unknown
                                             •   Info
                                             •   Normal
                                             •   Warning
                                             •   Critical
                                             •   By Varbind Value. See Severity Configuration By Value.

Add Trap                                     Click to add the trap definition to the User-defined Trap(s) grid.

Delete User-Defined Traps

Name                                         Displays the trap name.

Category Name                                Displays the category name of the trap.

Severity                                     Displays the severity of the trap.

Enterprise OID                               Displays the enterprise OID (SNMP OID prefix) of the event
                                             source that you want to monitor.

Description                                  Displays the trap description

Format String                                Displays the message string that is displayed in the
                                             OpenManage Essentials alert logs.




280
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 282 of 388


Field                                        Description
Generic Trap ID                              Displays the generic trap ID of the SNMP trap that you want to
                                             monitor from the required event source.

Specific Trap ID                             Displays the specific trap ID of the SNMP trap that you want to
                                             monitor from the required event source.

Delete Trap                                  Click to delete the selected traps.


Reset Built-in Trap Definitions
Table 215. Reset Built-in Trap Definitions

Field                                        Description
Edited Traps

Name                                         Displays the trap name.

Category Name                                Displays the category name of the trap.

Severity                                     Displays the severity of the trap.

Enterprise OID                               Displays the enterprise OID (SNMP OID prefix) of the event
                                             source that you want to monitor.

Format String                                Displays the message string that is displayed in the
                                             OpenManage Essentials alert logs.

Description                                  Displays the trap description

Generic Trap ID                              Displays the generic trap ID of the SNMP trap that you want to
                                             monitor from the required event source.

Specific Trap ID                             Displays the specific trap ID of the SNMP trap that you want to
                                             monitor from the required event source.

Revert Traps                                 Click to revert the state of the selected traps to the original
                                             state in the OpenManage Essentials database.




                                                                                                               281
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 283 of 388




                                                                                                                                18
Updating BIOS, firmware, drivers, and system
applications
With the System Update feature in OpenManage Essentials, you can:

•   Upgrade and downgrade firmware, drivers, BIOS, application, and OpenManage Server Administrator.
•   Compare the drivers and firmware on the inventoried servers and modular blade enclosures with a source catalog and update
    them if needed.
          NOTE: The recommended minimum network bandwidth that is required for OpenManage Essentials in a WAN
          environment is 10 Mbps (for monitoring) and 20 Mbps (for updates). Inventory automatically starts after the updates
          are applied to a target server.
          NOTE: OpenManage Essentials supports system updates on PowerEdge 11th, 12th, 13th, and 14th generation servers
          using iDRAC with Lifecycle Controller.
•   Filter devices by clicking the Filtered by option. You can either select a query or select the devices/groups from the device tree.

Check for these prerequisites before you update systems:

•   Internet is accessible, and you can access downloads.dell.com (port 443)—if you are using the online catalog source.
•   DNS is resolved.

      NOTE: When providing system credentials, if the username has spaces or periods, the username must be provided within
      quotation marks. For example, "localhost\johnny marr" or "us-domain\tim verlaine". Spaces and periods can be used in
      usernames for OpenManage System Administrator Tasks, Generic Command Line Tasks (local system), OpenManage
      Systems Administrator Deployment Tasks. System Updates (In Band, through OpenManage System Administrator) also
      support spaces and periods. Out of Band updates (through RAC device) or commands such as RACADM do not support
      space or period in the username.
      NOTE: If a deployment task is run on a target server that is configured with a BIOS System Password, when the task is
      running, ensure that you launch the iDRAC virtual console, and if prompted, enter the system password. Else, the task
      might display running state for some time and eventually timeout.
      NOTE: If there are both 32-bit and 64-bit versions of OpenSSL libraries that are installed on an RHEL system, Dell EMC
      recommends to uninstall the 32-bit version. Also, if there is a symbolic link to libcrypto.so.6 created by
      OpenManage Essentials, remove the symbolic link, and then redeploy BIOS, firmware, drivers, and system applications.


Viewing the System Update page
To view the System Update page, click Manage → System Update.
By default, the System Update page displays all the discovered devices. You can use the Filtered by: link to display only the selected
devices or device groups.




282
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 284 of 388




Figure 34. System Update page

1.    Compliance report. See Compliance Report
2.    Tabbed systems information. See Compliant Systems, Non Compliant Systems, Non Inventoried Systems, and Issues and
      Resolutions.
3.    System update tasks. See All System Update Tasks

Understanding sources of system updates
•    Online source—Default option which downloads latest driver and firmware versions from downloads.dell.com. This is also a
     default option for updating MX Chassis devices.
           NOTE: OpenManage Essentials automatically checks for system updates and displays a message if a newer version is
           available.
•    File system source—Drivers and firmware from the OpenManage Server Update Utility (SUU) media.
•    Repository Manager file—Customized selection of specific drivers and firmware generated from the Repository Manager tool.

Choosing the right source of system updates
•    Recommended option—Use the online source to ensure that you consistently have the latest drivers and firmware available
     from Dell EMC or use the Server Update Utility (SUU) option for a qualified set of drivers and firmware.
•    Create custom catalog—Using this option gives you maximum control over driver and firmware revisions in your environment
     because you select them individually from either the SUU media or online source using the Repository Manager. You can install
     Repository Manager, a separate tool, from the OpenManage Essentials installation package.

Selecting an update catalog source

1.    Click Manage → System Update → Select a Catalog Source.
2.    In Select a Catalog Source:

      •   Select one of the update sources.
      • For MX7000 chassis, select the Use an online source option, and then select the preferred protocol.
3.    Click Import now.




                                                                                                                                 283
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 285 of 388



Viewing comparison results
This section provides information required to view the results of the comparison of devices to a source catalog.

Viewing compliant systems
1.    Click Manage → System Update.
2.    To view the compliant systems, click Compliant Systems.
      For a MX7000 chassis, compliance details of the lead chassis, member chassis, and compute sleds are listed individually.

Viewing noncompliant systems
1.    Click Manage → System Update.
2.    To view the noncompliant systems, click Non-Compliant Systems.
      Devices with the driver and firmware versions that are different from the catalog are displayed. For a MX7000 chassis,
      noncompliance details of the lead chassis, member chassis, and compute sleds are listed individually.

Viewing non-inventoried systems
1.    Click Manage → System Update.
2.    To view the non-inventoried systems, click Non-Inventoried Systems .
            NOTE: CMC firmware updates (CMC active controller only) are also displayed in these results.

            NOTE: To inventory the non-inventoried servers, you can select the non-inventoried servers and click Inventory. The
            method of inventory collection may vary based on the following criteria:

            •   If the server is discovered through SNMP and has OMSA installed, the default discovery and inventory is initiated.
            •   If the server is discovered through WMI/SSH and does not have OMSA installed, the Create F/W & Driver Inventory
                Task window is displayed.

Viewing systems with issues and resolutions
1.    Click Manage → System Update.
2.    Click the Issues and Resolutions For Updates tab.
      For more information about the update issues and the possible resolutions, see Issues and Resolutions Use Case Scenarios.


Creating a catalog baseline
1.    Click System Update → Create Catalog Baseline.
      The Create Catalog Baseline wizard with a baseline name is displayed.
2.    Enter to change the baseline name.
3.    Click Browse to navigate to the file system and select the repository manager file.
4.    Click Import Now.
      The catalog is listed under List of Catalog Baselines, and the baseline details are displayed on the Baseline details page.


Viewing the Default Catalog
Select to view the catalog file that is currently in use for applying software updates.




284
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 286 of 388


Table 216. View Default Catalog

Field                                                            Description
Source                                                           Displays the source. The source is either Server Update Utility,
                                                                 downloads.dell.com, or Repository Manager.
Source Type                                                      The type for source from which the catalog file is taken. For
                                                                 example, downloads.dell.com.
Release ID                                                       The unique identification number assigned to the released
                                                                 catalog file.
Release Date                                                     The date on which the catalog file was released.
Newer version available                                          Displays if a newer version is available.


System Update Use Case Scenarios
The following table provides use case scenarios about how system updates occur based on different protocols and the update
modes.

        NOTE: If the preferred system update method selected in Advanced Settings is In-Band (Operating System) and
        OpenManage Server Administrator (OMSA) is installed on the target server, the components are updated using OMSA. If
        OMSA is not installed on the target server, the components are updated through the operating system.
Table 217. System Update Use Case Scenarios

Protocol Used for      Protocol Used for   Preferred System Update       Credentials for        Actual Update Mode
Server IP              iDRAC IP            Mode Selected in              System Update
Discovery and          Discovery and       Advanced Settings
Inventory              Inventory
SNMP                   SNMP                In-Band (Operating            Server                 All components are updated using
                                           System)                                              OpenManage Server Administrator.

SNMP                   SNMP                Out-of-Band (iDRAC)           Server                       NOTE: When an iDRAC IP is
                                                                                                      discovered using SNMP,
                                                                                                      iDRAC software inventory is
                                                                                                      not retrieved and all
                                                                                                      components are updated are
                                                                                                      using Server Administrator
                                                                                                      irrespective of the preferred
                                                                                                      system update mode
                                                                                                      selected.

WMI                    SNMP                In-Band (Operating            Server                 All components are updated using
                                           System)                                              OpenManage Server Administrator.

WMI                    SNMP                Out-of-Band (iDRAC)           Server                 All components are updated using
                                                                                                Server Administrator because the
                                                                                                protocol used for iDRAC discovery
                                                                                                and inventory was SNMP.

WMI                    SNMP                In-Band (Operating            Server                 All components are updated using
                                           System)                                              the operating system.

SSH                    WS-Man/SNMP         In-Band (Operating            Server                 All components are updated using
                                           System)                                              the operating system.

SNMP                   WS-Man              In-Band (Operating            Server                 All components are updated using
                                           System)                                              OpenManage Server Administrator.




                                                                                                                                 285
        Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 287 of 388


Protocol Used for     Protocol Used for   Preferred System Update   Credentials for   Actual Update Mode
Server IP             iDRAC IP            Mode Selected in          System Update
Discovery and         Discovery and       Advanced Settings
Inventory             Inventory
SNMP                  WS-Man              Out-of-Band (iDRAC)       iDRAC             BIOS, firmware, and applications
                                                                                      are updated using iDRAC.

                                                                                            NOTE: When an iDRAC IP is
                                                                                            discovered using WS-Man,
                                                                                            the iDRAC software
                                                                                            inventory is retrieved and
                                                                                            the components are updated
                                                                                            using iDRAC.
                                                                                      However, if drivers are present in
                                                                                      addition to BIOS, firmware, and
                                                                                      applications, then all the
                                                                                      components are updated using
                                                                                      Server Administrator and not
                                                                                      iDRAC.

WMI                   WS-Man              In-Band (Operating        Server            All components are updated using
                                          System)                                     OpenManage Server Administrator.

WMI                   WS-Man              Out-of-Band (iDRAC)       iDRAC             BIOS, firmware, and applications
                                                                                      are updated using iDRAC.

                                                                                            NOTE: When an iDRAC IP is
                                                                                            discovered using WS-Man,
                                                                                            the iDRAC software
                                                                                            inventory is retrieved and
                                                                                            the components are updated
                                                                                            using iDRAC.

                                                                                      However, if drivers are present in
                                                                                      addition to BIOS, firmware, and
                                                                                      applications, then all the
                                                                                      components are updated using
                                                                                      Server Administrator and not
                                                                                      iDRAC.

WS-Man (ESXi-         WS-Man (ESXi-       In-Band (Operating        iDRAC             All components are updated using
based server)         based server)       System)                                     iDRAC. For ESXi-based servers, all
                                                                                      components are updated using
WS-Man (ESXi-         WS-Man (ESXi-       Out-of-Band (iDRAC)       iDRAC
                                                                                      iDRAC , irrespective of preferred
based server)         based server)
                                                                                      system update mode selected.

Not applicable. The   WS-MAN              In-Band (Operating        iDRAC             All components are updated using
server IP is not                          System)                                     iDRAC.
discovered.

Not applicable. The   WS-MAN              Out-of-Band (iDRAC)       iDRAC
server IP is not
discovered.




286
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 288 of 388



Applying system updates by using the Non-Compliant Systems tab
      NOTE: The following are some of the considerations when applying system updates:

      •   You can only update systems using iDRAC6 or later if they are discovered using the WS-Man protocol.
      •   If the iDRAC firmware version is 1.40.40 or earlier, applying system updates out-of-band (iDRAC) is supported only for 32-
          bit Dell Update Packages (DUPs). If you select a catalog that has no 32-bit DUPs for applying an out-of-band system
          update, OpenManage Essentials does not display any updates under Select Updates to Apply.
      •   Applying system updates in-band (Operating System) requires that the Windows Management Instrumentation service is
          running on the selected targets.
      •   Applying system updates requires the availability of the default Temp folders (C:\Windows\Temp and C:\Users
          \<username>\AppData\Local\Temp). Ensure that the Temp folders are not deleted or moved.
      •   For out-of-band system updates, Dell recommends that system on which OpenManage Essentials is installed and the
          iDRAC should be on the same network. If they are on different network, the system update task cannot be performed
          successfully. If you are using Active Directory authentication for the iDRAC, it is recommended that system on which
          OpenManage Essentials is installed and the iDRAC should be on the same network domain.
      •   In an MCM group, system updates can be applied only to the lead MX7000 chassis.
To apply system updates:

1.   Click Manage → System Update.
2.   Click the Non-Compliant Systems tab.
           NOTE: You can also filter systems based on either the groups or the devices by clicking the Filtered by: link. Select
           the devices in the Select System Update Target Devices and Device Groups window and click Apply.
3.   Select the systems from the list that you want to update.
           NOTE: You can update multiple systems at the same time.

           NOTE: The following are the considerations when using 64-bit DUPs for system update:

           •   For in-band updates (Operating System) – If the selected target is a server running a Windows 64-bit operating
               system, all applicable 64-bit packages are available for update. If the catalog does not contain 64-bit packages for a
               component, the corresponding 32-bit package is available for update.
           •   For out-of-band updates (iDRAC) – If the selected target is an iDRAC of a 12th or 13th generation PowerEdge server
               and has iDRAC firmware version later than 1.40.40 installed, all applicable 64-bit packages are available for update. If
               the catalog does not contain 64-bit packages for a component, the corresponding 32-bit package is available for
               update.
           •   For in-band or out-of-band updates – If the selected 12th or 13th generation PowerEdge server is running a 32-bit
               operating system and has iDRAC firmware version later than 1.40.40 installed, by default, only 32-bit packages are
               available for update unless there is a package that is known only to iDRAC and not known to OMSA.
4.   Click Apply Selected Updates.
     A window is displayed to schedule updates.

           NOTE: Chassis and blades are not associated for updates. They are treated as individual components and you must
           manually select them.

           NOTE: Chassis, blade server BIOS, and iDRAC version interdependency management is not available.
5.   Enter a task name.
6.   Review the selected updates.
7.   Set the task schedule to Run Now, or set a specific date and time.
8.   If you want to apply the changes immediately, select After update, if required, reboot the target server.
     The Out-of-band Reboot Type option is displayed.




                                                                                                                                    287
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 289 of 388


      Using the Out-of-band Reboot Type option, you can set the types of reboot methods available for the system update. The
      reboot methods are:

      •   Power Cycle (Cold)—Select this option to power off and then restart the system.
      •   Graceful Reboot without forced shutdown (Warm)—Select this option to shut down and then reboot the operating
          system without forcefully turning off the target system.
      •   Graceful Reboot with forced shutdown (Warm with forced)—Select this option to shut down and then reboot the
          operating system by forcefully turning off the target system.

            NOTE: By default, the Graceful Reboot with forced shutdown reboot method is selected.
9.    If you want to skip the signature and hash check on the system update package, select Skip Signature and Hash Check.
10. For out-of-band update only—If you experience failures while performing updates using the iDRAC, select Before update, reset
    the iDRAC.
            CAUTION: If the Before update, reset the iDRAC option is selected, all iDRAC jobs that are currently in the queue are
            deleted before the update is applied. If required, you must create the jobs again.
11. Enter the administrator credentials of the operating system or iDRAC for the target device.
            NOTE: For applying system updates on target systems running a Windows operating system with the User Account
            Control (UAC) feature enabled:

            •   If the target system is part of a Domain, you must provide the credentials of either the Domain Administrator or a
                member in the Administrators group. Do not provide the credentials of the local, non-domain account on the target
                system, even if the account is in the Administrators group.
            •   If the target system is not part of a Domain, you must provide the Administrator credentials. If you want to provide the
                credentials of a non-default Administrator account, ensure that the Remote WMI permissions are enabled for that
                user account.

      Examples: In a Windows domain environment, enter <Domain\Administrator> and password. In a Windows workgroup
      environment, enter <LocalHost\Administrator> and the password.
      In a Linux environment, enter root and password. If you want to apply system updates using sudo, select Enable Sudo and
      update the SSH port number.

            NOTE: Before you apply system updates using sudo, create a user account, edit the sudoers file using the visudo
            command, and add the following:
            For target systems running a 32-bit operating systems:
            Cmnd_Alias OMEUPDATE = /bin/tar,/opt/dell/srvadmin/bin/omexec,/tmp/
            LinuxPreInstallPackage/runbada,/tmp/LinuxPreInstallPackage/omexec,/tmp/invcol.bin
            <sudo_username> ALL=OMEUPDATE,NOPASSWD:OMEUPDATE
            For target systems running a 64-bit operating systems:
            Cmnd_Alias OMEUPDATE = /bin/tar,/opt/dell/srvadmin/bin/omexec,/tmp/
            LinuxPreInstallPackage64/runbada,/tmp/LinuxPreInstallPackage64/omexec,/tmp/
            invcol64.bin <sudo_username> ALL=OMEUPDATE,NOPASSWD:OMEUPDATE

            NOTE: Applying system updates using sudo is not supported for SUSE Linux Enterprise Server targets.
12. Click Finish.
            NOTE: You cannot schedule Windows and Linux updates to occur using the same task, and separate tasks should be
            created.


Applying System Updates by using the System Update Task wizard
The system update task allows you to view and select non-compliant systems and their applicable updates.




288
              Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 290 of 388


      NOTE: The following are some of the considerations when applying system updates:

      •       You can only update systems using iDRAC6 or later if they are discovered using the WS-Man protocol.
      •       If the iDRAC firmware version is 1.40.40 or earlier, applying system updates out-of-band (iDRAC) is supported only for 32-
              bit Dell Update Packages (DUPs). If you select a catalog that has no 32-bit DUPs for applying an out-of-band system
              update, OpenManage Essentials does not display any updates under Select Updates to Apply.
      •       Applying system updates in-band (Operating System) requires that the Windows Management Instrumentation service is
              running on the selected targets.
      •       Applying system updates requires the availability of the default Temp folders (C:\Windows\Temp and C:\Users
              \<username>\AppData\Local\Temp). Ensure that the Temp folders are not deleted or moved.
      •       For out-of-band system updates, Dell recommends that system on which OpenManage Essentials is installed and the
              iDRAC should be on the same network. If they are on different network, the system update task cannot be performed
              successfully. If you are using Active Directory authentication for the iDRAC, it is recommended that system on which
              OpenManage Essentials is installed and the iDRAC should be on the same network domain.
      •       In an MCM group, system updates can be applied only to the lead MX7000 chassis.
To create a system update task:

1.   Click Manage → System Update.
     The System Update portal is displayed.
2.   In the Update Action section, click Create System Update Task.
     The Non-Compliant Systems page of System Update wizard is displayed.
3.   Select any noncompliant systems that you want to update and click Next.
               NOTE: You can update multiple systems at the same time.

               NOTE: The following are the considerations when using 64-bit DUPs for system update:

               •     For in-band updates (Operating System) – If the selected target is a server running a Windows 64-bit operating
                     system, all applicable 64-bit packages are available for update. If the catalog does not contain 64-bit packages for a
                     component, the corresponding 32-bit package is available for update.
               •     For out-of-band updates (iDRAC) – If the selected target is an iDRAC of a 12th or 13th generation Dell PowerEdge
                     server and has iDRAC firmware version later than 1.40.40 installed, all applicable 64-bit packages are available for
                     update. If the catalog does not contain 64-bit packages for a component, the corresponding 32-bit package is
                     available for update.
               •     For in-band or out-of-band updates – If the selected 12th or 13th generation PowerEdge server is running a 32-bit
                     operating system and has iDRAC firmware version later than 1.40.40 installed, by default, only 32-bit packages are
                     available for update unless there is a package known only to iDRAC and not known to OMSA.

     The Applicable Packages page is displayed.
4.   Select the packages that you want to update and click Next.
     The Summary and Credentials page is displayed.
5.   Type a name for the task in the appropriate field.
6.   In the Set the Task Schedule section:
     a. Set the task schedule to Run Now or set a specific date and time.
     b. If you want to apply the changes immediately, select After update, if required, reboot the target server.
          The Out-of-band Reboot Type option is displayed.
          Using the Out-of-band Reboot Type option, you can set the types of reboot methods available for the system update. The
          reboot methods are:

          •        Power Cycle (Cold) — Select this option to power off and then restart the system.
          •        Graceful Reboot without forced shutdown (Warm) — Select this option to shut down and then reboot the operating
                   system without forcefully turning off the target system.



                                                                                                                                            289
              Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 291 of 388


          •       Graceful Reboot with forced shutdown (Warm with forced) — Select this option to shut down and then reboot the
                  operating system by forcefully turning off the target system.

                    NOTE: By default, the Graceful Reboot with forced shutdown reboot method is selected.
      c. If you want to skip the signature and hash check on the system update package, select Skip Signature and Hash Check.
      d. For out-of-band update only — If you experience failures while performing updates using the iDRAC, select Before update,
         reset the iDRAC.
                    CAUTION: If the Before update, reset the iDRAC option is selected, all pending jobs or activities scheduled on
                    the iDRAC will be cancelled before the update is applied. If required, you must create the iDRAC jobs again.
7.    In the Enter Credentials for the task execution section, type the user name and password of the iDRAC (for out-of-band
      updates) or operating system (for in-band updates).
              NOTE: For applying system updates on target systems running a Windows operating system with the User Account
              Control (UAC) feature enabled:

              •     If the target system is part of a Domain, you must provide the credentials of either the Domain Administrator or a
                    member in the Administrators group. Do not provide the credentials of the local, non-domain account on the target
                    system, even if the account is in the Administrators group.
              •     If the target system is not part of a Domain, you must provide the Administrator credentials. If you want to provide the
                    credentials of a non-default Administrator account, ensure that the Remote WMI permissions are enabled for that
                    user account.
      Examples: In a Windows domain environment, enter <Domain\Administrator> and password. In a Windows workgroup
      environment, enter <LocalHost\Administrator> and the password
      In a Linux environment, enter root and password. If you want to apply system updates using sudo, select Enable Sudo and
      update the SSH port number.

              NOTE: Before you apply system updates using sudo, create a new user account, edit the sudoers file using the
              visudo command, and add the following:
              For target systems running a 32-bit operating systems:
              Cmnd_Alias OMEUPDATE = /bin/tar,/opt/dell/srvadmin/bin/omexec,/tmp/
              LinuxPreInstallPackage/runbada,/tmp/LinuxPreInstallPackage/omexec,/tmp/invcol.bin
              <sudo_username> ALL=OMEUPDATE,NOPASSWD:OMEUPDATE
              For target systems running a 64-bit operating systems:
              Cmnd_Alias OMEUPDATE = /bin/tar,/opt/dell/srvadmin/bin/omexec,/tmp/
              LinuxPreInstallPackage64/runbada,/tmp/LinuxPreInstallPackage64/omexec,/tmp/
              invcol64.bin <sudo_username> ALL=OMEUPDATE,NOPASSWD:OMEUPDATE

              NOTE: Applying system updates using sudo is not supported for SUSE Linux Enterprise Server targets.
8.    Click Finish.
              NOTE: You cannot schedule Windows and Linux updates to occur using the same task, and separate tasks should be
              created.


Viewing status of the System Update task
To view and confirm that updates were applied successfully, click Manage → System Update → Summary. The Task Execution
History pane displays if the updates were applied successfully.




290
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 292 of 388



Updating systems without OpenManage Server Administrator
To update the firmware, BIOS, and drivers on a system that does not have OpenManage Server Administrator (OMSA) installed:

1.   Collect the software inventory from the server. See Collecting Firmware and Driver Inventory.
2.   Update the system through the system update portal. See Applying System Updates Using the Non-Compliant Systems Tab or
     Applying System Updates Using the System Update Task Wizard.


Issues and Resolutions Use Case Scenarios
The following table provides information about the issues that are displayed in the Issues and Resolutions for Updates tab with the
possible resolutions.
Table 218. Issues and Resolutions Use Case Scenarios

 Issue                                                               Resolution
 PowerEdge VRTX was inventoried using either SNMP or IPMI.           Perform discovery and inventory of PowerEdge VRTX using
                                                                     WS-Man.

 iDRAC was inventoried using either SNMP or IPMI.                    Perform discovery and inventory of iDRAC using WS-Man.

 iDRAC does not meet the minimum version requirements.               Minimum supported iDRAC version for modular servers is 2.20
                                                                     and for monolithic servers is 1.4. Manually install the required
                                                                     iDRAC versions to proceed.

 iDRAC does not have the required license.                           iDRAC requires license to perform system updates which can be
                                                                     obtained using License Manager.

 The server does not have Server Administrator installed on it or    Schedule Inventory Collection Task. Recommended to schedule
 is discovered using SSH. This issue occurs if:                      Periodic Inventory Collection Task.

 •   A Windows-based server without Server Administrator is
     discovered using WMI.
 •   A Linux-based server with or without Server Administrator is
     discovered using SSH.


Configuring automatic purging of downloaded system update files
To apply system updates and to perform remote tasks on target devices, OpenManage Essentials might download the appropriate
BIOS, firmware, driver, and application files. By default, the downloaded files are saved in the <install location>\Essentials\System
Update folder. You can configure OpenManage Essentials to automatically purge some of the downloaded files if the downloads
folder (<install location>\Essentials\System Update) reaches a defined size limit.
      NOTE: By default, the purging of downloaded files is disabled.

To configure automatic purging of downloaded files:

1.   Click Settings → Purge Download Settings.
     The Purge Download Settings page is displayed.
2.   Select Enable purging of downloaded files to allow the automatic purging of the downloaded files using the default settings.
3.   If required, set the size limit of the downloads folder based on your preference.
           NOTE: Purging of the downloaded files is initiated when the downloads folder reaches the defined size limit.
4.   If required, set the approximate size of the downloaded files to be purged based on your preference.
           NOTE: Files in the downloads folder are purged until the total size of the purged files reaches or exceeds the
           approximate size that you have defined.
5.   Click Apply.


                                                                                                                                    291
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 293 of 388




                                                                                 19
System Update — Reference
You can access the following:

•   System Update Portal Action

    – View System Update Portal

       ◦   Summary

           •   Compliance Report
           •   System Update Tasks
           •   Tasks Execution History
       ◦   Compliant Systems
       ◦   Non Compliant Systems
       ◦   Non-Inventoried Systems
       ◦   All System Update Tasks
       ◦   Issues and resolutions for updates
•   Catalog Action

    – Select a Catalog Source
    – View Default Catalog
    – View MX Chassis Default Catalog
•   Update Action

    – Create System Update Task
•   Catalog Baseline Action

    – Create Catalog Baseline
    – View Catalog Baseline Associations

       ◦   List of Catalog Baselines

Related links
  Updating BIOS, firmware, drivers, and system applications
  Viewing the System Update page
  Compliance Report
  Non-Compliant Firmware and Drivers
  System Update Task
  Non-Inventoried Systems
  All System Update Tasks
  Issues and Resolutions




292
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 294 of 388



Filter Options
Table 219. Filter Options

Filter Option                                                      Description
Is equal to                                                        Select to create the same as logic.
Is not equal to                                                    Select to create the different from logic.
Starts with                                                        Select to filter search based on a text chunk’s initial
                                                                   alphanumeric characters. Provide the starting alphanumeric
                                                                   characters in the field.
Ends with                                                          Select to filter search based on a text chunk’s final alphanumeric
                                                                   characters. Provide the ending alphanumeric characters in the
                                                                   field.
Contains                                                           Select to filter search based on alphanumeric characters present
                                                                   in a text chunk. Provide the alphanumeric characters in the field.
Does not contain                                                   Select to include the not present logic in search based on
                                                                   alphanumeric characters present in a text chunk.
Is contained in                                                    Select to include the is present logic in an alphanumeric
                                                                   character string.
Is not contained in                                                Select to include the not present logic in an alphanumeric
                                                                   character string.
Is less than                                                       Select to find a value that is less than the value you provide.
Is less than or equal to                                           Select to find a value that is less than or equal to the value you
                                                                   provide.
Is greater than                                                    Select to find a value that is greater than the value you provide.
Is greater than or equal to                                        Select to find a value that is greater than or equal to the value
                                                                   you provide


System Update
This page provides the following information:

•   Summary
•   Compliant Systems
•   Non Compliant Systems
•   Non-Inventoried System
•   All System Update Tasks
•   Issues and Resolutions For Updates

Related links
  Compliance Report
  Non-Compliant Firmware and Drivers
  Non-Inventoried Systems
  All System Update Tasks

Compliance Report
The compliance report provides a bar chart distribution of compliant and noncompliant systems. Click a bar chart portion to view
more information on the systems in a pie chart and the software update tasks.
Related link
  System Update


                                                                                                                                     293
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 295 of 388



Compliance Report Options
Table 220. Compliance Report Options

Field                                      Description
Default Catalog Source                     Report source

MX Chassis Default Catalog Source          Report source for MX7000 chassis—lead chassis, member
                                           chassis, compute sleds, and storage
Get the latest                             This option is disabled if the catalog version is the latest. Else, it
                                           is active. Click this option to get the latest catalog version.
Advanced Settings                          Using these options you can set preferences for upgrading and
                                           downgrading firmware, BIOS, driver, and application versions:

                                           •   Enable Downgrades — Select this option to install versions
                                               of firmware, BIOS, drivers, and applications that are earlier
                                               than the versions installed on the systems.
                                           •   Disable Downgrades — This option is set by default,
                                               selecting this option enables you to install versions of
                                               firmware, BIOS, drivers, and applications that are later than
                                               the versions installed on the systems.

                                           You can also set one of the following update modes as the
                                           default:

                                           •   In-Band (Operating System) — Allows you to update all
                                               components on the systems.
                                           •   Out-of-Band (iDRAC) — Allows you to update only the
                                               BIOS, certain firmware, and certain applications.

                                                 NOTE: You can set one of the update modes as the
                                                 default mode but the actual update mode depends on
                                                 the protocol used and the components that are being
                                                 updated. For more information, see System Update Use
                                                 Case Scenarios.
                                           You can also set your preference to reboot the target server
                                           after an update by selecting the After update, if required,
                                           reboot the target server option. If this option is selected, the
                                           After update, if required, reboot the target server is selected
                                           in the System Update Task wizard.
                                                 NOTE: You can override this preference by selecting or
                                                 clearing the After update, if required, reboot the target
                                                 server option in the System Update Task wizard.
                                           If After update, if required, reboot the target server option is
                                           selected, the Out-of-band Reboot Type option is displayed.
                                           This option is disabled by default. Using the Out-of-band
                                           Reboot Type option, you can set the types of reboot methods
                                           available for the system update. The reboot methods are:

                                           •   Power Cycle (Cold) — Select this option to power off and
                                               then restart the system.
                                           •   Graceful Reboot without forced shutdown (Warm) —
                                               Select this option to shut down and then reboot the
                                               operating system without forcefully turning off the target
                                               system.
                                           •   Graceful Reboot with forced shutdown (Warm with
                                               forced) — Select this option to shut down and then reboot
                                               the operating system by forcefully turning off the target
                                               system.




294
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 296 of 388


Field                                                            Description

                                                                       NOTE: By default, the Graceful Reboot with forced
                                                                       shutdown reboot method is selected.

Systems information — bar chart format                           The bar chart lists the following systems:

                                                                 •   Compliant Systems
                                                                 •   Non-Compliant Systems

                                                                       NOTE: Non-Inventoried Systems and Issues and
                                                                       Resolutions links are provided below the bar chart. Click
                                                                       these links to navigate to the respective tabs.

Systems information — pie chart format                           The pie chart lists the systems status compared with the
                                                                 existing catalog file. The systems listed are as follows:

                                                                 •   Compliant Systems
                                                                 •   Non-Compliant Systems
                                                                 •   Non-Inventoried Systems
                                                                 •   Issues and Resolutions

Compliant Systems                                                Systems with software that is up to date when compared with
                                                                 versions available in the software updates default catalog. Click
                                                                 compliant systems portion to view more information in the
                                                                 Compliant Systems tab.
Non-Compliant Systems                                            Systems with software that requires updates when compared
                                                                 with versions available in the software updates default catalog.
                                                                 Click the non-compliant systems portion to view more
                                                                 information in the Non-Compliant Systems tab.
Non-Inventoried Systems                                          Discovered systems pending inventory when compared with
                                                                 available software in the default catalog. Click non-inventoried
                                                                 portion to view more information in the Non-Inventoried
                                                                 Systems tab.


Compliant Systems
The Compliant Systems tab provides this information:
Table 221. Compliant Systems

Field                                                            Description
System Name                                                      Domain name of the system.
Model Type                                                       Devices model information.
Operating System                                                 The operating system that is running on the server.
Service Tag                                                      A unique identifier, that provides the service lifecycle.
Discovered Time                                                  Time and date of discovery.
Inventory Time                                                   Time and date of inventory.
Server Subnet Location                                           IP address range information.


Non-Compliant Firmware and Drivers
The Non-Compliant Firmware & Drivers tab provides the following information:




                                                                                                                                295
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 297 of 388


Table 222. Non-Compliant Firmware & Drivers

Field                                                           Description
System Name                                                     Domain name of the system.
Group Name                                                      Displays the name of device groups.
Baseline Name                                                   Displays the name of catalog baseline associated with a device
                                                                group.
Model Type                                                      The systems model name. For example, PowerEdge.
Operating System                                                The operating system that is installed on the system.
Service Tag                                                     A unique identifier, that provides the service
                                                                lifecycle information.
Update Method                                                   Displays the update methods such as OpenManage Server
                                                                Administrator and iDRAC.
Discovered Time                                                 Time and date of discovery.
Inventory Time                                                  Time and date of inventory.

Select noncompliant systems, and select the updates in the Select Updates to Apply pane. Click Apply Selected Updates.
Table 223. Apply Selected Updates

Field                                                           Description
System Name                                                     System’s domain name.
Importance                                                      The requirement of this software update for the system.
Update Method                                                   Displays the update methods such as OpenManage Server
                                                                Administrator and iDRAC.
Component                                                       The software information.
Type                                                            The type of software update.
Installed Version                                               The installed version number.
Upgrade/Downgrade                                               A green arrow indicates an upgrade.
Available Version                                               The available version number.
Package Name                                                    The name of the software update.
Reboot Required                                                 Specifies whether the update requires a system reboot.

Related link
  System Update

System Update Task
Table 224. System Update Task

Field                                                           Description
Task Name                                                       Provide a name for the software update task.

Select System to Update                                         Select the system that you want to update.

System Name                                                     Domain name of the system.

Importance                                                      The requirement of this software update for the system.

Delivery Mode                                                   Displays the delivery methods such as OpenManage Server
                                                                Administrator and iDRAC.



296
        Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 298 of 388


Field                                                 Description
Component                                             The software information.

Type                                                  The type of software update.

Installed Version                                     The installed version number.

Upgrade/Downgrade                                     A green arrow indicates an upgrade.

Available Version                                     The available version number.

Package Name                                          The name of the software update.

Reboot required                                       Indicates if the system must be rebooted after the update.

Set the Task Schedule

Run Now                                               Select this option if you want to run the task when you click
                                                      Finish.

Set Schedule                                          Select to schedule a task at a required date and time. Click the
                                                      icon to set date and time.

After update, if required, reboot the target server   Select to restart the system after the software update task is
                                                      completed.

Out-of-band Reboot Type                               Displays the types of reboot methods available for the system
                                                      update.

                                                            NOTE: The Out-of-band Reboot Type option is available
                                                            only if you selected After update, if required, reboot the
                                                            target server option.
                                                      Select the reboot method from the following options:

                                                      •   Power Cycle (Cold) — Select this option to power off and
                                                          then restart the system.
                                                      •   Graceful Reboot without forced shutdown (Warm) —
                                                          Select this option to shut down and then reboot the
                                                          operating system without forcefully turning off the target
                                                          system.
                                                      •   Graceful Reboot with forced shutdown (Warm with
                                                          forced) — Select this option to shut down and then reboot
                                                          the operating system by forcefully turning off the target
                                                          system.

                                                            NOTE: By default, the Graceful Reboot with forced
                                                            shutdown reboot method is selected.

Skip Signature and Hash Check                         Select this option to skip the signature and hash check on the
                                                      system update package.

Before update, reset the iDRAC                        Select this option if you experience failures while performing
                                                      updates using the iDRAC.

                                                            CAUTION: Selecting this option may allow the update to
                                                            succeed, but may also cancel any pending jobs/activities
                                                            scheduled on the iDRAC.

Enter Credentials for the task execution

Enable Sudo                                           Select this option to update the system using sudo.




                                                                                                                       297
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 299 of 388


Field                                                               Description
SSH Port Number                                                     Provide the SSH port number.

Server User name                                                    Provide the server user name for the selected target.

Server Password                                                     Provide the server password for the selected target.

iDRAC User name                                                     Provide the iDRAC user name for the selected target.

iDRAC Password                                                      Provide the iDRAC password for the selected target.


Non-Inventoried Systems
The Non-Inventoried Systems tab provides a list of systems that require inventory. To inventory the systems, select the systems
and click Inventory.
Table 225. Non-Inventoried Systems

Field                                                               Description
System Name                                                         Domain name of the system.
Discovered Time                                                     Time and date of discovery.
Inventory Time                                                      Time and date of inventory.
Server Subnet Location                                              IP address range information.

Related links
  Updating BIOS, firmware, drivers, and system applications
  Viewing the System Update page
  System Update — Reference
  System Update

Inventory Systems
To inventory systems, select Systems To Inventory and click Run Inventory.

All System Update Tasks
This page provides more information on the software update tasks.
Table 226. All System Update Tasks

Field                                                               Description
Task Name                                                           The name of the task.
Task Label                                                          Provides information on what the task does.
Start Time                                                          Time and date of inventory.

Related link
  System Update

Issues and Resolutions
Table 227. Issues and Resolutions

Field                                                               Description
System Name                                                         Displays the domain name of the system.
Reason                                                              Displays the issue associated with the server.



298
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 300 of 388


Field                                                              Description
Recommendation                                                     Displays the resolution to resolve the issue.

Related links
  Updating BIOS, firmware, drivers, and system applications
  Viewing the System Update page
  System Update — Reference

Task Execution History
Lists the details of the system update tasks or remote tasks.
Table 228. Task Execution History

Field                                                              Description
Status                                                             Displays an icon representing the task status:
                                                                       — Running or pending
                                                                       — Completed
                                                                       — Stopped
                                                                       — Failed

                                                                        — Warning
Task Name                                                          The name of the task.
Start Time                                                         Time and date at which the system update task started.
% Completed                                                        The task’s progress information.
Task State                                                         Provides these task states:

                                                                   •   Running
                                                                   •   Completed
                                                                   •   Stopped
                                                                   •   Failed
                                                                   •   Warning

                                                                         NOTE: The task status displays warning if the After
                                                                         update if required, reboot the target server option was
                                                                         not selected for the system update task.

Successful / Attempted Targets                                     The number of target systems on which the task is successfully
                                                                   executed.
End Time                                                           Time and date at which the system update task ends.
Executed by User                                                   The user information.


Select a Catalog Source
For updating software, select from these options to use a default catalog file present on downloads.dell.com or provide an alternate
software update package file.




                                                                                                                                299
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 301 of 388


Table 229. Select a Catalog Source

Field                                                                 Description
Default Catalog

Use file system source (SUU)                                          Select to update software using Server Update Utility. Click
                                                                      Browse to traverse to the file location. The catalog.cab file is
                                                                      located in the repository folder.

Use repository manager file                                           Select to update software by using Repository Manager file.
                                                                      Click Browse to traverse to file location. The catalog.cab file is
                                                                      located in the repository folder.

Use an online source                                                  Select to update software by using the update package present
                                                                      on downloads.dell.com. Select the online source based on the
                                                                      preferred protocol from the drop-down list.

MX Chassis Default Catalog

HTTPS                                                                 Downloading software update package by using HTTPS. For
                                                                      example, downloads.dell.com/catalog.

        NOTE: The path to the catalog file may be displayed on the screen while importing the catalog using either SUU or
        Repository Manager. However, it is recommended that you manually select the catalog file, by clicking Browse.

Dell Update Package
A Dell Update Package (DUP) is a self-contained executable in a standard package format that updates a single software element on
the system. DUPs are software utilities provided by Dell to update specific software components on PowerEdge systems, desktops,
and laptops. The customized bundles and repositories are made up of DUPs based on operating systems supported, update types,
form factor, and line of business.

OpenManage Server Update Utility
OpenManage Server Update Utility (SUU) is a DVD-based application for identifying and applying updates to the system. SUU
displays a comparison report of the versions and provides various options for updating the components.

Repository Manager
Repository Manager is an application that allows you to create repositories of customized bundles and updates, and groups of related
updates for systems running supported Microsoft Windows or Linux operating systems. This facilitates generating comparison
reports and establishing update baselines of repositories. By using Repository Manager, you can ensure that the PowerEdge system,
desktop or laptop is equipped with the latest BIOS, driver, firmware, and software updates.


Viewing the Default Catalog
Select to view the catalog file that is currently in use for applying software updates.
Table 230. View Default Catalog

Field                                                                 Description
Source                                                                Displays the source. The source is either Server Update Utility,
                                                                      downloads.dell.com, or Repository Manager.
Source Type                                                           The type for source from which the catalog file is taken. For
                                                                      example, downloads.dell.com.
Release ID                                                            The unique identification number assigned to the released
                                                                      catalog file.
Release Date                                                          The date on which the catalog file was released.




300
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 302 of 388


Field                                                               Description
Newer version available                                             Displays if a newer version is available.


View MX Chassis Default Catalog
Select to view the catalog file that is currently in use for applying firmware and driver updates to the MX7000 chassis including the
lead chassis, member chassis, compute sleds, and storage.
Table 231. View MX Chassis Default Catalog

Field                                                               Description
Source                                                              Displays the source. The source is Online for MX7000 chassis.
Source Type                                                         The type for source from which the catalog file is taken.
Release ID                                                          The unique identification number that is assigned to the released
                                                                    catalog file.
Release Date                                                        The date on which the catalog file was released.
Newer version available                                             Displays if a newer version is available.


View Catalog Baseline Associations
Table 232. View Catalog Baseline Associations

Field                                                               Description
Group Name                                                          Name of the custom device group. By default, PowerEdge
                                                                    MX7000 and VxFlex Ready Nodes groups are also displayed.
Baseline Name                                                       Name of the catalog baseline associated to the custom device
                                                                    group.


List of Catalog Baselines
Table 233. List of Catalog Baselines

Field                                                               Description
Baseline Name                                                       Name of the catalog baseline.
Source                                                              Displays the source. For example, Repository Manager.
Release ID                                                          The unique identification number assigned to the released
                                                                    catalog file.
File Path                                                           File system location of the catalog.
Release Date                                                        The date on which the catalog file was released.


Create Catalog Baseline wizard
Table 234. Create Catalog Baseline wizard

Field                                                               Description
Baseline Name                                                       Name of the catalog baseline.
Use repository manager file                                         Browse to select the repository manager file.




                                                                                                                                    301
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 303 of 388



Baseline Details
Table 235. Baseline Details

Field                                       Description
Baseline Name                               Name of the catalog baseline.
File Path                                   File system location of the catalog.
Source Type                                 The type for source from which the catalog file is taken. For
                                            example, Custom Catalog.
Release ID                                  The unique identification number assigned to the released
                                            catalog file.
Release Date                                The date on which the catalog file was released.




302
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 304 of 388




                                                                                                                           20
Managing remote tasks
About remote tasks
With the remote tasks feature in OpenManage Essentials, you can:

•    Run commands on local and remote systems, run batch files and executable files on the local systems, and schedule local and
     remote tasks.
             NOTE: Ensure that you run the latest commands to successfully execute the remote tasks.

             NOTE: The files must be located on the system with OpenManage Essentials installed and not on the remote system.

•    Change power status for a system.
•    Deploy OpenManage Server Administrator on systems.
•    Deploy iDRAC Service Module on systems.
•    Collect firmware and driver inventory information from a server that does not have OpenManage Server Administrator (OMSA)
     installed.
•    View the remote tasks.
•    Make changes to any task by right-clicking it.

          NOTE: If you stop a running task, it may take 3-4 minutes for the task to stop gracefully and the updated task status to
          get reflected in the console.
          NOTE: The Task Execution History reflects the remote tasks that you created or deleted only after a few seconds.

          NOTE: When providing system credentials, if the username has spaces or periods, the username must be provided within
          quotation marks. For example, "localhost\johnny marr" or "us-domain\tim verlaine". Spaces and periods can be used in
          usernames for OpenMange System Administrator Tasks, Generic Command Line Tasks (local system), OpenManage
          Systems Administrator Deployment Tasks. System Updates (In Band, through OpenManage System Administrator) also
          support spaces and periods. Out of Band patching (through RAC device) or commands such as RACADM do not support
          space or period in the username.


Managing command line tasks
You can create custom command line tasks to run CLI commands on local and remote systems, and run batch files and executables
on local systems.
For example, you can create a custom command line task to run a security audit and gather information about the systems’ security
status.
          NOTE: The Remote Server Administrator Command task requires that the Windows Management Instrumentation
          service is running on the selected targets.
To create command line tasks:

1.    Click Manage → Remote Tasks → Common Tasks → Create Command Line Task.
2.    On General, enter a task name.
3.    Select one of the following options:

      •     Remote Server Administrator Command—To run the server administrator command on remote servers.
      •     Generic Command—To run the command, executable file, or batch file.
      •     IPMI Command—To run the IPMI commands on the remote system.




                                                                                                                                   303
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 305 of 388


      • RACADM Command Line—To run the RACADM commands on the remote system.
4.    Based on your selection in the preceding step, provide the following:

      •   If you selected Remote Server Administrator Command, then enter command, SSH port number, and select Generate
          Trusted Key for Linux if you want to generate a trusted key.
      •  If you selected Generic Command, RACADM Command Line or IPMI Command then enter command and append output
         information. Providing the append output information is optional.
5.    On Task Target, do one of the following:

      •   Select a query from the drop-down list, or create a query by clicking the New button.
      •   Select server targets for running the commands. Only applicable targets are displayed by default. For more information, see
          Device Capability Matrix.
6.    On Schedule and Credentials, enter user credentials, and set schedule for the tasks from available options, and then click
      Finish.
      For information about the fields in the Create a Command Line Task wizard, see Command Line Task.

Related links
  Remote Tasks
  Remote Tasks — Reference
  Remote Tasks Home
  Command Line Task
  All Tasks
  Device Capability Matrix

Managing RACADM command line tasks
RACADM command line tasks are used to run commands on remote DRACs and iDRACs. For example, run a RACADM task to
configure iDRAC through out of band (OOB) channel. To manage RACADM Command line tasks:

1.    Click Manage → Remote Tasks → Common Tasks → Create Command Line Task.
2.    On General, choose RACADM Command Line and enter a name for the task.
3.    Enter the RACADM subcommand (for example, getsysinfo). For a list of RACADM commands, go to Dell.com/support.
4.    (Optional) Choose Output to file to capture task output from multiple targets. Enter path and filename.

      •   To log the information from all selected targets, select Append.
      • To write all the detected errors to the log file, select Include errors.
5.    On Task Target, do one of the following:

      •   Select a query from the drop-down list, or create a query by clicking the New button.
      •  Choose target servers or DRACs/iDRACs. Only applicable targets are displayed by default. For more information, see Device
         Capability Matrix.
6.    On Schedule and Credentials, set the schedule parameters, enter target credentials and then click Finish.

Related links
  Remote Tasks
  Remote Tasks — Reference
  Remote Tasks Home
  Command Line Task
  All Tasks
  Device Capability Matrix

Managing generic command line tasks
Using generic command line task, you can run different types of tasks such as, a batch file, a script file such as a Powershell or VBS
script, an executable, or a command, on the local OpenManage Essentials system. While the task always runs on the local
OpenManage Essentials system, you can structure the local task to interact with or act upon various remote devices or servers.



304
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 306 of 388


You can enter tokens (substitution parameters) in the command line task to be passed to the script file, executable, command, or
batch file and execute local scripts on devices that are discovered in OpenManage Essentials.
To manage generic command line tasks:

1.    Click Manage → Remote Tasks → Common Tasks → Create Command Line Task.
2.    In the General tab, choose Generic Command.
3.    If required, update the task name.
4.    Enter the path and command (batch, script, or executable) to run on the local system.
5.    (Optional) Enter any arguments for the command. If $USERNAME and $PASSWORD are used in Arguments, you can pass the
      credentials to the command by the entering the credentials under Script Credentials. If $IP or $RAC_IP are used in
      Arguments, you can run the command against the selected target(s) by passing the IP address of each target to the command.
            NOTE: The tokens provided in the Arguments field must entirely be in either uppercase or lowercase. For example,
            $HOSTNAME or $hostname.

            NOTE: If you are running a command that does not require any tokens or arguments, the Script Credentials section
            and the Task Target tab are not displayed.
6.    (Optional) Choose Ping Device if you want to ping the device first.
7.    (Optional) Choose Output to file to capture task output from multiple targets. Enter path and filename.

      •   To log the information from all selected targets, select Append.
      • To write all the detected errors to the log file, select Include errors.
8.    On Task Target, do one of the following:

      •   Select a query from the drop-down list, or create a query by clicking the New button.
      • Select targets for running the commands.
9.    On Schedule and Credentials, enter the local administrator credentials with rights to run commands on the OpenManage
      Essentials system. Set schedule for the task(s) and then click Finish.

Related links
  About tokens
  Generic Command

About tokens
The following tokens can be used to pass values to the batch, script, or executable file:

•    $IP and $RAC_IP—If these arguments are used, the Task Target tab is displayed in the Create a Command Link Task screen.
     The Task Target tab allows you to select the targets to pass the arguments. $IP is used for a server IP and $RAC_IP is used for a
     RAC (iDRAC) IP. From the Task Target tab, you can select either groups, a device or use dynamic queries.
•    $USERNAME and $PASSWORD—In some instances, you must provide credentials for a remote system in your batch or script
     file. If $USERNAME or $PASSWORD are used in arguments, the Script Credentials section is displayed for these values. The
     credentials entered in the Script Credentials section are passed to the command line. You can pass either of these values or
     both.
           NOTE: You must enter both values in the Script Credentials section. If you do not need to use one value, enter any
           text in the field and it is ignored if the token is not in use.
•    $NAME—This token passes the name of the system found in the OpenManage Essentials Device Tree. The name is most often
     the host name of the system, but in some instances it might be either an IP address or a string such as Dell Rack System
     – SVCTAG1.

Passing tokens to a script
If you are using a batch file or a script, use %1, %2, %3 , and so on, to receive the values passed from OpenManage Essentials. The
values are passed in the order they are entered from left to right in the Arguments field.
For example, if you use $USERNAME $PASSWORD $IP $RAC_IP $NAME as arguments, a batch file with the following Echo
%1 %2 %3 %4 %5 displays the following result:
C:\Windows\system32>echo scriptuser scriptpw 10.36.1.180 10.35.155.111 M60505-W2K8x64
scriptuser scriptpw 10.36.1.180 10.35.155.111 M60505-W2K8x64




                                                                                                                                   305
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 307 of 388


          NOTE: The credentials are passed in plain text to the command line. If you schedule a task to run later, the credentials
          are encrypted and stored in the database. The credentials are decrypted when the task runs at the scheduled time.
          However, if you use the RUN option on a previously created task, enter both administrator credentials for the system and
          the script credentials.


Managing server power options
You can create tasks to turn on servers.
          NOTE: The power task requires that the Windows Management Instrumentation service is running on the selected
          targets.
To create a remote task:

1.    Click Manage → Remote Tasks → Common Tasks → Create Power Task.
2.    In Create a Power Task, on General, do the following:
      a. Enter a task name.
      b. Select power options. If required, select Shutdown OS first to shut down the operating system before starting the power
         tasks.
3.    On Task Target, do one of the following:

      •     Select a query from the drop-down list, or create a query by clicking the New button.
      • Select server targets for running the commands.
4.    On Schedule and Credentials, set the schedule parameters, enter target credentials, and then click Finish.

For information about the fields in the Create a Power Task wizard, see Server Power Options.
Related links
  Remote Tasks
  Remote Tasks — Reference
  Remote Tasks Home
  Command Line Task
  All Tasks
  Device Capability Matrix


Deploying OpenManage Server Administrator
The deploy OpenManage Server Administrator task requires the following on the selected targets:

•    Windows Management Instrumentation service must be running.
•    The default Temp folder (C:\Users\<username>\AppData\Local\Temp) must be available. Ensure that the Temp folder is not
     deleted or moved.

You can create tasks to deploy OpenManage Server Administrator (OMSA) on servers running Windows or Linux operating systems.
You can also plan a date and time to schedule the OMSA deploy task.
To create an OpenManage Server Administrator deployment task:

1.    Click Manage → Remote Tasks → Common Tasks → Create Deployment Task.
2.    On General, select Server Administrator and enter a task name. If you want to deploy OpenManage Server Administrator on:

      •     Windows-based servers—select Windows, provide installer path and, if required, provide arguments.
      •     Linux-based servers—select Linux and provide the installer path and, if required, provide arguments.
      •     Select Generate Trusted Key and select Allow reboot.

      For the list of supported packages and arguments (for servers running Window and Linux), see Supported Windows and Linux
      Packages and Arguments.




306
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 308 of 388


            NOTE: Install Server Administrator prerequisites before deploying Server Administrator on Linux.

            NOTE: If there are both 32-bit and 64-bit versions of OpenSSL libraries installed on a RHEL system, it is
            recommended to uninstall the 32-bit version. Also, if there is a symbolic link to libcrypto.so.6, created by
            OpenManage Essentials, remove the symbolic link, and then redeploy OpenManage Server Administrator.
3.   On Task Target, do one of the following:

     •    Select a query from the drop-down list, or create a query by clicking the New button.
     • Select servers on which you want to run this task and click Next.
4.   On Schedule and Credentials, set the schedule parameters, enter user credentials to enable the task.
5.   If you want to deploy Server Administrator as a sudo user, select Enable Sudo and update the SSH port number.
            NOTE: Before you deploy OMSA using sudo, create an user account, edit the sudoers file by using the visudo
            command, and add the following:

            •   For target systems running a 32-bit operating systems: Cmnd_Alias OMEUPDATE = /bin/tar,/bin/
                cat,/opt/dell/srvadmin/bin/omexec,/tmp/LinuxPreInstallPackage/runbada,/tmp/
                LinuxPreInstallPackage/omexec <sudo_username> ALL=OMEUPDATE, NOPASSWD:OMEUPDATE.
            •   For target systems running a 64-bit operating systems: Cmnd_Alias OMEUPDATE = /bin/tar,/bin/
                cat,/opt/dell/srvadmin/bin/omexec,/tmp/LinuxPreInstallPackage64/runbada,/tmp/
                LinuxPreInstallPackage64/omexec <sudo_username> ALL=OMEUPDATE, NOPASSWD:OMEUPDATE.
            NOTE: If OMSA is uninstalled from a system by a root user, before deploying OMSA on that system using sudo,
            make sure that all OMSA preinstallation package files are removed from the tmp folder.

            NOTE: Deploying OMSA using sudo is not supported for SUSE Linux Enterprise Server and ESX targets.
6.   Click Finish.

For information about the fields in the Create a Deployment Task wizard, see Deployment Task.
Related links
  Remote Tasks
  Remote Tasks — Reference
  Remote Tasks Home
  Command Line Task
  All Tasks
  Device Capability Matrix

Supported Windows and Linux Packages
Windows Packages
Table 236. Windows Packages

Package Type                        Clean installation              Major Version Upgrade (5.x     Minor Version Upgrade (8.x
                                                                    to 6.x to 7.x to 8.x)          to 8.y)
.msi                                Supported                       Supported                      Supported

.msp                                Not supported                   Not supported                  Supported

.exe                                Not supported                   Supported                      Supported

         NOTE: OMSA
         deployment using
         the .exe package is
         supported only with Dell
         Update Packages
         (DUPs).




                                                                                                                            307
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 309 of 388



Linux Packages
Table 237. Linux Packages

    Operating System                 Package
    SUSE Linux Enterprise Server     OM-SrvAdmin-Dell-Web-LX-6.5.0-2247.SLES10.x86_64_A01.6.tar.gz
    10                               OM-SrvAdmin-Dell-Web-LX-6.5.0-2247.SLES10.x86_64_A01.6.tar.gz.sign

    SUSE Linux Enterprise Server     OM-SrvAdmin-Dell-Web-LX-6.5.0-2247.SLES11.i386_A01.14.tar.gz
    11                               OM-SrvAdmin-Dell-Web-LX-6.5.0-2247.SLES11.i386_A01.14.tar.gz.sign

    VMware ESX 4                     OM-SrvAdmin-Dell-Web-LX-6.5.0-2247.ESX41.i386_A01.tar.gz
                                     OM-SrvAdmin-Dell-Web-LX-6.5.0-2247.ESX41.i386_A01.tar.gz.sign

    Red Hat Enterprise Linux 5       OM-SrvAdmin-Dell-Web-LX-6.5.0-2247.RHEL5.x86_64_A01.4.tar.gz
                                     OM-SrvAdmin-Dell-Web-LX-6.5.0-2247.RHEL5.x86_64_A01.4.tar.gz.sign

    Red Hat Enterprise Linux 6       OM-SrvAdmin-Dell-Web-LX-6.5.0-2247.RHEL6.x86_64_A01.5.tar.gz
                                     OM-SrvAdmin-Dell-Web-LX-6.5.0-2247.RHEL6.x86_64_A01.5.tar.gz.sign


Arguments
Clean Installation
Table 238. Clean Installation

    Component Installation                      Linux Attribute                                 Windows Attribute
    Server Administrator Web Server only        -w                                              ADDLOCAL=IWS

    Server Administrator Instrumentation only   -d                                              ADDLOCAL=SA

    Server Administrator Web Server and         -w –d                                           ADDLOCAL=ALL
    Server Instrumentation

Upgrade
•     REINSTALL=ALL REINSTALLMODE=VOMUS — This is a required argument for Server Administrator minor version upgrade
      using .msi packages.
•     /qn — This is an optional argument that is used for silent and unattended installation.

.


Deploying iDRAC Service Module
        NOTE: The iDRAC Service Module can be deployed only on servers that meet the following criteria:

        •   PowerEdge 12th generation or later servers running a 64-bit Windows or Linux operating system
        •   iDRAC firmware version 1.51.51 or later
        •   The server and iDRAC must be discovered in OpenManage Essentials
The deploy iDRAC Service Module task requires the following on the target servers:

•     Windows Management Instrumentation service must be running.
•     The default Temp folder (C:\Users\<username>\AppData\Local\Temp) must be available. Ensure that the Temp folder is not
      deleted or moved.

You can create tasks to deploy the iDRAC Service Module on servers running Windows or Linux operating systems. You can also plan
a date and time to schedule the iDRAC Service Module deployment task.




308
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 310 of 388


To create an iDRAC Service Module deployment task:

1.   Click Manage → Remote Tasks → Common Tasks → Create Deployment Task.
2.   On General, select iDRAC Service Module and provide a task name. If you want to deploy the iDRAC Service Module on
     Windows-based servers, then select Windows, provide installer path and, if required, provide arguments. If you want to deploy
     the iDRAC Service Module on Linux-based servers, select Linux and provide the installer path, select Generate Trusted Key
     and Allow reboot. If you are using a .rpm package to deploy the iDRAC Service Module, select Upload and Install GPG key.
            NOTE: Install the iDRAC Service Module prerequisites before deploying the iDRAC Service Module on Linux.
3.   On Task Target, do one of the following:

     •    Select a query from the drop-down list or create a new query by clicking the New button.
     •    Select servers on which you want to run this task and click Next.
             NOTE: Devices that are not applicable for the iDRAC Service Module deployment are not available for selection
             in the Task Target. Moving the mouse pointer over such a device in the Task Target displays a tool tip that
             indicates why the iDRAC Service Module cannot be deployed. If you want to override the device capability and
             allow all the available devices for selection as task targets, select Enable all.
4.   On Schedule and Credentials, set the schedule parameters, provide user credentials to enable the task.
5.   If you want to deploy the iDRAC Service Module as a sudo user, select Enable Sudo and update the SSH port number.
            NOTE: Before you deploy the iDRAC Service Module using sudo, create a new user account, edit the sudoers file
            using the visudo command, and add the following:
            Cmnd_Alias OMEUPDATE = /bin/tar,/bin/cat,/bin/rpm,/opt/dell/srvadmin/bin/
            omexec,/tmp/LinuxPreInstallPackage64/runbada,/tmp/LinuxPreInstallPackage64/omexec
            <sudo_username> ALL=OMEUPDATE, NOPASSWD:OMEUPDATE

            NOTE: If the iDRAC Service Module is uninstalled from a system by a root user, before deploying the iDRAC Service
            Module on that system using sudo, make sure that all the iDRAC Service Module pre-installation package files are
            removed from the tmp folder.

            NOTE: Deploying the iDRAC Service Module using sudo is not supported on SUSE Linux Enterprise Server and ESX
            targets.
6.   Click Finish.

For information about the fields in the Create a Deployment Task wizard, see Deployment Task.
Related link
  Deployment Task

Supported Windows and Linux Packages
Windows Packages
Table 239. Windows Packages

 Package Type                                   Clean installation                       Major Version Upgrade (1.x to 2.x)
 .msi                                           Supported                                Supported

         NOTE: The .msi package is
         applicable only for deploying iDRAC
         Service Module version 2.0 or later.

 .exe                                           Not supported                            Supported

         NOTE: iDRAC Service Module
         deployment using the .exe package
         is supported only with Dell Update
         Packages (DUPs).




                                                                                                                                309
              Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 311 of 388



Linux Packages
Table 240. Linux Packages

 Operating System                           Package
                                            OM-iSM-Dell-Web-LX-100-429.tar.gz
 •    Red Hat Enterprise Linux 5
                                            OM-iSM-Dell-Web-LX-100-429.tar.gz.sign
 •    Red Hat Enterprise Linux 6
                                            Systems-Management_Application_NH7WW_LN64_1.0.0_A01
 •    Red Hat Enterprise Linux 7
                                            Systems-Management_Application_NH7WW_LN64_1.0.0_A01.BIN
 •    SUSE Linux Enterprise Server 11
 •    Community Enterprise Operating
      System (CentOS) 5.9
 •    CentOS 6.5

 SUSE Linux Enterprise Server 11            dcism-1.0.0-4.435.1.sles11.x86_64.rpm

 Red Hat Enterprise Linux 5                 dcism-1.0.0-4.435.1.el5.x86_64.rpm

 Red Hat Enterprise Linux 6                 dcism-1.0.0-4.435.1.el6.x86_64.rpm


Collecting Firmware and Driver Inventory
The Create F/W & Driver Inventory Task allows you to collect firmware and driver inventory information from a server. The
collected inventory information serves as a baseline that is used by OpenManage Essentials to identify and apply updates on the
server. This task allows you to collect firmware and driver inventory information that is otherwise not be available to OpenManage
Essentials in the following scenarios:

•     Servers discovered using WMI or SSH protocol that do not have OpenManage Server Administrator (OMSA) installed.
•     PowerEdge servers or OEM servers that do not have OMSA installed.
•     Servers running Linux that have OMSA installed, but the inventory collector component is uninstalled.

After the inventory information is collected, you can update the firmware, BIOS, or drivers of the server through the System Update
portal.
           NOTE: The Create F/W & Driver Inventory Task utilizes the inventory collector component to collect firmware and driver
           inventory from target servers. The inventory collector component is deployed on each target server for collecting the
           inventory information. After the task is completed, the inventory collector component is automatically removed.
To collect firmware and driver inventory:

1.     Perform one of the following:

       •     Click Manage → Remote Tasks → Create F/W & Driver Inventory Task.
       •     If the server was discovered using WMI/SSH protocol and OMSA is not installed, click Manage → System Update → Non-
             Inventoried Systems.

             1.   Select the systems you want to inventory and click Inventory.
             2.   In the Systems to Inventory window, click Run Inventory.

       The Create a Firmware & Driver Inventory Task window is displayed.
2.     On General, provide a name for the task.
3.     If you want to filter the devices to be displayed in the Task Target based on the operating system, select Filter devices based
       on Operating System.
       a. Select Windows or Linux.
       b. If applicable, select 64-bit System.
                   NOTE: By default, target devices that have OMSA installed are not displayed on the Task Targets tab.
       c. Select Show OMSA based targets to also view target devices that have OMSA installed in the Task Target tab.



310
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 312 of 388


     d. If you selected Show OMSA based targets, perform one of the following in the Future Software Inventory Data Collected
        by section:
                NOTE: The Future Software Inventory Data Collected by options only determine the method OpenManage
                Essentials utilizes to gather firmware and driver inventory information from target devices after an in-band
                system update. If the F/W and Driver task based inventory option is selected, scheduled discovery and inventory
                cycles will still gather the OMSA-based inventory from target devices, except the information in the Software
                Inventory table.

         •    OMSA based inventory — Select to revert to gathering firmware and driver inventory information through OMSA on
              target devices that have OMSA installed.
                     NOTE: To revert to gathering firmware and driver inventory information through OMSA, you must either run
                     the firmware and driver inventory task or delete and rediscover the device.
         • F/W and Driver task based inventory — Select to gather firmware and driver inventory information through the
           inventory collector component, even though OMSA may be installed on the device.
4.   On Task Target, do one of the following:

     •   Select a query from the drop-down list or click New to create a new query.
     • Select servers on which you want to run this task and click Next.
5.   On Schedule and Credentials, set the schedule parameters, provide user credentials to enable the task.
6.   Click Finish.
     The status of the inventory collection is displayed in the Task Execution History of the Remote Tasks portal.

Related links
  Remote Tasks
  Remote Tasks — Reference
  Remote Tasks Home
  Command Line Task
  All Tasks
  Device Capability Matrix
  Firmware and Driver Inventory Collection Task


Updating the inventory collector component
The Create F/W & Driver Inventory Task utilizes the inventory collector component to collect software inventory information from
Dell servers. Occasionally, a newer version of the inventory collector component may be available. You can verify if OpenManage
Essentials has the latest version of the inventory collector component through the Dell Solutions portal. If a newer version of the
inventory collector component is available, the Update link is displayed on the Dell Solutions portal.
To update the inventory collector component:

1.   Click Dell Solutions.
     The Dell Solutions portal is displayed.
2.   Click the Update link displayed in the Inventory collector component row.
3.   At the confirmation prompt, click Yes.

The inventory collector component is downloaded in the background. You can view the status of the update in the Task Status grid
on the Home portal.


Working With Sample Remote Tasks Use Cases
Sample remote tasks are available for Server Power Options, Deploy Server Administrator, and Command Line. Sample remote tasks
use cases are disabled by default. To enable a sample use case:

1.   Right-click the use case and select Clone.
2.   Enter the Cloned Task Name and click Ok.




                                                                                                                                 311
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 313 of 388


3.     Right-click the cloned task and select Edit.
4.     Enter the required information and assign targets to the tasks. For information about the options, see Remote Tasks Reference.

Related links
  Remote Tasks
  Remote Tasks — Reference
  Remote Tasks Home
  Command Line Task
  All Tasks
  Device Capability Matrix

Use Cases in Remote Tasks
Server Power Options
Sample-Power On Device—Enable this use case to turn on the server. The system must have RAC/DRAC configured.

Deploy Server Administrator
Sample-OMSA Upgrade Windows—Enable this use case to upgrade OpenManage Server Administrator on a Windows-based
system.

Command Line
•     Sample - Windows OMSA Uninstall — Enable this use case to uninstall OMSA on a system running the Windows Server
      operating system.
•     Sample - Linux OMSA Uninstall — Enable this use case to uninstall OMSA on a system running the Linux operating system.
•     Sample - Server XML Configuration — Enable this use case to apply a specific server configuration to multiple managed
      nodes. For more information, see Using the Sample - Server XML Configuration Command Line Task.
•     Sample-Generic Command Remote — Enable this use case to use tokens to receive the IP address or name of inventories
      systems.
            NOTE: To use this command, you must enter the local system credentials.

•     Sample - Generic Command Local — Enable this use case to run a command or script on system with OpenManage Essentials.
            NOTE: To use this command, you must enter the local system credentials.

•     Sample - IPMI Command — Enable this use case to receive information about the power status of a server.
•     Sample - Remote Command — Enable this use case to view the system summary through Server Administrator.
•     Sample - RACADM - Clear SEL Log — Enable this use case to clear the SEL log of RAC.
•     Sample - RACADM-Reset — Enable this use case to reset the RAC.
•     Sample - RACADM-Lockdown Disable — Enable this use case to disable lockdown mode of iDRAC9 servers.
•     Sample - Disable Inventory Collector — Enable this use case to disable the inventory collector on target OMSA servers.
•     Sample - Enable Inventory Collector — Enable this use case to enable the inventory collector on target OMSA servers.

Firmware and Driver Inventory Task
Scheduled S/W Inventory Task — Enable this use case to collect firmware and driver inventory from a server.

Using the Sample - Server XML Configuration Command Line Task
The following are the prerequisites for using the Sample - Server XML Configuration command line task:

•     Lifecycle Controller 2 version 1.2 or later
•     RACADM version 7.2 or later
•     Firmware version 1.30.30 or later
•     Express or Enterprise license
•     iDRAC7




312
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 314 of 388


The Sample - Server XML Configuration command line task allows you to apply a specific server configuration to multiple managed
nodes. Using Lifecycle Controller 2 version 1.2 or later, a server configuration summary can be exported from an iDRAC in XML
format through the “Export Server Configuration” operation.
      NOTE: For information on exporting the server configuration summary using Lifecycle Controller 2, see the Configuration
      XML Workflows white paper at DellTechCenter.com/LC.
The server configuration summary XML file can be applied to another iDRAC using the Sample - Server XML Configuration
command line task.
      NOTE: To apply the server configuration summary from one iDRAC to another iDRAC, both the iDRACs must be of the
      same generation, same license state, and so on. For more information on the requirements, see the Lifecycle Controller
      (LC) XML Schema Guide, Server Configuration XML File, and Configuration XML Workflows white papers at
      DellTechCenter.com/LC.
To use the Sample - Server XML Configuration command line task:

1.   In the OpenManage Essentials Remote Tasks portal, right-click the Sample - Server XML Configuration, and click Clone.
     The Input information for the newly cloned task dialog box is displayed.
2.   Provide the Cloned Task Name and click OK.
3.   Right-click the created cloned task and click Edit.
     The Create a Command Line Task dialog box is displayed.
4.   Edit the Command field, and provide the location of the server configuration summary xml file in the OpenManage Essentials
     management station. For example, set –f c:\user1\server1.xml-t xml, where c:\user1\server1.xml is the
     location of the server configuration summary xml file.
5.   In the Targets tab, select the appropriate targets for applying the server configuration.
6.   In the Schedule and Credentials tab, select to run or schedule the task, and provide the required credentials.
7.   Click Finish.


Device Capability Matrix
The following device capability matrix provides information about the type of remote tasks supported on devices that are displayed in
the Task Target tab.
Table 241. Type Of Remote Tasks Supported On Devices That Are Displayed In The Task Target Tab

                       All Servers (except    Windows-based          Linux-based            DRAC/iDRAC          DRAC/iDRAC
                       ESXi) With Server      Servers without        Servers without        discovered using    discovered using
                       Administrator and      Server                 Server                 IPMI                SNMP/WS-Man
                       Discovered Using       Administrator and      Administrator and
 Remote Task Type      SNMP/WMI               discovered using       discovered using
                                              WMI                    SSH
                                        DRAC/iDRAC is not discovered                             Server operating system is not
                                                                                                          discovered
 Reboot/power          Supported              Supported              Not supported          Not supported       Not supported
 cycle operation

 Power off operation Supported                Supported              Not supported          Not supported       Not supported

 Power on operation    Not supported          Not supported          Not supported          Supported           Not supported

 Remote Server         Supported              Not supported          Not supported          Not supported       Not supported
 Administrator
 command task

 IPMI command task Not supported              Not supported          Not supported          Supported           Not supported

 RACADM command Not supported                 Not supported          Not supported          Not supported       Supported
 line task




                                                                                                                                   313
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 315 of 388


                          All Servers (except     Windows-based         Linux-based         DRAC/iDRAC             DRAC/iDRAC
                          ESXi) With Server       Servers without       Servers without     discovered using       discovered using
                          Administrator and       Server                Server              IPMI                   SNMP/WS-Man
                          Discovered Using        Administrator and     Administrator and
    Remote Task Type      SNMP/WMI                discovered using      discovered using
                                                  WMI                   SSH
                                           DRAC/iDRAC is not discovered                           Server operating system is not
                                                                                                           discovered
Create F/W &              Not supported           Supported             Supported           Not supported          Not supported
Driver Inventory
task

The following table lists the device discovery requirements for the iDRAC Service Module deployment task. To deploy the iDRAC
Service Module, the server and the iDRAC must discovered using the appropriate protocols specified. For example, to deploy the
iDRAC Service Module on a Windows-based server running Server Administrator that is discovered using SNMP/WMI, the iDRAC
must be discovered using SNMP/WS-Man.
Table 242. Discovery Requirements for the iDRAC Service Module

                                                            Server/in-band discovery                                 iDRAC/out-of-
                                                                                                                     band discovery
                          All Windows-based       All Windows-based     Linux-based         Linux-based            DRAC/iDRAC
    Remote Task Type      Servers With            Servers With          Servers With        Servers With           discovered using
                          Server                  Server                Server              Server                 SNMP/WS-Man
                          Administrator and       Administrator and     Administrator and   Administrator and
                          Discovered Using        Discovered Using      discovered using    discovered using
                          SNMP/WMI                WMI                   SNMP/SSH            SSH
iDRAC Service                                     N/A                   N/A                 N/A
Module deployment
task              N/A                                                   N/A                 N/A


                          N/A                     N/A                                       N/A


                          N/A                     N/A                   N/A


Device capabilities for a server or DRAC/iDRAC device are populated during discovery and is leveraged by remote tasks to determine
applicable targets for each task type. The capability is populated based on the following parameters:

•     Protocol used to discover the server and DRAC/iDRAC. For example, IPMI, SNMP, and so on.
•     If Server Administrator is installed on the server.
•     Settings enabled on the DRAC/iDRAC.

Selecting the Enable All check box allows you to override device capability and allows all the available devices for selection as task
targets.
The following device capability matrix provides information about the type of remote tasks supported on devices when the device
capabilities are overridden.




314
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 316 of 388


Table 243. Type Of Remote Tasks Supported On Devices When The Device Capabilities Are Overridden

                     All Servers (except   Windows-based       Linux-based          DRAC/iDRAC           DRAC/iDRAC
                     ESXi) With Server     Servers without     Servers without      discovered using     discovered using
                     Administrator and     Server              Server               IPMI                 SNMP/ WS-Man
                     Discovered Using      Administrator and   Administrator and
 Remote Task Type    SNMP/WMI              discovered using    discovered using
                                           WMI                 SSH
                                     DRAC/iDRAC is not discovered                        Server operating system is not
                                                                                                  discovered
Reboot/power         Supported             Supported           Not supported        Not supported        Not supported
cycle operation

Power off operation Supported              Supported           Not supported        Not supported        Not supported

Power on operation   Supported if:         Not supported       Not supported        Supported            Supported if:
                     DRAC/iDRAC                                                                          IPMI over LAN is
Remote Server                              Not supported       Not supported        Not supported
                     information is                                                                      enabled on the
Administrator        retrieved and                                                                       DRAC/iDRAC
command task         displayed in the                                                                    device.
                     inventory page.                                                                     You select Enable
                     IPMI over LAN is                                                                    All in the Tasks
                     enabled on the                                                                      Target tab.
                     DRAC/iDRAC
                     device.
                     You select Enable
                     All in the Tasks
                     Target tab.
IPMI command task Not supported            Not supported       Not supported        Not supported        Not supported

RACADM command Supported if:               Not supported       Not supported        Not supported        Supported
line task      DRAC/iDRAC
               information is
               retrieved and
               displayed in the
               inventory page.
               You select Enable
               All in the Tasks
               Target tab.

     NOTE: In the Task Targets tab, if the Enable All option is selected, the iDRAC Service Module deployment is enabled for
     all discovered servers or unknown devices.
Related links
  Managing command line tasks
  Managing RACADM command line tasks
  Managing server power options
  Deploying OpenManage Server Administrator
  Collecting Firmware and Driver Inventory
  Working With Sample Remote Tasks Use Cases
  Using the Sample - Server XML Configuration Command Line Task
  Deploying iDRAC Service Module
  Remote Tasks
  Remote Tasks — Reference




                                                                                                                          315
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 317 of 388




                                                                                                                            21
Remote Tasks — Reference
From Remote Tasks you can:

•     Run commands on local and remote systems, batch files and executable files on the local systems, and schedule local and remote
      tasks.
•     Change power status for a system.
•     Deploy OpenManage Server Administrator on systems.
•     Deploy the iDRAC Service Module on systems.
•     Collect firmware and driver inventory.
•     View the remote tasks.

Remote Tasks:

•     Common Tasks

      – Create Command Line Task
      – Create Deployment Task
      – Create Power Task
      – Create F/W & Driver Inventory Task
•     Remote Tasks

      – Server Power Options
      – Deploy Server Administrator
      – Command Line
•     F/W & Driver Inventory Task

Related links
  Managing command line tasks
  Managing RACADM command line tasks
  Managing server power options
  Deploying OpenManage Server Administrator
  Collecting Firmware and Driver Inventory
  Working With Sample Remote Tasks Use Cases
  Using the Sample - Server XML Configuration Command Line Task
  Deploying iDRAC Service Module
  Remote Tasks Home
  Command Line Task
  All Tasks
  Device Capability Matrix


Remote Tasks Home
To view Remote Tasks page, in OpenManage Essentials, click Manage → Remote Tasks.




316
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 318 of 388


Related links
  Managing command line tasks
  Managing RACADM command line tasks
  Managing server power options
  Deploying OpenManage Server Administrator
  Collecting Firmware and Driver Inventory
  Working With Sample Remote Tasks Use Cases
  Using the Sample - Server XML Configuration Command Line Task
  Deploying iDRAC Service Module
  Remote Tasks
  Remote Tasks — Reference


Remote Tasks
Remote Tasks page lists the following information:

•   All Tasks
•   Server Power Options
•   Server Administrator Deployment
•   Command Line
•   Firmware & Driver Inventory

Related links
  Managing command line tasks
  Managing RACADM command line tasks
  Managing server power options
  Deploying OpenManage Server Administrator
  Collecting Firmware and Driver Inventory
  Working With Sample Remote Tasks Use Cases
  Using the Sample - Server XML Configuration Command Line Task
  Deploying iDRAC Service Module
  Remote Tasks Home
  Command Line Task
  All Tasks
  Device Capability Matrix

All Tasks
Table 244. All Tasks

Field                                                        Description
Scheduled State                                              Displays if the task is enabled.
Task Name                                                    Names of the task.
Task Label                                                   Type of task that is run, for example; for a command line task
                                                             the options displayed are Remote Server Administrator
                                                             Command, Generic Command, IPMI Command, and RACADM
                                                             Command Line.
Last Run                                                     The last time and date information when the task was run.
Created On                                                   The time and date on which the task was created.
Updated On                                                   The time and date information when the task was run.
Updated By                                                   The name of the user.




                                                                                                                              317
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 319 of 388


Related links
  Managing command line tasks
  Managing RACADM command line tasks
  Managing server power options
  Deploying OpenManage Server Administrator
  Collecting Firmware and Driver Inventory
  Working With Sample Remote Tasks Use Cases
  Using the Sample - Server XML Configuration Command Line Task
  Deploying iDRAC Service Module
  Remote Tasks
  Remote Tasks — Reference

Task Execution History
Lists the details of the system update tasks or remote tasks.
Table 245. Task Execution History

Field                                                              Description
Status                                                             Displays an icon representing the task status:
                                                                       — Running or pending
                                                                       — Completed
                                                                       — Stopped
                                                                       — Failed

                                                                       — Warning
Task Name                                                          The name of the task.
Start Time                                                         Time and date at which the system update task started.
% Completed                                                        The task’s progress information.
Task State                                                         Provides these task states:

                                                                   •   Running
                                                                   •   Completed
                                                                   •   Stopped
                                                                   •   Failed
                                                                   •   Warning

                                                                         NOTE: The task status displays warning if the After
                                                                         update if required, reboot the target server option was
                                                                         not selected for the system update task.

Successful / Attempted Targets                                     The number of target systems on which the task is successfully
                                                                   executed.
End Time                                                           Time and date at which the system update task ends.
Executed by User                                                   The user information.


Server Power Options
Select this option to change the power state or restart systems.




318
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 320 of 388


Table 246. Server Power Options

Field                                          Description
General
Task Name                                      Provide a name for this server power options task.
Select the type                                Select from the following options:

                                               •   Reboot — Restarts the system without powering off.
                                               •   Power Cycle — Powers off and then restarts the system.
                                                         NOTE: Make sure that the shutdown option is
                                                         configured for the operating system before you
                                                         perform a graceful shutdown using this option. If you
                                                         use this option without configuring it on the
                                                         operating system, it restarts the managed system
                                                         instead of performing a shutdown operation.
                                               •   Power Off — Powers off the system.
                                               •   Power On — Powers on the system. This option works only
                                                   on target systems that contain RAC.

Shutdown OS first                              Select to shut down the operating system before executing the
                                               server power options task.
Task Target
Select a query                                 Select a query from the drop-down list. To create a new query,
                                               click New.
Select the device(s) for this task to target   Select the devices to which you want to assign this task.

Enable All                                     Select to override the device capability and allow all the available
                                               devices for selection as task targets.

Schedule and Credentials
Set schedule                                   Select from these options:

                                               •   Activate Schedule — Select this option to activate a
                                                   schedule for the task.
                                               •   Run now — Select this option to run the task immediately.
                                               •   Set schedule — Select this option to set a date and time
                                                   for the task to run.
                                               •   Run Once — Select this option tot run the task on the
                                                   planned schedule only once.
                                               •   Periodic — Select this option to run the task frequently at
                                                   specified intervals:

                                                   – Hourly — Select this option to run the task once every
                                                     hour.
                                                   – Daily — To run the task once every day.
                                                   – Weekly — To run the task once every week.
                                                   – Monthly — To run the task once every month.

                                               Range of Recurrence:

                                               •   Start — To specify the date and time at which the task
                                                   should begin.
                                               •   No End Date — To continuously run this task based on the
                                                   selected frequency. For example, if you selected Hourly, then
                                                   this task continuously runs every hour from the start time.
                                               •   End By — To stop the task at the specified date and time.

Enter User Name and Password                   User Name — Provide in the format domain\user name or local
                                               host\user name.



                                                                                                                319
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 321 of 388


Field                                                              Description
                                                                   Password — Provide the password.
                                                                   Power On works only on target systems with iDRAC; use the
                                                                   IPMI credentials to perform Power On task.
                                                                   If you selected Power On, then provide the KG key.
                                                                   KG Key — Enter the KG Key. DRAC also supports IPMI KG Key.
                                                                   Each BMC is configured to require an access key in addition to
                                                                   user credentials. The KG key is prompted only for power-on task
                                                                   and not other power tasks because it is an IPMI task.
                                                                         NOTE: The KG key is a public key that is used to
                                                                         generate an encryption key for use between the
                                                                         firmware and the application; and is available only on
                                                                         PowerEdge 9G and later systems. The KG key value is
                                                                         an even number of hexadecimal characters. In the
                                                                         format, yxxx, y denotes alphanumeric characters and x
                                                                         denotes numbers.


Related links
  Managing server power options
  Device Capability Matrix

Deployment Task
Select this option to create tasks to deploy either Server Administrator or iDRAC Service Module on selected servers.
Table 247. Deployment Task

Field                                                              Description
General
Deployment Type                                                    Select the type of deployment from the following options:

                                                                   •   Server Administrator
                                                                   •   iDRAC Service Module

Task Name                                                          Provide a name for the task.
Select the type                                                    Select from the target type from the following options:

                                                                   •   Windows
                                                                   •   Linux

Installer Path                                                     The location where the Server Administrator or iDRAC Service
                                                                   Module installer is available.
                                                                   For Windows, packages with.dup, .msi, and .msp. file
                                                                   extensions are available. Msi packages enable Server
                                                                   Administrator installation and upgrades while dup and msp
                                                                   packages enable only Server Administrator upgrades.

                                                                   •   For Server Administrator deployment on Linux:

                                                                       – Packages with the tar.gz file extensions are available.
                                                                       – The.sign file is required for verification. The .sign file
                                                                         must be available in the same folder as the tar.gz file.
                                                                   •   For the iDRAC Service Module deployment on Linux:

                                                                       – Packages with the tar.gz, .rpm and .bin file extensions
                                                                         are available.




320
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 322 of 388


Field                                                        Description

                                                                 – For deploying the .rpm file, the RPM-GPG-KEY file must
                                                                   be available in the same folder as the .rpm file.

Install Arguments                                            (Optional) Provide arguments.
        NOTE: Applicable only for Server Administrator       For example, in Windows, the parameters are as follows:
        deployment task.                                     •   ADDLOCAL = IWS — Server Administrator web server only
                                                             •   ADDLOCAL = SSA — Server instrumentation only

                                                             For example, in Linux, the parameters are as follows:

                                                             •   -w — Server administrator web server only
                                                             •   -d — Server instrumentation only

                                                             See the Dell OpenManage Installation and Security User's Guide
                                                             at Dell.com/support for a complete list of arguments.
Generate Trusted Key                                         This option is available if you selected Linux. Select this option to
                                                             generate a trusted key.
64-bit System                                                Select this option if you are deploying the 64-bit version of
                                                             Server Administrator on a managed node.
Allow reboot (if required)                                   Select this option to restart the server once you deploy Server
                                                             Administrator on the server.
Upload and Install GPG key (requires GPG key in same         This option is available if you select a .rpm file for the iDRAC
folder)                                                      Service Module deployment. Select this option to validate
                                                             the .rpm file on the target device.
        NOTE: Applicable only for the iDRAC Service Module
        deployment task.

Task Target
Select a query                                               Select a query from the drop-down list. To create a new query,
                                                             click New.
Select server(s) for this task to target                     Select the severs to which you want to assign this task.
Enable all                                                   Select to override the device capability and display all the
                                                             available devices for selection as task targets.
        NOTE: Applicable only for the iDRAC Service Module
        deployment task.

Schedule and Credentials
Set schedule                                                 Select from these options:

                                                             •   Activate Schedule — Select this option to activate a
                                                                 schedule for the task.
                                                             •   Run now — Select this option to run the task immediately.
                                                             •   Set schedule — Select this option to set a date and time
                                                                 for the task to run.

Enter credentials of remote target(s)
User Name                                                    Provide in the format domain\user name or local host\user
                                                             name.
Password                                                     Provide the password.
Enable Sudo                                                  Select this option to deploy Server Administrator or the iDRAC
                                                             Service Module using Sudo.
SSH Port                                                     Provide the SSH port number.




                                                                                                                                321
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 323 of 388


Related links
  Deploying OpenManage Server Administrator
  Device Capability Matrix


Command Line Task
Select this option to create command line tasks.
Table 248. Command Line Task

Field                                                        Description
Task Name                                                    Provide name of the task.
Remote Server Administrator Command                          Select this option to run Remote Server Administrator
                                                             Command on selected servers.
Generic Command                                              Select this option to run executable and commands on the
                                                             system with OpenManage Essentials.
IPMI Command                                                 Select this option to run IPMI commands on selected servers.
RACADM Command Line                                          Select this option to run RACADM commands on selected
                                                             servers.

Related links
  Managing command line tasks
  Managing RACADM command line tasks
  Managing server power options
  Deploying OpenManage Server Administrator
  Collecting Firmware and Driver Inventory
  Working With Sample Remote Tasks Use Cases
  Using the Sample - Server XML Configuration Command Line Task
  Deploying iDRAC Service Module
  Remote Tasks
  Remote Tasks — Reference
  Remote Server Administrator Command
  Generic Command
  IPMI Command
  RACADM Command Line

Remote Server Administrator Command
Table 249. Remote Server Administrator Command

Field                                                        Description
Command                                                      Provide command, for example, omereport system
                                                             summary.

Ping Device                                                  This option performs a ping test to verify if a device is reachable
                                                             before it runs a task against it. This option can be used when
                                                             using $IP or $RAC_IP and it decreases the time it takes to run
                                                             the task(s) as it skips unreachable devices.

Output to file                                               Select to enable output to a log file. This option captures
                                                             standard output and writes it to the log file. If you select this
                                                             option, enter the path name and file name of the log file. This
                                                             option is disabled by default.
Append                                                       Select to append output from the completed command to the
                                                             specified file. If the file does not exist, it is created.



322
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 324 of 388


Field                                       Description
Include errors                              Select to write all OpenManage Essentials-detected errors to
                                            the log file. For example, if no response is received to a ping
                                            request before the execution of the command, an error is
                                            written to the log file.
SSH Port number                             Provide the Secure Shell (SSH) port number on the managed
                                            Linux system. The default value for the port number is 22.
Generate Trusted Key for Linux              Select this option to generate a trusted device key for
                                            communicating with devices. This option is disabled by default.
                                                  NOTE: The first time that OpenManage Essentials
                                                  communicates with a managed device with Linux
                                                  operating system, a key is generated and stored on both
                                                  the devices. This key is generated per device and
                                                  enables a trust relationship with the managed device.

Task Target
Select a query                              Select a query from the drop-down list. To create a new query,
                                            click New.
Select the server(s) for this task target   Select the severs to which you want to assign this task.

Enable All                                  Select to override the device capability and allow all the available
                                            devices for selection as task targets.

Schedule and Credentials
Set schedule                                Select from these options:

                                            •   Activate Schedule—Select this option to activate a
                                                schedule for the task.
                                            •   Run now—Select this option to run the task immediately.
                                            •   Set schedule—Select this option to set a date and time for
                                                the task to run.
                                            •   Run Once—Select this option to run the task on the
                                                planned schedule only once.
                                            •   Periodic—Select this option to run the task frequently at
                                                specified intervals.

                                                – Hourly—Select this option to run the task once every
                                                  hour.
                                                – Daily—To run the task once every day.
                                                – Weekly—To run the task once every week.
                                                – Monthly—To run the task once every month.

                                            Range of Recurrence:

                                            •   Start—To specify the date and time at which the task
                                                should begin.
                                            •   No End Date—To continuously run this task based on the
                                                selected frequency. For example, if you selected Hourly, then
                                                this task continuously runs every hour from the start time.
                                            •   End By—To stop the task at the specified date and time.

Enter credentials of the remote target(s)   User Name—Provide in the format domain\user name or local
                                            host\user name.
                                            Password—Provide the password.




                                                                                                              323
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 325 of 388


Related links
  Command Line Task
  Managing command line tasks
  Using the Sample - Server XML Configuration Command Line Task

Generic Command
Table 250. Generic Command

Field                                                        Description
Task Name                                                    Enter a name for the task. By default, the task name is
                                                             populated in the format:
                                                             <task name>-<date and time>.
Command                                                      Provide the fully qualified path name and file name of the
                                                             executable, command, or script file that launches the application
                                                             program. For example:

                                                             •    Tracert
                                                             •    C:\scripts\trace.bat
                                                             •    D:\exe\recite.exe

Arguments                                                    Enter command line switches to a command or executable or
                                                             pass values to a script or batch file. For example, -4 $IP. If this
                                                             argument is passed to tracert command, it executes IPV4 only
                                                             Traceroute against the IPs of servers selected in Task Target
                                                             tab. The command run would be tracert -4 10.35.0.55.
                                                             For more information, see About Tokens.

Ping Device                                                  This option performs a ping test to verify if a device is reachable
                                                             before it runs a task against it. This option can be used when
                                                             using $IP or $RAC_IP and it decreases the time it takes to run
                                                             the task(s) as it skips unreachable devices.
Output to file                                               Select to enable output to a log file. This option captures
                                                             standard output from the running application and writes it to the
                                                             log file. If you select this option, you must enter the path name
                                                             and file name of the log file. This option is disabled by default.
Append                                                       Select this option to continue writing to the same file if you run
                                                             a task multiple times.
Include errors                                               Select to write all OpenManage Essentials-detected errors to
                                                             the log file. For example, if no response is received to a ping
                                                             request before the execution of the command, an error is
                                                             written to the log file.
Schedule and Credentials
Set schedule                                                 Select from these options:

                                                             •    Activate Schedule — Select this option to activate a
                                                                  schedule for the task.
                                                             •    Run now — Select this option to run the task immediately.
                                                             •    Set schedule — Select this option to set a date and time
                                                                  for the task to run.
                                                             •    Run Once — Select this option to run the task on the
                                                                  planned schedule only once.
                                                             •    Periodic — Select this option to run the task frequently at
                                                                  specified intervals.

                                                                  – Hourly — Select this option to run the task once
                                                                    every hour.



324
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 326 of 388


Field                                                           Description

                                                                    – Daily — To run the task once every day.
                                                                    – Weekly — To run the task once every week.
                                                                    – Monthly — To run the task once every month.

                                                                Range of Recurrence:

                                                                •   Start — To specify the date and time at which the task
                                                                    should begin.
                                                                •   No End Date — To continuously run this task based on the
                                                                    selected frequency. For example, if you selected Hourly, then
                                                                    this task continuously runs every hour from the start time.
                                                                •   End By — To stop the task at the specified date and time.

Enter the credentials with appropriate privileges to run this   User Name — Provide OpenManage Essentials user credentials
task on this system                                             in the format domain\user name or local host\user name.
                                                                Password — Provide the password.

Related links
  Command Line Task
  Managing command line tasks
  Using the Sample - Server XML Configuration Command Line Task

IPMI Command
Table 251. IPMI Command

Field                                                           Description
Command                                                         Provide the IPMI command you want to run on selected targets.
Ping Device                                                     This option performs a ping test to verify if a device is reachable
                                                                before it runs a task against it. This option can be used when
                                                                using $IP or $RAC_IP and it decreases the time it takes to run
                                                                the task(s) as it skips unreachable devices.

Output to file                                                  Select to enable output to a log file. This option captures
                                                                standard output from the running application and writes it to the
                                                                log file. If you select this option, enter the path name and file
                                                                name of the log file. This option is disabled by default.
Append                                                          Select to append output from the completed command to the
                                                                specified file. If the file does not exist, it is created.
Include errors                                                  Select to write all OpenManage Essentials-detected errors to the
                                                                log file. For example, if no response is received to a ping request
                                                                before the execution of the command, an error is written to the
                                                                log file.
Task Target
Select a query                                                  Select a query from the drop-down list. To create a new query,
                                                                click New.
Select server(s) for this task to target                        Select the severs to which you want to assign this task.

Enable All                                                      Select to override the device capability and allow all the available
                                                                devices for selection as task targets.

Schedule and Credentials
Set schedule                                                    Select from these options:




                                                                                                                                 325
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 327 of 388


Field                                                       Description

                                                            •     Activate Schedule — Select this option to activate a
                                                                  schedule for the task.
                                                            •     Run now — Select this option to run the task immediately.
                                                            •     Set schedule — Select this option to set a date and time for
                                                                  the task to run.
                                                            •     Run Once — Select this option to run the task on the
                                                                  planned schedule only once.
                                                            •     Periodic — Select this option to run the task frequently at
                                                                  specified intervals.

                                                                  – Hourly — Select this option to run the task once every
                                                                    hour.
                                                                  – Daily — To run the task once every day. Weekly — To
                                                                    run the task once every week.
                                                                  – Monthly — To run the task once every month.

                                                            Range of Recurrence:

                                                            •     Start — To specify the date and time at which the task
                                                                  should begin.
                                                            •     No End Date — To continuously run this task based on the
                                                                  selected frequency. For example, if you selected Hourly, then
                                                                  this task continuously runs every hour from the start time.
                                                            •     End By — To stop the task at the specified date and time.

Enter Remote Access Controller credentials for target(s)
User Name                                                   The RACADM task requires IPMI credentials. Provide IPMI
                                                            credentials to run the task.
Password                                                    Provide the password.
KG key                                                      Enter the KG key value. DRAC also supports IPMI KG key value.
                                                            Each BMC or DRAC is configured to require an access key in
                                                            addition to user credentials.
                                                                    NOTE: The KG key is a public key that is used to
                                                                    generate an encryption key for use between the firmware
                                                                    and the application. The KG key value is an even number
                                                                    of hexadecimal characters.


Related links
  Command Line Task
  Managing command line tasks
  Using the Sample - Server XML Configuration Command Line Task

RACADM Command Line
Table 252. RACADM Command Line

Field                                                        Description
Command                                                      Provide the RACADM command you want to run on the servers.
Ping Device                                                  This option performs a ping test to verify if a device is reachable
                                                             before it runs a task against it. This option can be used when
                                                             using $IP or $RAC_IP and it decreases the time it takes to run
                                                             the task(s) as it skips unreachable devices.
Output to file                                               Select to enable output to a log file. This option captures
                                                             standard output from the running application and writes it to the




326
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 328 of 388


Field                                                        Description
                                                             log file. If you select this option, you must enter the path name
                                                             and file name of the log file. This option is disabled by default.
Append                                                       Select to append output from the completed command to the
                                                             specified file. If the file does not exist, it is created.
Include errors                                               Select to write all OpenManage Essentials-detected errors to
                                                             the log file. For example, if no response is received to a ping
                                                             request before the execution of the command, an error is
                                                             written to the log file.
Task Target
Select a query                                               Select a query from the drop-down list. To create a new query,
                                                             click New.
Select the server(s) for this task to target                 Select the severs to which you want to assign this task.

Enable All                                                   Select to override the device capability and allow all the available
                                                             devices for selection as task targets.

Schedule and Credentials
Set schedule                                                 Select from these options:

                                                             •    Activate Schedule — Select this option to activate a
                                                                  schedule for the task.
                                                             •    Run now — Select this option to run the task immediately.
                                                             •    Set schedule — Select this option to set a date and time
                                                                  for the task to run.
                                                             •    Run Once — Select this option to run the task on the
                                                                  planned schedule only once.
                                                             •    Periodic — Select this option to run the task frequently at
                                                                  specified intervals.

                                                                  – Hourly — Select this option to run the task once every
                                                                    hour.
                                                                  – Daily — To run the task once every day.
                                                                  – Weekly — To run the task once every week.
                                                                  – Monthly — To run the task once every month.

                                                             Range of Recurrence:

                                                             •    Start — To specify the date and time at which the task
                                                                  should begin.
                                                             •    No End Date — To continuously run this task based on the
                                                                  selected frequency. For example, if you selected Hourly, then
                                                                  this task continuously runs every hour from the start time.
                                                             •    End By — To stop the task at the specified date and time.

Enter Remote Access Controller credentials for target(s)     User Name — The RACADM task requires IPMI credentials.
                                                             Provide IPMI credentials to run the task.
                                                             Password — Provide the password.

Related links
  Command Line Task
  Managing command line tasks
  Using the Sample - Server XML Configuration Command Line Task




                                                                                                                               327
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 329 of 388



Firmware and Driver Inventory Collection Task
Select this option to collect firmware and driver inventory information from a server that does not have OpenManage Server
Administrator installed.
Table 253. Firmware and Driver Inventory Collection Task

Field                                                             Description
General
Task Name                                                         Provide a name for the inventory collection task.
Filter devices based on operating system                          Select to filter devices to be displayed in the Task Target based
                                                                  on the selected operating system.
Select the Operating System                                       Select from the following options:

                                                                  •   Windows
                                                                  •   Linux

64–bit System                                                     Select this option if the target server is running a 64-bit
                                                                  operating system.
Show OMSA based targets                                           Select to display devices from which inventory is currently
                                                                  gathered through OMSA in the Task Target tab.

Future Software Inventory Data Controlled by:                     Select from the following options:

                                                                  •   OMSA based inventory — Select to use OMSA to gather
                                                                      inventory information from the target devices.
                                                                  •   F/W and Driver task based inventory — Select to use the
                                                                      inventory collector component to gather inventory
                                                                      information from the target devices.

Task Target
Select a query                                                    Select a query from the drop-down list. To create a new query,
                                                                  click New.
Select the servers(s) for this task to target                     Select the servers you want to assign the task.
Schedule and Credentials
Set schedule                                                      Select from these options:

                                                                  •   Activate Schedule — Select this option to activate a
                                                                      schedule for the task.
                                                                  •   Run now — Select this option to run the task immediately.
                                                                  •   Set schedule — Select this option to set a date and time to
                                                                      run the task.
                                                                  •   Run Once — Select this option tot run the task on the
                                                                      planned schedule only once.
                                                                  •   Periodic — Select this option to run the task frequently at
                                                                      specified intervals:

                                                                      – Hourly — Select this option to run the task once every
                                                                        hour.
                                                                      – Daily — Select this option to run the task once every
                                                                        day.
                                                                      – Weekly — Select this option to run the task once every
                                                                        week.
                                                                      – Monthly — Select this option to run the task once
                                                                        every month.

                                                                  Range of Recurrence:



328
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 330 of 388


Field                                        Description

                                             •   Start — To specify the date and time at which the task
                                                 should begin.
                                             •   No End Date — To continuously run this task based on the
                                                 selected frequency. For example, if you selected Hourly, then
                                                 this task continuously runs every hour from the start time.
                                             •   End By — To stop the task at the specified date and time.

Enter credentials of the remote targets      User Name — Provide in the format domain\user name or local
                                             host\user name.
                                             Password — Provide the password.

Related link
  Collecting Firmware and Driver Inventory




                                                                                                           329
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 331 of 388




                                                                                                                           22
Managing security settings
Using security roles and permissions
OpenManage Essentials provides security through role-based access control (RBAC), authentication, and encryption. RBAC
manages security by determining the operations run by persons in particular roles. Each user is assigned one or more roles, and each
role is assigned one or more user rights that are permitted to users in that role. With RBAC, security administration corresponds
closely to an organization's structure.
OpenManage Essentials roles and associated permissions are as follows:

•   OmeUsers have limited access and rights and can perform read-only operations in OpenManage Essentials. They can log in to
    the console, run discovery and inventory tasks, view settings, and acknowledge events. The Windows Users group is a member
    of this group.
•   OmeAdministrators have full access to all the operations within OpenManage Essentials. Windows Administrators group is
    member of this group.
•   OmeSiteAdministrators have full access to all the operations within OpenManage Essentials with the following rights and
    restrictions:

    – Can only create custom device groups under All Devices in the device tree. They can create remote or system update tasks
      on the custom device groups only after the custom device groups are assigned to them by the OmeAdministrators.

       ◦    Cannot edit custom device groups.
       ◦    Can delete custom device groups.
    – Can create remote and system update tasks on only the device groups assigned to them by the OmeAdministrators.
    – Can only run and delete remote and system update tasks that they have created.

       ◦    Cannot edit remote tasks, including activating or deactivating the task schedule.
       ◦    Cannot clone remote or system update tasks.
       ◦    Can delete tasks they have created.
    – Can delete devices.
    – Cannot edit or target device queries.
    – Cannot edit or access the Device Group Permissions portal.
    – Cannot create remote and system update tasks based on a device query.
    – Can create compute pools with devices to which they have permissions.
    – Can perform bare metal and stateless deployments with devices to which they have permissions.
    – Can only edit, rename, unlock, and delete compute pools to which they have permissions.
    – Can only replace a server within a compute pool to which they have permission.
    – Can only reclaim identities from devices included in the compute pool to which they have permission.

           NOTE: Any changes made to the role or device group permissions of a user are effective only after the user logs out
           and logs in again.
•   OmePowerUsers have the same rights as OmeAdministraors except that they cannot edit the settings of OpenManage
    Essentials.




330
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 332 of 388



Microsoft Windows authentication
For supported Windows operating systems, OpenManage Essentials authentication is based on the operating system's user
authentication system using Windows NT LAN Manager (NTLM v1 and NTLM v2) modules. For the network, this underlying
authentication system allows you to incorporate OpenManage Essentials security in an overall security scheme.


Assigning user rights
You do not have to assign user rights to OpenManage Essentials users before installing OpenManage Essentials. The following
procedures provide step-by-step instructions for creating OpenManage Essentials users and assigning user rights for Windows
operating system.
      NOTE: Log in with administrator rights to perform these procedures.

      NOTE: For questions about creating users and assigning user group rights or for more detailed instructions, see the
      operating system documentation.

1.   From Windows desktop, click Start → All Programs → Administrative Tools → Computer Management.
2.   In the console tree, expand Local Users and Groups, and click Groups.
3.   Double-click either the OmeAdministrators, OMEPowerUsers, or OmeUsers group to add the new user.
4.   Click Add and type the user name that you are adding. Click Check Names to validate and then click OK.
     New users can log on to OpenManage Essentials with the user rights for their assigned group.


Using Custom SSL Certificates—Optional
OpenManage Essentials default settings ensure that a secure communication is established within your environment. However, some
users may prefer to utilize their own SSL certificate for encryption.
To create a new domain certificate:

1.   Open Internet Information Services (IIS) Manager by clicking Start → All Programs → Administrative Tools → Internet
     Information Services (IIS) Manager.
2.   Expand the <server name> and click Server Certificates → Sites.
3.   Click Create Domain Certificate and enter the required information.
           NOTE: All systems display a certificate error until the domain administrator has published the certificate to the
           clients.

Configuring IIS Services
To use a custom SSL certificate, you must configure IIS Services on the system where OpenManage Essentials is installed.

1.   Open Internet Information Services (IIS) Manager by clicking Start → All Programs → Administrative Tools → Internet
     Information Services (IIS) Manager.
2.   Expand the <server name> → Sites.
3.   Right-click DellSystemEssentials and select Edit Bindings.
4.   In Site Bindings, select the https binding and click Edit.
5.   In Edit Site Binding, from the SSL certificate drop-down list select your custom SSL certificate and click OK.




                                                                                                                               331
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 333 of 388



Supported protocols and ports in OpenManage Essentials
Supported protocols and ports on management stations
Table 254. Supported protocols and ports on management stations

Port number     Protocol       Port type       Maximum                Direction      Usage
                                               encryption level
21              FTP            TCP             None                   In/Out         Access downloads.dell.com

25              SMTP           TCP             None                   In/Out         Optional email alert action

162             SNMP           UDP             None                   In             Event reception through SNMP

445             SMB            TCP             None                   In/Out         Server configuration and deployment

1278            HTTP           TCP             None                   In/Out         Web GUI; downloading packages to Lifecycle
                                                                                     Controller

1279            Proprietary    TCP             None                   In/Out         Scheduling tasks

1433            Proprietary    TCP             None                   In/Out         Optional remote SQL Server access

2606            Proprietary    TCP             None                   In/Out         Network monitoring

2607            HTTPS          TCP             128-bit SSL            In/Out         Web GUI

3355            Proprietary    TCP             None                   In/Out         Optional OpenManage Mobile push
                                                                                     notifications


Supported protocols and ports on managed nodes
Table 255. Supported protocols and ports on managed nodes

Port          Protocol        Port      Maximum              Direction            Usage
number                        type      encryption level
22            SSH             TCP       128 bit              In/Out               Contextual application launch — SSH client
                                                                                  Remote software updates to Server Administrator
                                                                                  —for systems supporting Linux operating
                                                                                  systems Performance monitoring in Linux
                                                                                  systems.

80            HTTP            TCP       None                 In/Out               Contextual application launch — Networking
                                                                                  console.

135           RPC             TCP       None                 In/Out               Event reception through CIM from Server
                                                                                  Administrator — for systems supporting
                                                                                  Windows operating systems.
                                                                                  Remote software update transfer to Server
                                                                                  Administrator—for systems supporting Windows
                                                                                  operating systems Remote Command Line— for
                                                                                  systems supporting Windows operating systems.
161           SNMP            UDP       None                 In/Out               SNMP query management.

623           RMCP            UDP       None                 In/Out               IPMI access through LAN.

1311          HTTPS           TCP                            In/Out               Contextual application launch — OMSA.

1443          Proprietary     TCP       None                 In/Out               Optional remote SQL Server access.




332
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 334 of 388


Port           Protocol        Port     Maximum              Direction            Usage
number                         type     encryption level
443            Proprietary/    TCP      None                 In/Out               EMC storage, iDRAC6, iDRAC7, and iDRAC8
               WSMAN                                                              discovery and inventory.

2463           Proprietary     TCP      None                 From                 Discovery and inventory of PowerVault MD
                                                             OpenManage           storage array
                                                             Essentials to the
                                                             managed node

3389           RDP             TCP      128-bit SSL          In/Out               Contextual application launch — Remote desktop
                                                                                  to Windows terminal services.

5900–5901      Proprietary     TCP      None                 In/Out               iDRAC virtual media service.

5900–5901      Proprietary     TCP      None                 In/Out               iDRAC console redirection.

6389           Proprietary     TCP      None                 In/Out               Enables communication between a host system
                                                                                  (through NaviCLI/NaviSec CLI or Navisphere
                                                                                  host agent) and a Navisphere Array Agent on a
                                                                                  Storage system.

       NOTE: For more information about the protocols and ports, visit DellTechCenter.com/OME.


Supported Protocols and Ports on Management Stations
Table 256. Supported Protocols and Ports on Management Stations

Port Number Protocol           Port Type       Maximum                Direction      Usage
                                               Encryption Level
21               FTP           TCP             None                   In/Out         Access ftp.dell.com
25               SMTP          TCP             None                   In/Out         Optional e-mail alert action
162              SNMP          UDP             None                   In             Event reception through SNMP
445              SMB           TCP             None                   In/Out         Server configuration and deployment
1278             HTTP          TCP             None                   In/Out         Web GUI; downloading packages to Lifecycle
                                                                                     Controller
1279             Proprietary   TCP             None                   In/Out         Scheduling tasks
1433             Proprietary   TCP             None                   In/Out         Optional remote SQL Server access
2606             Proprietary   TCP             None                   In/Out         Network monitoring
2607             HTTPS         TCP             128-bit SSL            In/Out         Web GUI


Supported Protocols and Ports on Managed Nodes
Table 257. Supported Protocols and Ports on Managed Nodes

Port           Protocol        Port     Maximum          Direction                Usage
Number                         Type     Encryption Level
22             SSH             TCP      128 bit              In/Out               Contextual application launch — SSH client
                                                                                  Remote software updates to Server Administrator
                                                                                  —for systems supporting Linux operating




                                                                                                                              333
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 335 of 388


Port          Protocol        Port       Maximum          Direction             Usage
Number                        Type       Encryption Level
                                                                                systems Performance monitoring in Linux
                                                                                systems.
80            HTTP            TCP        None               In/Out              Contextual application launch — Networking
                                                                                console.
135           RPC             TCP        None               In/Out              Event reception through CIM from Server
                                                                                Administrator — for systems supporting
                                                                                Windows operating systems.
                                                                                Remote software update transfer to Server
                                                                                Administrator—for systems supporting Windows
                                                                                operating systems Remote Command Line— for
                                                                                systems supporting Windows operating systems.
161           SNMP            UDP        None               In/Out              SNMP query management.
623           RMCP            UDP        None               In/Out              IPMI access through LAN.
1311          HTTPS           TCP                           In/Out              Contextual application launch — OMSA.
1443          Proprietary     TCP        None               In/Out              Optional remote SQL Server access.
443           Proprietary/    TCP        None               In/Out              EMC storage, iDRAC6, iDRAC7, and iDRAC8
              WSMAN                                                             discovery and inventory.
2463          Proprietary     TCP        None               From                Discovery and inventory of PowerVault MD
                                                            OpenManage          storage array
                                                            Essentials to the
                                                            managed node
3389          RDP             TCP        128-bit SSL        In/Out              Contextual application launch — Remote desktop
                                                                                to Windows terminal services.
5900–5901     Proprietary     TCP        None               In/Out              iDRAC virtual media service.
5900–5901     Proprietary     TCP        None               In/Out              iDRAC console redirection.
6389          Proprietary     TCP        None               In/Out              Enables communication between a host system
                                                                                (through NaviCLI/NaviSec CLI or Navisphere
                                                                                host agent) and a Navisphere Array Agent on a
                                                                                Storage system.


Dell EMC OpenManage Framework
The following illustration provides an overview of the network connections between various components.




334
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 336 of 388




Figure 35. Network Connections




                                                                               335
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 337 of 388




                                                                                                                              23
Troubleshooting
OpenManage Essentials Troubleshooting Tool
The OpenManage Essentials troubleshooting tool is a standalone tool that installs along with OpenManage Essentials. You can use
the troubleshooting tool for a wide array of protocol related problems that are often at the root of discovery and alert issues.
This tool provides the following protocol-specific diagnostics to identify the problem with the remote node:

•    Database—Fetches all the user defined databases present on the remote box.
•    Dell EMC—Verifies the connection to the Dell EMC storage devices.
•    ICMP—Verifies whether you can ping the remote device from the local box.
•    IPMI—Verifies the IPMI protocol to connect to BMC/iDRAC.
•    Name Resolution—Verifies whether you can get the resolved name from the local box.
•    OpenManage Server Administrator Remote Enablement—This test helps you to verify that OpenManage Server Administrator's
     remote enablement feature is working on the managed node (OpenManage Server administrator installed with the remote
     enablement component). This tool behaves like a Server Administrator Distributed Web server (DWS) and connects to Server
     Administrator managed node instrumentation agent using the WSMAN protocol.
     To connect successfully, the Managed Node must have OpenManage Server Administrator installed with the Remote
     Enablement feature working.
•    Port—Verifies whether managed node is listening to the specified port. You can specify 1-65,535 port numbers.
•    PowerVault Modular Disk Arrays—Verifies that PowerVault modular disk storage array protocol is used to connect to PowerVault
     Storage devices.
•    Services—Uses SNMP protocol to fetch the running services on the managed node.
•    SNMP—Verifies SNMP connection to the remote node, using the required SNMP community string, retries, and time out. First it
     tries to connect to MIB-II agent and then various other agents to find out the type of device. Troubleshooting Tool also gathers
     other agent specific information from that device.
•    SSH—Verifies that the SSH protocol is used to connect to managed node.
•    WMI—Verifies WMI/CIM connection to the remote node. Default retries and time out values are used internally.
•    WSMAN—Attempts to connect to WSMAN client on the remote node. Use this test to verify connectivity problems with iDRAC,
     ESX, and other devices, which support WSMAN specification. This test will connect to such devices and will also list the
     exposed WSMAN profiles enabled on the remote device.

Troubleshooting Procedures
Troubleshooting Inventory
Inventoried Linux servers are listed under Non-Inventoried systems, numerous retries does not resolve this.
To resolve this issue for the Red Hat Enterprise Linux 5.5, SUSE Linux Enterprise Server version 10 and version 11 installed servers:

1.    Mount the Systems Management Tools and Documentation DVD (version 6.5 or later) on the Linux server.
2.    Install srvadmin-cm rpm.
3.    Restart OpenManage Server Administrator 6.5.
4.    Make sure the OpenManage Server Administrator inventory collector is working from the location /opt/dell/srvadmin/sbin/
      invcol, run /invcol -outc=/home/inv.xml.
5.    Perform server inventory.




336
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 338 of 388



Troubleshooting Device Discovery
If a device discovery is not successful, perform the following steps to troubleshoot and fix the problem:

1.   If the device assigned for discovery is a PowerEdge system, ensure that OpenManage Server Administrator is installed on it.
2.   To discover Windows devices successfully, configure the SNMP services appropriately. For detailed information on configuring
     SNMP services on Windows, see Configuring SNMP Services on Windows.
3.   To discover Linux devices successfully, configure the SNMP services appropriately. For detailed information on configuring
     SNMP services on Linux, see Configuring SNMP Services on Linux.
4.   After configuring the SNMP services, verify whether the SNMP services are responding correctly.
5.   If the device assigned for discovery is Microsoft Windows and you want to use WMI, ensure that the user name and password
     used in the WMI credentials has the local administrator permissions on the machine that you want to discover. You can use the
     Microsoft wbemtest utility to ensure that WMI connectivity to the Windows Server is correct.
6.   If the device assigned for discovery is a non-server network device, such as a printer, Networking Ethernet switch, and so on,
     ensure that SNMP is enabled on the device. You can do this by accessing the Web interface for a device.
7.   If there are changes in the IP address or FQDN for the target devices, in a DNS environment, then OpenManage Essentials will
     not display the correct IP Address and device names (FQDN) on the console. You must wait for the Operating System to
     update the DNS cache on the console, or run ipconfig /flushdns to flush the DNS cache, and then re-run the discovery and
     inventory tasks on the affected discovery ranges.

Configuring SNMP Services on Windows
1.   Open a command run prompt and type services.msc to open the Services MMC.
2.   Right-click SNMP Service, and select Properties. If you cannot locate SNMP Service, you must install it using Add/Remove
     Windows Components.
3.   Click Security and ensure that Accept SNMP packets from any host is selected.
4.   Under Accepted Community Names, ensure that public (or a customized community string) is set. If not set by default, click
     Add, and type a community string in Community Name. Also select community rights as READ ONLY or READ WRITE.
5.   Click Traps and ensure that the community string field has a valid name.
6.   In Trap destination, click Add and enter the Open Manage Essential Console IP address.
7.   Start the service.

Configuring SNMP Services on Linux
1.   Run the command rpm -qa | grep snmp, and ensure that the net-snmp package is installed.
2.   Run cd /etc/snmp to navigate to the snmp directory.
3.   Open snmpd.conf in the VI editor (vi snmpd.conf).
4.   Search snmpd.conf for # group context sec.model sec.level prefix read write notif and ensure that the values for fields read,
     write, and notif are set to all.
5.   At the end of the snmpd.conf file, just before Further Information, enter the Open Manage Essentials Console IP address in the
     following format:trapsink <OPEN MANAGE ESSENTIALS CONSOLE IP> <community string> For example,
     trapsink 10.94.174.190 public.
6.   Start the SNMP services (service snmpd restart).

Troubleshooting Receiving SNMP Traps
If you encounter a problem receiving SNMP traps, perform the following steps to troubleshoot and fix the problem:

1.   Check for network connectivity between the two systems. You can do this by pinging one system from another using the ping
     <IP address> command.
2.   Check the SNMP configuration on the managed node. Ensure that you have specified the OpenManage Essential console IP
     address and the community string name in the SNMP services of the managed node.
     For information on setting SNMP on a Windows system, see Configuring SNMP Services on Windows.
     For information on setting SNMP on a Linux system, see Configuring SNMP Services on Linux.




                                                                                                                                   337
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 339 of 388


3.    Ensure that the SNMP Trap service services are running in the Open Manage Essentials system.
4.    Check firewall settings to allow UDP 161, 162 ports.

Troubleshooting Discovery of Windows Server 2008–Based Servers
You also have to allow the server discovery. By default, the option is disabled in Windows Server 2008.

1.    Click Start → Control Panel → Network and Internet → Network and Sharing Center → Advanced Sharing Setting.
2.    Choose the drop-down arrow for the applicable network profile (Home or Work / Public) and under Network Discovery, select
      Turn on network discovery.

Troubleshooting SNMP Traps for ESX or ESXi Versions 3.5, 4.x, or 5.0
Details: To generate virtual machine and environmental traps from ESX or ESXi 3.5 or 4.x hosts, configure and enable the embedded
SNMP agent. You cannot use the Net-SNMP-based agent to generate these traps, although it can receive GET transactions and
generate other types of traps.
This represents a change in behavior from ESX 3.0.x, in which the configuration file for the Net-SNMP-based agent controlled the
generation of virtual machine traps
Solution: Use the vicfg-snmp command from the Remote CLI or vSphere CLI to enable the SNMP agent and configure trap
destinations. Each time you specify a target with the vicfg-snmp command, the settings you specify overwrite all previously
specified settings. To specify multiple targets, specify them in a single command, separated by commas.

Troubleshooting Problems With Microsoft Internet Explorer
Follow the instructions in this section if you are experiencing any of the following:

•    Unable to open OpenManage Essentials using Internet Explorer.
•    Internet Explorer displays certificate errors.
•    Internet Explorer displays a message to approve the certificate.
•    Unable to browse the file system to deploy Server Administrator and system update.
•    Unable to display the Device tree for devices.
•    Unable to install active components.

1.    Open OpenManage Essentials on the client server using Internet Explorer.
2.    Click Tools → Internet Options → Security.
3.    Select Local intranet and click Sites.
4.    Click Advanced.
5.    Type the fully qualified name of the server where OpenManage Essentials is installed.
6.    Click Add.
      If the issue persists, there may be an issue with the DNS server resolving the name of the OpenManage Essentials server. See
      Resolving DNS Server Issues.
      If a certificate error is displayed:

      •   Contact your system administrator to add the OpenManage Essentials certificate published to the ‘Trusted Root Certificate
          Authorities’ and Trusted Publishers’ on domain systems.
      •   Add the OpenManage Essentials certificate to your ‘Trusted Root Certificate Authorities’ and ‘Trusted Publishers’ certificate
          stores using Internet Explorer.

Resolving DNS Server Issues
To resolve DNS server issues:

1.    Contact your system administrator and add the name of the system running OpenManage Essentials to the DNS server.
2.    Edit your host file to resolve the IP of the system running OpenManage Essentials. The host file is located at %windir%
      \System32\drivers\etc\hosts.
3.    Add the IP of the system running OpenManage Essentials to the Local intranet sites in Internet Explorer.



338
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 340 of 388


           NOTE: You cannot remove the certificate errors unless you use the fully qualified name of the server running
           OpenManage Essentials.

Troubleshooting Map View
Question: Why is the Map View feature not available?
Answer: The Map View feature is available only if you have discovered any PowerEdge VRTX CMC or PowerEdge FX2/FX2s
devices with an Enterprise license, using the WS-Man protocol. If the device with an Enterprise license is discovered using the
SNMP protocol, the Map View feature is not available. Rediscovering the device using the WS-Man protocol is required, if the Map
View tab is not displayed in the device details portal for a licensed device.
Question: Why am I unable to add a particular device on the map?
Answer: Only PowerEdge VRTX and PowerEdge FX2/FX2s devices with an Enterprise license can be added to the map.
Question: The map does not load with the MapQuest or Bing map provider. What should I do?
Answer: This indicates a problem with the Internet connectivity.

•   Verify if you are able to connect to the Internet through the browser.
•   If the system connects to the Internet through the proxy:

    – For MapQuest map provider — Configure the proxy settings in the OpenManage Essentials Settings → General Settings
      page.
    – For Bing map provider — Verify if you configured the proxy server settings in Internet Explorer.
•   Verify if you are able to access the MapQuest website.

Question: Why is the map loading slowly?
Answer: The map may load slowly as it requires more network bandwidth and graphic processing capability compared to normal
browsing. Constant zooming and panning on the map may also slow the loading of the map.
Question: Why I am unable to locate an address using the search bar or Edit Device Locations dialog box?
Answer: There may be a problem with your Internet connection or the map provider may not be able to resolve the address.

•   Verify if the valid map provider key is entered in the Map Settings.
•   Verify if you are able to connect to the Internet through the browser.
•   If the system connects to the Internet through the proxy:

    – For MapQuest map provider — Configure the proxy settings in the OpenManage Essentials Settings → General Settings
      page.
    – For Bing map provider — Verify if you configured the proxy server settings in Internet Explorer.
•   Try to provide a variation of the address you provided. You can try providing a complete address. Abbreviations such as state,
    country, airport code, may have an unexpected result.

Question: Why cannot I use one map provider on the Home portal and another on the Devices portal?
Answer: The Map View available through the Home portal and the Devices portal are synchronized. Changes to the Settings or
device locations on the Map View are affected on both the portals.
Question: How can I enhance the Map View experience?
Answer: Improving the network bandwidth accelerates the loading of the map. A more powerful graphic card enables faster zooming
and panning capability. When using the MapQuest provider, the map is rendered better if OpenManage Essentials is launched on the
management server.




                                                                                                                                     339
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 341 of 388




                                                                                                                               24
Frequently Asked Questions
Installation
Question: How do I install OpenManage Essentials using a remote SQL database named instance?
Answer: To connect remotely, the SQL Server with named instances requires a running SQL Server Browser service.
Question: Will OpenManage Essentials support Microsoft SQL Server Evaluation edition?
Answer: No, SQL Server Evaluation edition is not supported.
Question: What are the minimum login roles for SQL Server?
Answer: See Minimum Login Roles for Microsoft SQL Server and Terms and Conditions for Using Relational Database Management
Systems.
Question: When launching the OpenManage Essentials installer, an error message is displayed, stating a failure to load a specific
library (for example, failed to load OMIL32.DLL), a denial of access, or an initialization error. What do I do?
Answer: This issue is most likely due to insufficient Component Object Model (COM) permissions on the system. To remedy this
situation, see support.installshield.com/kb/view.asp?articleid=Q104986. The OpenManage Essentials installer may also fail if a
previous installation of systems management software or some other software product was unsuccessful. Delete the following
temporary windows installer registry, if present: HKLM\Software\Microsoft\Windows\CurrentVersion\Installer\InProgress.
Question: During the installation of Microsoft ASP .NET prerequisite, I am getting the following error message: One of the
prerequisites has failed to install. The one click prerequisite installer will now exit. What do I do?
Answer: To resolve this issue, perform one of the following:
•   Run the Windows update and ensure all the updates are installed successfully.
•   Download and install the required security certificates. For more information on the required security certificates, see https://
    blogs.msdn.microsoft.com/vsnetsetup/2016/03/28/a-certificate-chain-could-not-be-built-to-a-trusted-root-authority-2/.

Upgrade
Question: What troubleshooting can I do for the following error message:
Https error 503. The service is unavailable?
Answer: To resolve this issue, perform an IIS reset and launch OpenManage Essentials. To perform an IIS reset, launch the command
prompt and type iisreset. When an iisreset is done, all connections to the web server are reset. It also resets any website hosted
on the same OpenManage Essentials server.
Question: Why does an upgrade to the latest version of OpenManage Essentials fail in a large deployment scenario?
Answer: To resolve this issue, ensure that the system meets the minimum hardware requirements. For more information, see the
Minimum Recommended Hardware section in the Dell EMC OpenManage Essentials User’s Guide at Dell.com/
OpenManageManuals.
Question: How do I upgrade to OpenManage Essentials version 2.1, when OpenManage Essentials version 1.1 is installed on a remote
database with SQL Server 2005?
Answer: Installation or upgrade of OpenManage Essentials version 2.1 is not supported on Microsoft SQL Server 2005 (all editions)
either on a local or remote database. While upgrading from OpenManage Essentials version 1.1 installed with remote SQL Server
2005 to OpenManage Essentials version 2.1, the following message is displayed:
Dell EMC OpenManage Essentials cannot be installed or upgraded on SQL Server versions prior
to SQL Server 2008. Refer to the FAQ for information on possible migration and additional
details.
In this case, you can manually migrate the data from SQL Server 2005 and then upgrade to OpenManage Essentials version 2.1 as
follows:



340
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 342 of 388


1.    Create a backup of the OpenManage Essentials version 1.1 database.
2.    Migrate the OpenManage Essentials version 1.1 data from SQL Server 2005 to SQL Server 2008, 2008 R2, or 2012. For more
      information, see the OpenManage Essentials Database re-target process instructions at https://en.community.dell.com/
      techcenter/systems-management/f/4494/t/19440364.aspx.
3.    Ensure that OpenManage Essentials version 1.1 can connect to migrated database and works as expected.
4.    Launch the OpenManage Essentials version 2.1 installer to complete the upgrade.

       NOTE: After upgrading to OpenManage Essentials version 2.1 with SQL Server 2012, the SQLEXPRESSOME instance is
       created and data from OpenManage Essentials version 1.1 is migrated to OpenManage Essentials Version 2.1.

Question: After upgrading from OpenManage Essentials version 2.2 to version 2.5, duplication of the PowerVault MD Series storage
arrays is observed in the device tree. What should I do?
Answer: To eliminate the duplicate entries, ensure that you delete and rediscover the PowerVault MD Series storage arrays.
Question: Can I upgrade the server operating system with OpenManage Essentials installed?
Answer: It is not recommended to upgrade the server operating system with OpenManage Essentials installed. If you continue with
the upgrade, then OpenManage Essentials will not work as expected. To upgrade the operating system, perform the following steps:

1.    Create a backup of the OpenManage Essentials database.
2.    Uninstall OpenManage Essentials. For more information, see Uninstalling OpenManage Essentials
3.    Upgrade the server operating system.
4.    Reinstall OpenManage Essentials and select the previously backed up database during the installation.

Tasks
Question: What troubleshooting can I do if a software update task or remote task fails to create or run?
Answer: Ensure that the DSM Essentials Task Manager service is running in Windows services.
Question: When accessing OpenManage Essentials from a remote system, is it possible to create a remote task to deploy OMSA/
iDRAC Service Module on a target device using an OMSA/iDRAC Service Module package that is available on that particular remote
system?
Answer: No. The remote task to deploy OMSA/iDRAC Service Module on a target device should be created by accessing
OpenManage Essentials from the server where OpenManage Essentials is installed/running.
Question: How do I use command line features while deploying OpenManage Server Administrator?
Answer: Unattended installation provides the following features:

•    A set of optional command line settings to customize an unattended installation.
•    Customization parameters to designate specific software features for installation.

Question: The ‘chassis power on’ IPMI command line task is unsuccessful. The following error is displayed: Unable to establish IPMI
v2/ RMCP+ session, Unable to set Chassis Power Control to Up/On. What can I do to resolve the error?
Answer: The error may occur if the iDRAC has either an issue or several tasks in queue. Try resetting the iDRAC and run the task
again.

Optional Command Line Settings
The following table shows the optional settings available for the msiexec.exe MSI installer. Type the optional settings on the
command line after msiexec.exe with a space between each setting.

       NOTE: See support.microsoft.com for full details about all the command line switches for the Windows Installer Tool.

Table 258. Command Line Settings for MSI Installer

 Setting                                                             Result
 /i <Package|Product Code>                                           This command installs or configures a product.




                                                                                                                                   341
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 343 of 388


Setting                                                              Result
                                                                     /i SysMgmt.msi – Installs the Server Administrator software.
/i SysMgmt.msi /qn                                                   This command carries out a fresh installation of version 6.1.
/x <Package|Product Code>                                            This command uninstalls a product.
                                                                     /x SysMgmt.msi – Uninstalls the Server Administrator
                                                                     software.
/q[n|b|r|f]                                                          This command sets the user interface (UI) level.
                                                                     /q or /qn – no UI. This option is used for silent and
                                                                     unattended installation. /qb – basic UI. This option is used for
                                                                     unattended but not silent installation. /qr – reduced UI. This
                                                                     option is used for unattended installation while displaying a
                                                                     modal dialog box showing install progress. /qf – full UI. This
                                                                     option is used for standard attended installation.
/f[p|o|e|d|c|a|u|m|s|v]<Package|ProductCode>                         This command repairs a product.
                                                                     /fp – This option reinstalls a product only if a file is missing.
                                                                     /fo – This option reinstalls a product if a file is missing or if an
                                                                     older version of a file is installed.
                                                                     /fe – This option reinstalls a product if a file is missing or an
                                                                     equal or older version of a file is installed.
                                                                     /fd – This option reinstalls a product if a file is missing or a
                                                                     different version of a file is installed.
                                                                     /fc – This option reinstalls a product if a file is missing or the
                                                                     stored checksum value does not match the calculated value.
                                                                     /fa – This option forces all files to reinstall.
                                                                     /fu – This option rewrites all required user-specific registry
                                                                     entries.
                                                                     /fm – This option rewrites all required system-specific registry
                                                                     entries.
                                                                     /fs – This option overwrites all existing shortcuts.
                                                                     /fv – This option runs from the source and re-caches the local
                                                                     package. Do not use the /fv reinstall option for the first
                                                                     installation of an application or feature.
INSTALLDIR=<path>                                                    This command installs a product to a specific location. If you
                                                                     specify an install directory with this switch, it must be created
                                                                     manually prior to executing the CLI install commands or they fail
                                                                     with no error or message.
                                                                     /i SysMgmt.msi INSTALLDIR=c:\OpenManage /qn – installs a
                                                                     product to a specific location using c:\OpenManage as the
                                                                     install location.

For example, running msiexec.exe /i SysMgmt.msi /qn installs Server Administrator features on each remote system based on the
system's hardware configuration. This installation is done silently and unattended.

Customization Parameters
REINSTALL and REMOVE customization CLI parameters provide a way to customize the exact software features to install, reinstall,
or uninstall when running silently or unattended. With the customization parameters, you can selectively install, reinstall, or uninstall
software features for different systems using the same unattended installation package. For example, you can choose to install
Server Administrator, but not Remote Access Controller service on a specific group of servers, and choose to install Server
Administrator, but not Storage Management Service, on another group of servers. You can also choose to uninstall one or multiple
features on a specific group of servers.

      NOTE: Type the REINSTALL, and REMOVE CLI parameters in upper case, as they are case-sensitive.

      NOTE: The software feature IDs mentioned in the following table are case-sensitive.




342
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 344 of 388


Table 259. Software Feature IDs

Feature ID                                                          Description
ALL                                                                 All features
BRCM                                                                Broadcom NIC Agent
INTEL                                                               Intel NIC Agent
IWS                                                                 OpenManage Server Administrator Web Server
OMSM                                                                Server Administrator Storage Management Service
RmtMgmt                                                             Remote Enablement
RAC4                                                                Remote Access Controller (DRAC 4)
RAC5                                                                Remote Access Controller (DRAC 5)
iDRAC                                                               Integrated Dell Remote Access Controller
SA                                                                  Server Administrator

      NOTE: Only iDRAC6 is supported on xx1x systems.

You can include the REINSTALL customization parameter on the command line and assign the feature ID (or IDs) of the software
feature that you would like to reinstall. An example is:

msiexec.exe /i SysMgmt.msi REINSTALL=BRCM /qb.

This command runs the installation for OpenManage Systems Management and reinstall only the Broadcom agent, in an unattended
but not silent mode.
You can include the REMOVE customization parameter on the command line and assign the feature ID (or IDs) of the software
feature that you would like to uninstall. For example:

msiexec.exe /i SysMgmt.msi REMOVE=BRCM /qb.

This command runs the installation for OpenManage Systems Management and uninstalls only the Broadcom agent, in an
unattended but not silent mode.
You can also choose to install, reinstall, and uninstall features with one execution of the msiexec.exe program. For example:
msiexec.exe /i SysMgmt.msi REMOVE=BRCM /qb

This command runs the installation for managed system software, and uninstalls the Broadcom agent. This execution is in an
unattended but not silent mode.

      NOTE: A Globally Unique Identifier (GUID) is 128 bits long, and the algorithm used to generate a GUID guarantees each
      GUID to be unique. The product GUID uniquely identifies the application. In this case, the product GUID for Server
      Administrator is {54C04D53-C3C3-46EA-A75F-7AFF4BEB727C}.

MSI Return Code
An application event log entry is recorded in the SysMgmt.log file. Table 3 shows some of the error codes returned by the
msiexec.exe Windows Installer Engine.
Table 260. Windows Installer Return Codes

Error Code                                Value                                          Description
ERROR_SUCCESS                             0                                              The action is completed successfully.

ERROR_INVALID_PARAMETER                   87                                             One of the parameters was invalid.

ERROR_INSTALL_USEREXIT                    1602                                           The user canceled the installation.




                                                                                                                                 343
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 345 of 388


 Error Code                                 Value                                          Description
 ERROR_SUCCESS_REBOOT_REQUIR 3010                                                          A restart is required to complete the
 ED                                                                                        installation. This message is indicative of a
                                                                                           successful installation.

      NOTE: See support.microsoft.com for full details on all the error codes returned by the msiexec.exe and InstMsi.exe
      Windows installer functions.


E-mail Alert Action
Question: Why am I not receiving e-mails after setting up e-mail alert action?
Answer: If you have an Antivirus Client installed on the system, then configure it to allow e-mails.


Discovery
Question: Why are SUSE Linux Enterprise and Red Hat Enterprise Linux based-servers not displayed in the Server category after I
have discovered it using SSH protocol?
Answer: The OpenManage Essentials SSH plugin uses sshlib2. sshlib2 fails to authenticate Linux servers which have disabled the
Authentication by password option. To enable the option:

1.    Open the file /etc/ssh/sshd_config in edit mode and search for the key PasswordAuthentication.
2.    Set the value to yes, and save the file.
3.    Restart the sshd service /etc/init.d/sshd restart.

The servers are now displayed under the Server category in the Device tree.
Question: What troubleshooting can I do if a discovery task fails to create or run?
Answer: Ensure that the DSM Essentials Task Manager service is running in Windows services.
Question: Why are my ESX virtual machines not correlated with their ESX host server?
Answer: You must discover the ESXi host server using SNMP and WSMan or the guest virtual machine will not correlate correctly
when discovered using SNMP.
Question: Why are devices discovered with WMI getting classified as Unknown?
Answer: WMI discovery classifies a device as unknown when the credential for a user account in the Administrators group (not
Administrator) is supplied for the discovery range in some cases.
If you are seeing this issue, read the KB article at support.microsoft.com/?scid=kb;en-us;951016 and apply the registry work as
described. This resolution applies to managed nodes with Windows Server 2008 R2.
Question: Why are Dell devices discovered using WS-Man with root CA certificate getting classified as Unknown?
Answer: There may be a problem with the root certificate you are using to discover the WS-Man target(s). For instructions to
discover and inventory WS-Man target(s) using a root CA certificate, see Discovering and Inventorying Dell Devices Using WS-Man
Protocol With a Root Certificate.
Question: What are SNMP authentication traps?
Answer: An authentication trap is sent when an SNMP agent is hit with an enquiry that contains a community name it does not
recognize. The community names are case-sensitive.
The traps are useful to find if someone is probing a system, although its better nowadays to just sniff packets and find out the
community name.
If you use multiple community names on the network, and some management might overlap, users may want to turn these off as
they become false positives (annoyances).
For more information, see technet.microsoft.com/en-us/library/cc959663.aspx.
When an SNMP agent receives a request that does not contain a valid community name or the host that is sending the message is
not on the list of acceptable hosts, the agent can send an authentication trap message to one or more trap destinations
(management systems). The trap message indicates that the SNMP request failed authentication. This is a default setting.
Question: Why does OpenManage Essentials not support entering host names with underscore in the discovery wizard?



344
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 346 of 388


Answer: Per RFC 952, underscores are not valid in DNS names. A name (net, host, gateway, or domain name) is a text string up to
24 characters drawn from the alphabet (A-Z), digits (0-9), minus sign (-), and period (.). Periods are only allowed when they serve to
delimit components of domain style names.
For more information see,ietf.org/rfc/rfc952.txt and zytrax.com/books/dns/apa/names.html .
Question: What is On-demand?
Answer: On-demand is an operation where a managed system is checked for status/health by OpenManage Essentials when an
SNMP trap is received. There are no settings to be changed to enable the on-demand feature. However, the IP address of the
management system must be available in the trap destination of SNMP service. An SNMP trap is received from the managed
system when there is an issue or failure of a server component. These traps can be viewed under the alert logs.
Question: I have discovered the server with the SNMP protocol, but the RAC name of the iDRAC is not displayed in the device tree,
portals, and wizards.
Answer: RAC name is displayed only if you have discovered the iDRAC with the WS-Man protocol. Otherwise, the system name is
displayed instead of the RAC name.
Question: Why do devices that are already discovered disappear from the device tree during discovery?
Answer: This issue occurs when there are duplicate MAC addresses, which are typically observed with virtual devices that may have
MAC addresses that contain only 16 zeroes.
To resolve this issue:

1.   Ensure that you are logged in to the operating system with administrative privileges.
            NOTE: Ensure that you create a backup copy of the dconfig.ini file before you make any changes.

2.   Open the dconfig.ini file available at SysMgt\Essentials\configuration.
3.   Edit the PRIVATE_MAC_EXCLUDE_LIST line as follows:
     PRIVATE_MAC_EXCLUDE_LIST=127.0.0.1,0.0.0.0,005345000000,33506F453030,505054503030,0000FFFFFFFF,
     204153594EFF,000000000000,00000000000000e0,020054554e01,204153594eff,0000000000000000
4.   Save the dconfig.ini file, and restart the OpenManage Essentials services.

Question: I discovered a PowerEdge FN IO Aggregator (IOA) with SNMP protocol. Why is the Service Tag of the FN IOA displayed
as N/A in the device inventory?
Answer: FN IOAs that were manufactured prior to February 1, 2016 do not have a Service Tag. Therefore, the Service Tag is
displayed as N/A.
Question: When trying to discover the Dell devices using WS-Man protocol, an error message is displayed, stating a failure to
connect with basic authentication. What do I do?
Answer: This issue is because, the authentication type Basic was not enabled on the OpenManage Essentials system. To enable the
Basic authentication type on OpenManage Essentials system, see the Authentication for Remote Connections knowledge base
article at Microsoft.com.
Below is the expected configuration for winrm to work:
>winrm get winrm/config/client
Client
NetworkDelayms = 5000
URLPrefix = wsman
AllowUnencrypted = false
Auth
Basic = true
Digest = true
Kerberos = true
Negotiate = true
Certificate = true
CredSSP = false
DefaultPorts
HTTP = 5985



                                                                                                                                  345
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 347 of 388


HTTPS = 5986
TrustedHosts
Question: I have discovered a PowerEdge R830 server by using in-band method. OMSA version 8.3 is also installed on the server.
Why am I unable to view the software inventory information of the iDRAC and network cards such as Mellanox, QLogic, and Intel?
Answer: To get the software inventory information of the network cards, you must either discover the PowerEdge R830 server by
using out-of-band method or run the Firmware and Driver Inventory task for the server.
Question: Why is OpenManage Essentials unable to run discovery, inventory or status polling tasks for iDRACs or CMCs with the
WS-Man protocol?
Answer:

1.    Open the Troubleshooting Tool, and run the WS-Man test for the target devices.
2.    If the test results specify that TLS 1.1 or 1.2 is enabled on the device, perform the following steps on the system where
      OpenManage Essentials is installed:

      a.   Install the update available in KB3140245 at Microsoft.com to enable TLS protocols in winrm.
      b.   Set the default protocol as TLS 1.2 with a DWORD registry entry DefaultSecureProtocols in:

           •    HKEY_LOCAL_MACHINE\SOFTWARE\Microsoft\Windows\CurrentVersion\Internet Settings
                \WinHttp
           •    HKEY_LOCAL_MACHINE\SOFTWARE\Wow6432Node\Microsoft\Windows\CurrentVersion\Internet
                Settings\WinHttp
           •    Set the value to 0x00000A00 for enabling TLS 1.0, 1.1 and 1.2.
      c.   Restart the system, and then retry the tasks in OpenManage Essentials.

Question: Why do the create template or apply template tasks fail for CMC?
Answer:

1.    Open the Troubleshooting Tool, and run the WS-Man test for the target devices.
2.    If the test results specify that TLS 1.1 or 1.2 is enabled on the device, perform the following steps on the system where
      OpenManage Essentials is installed:

      a.   To enable TLS in the web browser:

           1.    Click Start → Run, type inetcpl.cpl and press Enter.
           2.    Click the Advanced tab.
           3.    In the Security section, select Use TLS 1.0, Use TLS 1.1, and Use TLS 1.2.
      b.   To enable TLS for all user accounts:

           1.    Create a DWORD registry entry SecureProtocols in [HKLM]\Software\Microsoft\Windows
                 \CurrentVersion\Internet Settings.
           2.    Set the value to 0xA80 to enable support for TLS 1.0, TLS 1.1, and TLS 1.2.
      c.   Restart the system, and then retry the tasks in OpenManage Essentials.

Question: Why does the RACADM Command Line task fail on iDRACs or CMCs?
Answer:

1.    Open the Troubleshooting Tool, and run the WS-Man test for the target devices.
2.    If the test results specify that TLS 1.1 or 1.2 is enabled on the device, perform the following steps on the system where
      OpenManage Essentials is installed:

      a.   To enable TLS in the web browser:

           1.    Click Start → Run, type inetcpl.cpl and press Enter.
           2.    Click the Advanced tab.



346
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 348 of 388


           3.    In the Security section, select Use TLS 1.0, Use TLS 1.1, and Use TLS 1.2.
     b.    To enable TLS for all user accounts:

           1.    Create a DWORD registry entry SecureProtocols in [HKLM]\Software\Microsoft\Windows
                 \CurrentVersion\Internet Settings.
           2.    Set the value to 0xA80 to enable support for TLS 1.0, TLS 1.1, and TLS 1.2.
     c.    Restart the system, and then retry the tasks in OpenManage Essentials.

Question: After discovering two Fibre Channel switches that have the same device name and the Service Tag as none, only one
switch is displayed in the device tree. What should I do to ensure that both devices are displayed in the device tree?
Answer: Assign a unique name to both the switches and discover them again.


Inventory
Question: What troubleshooting can I do if an inventory task fails to create or run?
Answer: Ensure that DSM Essentials Task Manager service is running in Windows services.
Question: The Software Inventory Information table displays multiple entries of "Base System Device Driver" after the Firmware &
Driver Inventory collection task or Discovery/Inventory. What should I do?
Answer: To resolve the issue, verify if the chipset driver is installed on the server. If the chipset driver is not installed, install the latest
chipset driver and then reboot the server. After rebooting the server, rediscover the server in OpenManage Essentials.
Question: I discovered a PowerEdge FX or FX2s chassis with firmware version 1.1 using the WS-Man protocol. The device is not
displayed in the System Update → Non-Compliant Systems tab. However, the Software Inventory table is not displayed. What
should I do?
Answer: Manually (outside of OpenManage Essentials) upgrade the PowerEdge FX or FX2s firmware to version 1.2 or later.
Question: An ESXi server is displayed under the System Update → Non-Inventoried Systems tab. I ran the inventory task from the
Non-Inventoried Systems tab, however, the device is still displayed under the Non-Inventoried Systems tab.
Answer: Inventory information of an ESXi server may not be retrieved if the host name of the server cannot be resolved to its IP
address. To resolve the issue:

1.   Ping the host name of the server and verify the resulting IP address.
2.   If the IP address is not the same as the IP address of the ESXi server, configure the IP address of the ESXi server correctly in
     the DNS server.
3.   Run the inventory again.

Question: A modular server with iDRAC6 discovered using WS-Man protocol with the default WS-Man Timeout and Retries values
is classified under the RAC device group. However, no inventory information is displayed. What should I do?
Answer: Verify the WS-Man Timeout setting used for discovery and ensure that the timeout value is within the 4 to 99 range.
Question: I discovered a few blade servers hosted within a chassis using the SNMP protocol. Later, I discovered the Dell chassis and
its components using the Chassis (CMC) Discovery – All Components filter of the Guided Wizard. I notice that the discovery
range group of the previously discovered blade servers has moved within the discovery range group of the chassis. However, the
blade servers that I had discovered earlier are still inventoried using the SNMP protocol. What should I do?
Answer: It is recommended that you either discover each blade server individually or discover the chassis and its components using
the Chassis (CMC) Discovery – All Components filter of the Guided Wizard. If you had discovered a few blade servers prior to
discovering the chassis using the Chassis (CMC) Discovery – All Components filter of the Guided Wizard, perform the following:

1.   Edit the chassis discovery range group.
2.   Select the Chassis (CMC) Discovery – All Components filter.
3.   Provide the credentials of the chassis and the blade servers (iDRACs).
            NOTE: Provide the iDRAC credentials only if the iDRAC credentials are not the same as the chassis credentials.

4.   Save the changes.
5.   Right-click the chassis range group and click Perform Discovery and Inventory Now.




                                                                                                                                             347
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 349 of 388


The blade servers will use the WS-Man credentials during the next inventory cycle.


System Update
Question: As an OpenManage Essentials administrator (OMEAdmin), what do I do if I am unable to perform system updates on
devices?
Answer: To resolve this issue, perform one of the following steps:

•    Add the OMEAdmin to the server administrator group.
•    Reduce the user control settings by clicking Start → Control Panel → User Accounts → Change User Account Control
     Settings.

Question: What do I do if iDRAC does not download packages?
Answer: To resolve this issue, ensure that:

•    The default website is enabled in IIS.
•    The virtual folder (install_packages) is present and is pointing to the SystemUpdate folder.

The default website is enabled in IIS.
Question: What order are packages installed on a system?
Answer: Packages are applied in the following order:

1.    Driver
2.    Firmware
3.    Firmware ES
4.    BIOS

Question: How do I configure Internet Explorer with Enhanced Security Configuration to ensure that OpenManage Essentials can
utilize all features that use resources from Dell online?
Answer: To ensure that these features work in the Open Manage Essentials console on an environment with Internet Explorer
Enhanced Security Configuration enabled. The user needs to add *.dell.com to the Trusted sites zone.
Import Catalog and System Update require internet access when the user selects Dell Online as the source.
The warranty report also uses Dell online resources to retrieve information and also will not return data without it.
Question: What if IPMI is disabled after installing BMC Utility?
Answer: Try restarting DSM Essentials Network Monitor Service, DSM Essentials Task Manager service, and restart IIS.
Question: What is Omremote?
Answer: Omremote enables you to execute remote Server Administrator command line tasks (inband) and also helps you to deploy
Server Administrator on remote Dell servers. Omremote is an executable file that is located at C:\Program Files\Dell\SystMgt
\Essentials\bin folder. It uses WMI connection for the Windows-based devices and SSH for the Linux-based devices. Ensure that
the required ports are opened. Omremote commands require a Server Administrator supported operating system with the Server
administrator installed. To install/update Server administrator on the remote system, you must use an operating system preinstall
package.
Question: A system update task for applying a firmware update on a hard drive that is inaccessible or degraded results in an error.
What can I do?
Answer: Follow the troubleshooting instructions in the "Physical Disk Failures and Rebuilds" section of the How to troubleshoot hard
drive and RAID controller errors on Dell PowerEdge 12G servers Dell Knowledge Base article, and then retry the system update task.
Question: When I applied an applicable Dell Update Package (DUP) on a device running a 32-bit Linux operating system, the
following message is displayed: This package does not support running on 32-bit operating systems. What could be the reason?
Answer: DUPs for Linux may include packages that are applicable for both 64-bit and 32-bit operating systems. OpenManage
Essentials displays both 64-bit and 32-bit packages as applicable packages, irrespective of the operating system of the target device.
Therefore, you may notice the message while applying 64-bit Linux update packages on devices running 32-bit Linux operating
systems.
Question: How do I load a Dell catalog for software update? Or What do I do when I get errors when trying to run software update
tasks?



348
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 350 of 388


Answer:

1.    Download the catalog to the OpenManage Essentials system directly or use a System Update Utility DVD in the local system
      drive.
2.    Browse for catalog.xml file on the local system or DVD (not on a file share, it is possible to use a file share, but for
      troubleshooting, do not use file share).
3.    Now, create software update tasks. If tasks fail, more information is found in the task details.
4.    Try setting all internet explorer security settings to LOW if tasks do not run.


Managing Device Configurations
Question: Why are unsupported device groups shown in the Device Configuration wizard?
Answer: All user created visible custom groups are shown in the device selection screen. A custom group may contain invalid system
groups for the given wizard. The invalid system groups can be ignored.
Question: If I filter the attributes and then save the device configuration template, will the template include only the filtered
attributes?
Answer: No, the template will include all the attributes. Filtering the attributes does not have any effect on the attributes that are
saved. To remove the attributes from a template, clear the Deploy check boxes for the attributes, and then save the template.
Question: Why is a device that is already associate to the current template displayed in the device selection page?
Answer: The device selection page displays the all applicable devices including the device that is currently associated with the
template. You can ignore the currently associated device and select another device, if required.
Question: Why does the Data Sources table in the device inventory displays additional or duplicate information with an Unknown
health status for the same agent?
Answer: This issue may occur in the following scenarios:

•    The Data Source information of the agent is no longer in use while connecting to OpenManage Essentials.
•    The agent is unable to determine the health and connection status of the device.
•    The agent is unreachable or unresponsive.

To resolve this issue, delete the device and discover the device again.


Device Group Permissions
Device Group Permissions Portal
Question: Can I add a user group to the OmeSiteAdministrators role?
Answer: Yes, you can add a user group to the OmeSiteAdministrators role.
Question: Can I add an OmeAdministrator to the OmeSiteAdministrators role?
Answer: Yes, you can add an OmeAdministrator to the OmeSiteAdministrators role. The user will have all the rights of the
OmeAdministrator. However, to effectively manage device group permissions, it is recommended that a member of the
OmeSiteAdministrators role is removed from the OmeAdministrators and OmePowerUsers roles.
Question: Can I add a user who has not logged on to OpenManage Essentials to the OmeSiteAdministrators role?
Answer: Yes, you can use the Edit Members of OmeSiteAdministrators wizard to add a user who has not logged on to
OpenManage Essentials to the OmeSiteAdministrators role.
Question: What happens if a OmePowerUser is added to the OmeSiteAdministrators role?
Answer: Roles and permissions are additive. The user will not have all of (but retain some of) the restrictions of a
OmeSiteAdministrator. The user will be able to perform edit actions that the OmeSiteAdministrator was not able to perform. Target
security cannot be guaranteed for this type of user (they can edit device groups assigned to them).
Question: Can I promote an OmeSiteAdministrator to an OmeAdministrator?
Answer: Yes, the user will have all rights and will be able to target all devices. It is suggested, but not required, to remove the user
from the OmeSiteAdministrators role before adding the user to the OmeAdministrators role.
Question: How do I add a current OmeAdministrator to the OmeSiteAdministrators role?



                                                                                                                                         349
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 351 of 388


Answer:
1.    Remove the user from the OmeAdministrators Windows user group.
2.    In the Device Group Permissions portal, use the Edit Members of OmeSiteAdministrators option to select and add the user
      to the OmeSiteAdministrators role.
3.    When the user logs in again, the user will be an OmeSiteAdministrator.
Question: A user is removed from the OmeAdministrators role and then added to the OmeSiteAdministrators role. What happens
to the tasks that were created while the user was an OmeAdministrator?
Answer: The task created when the user was an OmeAdministrator can still be executed on the targets selected at the time of task
creation.

Remote and System Update Tasks
Question: What happens to the task target for a remote task if the OmeSiteAdministrators device group permissions change?
Answer: The task targets of a remote task are not affected by changes to device group permissions. Remote tasks that were
created earlier may have task targets that the OmeSiteAdministrator is not assigned to.
Question: What must an OmeSiteAdministrator do to edit a task?
Answer: If the OmeSiteAdministrator is the owner of the task, the OmeSiteAdministrator must delete the existing task and create a
new task.
Question: Can an OmeSiteAdministrator re-run a task?
Answer: Yes, A task can be re-run if the task was created earlier by the OmeSiteAdministrator.
Question: Can an OmeSiteAdministrator re-run a task after the user name of the OmeSiteAdministrator is changed?
Answer: No, the OmeSiteAdministrator must re-create the tasks if the user name is changed.
Question: Can two OmeSiteAdministrators assigned to the same custom device group, use the tasks created by each other?
Answer: No, the OmeSiteAdministrators can only use the tasks they have created.

Custom Device Groups
Question: Can an OmeSiteAdministrator delete devices in any group?
Answer: Yes, the OmeSiteAdministrator can delete devices in any group, similar to the OmePowerUser or OmeAdministrator.
Question: Can OmeSiteAdministrators edit the device groups they created?
Answer: No, the OmeSiteAdministrators cannot edit device groups or queries.
Question: Can OmeSiteAdministrators delete queries and custom groups?
Answer: Yes, the OmeSiteAdministrators can delete queries and custom groups.
Question: Can OmeSiteAdministrators add devices to a custom device group?
Answer: No, the OmeSiteAdministrators cannot edit a custom device group.

Deployment and Configuration Compliance
Question: Can an OmeSiteAdministrator perform the right-click actions available on device configuration templates in the
Deployment and Device Compliance portals?
Answer: Yes, the OmeSiteAdministrator can perform all right-click actions available on device configuration templates in the
Deployment and Device Compliance portals.


Deployment and Configuration Compliance
Question: What is FQDD?
Answer: A Fully Qualified Device Descriptor (FQDD) is used to identify a specific component in a system. Typically, a device
configuration template contains FQDDs for the various components of a system and their corresponding setting values. For example,
the FQDD for the iDRAC may be represented as iDRAC.embedded.1. For components such as the network cards (NICs) that have
more than one port or partition, the FQDD may be represented as:



350
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 352 of 388


•    NIC.Integrated.1-2-2, which represents partition 2 of port 2 of a NIC that is integrated on the system board.
•    NIC.Slot-3.1.2, which represents partition 2 of port 1 that is available on an NIC adapter that is inserted in slot 3 on the system
     board.

Question: After a deployment task is completed, the results section on the task Execution Details window displays the same FQQD
for all partitions of a NIC. How do I verify if the correct values are deployed?
Answer: In some cases, when attribute values are deployed to multiple partitions, the FQDD values shown in the results tab may be
incorrect (specifically, the same FQDD may be repeated for different partitions). However, correct values are stored in the database.
You can view the device configuration inventory to see the actual values.
Question: I replaced a server (source) with another server (target) from a compute pool. Will the existing alerts and tasks be
associated to the target server?
Answer: The following are the expected behaviors after replacing the server (where source refers to the source operating system):

•    Alerts and tasks that were created before replacing the server are associated only with source server.
•    Alerts and tasks that are created after the replacing the server are associated only with the target server.

Question: When OpenManage Essentials performs deployment in QLogic CNA cards, sometimes the value of second octet for
virtual WWPN and WWNN gets set to 08 and 07, instead of 01 and 00. How do I resolve this issue?
Answer: Perform the following steps:

1.    Clear all NIC partitions.
2.    Reboot the server.
3.    Partition the NIC again.
4.    Deploy the server again with virtual I/O attributes.

Question: I deployed a configuration template on a server. What must I do if I want to edit some attributes of the same configuration
template and then deploy it on another server?
Answer: It is recommended that you clone the configuration template, edit the attributes, and then deploy the cloned template on
another server.


Logs
Question: How do I enable logging in OpenManage Essentials?
Answer: To enable logging:

1.    Go to C:\Program Files\Dell\SysMgt\Essentials\configuration or the path where OpenManage Essentials is installed.
2.    Open the dconfig.ini file using notepad.
3.    In the [Logging] section, modify the following:

      •   Set LOG_ENABLED=true to enable logging.
      •   Set LOG_TO_FILE=true to write logs to a file.
      •   Type a path for LOG_FILE_PREFIX. For example, LOG_FILE_PREFIX=C:\windows\temp.
      •   If required, change the suffix of the file for LOG_FILE_SUFFIX=ome_log.txt.
      •   Set the log level for LOG_LEVEL_MIN. For example, LOG_LEVEL_MIN=debug.
                NOTE: Setting the minimum log level (LOG_LEVEL_MIN) to debug or trace reduces the performance of
                OpenManage Essentials.
      •   Set the log level for LOG_LEVEL_MAX. For example, LOG_LEVEL_MAX=output.
                NOTE: The maximum log level (LOG_LEVEL_MAX) must always be set to output.

            NOTE: For more information about log severity levels, see the “Log Levels” section.

4.    Close the file and restart all DSM services in the Services Microsoft Management Console.




                                                                                                                                           351
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 353 of 388



Log Levels
Setting the log levels determines the range of message severity type you want to log. The following table describes the log message
severity levels that you can assign to LOG_LEVEL_MIN and LOG_LEVEL_MAX.
Table 261. Log Levels

Severity Level                                                       Description
Trace                                                                Detailed information related to code flow.

                                                                           NOTE: It is not recommended to set the minimum log
                                                                           level to trace unless instructed to do so by technical
                                                                           support.

Debug                                                                Detailed information that may be useful when diagnosing
                                                                     problems.

Info                                                                 Information related to operational events.

Warning                                                              An indicator that something unexpected happened or an
                                                                     indication of some problem in the near future. The software is
                                                                     still working as expected. Typically, related to configuration or
                                                                     network issues (time outs, retries, and so on).

Error                                                                A problem resulting in the software being unable to perform
                                                                     some function.

Fatal                                                                A serious error, indicating that the software may not be able to
                                                                     continue running.

Output                                                               Information that needs to be output in situations where the
                                                                     logging system is not initialized.

By default, the minimum and maximum log message severity level are set to:

•   LOG_LEVEL_MIN=info
•   LOG_LEVEL_MAX=output

The default settings ensure that all messages with a severity of at least ‘info’ and at most ‘output’ are logged.


Backup and Restore
Question: After a backup and restore of the OpenManage Essentials database, I am unable to use the sample tasks and also the
tasks that I created. What could be the reason?
Answer: The task configuration data is saved in the OpenManage Essentials database in an encrypted format. When a backup and
restore is performed, the encrypted data becomes unusable. Therefore, you will have to recreate all tasks that you had created.
Sample tasks will continue to remain unusable.


Troubleshooting
Question: What do I need to do if all SNMP traps from an ESXi 5 host show up in OpenManage Essentials as unknown?
Answer: You must change the hardware event source in the SNMP config on the ESXi 5 host from CIM to IPMI. Run the following
commands:
vicfg-snmp.pl --username root --password <yourpassword> --server <yourserver> --hwsrc
sensors
The output of the --show command would display the following:
Current SNMP agent settings:



352
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 354 of 388


Enabled : 1
UDP port : 161
Communities : public
Notification targets :
<myOMEservername>@162/public
Options :
EnvEventSource=sensors




                                                                                  353
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 355 of 388




                                                                                                                           25
Managing Device Group Permissions
The Device Group Permissions portal allows OmeAdministrators to grant users the permission to perform system updates and run
remote tasks on select device groups.
Using the Device Group Permissions portal, OmeAdministrators can:
•    Add users to the OmeSiteAdministrators role.
•    Assign device groups to each user in the OmeSiteAdministrators role, allowing the user to perform system updates and run
     remote tasks on only the assigned device groups.
          NOTE: To effectively manage device group permissions, it is recommended that a member of the OmeSiteAdministrators
          role is removed from the OmeAdministrators and OmePowerUsers roles.
          NOTE: If a device group is not assigned to a user, it only restricts the user from performing system updates or running
          remote tasks on that device group. It does not hide or remove that device group from the device tree in the Devices
          portal.
The Common Tasks pane displays the Edit Members of OmeSiteAdministrators option that can be used to add or remove users
from the OmeSiteAdministrators role.
The Manage Device Group Permissions pane displays the OmeSiteAdministrators in a tree-view format. If you select
OmeSiteAdministrators at the root of the tree-view, the User Overviews are displayed in the right-side pane. If you select a user in
the OmeSiteAdministrators tree-view, the right-side pane displays the user name and the Device Groups for Tasks and Patch
Targeting section.
          NOTE: An OmeSiteAdministrators task target remains ‘as is’ when the task was created. If the OmeAdministrators
          change the OmeSiteAdministrators device group permissions, the task targets are not modified. Changing an
          OmeSiteAdministrators device group permissions does not change tasks the OmeSiteAdministrators created earlier.
          NOTE: Only Server, RAC, or custom device groups that are assigned to OmeSiteAdministrators are available to
          OmeSiteAdministrators for remote or system update tasks. To make any other device groups available to the
          OmeSiteAdministrators for remote or system update tasks, you must create a custom device group which includes other
          device groups and assign it to the OmeSiteAdministrators.
          NOTE: If a user in the OmeSiteAdministrators role is removed from the Windows user groups, the user is not removed
          from the OmeSiteAdministrators role automatically. You must remove the user from the OmeSiteAdministrators role
          manually through the Edit Members of OmeSiteAdministrators option.
Related link
  Permissions


Adding Users to the OmeSiteAdministrators Role
          NOTE: Only OmeAdministrators are allowed to add users to the OmeSiteAdministrators role.

          NOTE: To effectively manage device group permissions, it is recommended that a member of the OmeSiteAdministrators
          role is removed from the OmeAdministrators and OmePowerUsers roles.
To add users to the OmeSiteAdministrators role:

1.    Click Settings → Permissions.
      The device group Permissions portal is displayed.
2.    Perform one of the following:
      •     In the Common Tasks pane, click Edit Members of OmeSiteAdministrators.
      •     In the Manage Device Group Permissions pane, right-click OmeSiteAdministrators, and click Edit Members of
            OmeSiteAdministrators.


354
            Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 356 of 388


     The Edit Members of OmeSiteAdministrators dialog box is displayed.
3.   Type or select the domain name and user name in the appropriate fields, and click Add.
4.   Select the user from the list and click OK.
     The user is displayed in the OmeSiteAdministrators tree view in the Manage Device Group Permissions pane.

             NOTE: To restrict the user to perform system updates and remote tasks on specific device groups, you must assign
             the device groups to the user. See Assigning Device Groups to a User.

Related link
  Permissions


Assigning Device Groups to a User
         NOTE: Only OmeAdministrators are allowed to assign device groups to a user. Device groups can only be assigned to
         users who are members of the OmeSiteAdministrators role.
         NOTE: If a device group is not assigned to a user, it only restricts the user from performing system updates or running
         remote tasks on that device group. It does not hide or remove that device group from the device tree in the Devices
         portal.
To assign device groups to a user:

1.   Click Settings → Permissions.
     The device group Permissions portal page is displayed.
2.   In the Manage Device Group Permissions pane, select the user to whom you want to assign device groups.
     The Device Groups for Tasks and Patch Targeting section is displayed in the right-side panel.
3.   In the device groups tree-view, select the check boxes appropriate to the device group(s) you want to assign to the selected
     user. If you want to remove a device group assignment that you made previously, clear the check boxes of the appropriate
     device groups.
4.   Click Apply.
             NOTE: An OmeSiteAdministrators task target remains ‘as is’ when the task was created. If the OmeAdministrators
             change the OmeSiteAdministrators device group permissions, the task targets are not modified. Changing an
             OmeSiteAdministrators device group permissions does not change tasks the OmeSiteAdministrators created earlier.

             NOTE: Only Server, RAC, or custom device groups that are assigned to OmeSiteAdministrators are available to
             OmeSiteAdministrators for remote or system update tasks. To make any other device groups available to the
             OmeSiteAdministrators for remote or system update tasks, you must create a custom device group which includes
             other device groups and assign it to the OmeSiteAdministrators.

Related link
  Permissions


Removing Users From the OmeSiteAdministrators Role
         NOTE: Only OmeAdministrators are allowed to remove users from the OmeSiteAdministrators role.

To remove users from the OmeSiteAdministrators role:

1.   Click Settings → Permissions.
     The device group Permissions portal page is displayed.
2.   Perform one of the following:

     •     In the Common Tasks pane , click Edit Members of OmeSiteAdministrators.
     •     In the Manage Device Group Permissions pane, right-click OmeASitedministrators, and click Edit Members of
           OmeSiteAdministrators.

     The Edit Members of OmeSiteAdministrators dialog box is displayed.



                                                                                                                                355
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 357 of 388


3.    Clear the check box beside the user who you want to remove from the OmeSiteAdministrators role.
4.    Click OK.
      The user is removed from the OmeSiteAdministrators tree view in the Manage Device Group Permissions pane.

Related link
  Permissions




356
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 358 of 388




                                                                                                                            26
OpenManage Mobile Settings
OpenManage Mobile is a systems management application that allows you to securely perform a subset of data-center monitoring
and remediation tasks on one or more OpenManage Essentials consoles and/or integrated Dell Remote Access Controllers (iDRACs)
using your Android or iOS device. Using OpenManage Mobile you can:

•    Receive alert notifications from the OpenManage Essentials management system/server.
•    View group, device, alert, and log information.
•    Power on/off or restart a server.

This chapter provides information about the OpenManage Mobile settings that you can configure through the OpenManage
Essentials console. It also provides information required to troubleshoot OpenManage Mobile.
       NOTE: For information on installing and using OpenManage Mobile, see the OpenManage Mobile User’s Guide at
       Dell.com/OpenManageManuals.
Related links
  Enabling or Disabling Alert Notifications For OpenManage Mobile
  Enabling or Disabling OpenManage Mobile Subscribers
  Deleting an OpenManage Mobile Subscriber
  Viewing the Alert Notification Service Status
  Viewing the OpenManage Mobile Subscriber Information
  Troubleshooting OpenManage Mobile


Enabling or Disabling Alert Notifications For OpenManage Mobile
By default, OpenManage Essentials is configured to send alert notifications to the OpenManage Mobile application. However, alert
notifications are sent from OpenManage Essentials only when a OpenManage Mobile user adds the OpenManage Essentials console
to the OpenManage Mobile application. The Enable Push Notifications option in the Settings → Mobile Settings page allows you
to enable or disable the OpenManage Essentials console from sending alert notifications to OpenManage Mobile subscribers.
       NOTE: omeAdministrator rights are required for enabling or disabling alert notifications for OpenManage Mobile.

       NOTE: For OpenManage Essentials to send alert notifications to OpenManage Mobile, make sure that the OpenManage
       Essentials server has outbound (HTTPS) Internet access. For more information, see “Proxy Settings” in General
       Settings.
To enable or disable alert notifications for OpenManage Mobile:

1.    In OpenManage Essentials, click Settings → Mobile Settings.
      The Mobile Settings page is displayed.
2.    Select or clear Enable Push Notifications to enable or disable sending alert notifications to OpenManage Mobile subscribers.
3.    Click Apply.

Related link
  OpenManage Mobile Settings


Enabling or Disabling OpenManage Mobile Subscribers
The check boxes in the Enabled column in the Mobile Subscribers list allow you to enable or disable transmission of alert
notifications to OpenManage Mobile subscribers.




                                                                                                                                 357
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 359 of 388


       NOTE: omeAdministrator rights are required for enabling or disabling OpenManage Mobile subscribers.

       NOTE: OpenManage Mobile subscribers may be automatically disabled by OpenManage Essentials if their mobile service
       provider push notification service indicates that the device is permanently unreachable.
       NOTE: Even if an OpenManage Mobile subscriber is enabled in the Mobile Subscribers list, they can disable receiving
       alert notifications in their OpenManage Mobile application settings.
To enable or disable alert notifications to OpenManage Mobile subscribers:

1.    In OpenManage Essentials, click Settings → Mobile Settings.
      The Mobile Settings page is displayed.
2.    In the Mobile Subscribers list, select or clear the Enabled check box to enable or disable alert notifications to the appropriate
      OpenManage Mobile subscribers.
3.    Click Apply.

Related link
  OpenManage Mobile Settings


Deleting an OpenManage Mobile Subscriber
Deleting an OpenManage Mobile subscriber removes the user from the Mobile Subscribers list, preventing the user from receiving
alert notifications from the OpenManage Essentials console. However, the OpenManage Mobile user can re-subscribe to alert
notifications from the OpenManage Mobile application at a later time.
       NOTE: omeAdministrator rights are required for deleting an OpenManage Mobile subscriber.

To delete an OpenManage Mobile subscriber:

1.    In OpenManage Essentials, click Settings → Mobile Settings.
      The Mobile Settings page is displayed.
2.    In the Mobile Subscribers list, click the delete icon   appropriate to the subscriber you want to delete.
      The Delete Subscription Confirmation dialog box is displayed.
3.    Click Yes.

Related link
  OpenManage Mobile Settings


Viewing the Alert Notification Service Status
OpenManage Essentials forwards alert notifications to OpenManage Mobile subscribers through their respective device platform
alert notification service. If the OpenManage Mobile subscriber has failed to receive alert notifications, you can check the
Notification Service Status to troubleshoot alert notification delivery.
To view the status of the alert notification service, click Settings → Mobile Settings.
Related links
   OpenManage Mobile Settings
   Notification Service Status

Notification Service Status
The following table provides information about the Notification Service Status displayed in the Settings → Mobile Settings page.
Table 262. Notification Service Status

 Status Icon                                                      Status Description
                                                                  The service is running and operating normally.




358
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 360 of 388


Status Icon                                                  Status Description

                                                                   NOTE: This service status only reflects successful
                                                                   communication with the platform notification service. If the
                                                                   device of the subscriber is not connected to the Internet or a
                                                                   cellular data service, notifications will not be delivered until
                                                                   the connection is restored.

                                                             The service experienced an error delivering a message which may be
                                                             of a temporary nature. If the problem persists, follow troubleshooting
                                                             procedures or contact technical support.

                                                             The service experienced an error delivering a message. Follow
                                                             troubleshooting procedures or contact support as needed.


Viewing the OpenManage Mobile Subscriber Information
After an OpenManage Mobile user successfully adds an OpenManage Essentials console, the user is added to the Mobile
Subscribers table in the OpenManage Essentials console. The Mobile Subscribers table provides information about each
OpenManage Mobile subscriber.
To view the mobile subscriber information, in OpenManage Essentials, click Settings → Mobile Settings.
Related links
   OpenManage Mobile Settings
   Mobile Subscriber Information

Mobile Subscriber Information
The following table provides information about the Mobile Subscribers table displayed in the Settings → Mobile Settings page.
Table 263. Mobile Subscriber Information

Field                                                            Description
Enabled                                                          Displays a check box you can select or clear to enable or disable
                                                                 alert notifications to an OpenManage Mobile subscriber.

Status                                                           Displays the status of the subscriber, indicating whether the
                                                                 OpenManage Essentials console is able to send alert
                                                                 notifications successfully to the Alert Forwarding Service.

Status Message                                                   Displays the status of the mobile device.

Username                                                         Displays the name of the OpenManage Mobile user.

Device Id                                                        Displays the unique identifier of the mobile device.

Description                                                      Displays the description of the mobile device.

Filter                                                           Displays the name of the filter the subscriber has configured for
                                                                 alert notifications.

Last Error                                                       Displays the date and time the last error occurred when sending
                                                                 an alert notification to the OpenManage Mobile user.

Last Push                                                        Displays the date and time the last alert notification was sent
                                                                 successfully from OpenManage Essentials to the Alert
                                                                 Forwarding Service.

Last Connection                                                  Displays the date and time the user last accessed the
                                                                 OpenManage Essentials console through OpenManage Mobile.




                                                                                                                                   359
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 361 of 388


Field                                                             Description
Registration                                                      Displays the date and time the user added the OpenManage
                                                                  Essentials console in OpenManage Mobile.

Delete                                                            Displays a delete icon that you can click to remove a
                                                                  subscriber from the Mobile Subscribers list.


Troubleshooting OpenManage Mobile
If OpenManage Essentials is unable to register with the Message Forwarding Service or successfully forward notifications, the
following resolutions are available:
Table 264. Troubleshooting OpenManage Mobile

Problem                                     Reason                                        Resolution
OpenManage Essentials is unable to          Outbound Internet (HTTPS) connectivity        Using a web browser, determine if
connect to the Dell Message Forwarding      is lost.                                      outbound Internet connectivity is
                                                                                          available.
Service. [Code 1001/1002]
                                                                                          If connectivity is lost, perform standard
                                                                                          network troubleshooting steps:

                                                                                          •   Verify if the network cables are
                                                                                              connected.
                                                                                          •   Verify the IP address and DNS server
                                                                                              settings.
                                                                                          •   Verify if the firewall is configured to
                                                                                              allow outbound traffic.
                                                                                          •   Verify if the ISP network is operating
                                                                                              normally.

                                            Proxy settings are incorrect.                 Set proxy host, port, username, and
                                                                                          password as required. For more
                                                                                          information, see “Proxy Settings” in
                                                                                          General Settings.

                                            Message Forwarding Service is                 Wait for the service to become available.
                                            temporarily unavailable.

The Message Forwarding Service is           The platform provider service is              Wait for the service to become available.
unable to connect to a device platform      temporarily unavailable to the Message
notification service. [Code 100-105,        Forwarding Service.
200-202, 211-212]

The device communication token is no        The OpenManage Mobile application has         Reinstall OpenManage Mobile on the
longer registered with the platform         been updated, restored, uninstalled, or the   device or follow the OpenManage Mobile
                                                                                          troubleshooting procedures specified in
provider service. [Code 203]                device operating system has been
                                                                                          the OpenManage Mobile User’s Guide
                                            upgraded or restored.                         and reconnect the device to OpenManage
                                                                                          Essentials.
                                                                                          If the device is no longer connected to
                                                                                          OpenManage Essentials, remove the
                                                                                          subscriber.
The OpenManage Essentials registration      An obsolete version of OpenManage             Upgrade to a newer version of
is being rejected by the Message            Essentials is being used.                     OpenManage Essentials.
Forwarding Service. [Code 154]

Related link
  OpenManage Mobile Settings




360
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 362 of 388




                                                                                                                           27
Settings — Reference
In the Settings page, you can configure the OpenManage Essentials console. You can set the SMTP and proxy server information,
adjust session timeout, database maintenance schedules, restart services, create custom URL menu items, enable or disable internal
alerts, observe daylight savings time, and enable or disable the ActiveX features.
        NOTE: After modifying the general settings, click Apply to save the changes. Navigating to another portion of the
        console without clicking Apply resets the settings to the previously saved preferences.
Related links
  Alert Settings
  Custom URL Settings
  Deployment Settings
  Device Tree Settings
  Discovery Settings
  Feature Usage Settings
  Email Settings
  General Settings
  OpenManage Mobile Settings
  Task Settings
  Warranty Notification Settings
  Purge Download Settings
  Permissions


Alert Settings
Table 265. Alert Settings

Field                                                             Description
Enable Internal Health Alerts                                     Select the check box to enable internal health alerts. When
                                                                  enabled, OpenManage Essentials generates internal alerts when
                                                                  the global health status of the device changes.

Enable Internal Connection Status Alerts                          Select the check box to enable internal connection status alerts.
                                                                  When enabled, OpenManage Essentials generates internal alerts
                                                                  when the connection status of the device changes.

Alert Popup Notification Settings

Enable Alert Popup Notifications                                  Select the check box to enable pop-up notifications to be
                                                                  displayed when an alert is received.

Seconds between popup notifications                               Select the time interval between each alert pop-up notification.

SNMP Listener Settings

Support V1/V2c Traps                                              Select the option to use Windows SNMP Trap service for
                                                                  receiving the traps.

Support V1/V2c/V3 Traps                                           Select the option to use dedicated Net SNMP trap reception
                                                                  port for receiving the traps.




                                                                                                                                361
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 363 of 388


Field                                                              Description
Dedicated Trap listening port                                      Enter the SNMP trap reception port. By default, the dedicated
                                                                   trap reception port is 162.


Custom URL Settings
Table 266. Custom URL Settings

Field                                                    Description
Name                                                     Displays the name assigned to the URL.

Device Group                                             Displays the device group associated with the URL.

Custom URL                                               Displays the URL.

Description                                              Displays the description provided for the custom URL.

Date Created                                             Displays the date the URL was created.

Date Updated                                             Displays the date the URL was updated.

Related links
  Creating a Custom URL
  Launching the Custom URL


Deployment Settings
The fields displayed in the Deployment Settings page are described in the following table.
Table 267. Deployment Settings

Field                                                              Description
File Share Settings

Domain \ Username                                                  User name to access the file share.

Password                                                           Password to access the file share.

File Share Status                                                  Indicates the status of the deployment file share configuration.

Allow using file share for Device Configuration feature on         Allows using file share for device configuration features on the
server                                                             server.

Auto Deployment Settings

Enable auto deployment for recently discovered devices             Select to allow OpenManage Essentials to deploy a
                                                                   configuration template to devices that will be discovered later.

Run auto deployment every xx Minutes                               Set the time interval at which you want to attempt the
                                                                   configuration deployment on devices that will be discovered
                                                                   later.




362
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 364 of 388



Device Tree Settings
Table 268. Device Tree Settings

Field                                                             Description
Always display RAC device name under RAC group                    Select the check box to display the RAC name (RAC DNS name
                                                                  or instrumentation name) of the iDRAC in the device tree,
                                                                  portals, and wizards.

                                                                        NOTE: The RAC name is displayed only if you have
                                                                        discovered the iDRAC with the WS-Man protocol.
                                                                        Otherwise, the system name is displayed instead of the
                                                                        RAC name.

Identify devices with lost connection in device tree
                                                                  Select the check box to display the      icon in the device tree
                                                                  and portals for devices that are not reachable.


Discovery Settings
The Discovery Settings page enables you to configure the type of wizard you want to use for discovering devices. The fields
displayed in the Discovery Settings page are described in the following table.
Table 269. Discovery Settings

Field                                                             Description
Standard Wizard                                                   If selected, the Discover Devices wizard displays a list of
                                                                  protocols for discovering devices.

Guided Wizard                                                     If selected, the Discover Devices wizard displays a list of device
                                                                  types and the required protocols for discovering and managing
                                                                  the selected devices. After the required protocol configurations
                                                                  are completed, by default, this wizard runs both discovery and
                                                                  inventory.

                                                                        NOTE: Discovery of Dell EMC storage arrays is not
                                                                        supported by the Guided Wizard.

Skip ICMP ping during discovery                                   If selected, the ICMP Configuration settings will be disabled
                                                                  from the Discover Devices wizard. By selecting this option,
                                                                  ICMP ping is skipped during discovery and inventory of the
                                                                  devices, system updates, configuration and deployment tasks.

Discover the selected Device Types only                           In OpenManage Essentials 2.5, this option is enabled by default.
                                                                  If selected, this option allows device-type discovery in the
                                                                  guided wizard.




                                                                                                                                 363
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 365 of 388


Field                                                              Description

                                                                         NOTE: The device range that was discovered in
                                                                         OpenManage Essentials version 2.2 and earlier may have
                                                                         discovered both chassis and iDRAC using WS-MAN
                                                                         protocol. In OpenManage Essentials 2.5, if Discover the
                                                                         selected Device Types only option is enabled in
                                                                         Discovery settings, then only the specific device
                                                                         selected in the guided wizard will be discovered and
                                                                         other devices are classified as unknown devices. For
                                                                         example: Selecting iDRAC device type with WS-MAN
                                                                         protocol will discover only iDRAC devices using WS-
                                                                         MAN protocol.


Feature Usage Settings
In OpenManage Essentials version 2.5, to understand and to improve the most used features, the following information is collected
when you choose to join the OpenManage Essentials Customer Experience Improvement Program:

•   The number of devices being monitored.
•   The distinct type of devices being monitored. For example, servers, chassis, switches, and storage.
•   The number of servers with the Server Configuration Management license installed.
•   The number of servers that are discovered by using in-band discovery methods.
•   The type and number of tasks created.
•   The number of:

    – Configured discovery and excluded discovery ranges
    – Alerts received and the alert actions
    – Created configuration templates and baselines
    – Configured virtual identity pools
    – Managed catalogs

        NOTE: No personal information to identify or to contact you are collected during this activity.


Email Settings
Table 270. Email Settings

Field                                                              Description
SMTP Server Name or IP Address                                     Enter the SMTP server name or IP address.

Use Credentials                                                    Enable the user credentials.

Domain \ User name                                                 Enter the domain and user name.

Password                                                           Enter the user password.

Port                                                               Check Use Default to use the default port number or manually
                                                                   add the port number.

Use SSL                                                            Enable this check box to use SSL.

Logging                                                            Select to enable or disable logging based on your preference.




364
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 366 of 388



General Settings
Table 271. General Settings

Field                                                      Description
Console Session Timeout                                    Amount of user-inactive time that passes before the console
                                                           automatically logs the user out.
Database Maintenance Execution Schedule                    The date and time when the database maintenance activity will
                                                           begin.
                                                                 NOTE: It is recommended not to run or schedule any
                                                                 task (discovery, inventory, status polling, and so on)
                                                                 during database maintenance, as the console is less
                                                                 responsive during database maintenance.

Restart All OpenManage Essentials Services                 Restarts the services associated with OpenManage Essentials.
                                                                 NOTE: It is recommended to have discovery, inventory,
                                                                 status polling, and other tasks completed before
                                                                 restarting the OpenManage Essentials services.

Security Settings (ActiveX)
Allow MIB Import Utility Launch                            Installs and runs an ActiveX component on the client machine to
                                                           launch the MIB Import Utility.
Allow Remote Desktop Launch                                Installs and runs an ActiveX component on the client machine to
                                                           launch remote desktop sessions.
Allow Troubleshooting Tool Launch                          Installs and runs an ActiveX component on the client machine to
                                                           launch the Troubleshooting Tool.
ActiveX Status                                             Displays the ActiveX status. Click Refresh Status to refresh the
                                                           ActiveX status.

Time Zone Settings

Observe Daylight Savings Time for Server Selected Region   Click this check box to enable adjusting the scheduled date and
                                                           time values based on the server's time zone. Adjusting the
                                                           server's time zone setting changes the settings in OpenManage
                                                           Essentials. Enabling this option adjusts the date and time values
                                                           of scheduled items when daylight savings begin or ends.

Client Time Zone                                           Displays the time zone and UTC offset of the client’s time zone.

OME Server Time Zone                                       Displays the time zone and UTC offset of the server's time zone.

OME Server Daylight Savings Status                         Displays the current daylight savings time status of the server's
                                                           time zone and offset of daylight savings time. It also displays
                                                           whether the server's time zone is observing daylight savings or
                                                           is in standard time zone time.

Proxy Settings (used for System Update and Warranty)
Use Proxy Settings                                         Enable the use of proxy settings for internet access for System
                                                           Update and Warranty.
Proxy Server Address or Name                               The IP address or server name of the proxy server. Check the
                                                           browser's proxy LAN settings, or ask your network administrator
                                                           if unsure.
Domain \ User name                                         The domain and user name of the proxy user.




                                                                                                                          365
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 367 of 388


Field                                                             Description
Password                                                          User's proxy password.
Proxy Port Number                                                 The port number to access the proxy server. Check the
                                                                  browser's proxy LAN settings, or ask your network administrator
                                                                  if unsure.
Test Connection                                                   Click to test connection to the internet with the proxy
                                                                  credentials.
KACE Appliance Settings
KACE Appliance URL                                                The URL of the KACE appliance.
Test URL                                                          Click to test connectivity to the KACE appliance.


Task Settings
Table 272. Task Settings

Field                                                             Description
Task Execution History Settings

Task Execution History Records to be Retained                     Select the number of records to load in the Task Execution
                                                                  History.

                                                                        NOTE: Older task execution history records are purged
                                                                        when this limit is exceeded, except for discovery,
                                                                        inventory, status polling, importing catalog for system
                                                                        update, device configuration inventory, updating OME
                                                                        internal component, deploying configuration to
                                                                        undiscovered devices tasks.

Task Popup Notification Settings

Enable Task Popup Notifications                                   Select the check box to enable pop-up notifications to be
                                                                  displayed when a task is completed.

Seconds between popup notifications                               Select the time interval between each task pop-up notification.


Warranty Notification Settings
The following table provides information about the fields displayed in the Settings → Warranty Notification Settings page.
Table 273. Warranty Notification Settings

Field                                                             Description
Warranty Email Notifications

Enable Warranty Email Notifications                               Enables or disables the sending of warranty email notifications.

To                                                                The email addresses of the recipients of the warranty
                                                                  notification email. Each email address must be a valid email
                                                                  address. Multiple email addresses must be separated using a
                                                                  semicolon.

From                                                              The email address from which the warranty notification email is
                                                                  to be sent. Only one email address must be provided. The email
                                                                  address must be a valid email address.




366
        Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 368 of 388


Field                                         Description
All Devices with x days or less of warranty   Determines which devices to include in the warranty notification
                                              email. Devices with warranty less than or equal to the specified
                                              days are included in the warranty notification email.

Include Expired Warranties                    Specifies if devices with expired warranty (0 days) or no
                                              warranty information should be included in the warranty email
                                              notification.

Send email every x days                       The duration between successive warranty email notifications.
                                              An update to this field takes effect only after the next warranty
                                              email notification is sent.

Next Email Will Send On                       The date and time at which the next warranty notification email
                                              is to be sent. You can configure this field to set when the next
                                              warranty notification email is to be sent. After an email
                                              notification is successfully sent, this field is updated
                                              automatically based on the setting in the Send email every x
                                              days field.

Email Settings                                Opens the E-mail Settings page where you can configure the
                                              SMTP email server.

Warranty Scoreboard Notifications

Enable Warranty Scoreboard Notifications      Enables or disables the display of the warranty notifications icon
                                              in the OpenManage Essentials heading banner. The warranty
                                              notification icon is displayed only if a device has warranty less
                                              than or equal to the days specified in All Devices with x Days or
                                              less of warranty .

All Devices with x Days or less of warranty   Determines which devices to include in the warranty notification
                                              email. Devices with warranty less than or equal to the specified
                                              days are included in the warranty notification email.

Include Expired Warranties                    Specifies if devices with expired warranty (0 days) or no
                                              warranty information should be included in the Device Warranty
                                              Report.

Warranty Popup Notification Settings

Enable Warranty Popup Notification            Enables or disables the display of the warranty popup
                                              notifications in the console. The warranty popup notification is
                                              displayed only if a device has warranty less than or equal to the
                                              days specified in All Devices with x Days or less of warranty .

Warranty Update Settings

Enable Warranty Updates                       Enables or disables the checking of warranty information of the
                                              discovered devices on the support site.

Update warranty every x days                  The duration between successive warranty update checks.

Next warranty update will be on               The date and time at which the next warranty updates are
                                              checked. You can configure this field to set when the next
                                              warranty updates are checked. After the warranty information is
                                              successfully checked, this field is updated automatically based
                                              on the setting in the Update warranty every x days field.




                                                                                                              367
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 369 of 388


Related links
  Configuring Warranty Email Notifications
  Configuring Warranty Scoreboard Notifications


Permissions
The following is the description of the panels and fields displayed in the Device Group Permissions portal.

Common Tasks
The Common Tasks pane displays the Edit Members of OmeSiteAdministrators option that you can use to add or remove a user
from the OmeSiteAdministrators role.

Manage Device Group Permissions
The Manage Device Group Permissions pane displays the OmeSiteAdministrators in a tree-view format. The User Overviews are
displayed in the right-side pane when you click OmeSiteAdministrators in the Manage Device Group Permissions pane. The
following are the fields in User Overviews:
Table 274. Manage Device Group Permissions

Field                                                               Description
User Type                                                           Displays if the member is a user or user group.

Domain                                                              Displays the domain of the user.

Name                                                                Displays the name of the user.


Device Groups for Tasks and Patch Targeting
The Device Groups for Tasks and Patch Targeting section is displayed in the right-side pane when you click a user name in the
Manage Device Group Permissions pane. This section displays the device groups in a tree-view format.
Related links
  Managing Device Group Permissions
  Adding Users to the OmeSiteAdministrators Role
  Assigning Device Groups to a User
  Removing Users From the OmeSiteAdministrators Role


Purge Download Settings
The Purge Download Settings page allows you to configure the settings for automatic purging of downloaded BIOS, firmware,
driver, and application files.
The following table provides information about the fields displayed in the Settings → Purge Download Settings page.
Table 275. Purge Download Settings

Field                                                               Description
Enable purging of downloaded files                                  Select to allow purging of the BIOS, firmware, drivers, or
                                                                    application files that are downloaded by OpenManage
                                                                    Essentials.

Size limit of the downloads folder (GB)                             Select the size limit of the folder to which OpenManage
                                                                    Essentials downloads the files that are required for applying
                                                                    system updates or remote tasks. By default, the downloaded
                                                                    files are saved in the <install location>\Essentials\System
                                                                    Update folder. Files will be automatically purged from the




368
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 370 of 388


Field                                                           Description
                                                                downloads folder (<install location>\Essentials\System Update)
                                                                when the folder size reaches the defined size limit. (Range: 5
                                                                GB to 20 GB; Default: 20 GB)

Approximate size of the downloaded files to be purged           Select the approximate size of the downloaded files that you
                                                                want to purge. Files will be purged until the total size of the
                                                                purged files reaches or exceeds the approximate size that you
                                                                have defined. (Range: 1 GB to 4 GB; Default: 4 GB)

Related link
  Configuring automatic purging of downloaded system update files




                                                                                                                              369
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 371 of 388




                                                                                                                               28
Logs — Reference
From tools you can:

•     View User Interface Logs
•     View Application Logs




      Figure 36. Toolbar — Export

      Export Discovery Logs to File System — Export the logs that were generated while discovering devices.

User Interface Logs
Table 276. User Interface Logs

Field                                                              Description
Enabled                                                            Enable or disable logging of User Interface. Disable to increase
                                                                   performance.
Log Asynchronous Calls                                             Enable or disable logging for threading and asynchronous update
                                                                   method calls. Turn on both Log Asynchronous Calls and
                                                                   Informational to view update calls.
Informational                                                      Enable or disable logging of behaviors that are marked with a
                                                                   severity of General Information.
Warning                                                            Enable or disable logging of behaviors that are marked with a
                                                                   severity of Warning.
Critical                                                           Enable or disable logging of behaviors that are marked with a
                                                                   severity of Critical.
Clear                                                              Clear the user interface log grid.
Export                                                             Export the user interface log to file (.CSV, .HTML, .TXT,
                                                                   and .XML supported).
Severity                                                           The severity of the recorded deviation in user interface behavior.
Start Time                                                         The time at which this behavior occurred.
Source                                                             The source of the behavior.
Description                                                        More information on the behavior.


Application Logs
Table 277. Application Logs

Field                                                              Description
Severity                                                           The severity of the recorded deviation in application’s behavior.
Time                                                               The time at which this behavior occurred.
Message                                                            Information on the behavior.



370
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 372 of 388




                                                                                                                               29
Dell EMC Solutions
The Dell EMC Solutions portal provides a list of links to other tools associated with OpenManage Essentials. This page provides
information about the tool, detects if the tool is installed, and enables you to launch the tool if it is installed.

        NOTE: You may require ActiveX to detect some extensions. To enable ActiveX, see General Settings in the Settings page.

Table 278. Dell EMC Solutions

Field                                                             Description
Name                                                              Displays the name of the tool.

Description                                                       Displays the description of the tool.

Action                                                            If the tool is installed and ActiveX is enabled, a link is displayed.
                                                                  You can click the link to launch the tool.

                                                                        NOTE: For the inventory collector component, the
                                                                        Action column may display the following:

                                                                        •   Up-to-date — Indicates that OpenManage Essentials
                                                                            has the latest version of inventory collector
                                                                            component.
                                                                        •   Update — Indicates that a newer version of the
                                                                            inventory collector component is available. Click to
                                                                            download the inventory collector component for both
                                                                            Windows and Linux in the background.

Version                                                           Displays the version of the tool.

                                                                        NOTE: For the inventory collector component, the
                                                                        Version column may display the following:

                                                                        •   Up-to-date icon      — Indicates that OpenManage
                                                                            Essentials has the latest version of the inventory
                                                                            collector.

                                                                        •   Warning icon       — Indicates that OpenManage
                                                                            Essentials does not have the latest version of the
                                                                            inventory collector.

Additional Information                                            Click the ? icon to see more information about the product.

Related link
  Updating the inventory collector component




                                                                                                                                      371
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 373 of 388




                                                                                                                               30
Right-Click Actions
The following tables lists all the right-click actions that are available in OpenManage Essentials.

       NOTE: The right-click options displayed in OpenManage Essentials are dependent on your access privilege. You must
       have administrator access to see all the options.


Schedule View
Table 279. Schedule View

Action                                                                Description
Create New Task                                                       Displays the following options:

                                                                      •   Server Power Options
                                                                      •   Deploy Server Administrator Task
                                                                      •   Command Line Task

Export Calendar                                                       Allows you to export the calendar in an .ics file format. You can
                                                                      import the ics file into Microsoft Outlook.

After you create a task, you can right-click the task to display the following options:
Table 280. Action Items

Actions                                                               Description
Edit                                                                  Allows you to edit the task.
Delete                                                                Allows you to delete the task.
Run Now                                                               Allows you to run the task immediately.
View                                                                  Allows you to view the details of the task.
Deactivate Task Schedule                                              Deactivates a task’s schedule. This flag determines if the task
                                                                      runs or not in the future.
                                                                            NOTE: If you right-click a deactivated task, an Activate
                                                                            Task Schedule option is displayed.

Clone                                                                 Allows you to clone the task with the same details.
Export Calendar                                                       Allows you to export the calendar in an ics file format. You can
                                                                      import the ics file into Microsoft Outlook.


Device Status
Table 281. Device Status

Action                                                                Description
IP address or device name                                             Displays the IP address or name of the device.

Application Launch                                                    Select to launch an associated application.




372
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 374 of 388


Action                                                            Description
Device Configuration                                              •   Refresh Device Configuration Inventory — Refresh the
                                                                      configuration inventory of the device.
                                                                  •   Add Devices to Repurpose and Bare Metal Device Group
                                                                      — Add the device to the Repurpose and Bare Metal Device
                                                                      Group.
                                                                  •   Associate to Template — Associate the device to a device
                                                                      configuration template.
                                                                  •   Create Template — Create a device configuration template
                                                                      from the device.
                                                                  •   Deploy Template — Deploy a device configuration template
                                                                      on the device.
                                                                  •   Reclaim Identities — Reclaim deployed virtual I/O identity
                                                                      attributes from the device.
                                                                  •   Replace Server— Replace a production server from the
                                                                      backup profile.

Troubleshoot                                                      If the Troubleshooting Tool is installed, then select this option to
                                                                  launch the Troubleshooting Tool. The Troubleshooting Tool is
                                                                  disabled by default. To enable the Troubleshooting Tool, see
                                                                  Settings — Reference.

Refresh Inventory                                                 Select to run inventory on the device.

Refresh Status                                                    Select to run a status check on the device.

Add to New Group                                                  Select to add the device to a group.

Add to Existing Group                                             Select to add the device to an existing group.

Ignore All Alerts from Device                                     Select to ignore all alerts from the device.

Exclude Range                                                     Select to remove the device from the discovery and inventory
                                                                  range.

Delete                                                            Select to remove the device information.


Associate Catalog Baseline
To associate custom device groups with a catalog baseline, right-click a custom device group and select Associate Catalog Baseline.
Table 282. Associate Catalog Baseline

Action                                                            Description
Catalog Baselines

List of Catalog Baselines                                         Select a catalog baseline from a list of available catalog
                                                                  baselines.

Create Catalog Baseline

Baseline Name                                                     Type to change the baseline name.

Use repository manager file                                       Click Browse to navigate the file system and select a repository
                                                                  manager file.

Import now                                                        Select to import the catalog baseline.




                                                                                                                                    373
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 375 of 388



Discovery Range Summary
Managing Include Ranges
Right-click the IP address or group to view the following options:
Table 283. Managing Include Ranges

Action                                                               Description
Edit                                                                 Select to edit discovery range configuration.

Rename                                                               Select to rename the range.

                                                                           NOTE: This option is only displayed if you right-click an
                                                                           IP address.

Add Discovery Ranges to <Group Name>                                 Select this option to add additional ranges to an existing group.
                                                                           NOTE: This option is only displayed if you right-click a
                                                                           group.

Delete                                                               Select to delete a range.

Disable                                                              Select to disable a range.

Perform Discovery Now                                                Select to do the discovery.

Perform Discovery and Inventory Now                                  Select to do the discovery and inventory.

Perform Status Polling Now                                           Select to start the status polling task for the discovered server
                                                                     or device.

Perform Inventory Now                                                Select to perform the inventory.

Export Range(s)                                                      Select to export the discovery range as a .csv file.


View Filters
Table 284. View Filters

Action                                                               Description
Edit                                                                 Select to edit the alert action or alert filter.

View Summary                                                         Select to view all the systems that are critical.

Rename                                                               Select to rename action or alert filter.

Clone                                                                Select to create a copy of an action or alert filter.

Delete                                                               Select the alert to delete the alerts.


Alerts
Table 285. Alerts

Action                                                               Description
Details                                                              Select to view the details of alerts.

Device Details                                                       Select to view the device details.




374
         Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 376 of 388


Action                                     Description
Device Application Launch                  Select to launch the console associated with the device.

Acknowledge                                Select to set or clear alerts.

Delete                                     Select to delete alerts.

Ignore                                     Select to ignore alert filter action on the selected device or all
                                           devices. You can also use this option to ignore all alerts from the
                                           selected device.

Export                                     Select to export alert information in a CSV or HTML format.


Remote Tasks
Table 286. Remote Tasks

Action                                     Description
Edit                                       Select to edit the task.

Delete                                     Select to delete the task.

Run                                        Select to run the task immediately.

View                                       Select to view the task.

Activate Task Schedule                     Select to activate the task schedule.

Clone                                      Select to create a copy of a task.


Custom URL
Table 287. Custom URL

Action                                     Description
Edit                                       Select to edit the URL.
Delete                                     Select to delete the URL.
Export                                     Select to export the information about the URL


System Update Tasks
Table 288. System Update Tasks

Action                                     Description
Delete                                     Select to delete the task.

Run                                        Select to re-run a task that is already complete, but did not
                                           update some of the components.

View                                       Select to view the task.

Export                                     Select to export the system update task information.

Stop                                       Select to stop the task.




                                                                                                           375
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 377 of 388



Attributes Tab
Table 289. Attributes Tab

    Action                                     Description
    Check                                      Select the selected attributes.

    Uncheck                                    Clear the selected attributes.

    Export                                     Export all the attributes displayed in the Attributes tab.

.


Templates
Table 290. Templates

    Action                                     Description
    Deploy                                     Deploy the selected device configuration template.

    Clone                                      Clone the selected device configuration template.

    Rename                                     Rename the selected device configuration template.

    Delete                                     Delete the selected device configuration template.

    Export Template                            Export the selected device configuration template.

.


Compute Pools
Repurpose and Bare Metal
Table 291. Repurpose and Bare Metal

    Action                                     Description
    Create Compute Pool                        Create a compute pool.


Compute Pool
Table 292. Compute Pool

    Action                                     Description
    Deploy                                     Deploy a device configuration template.

    Edit                                       Edit the compute pool.

    Unlock                                     Unlock the compute pool.

    View                                       View the compute pool wizard.

    Rename                                     Rename the compute pool.

    Delete                                     Delete the compute pool.




376
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 378 of 388


Action                                                 Description
Replace Server                                         Replace a server with another server from within the same
                                                       compute pool.


Devices
Table 293. Devices

Action                                                 Description
Refresh Device Configuration Inventory                 Refresh the configuration inventory of the device.

Remove Devices from Repurpose and Bare Metal Devices   Remove devices that are currently in the Repurpose and Bare
Group                                                  Metal device group.

Create Template                                        Create a device configuration template from the server.

Reclaim Identities                                     Reclaim the virtual I/O identities of the server.

Remove from Pool                                       Remove a server from the compute pool.

Replace Server                                         Replace a server with another server from within the same
                                                       compute pool.


Virtual Input-Output Pools
Virtual I/O Pool
Table 294. Virtual I/O Pool

Action                                                 Description
Create Virtual I/O Pool                                Create a virtual I/O pool.

Edit                                                   Edit the virtual I/O pool.

View                                                   View the virtual I/O pool wizard.

Rename                                                 Rename the virtual I/O pool.

Delete                                                 Delete the virtual I/O pool.


Devices with Identities
Table 295. Device with Identities

Action                                                 Description
View Identities                                        View the deployed and assigned virtual I/O identities of a
                                                       device.

Reclaim the Assigned Identities                        Reclaim the assigned virtual I/O identities of a device.

Reclaim the Deployed Identities                        Reclaim the deployed virtual I/O identities of a device.

Export                                                 Export the details in an HTML, CSV, Text, or XML format.




                                                                                                                     377
             Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 379 of 388



Compliance by Template
Table 296. Compliance by Template

    Action                                     Description
    Associate Devices                          Deploy the selected device configuration template.

    Edit                                       Displays the attributes of the selected device configuration
                                               template in the right pane for editing.

    Clone                                      Clone the selected device configuration template.

    Rename                                     Rename the selected device configuration template.

    Delete                                     Delete the selected device configuration template.

    Export Template                            Export the selected device configuration template.

.


Device Compliance
Table 297. Device Compliance

    Action                                     Description
    View Compliance Details                    View the compliance details for the selected device.

    Associate to Different Template            Associate the selected device to another configuration template.

    Run Inventory Now                          Run the device configuration inventory for the selected device.

    Export                                     Export the device compliance report as an HTML file.

.




378
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 380 of 388




                                                                                                                       31
Tutorials
You can use these tutorials to complete the setup options when configuring OpenManage Essentials for the first time.
In the Tutorials tab, click First Time Setup to view the following configuration information:

•   SNMP Configuration
•   SNMP—Open Services Console
•   SNMP—Open SNMP Properties
•   Install SNMP Tools—Windows Server 2012 and later
•   SNMP Security Settings
•   SNMP Trap Settings
•   Install OpenManage Server Administrator
•   Enable Network Discovery—Windows Server 2008 and later
•   Firewall Configuration
•   Protocol Support Matrix
•   Discover Devices

You can view the following tutorials:

•   Upgrade to OpenManage Essentials 2.5
•   Discover and Monitor 12G Servers without OpenManage Server Administrator
•   Linux Configuration for SNMP and OpenManage Server Administrator
•   SNMP Configuration using Group Policies
•   Configuring ESX 4.x for Discovery and Inventory
•   Configuring ESXi 4.x and 5.0 for Discovery and Inventory
•   Device Group Permissions Tutorial




                                                                                                                        379
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 381 of 388




                                                                                                                         32
Using OpenManage Essentials Command Line
Interface
Launching the OpenManage Essentials Command Line Interface
Click Start → All Programs → OpenManage Applications → Essentials → Essentials Command Line Interface.


Creating an input file for Discovery Profile
CLI commands that create discovery ranges or discovery groups require an XML-based file that defines the parameters for discovery
protocols such as SNMP, WMI, Storage, WS-Man, SSH, and IPMI. This file defines which protocols are used and the parameters for
each of the protocols. The file can be modified using an XML editor or a text editor. The DiscoveryProfile.xml file is placed at C:
\Program Files\Dell\SysMgt\Essentials\Tools\CLI. Edit the .XML file and rename it to create multiple discovery profiles. You cannot
store passwords for WMI, IPMI, WS-Man, EMC, and SSH protocols in the .XML file. The OpenManage Essentials CLI commands
allow you to specify passwords in the command-line argument using the following commands:

•   -wmiPassword<secure password>
•   -ipmiPassword<secure password>
•   -wsmanPassword<secure password>
•   -emcPassword<secure password>
•   -sshPassword<secure password>
•   -SNMPv3AuthenticationPassword<secure password>
•   -SNMPv3EncryptionPassword<secure password>

      NOTE: Passwords are not allowed in clear text. If you attempt to use clear text for the password values, the CLI
      command fails to run.
The <secure password> argument must be a secure password. To generate a secure password that can be reused in PowerShell
scripts, run the following (or a similar command) from within a PowerShell window:
To prompt the user for a password; read in and convert it to a secure string:
PS> $password = Read-Host ‘Enter password:’ –AsSecureString

To save the password, as a secure string, to the file system:
PS> $password | ConvertFrom-SecureString | Set-Content c:\tmp\password.txt

The two earlier PowerShell commands convert a password to a secure string that is then saved in a file. This secure password can
subsequently be used in other PowerShell scripts that involve OpenManage Essentials CLI commands. For example:
To read the secure password from the file and assign it to a variable:
PS> $passwordFile = convert-path c:\tmp\password.txt
PS> $wsmanpassword = Get-Content $passwordFile | ConvertTo-SecureString

To use the secure string in all the password variables in the OpenManage Essentials CLI commands:
PS> Add-DiscoveryRange -Range 10.36.0.48 -Profile samples\DiscoveryProfile.xml -
WSManPassword $wsmanpassword

An example of the profile.xml file is outlined as follows:




380
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 382 of 388


      NOTE: If you discover iDRAC using WS-Man, and if you are using secure mode where a certificate file is required to be
      on the local system, specify the entire path to the certificate file. For example, c:\192.168.1.5.cer.


Specifying IPs, ranges, or host names by using XML or CSV files
You must specify ranges during discovery, inventory, and status tasks. A range in this instance is defined either as an individual IP
address, a hostname, or a range of IPs such as 192.168.7.1-50 or 10.35.0.*. Add ranges, IPs, or host names either to an XML or CSV-
based input file and then read the file by specifying it on the command line using the –RangeList or –RangeListCSV argument.
A sample .xml file (RangeList.xml) and .csv file (RangeList.csv) are placed in the samples folder at C:\Program Files\Dell\SysMgt
\Essentials\Tools\CLI\Samples. To create multiple input files, edit and rename either the XML or CSV file.
      NOTE: If you are creating discovery range groups, then each group can only have one corresponding subnet. The subnet
      for a group is read from the DiscoveryProfile.xml file and not from the RangeList.xml or RangeList.csv file. If required,
      you can create multiple groups for each subnet.
An example of theRangeList.xml file is outlined as follows:


An example of the RangeList.csv is outlined as follows:
Table 298. Examples of RangeList.csv

Name                                                             SubnetMask
192.168.10.*                                                     255.255.255.0

192.168.10.1-255                                                 255.255.255.0

192.168.1-2.*                                                    255.255.255.0

10.35.*.1-2                                                      255.255.255.0

192.168.2.1                                                      255.255.224.0

192.168.2.2                                                      255.255.254.0

192.168.3.3                                                      255.255.128.0

192.168.3.4                                                      255.255.128.0


Specifying input files in PowerShell
To use input files in PowerShell, specify the location of the file in the command line. By default, OpenManage Essentials CLI starts at
the following directory:
PS C:\Program Files\Dell\SysMgt\Essentials\Tools\CLI>
If you are running commands from the default CLI directory, with commands located in the directory one level from it (\samples),
you can use either of the following methods of specifying the path to the input files:

•   Enter the entire path name in quotes. For example, Add-DiscoveryRange –Profile “C:\Program Files\Dell
    \SysMgt\Essentials\Tools\CLI\Samples\DiscoveryProfile.xml”.
•   Use a period (.) to retrieve the file located in the current directory, or .\directory to retrieve the file located one level from the
    current directory. For example, Add-DiscoveryRange –Profile .\samples\DiscoveryProfile.xml.


Command Line Interface commands
Access to CLI commands in the OpenManage Essentials is dependent on your access privilege. If your user ID belongs to the
OMEAdministrators group, you can access all the CLI commands. If your user ID belongs to the OMEUsers group, then you cannot
delete or modify any data using the CLI and a warning message is displayed.




                                                                                                                                             381
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 383 of 388



Creating a discovery range
Description: The Add-DiscoveryRange command allows you to create a new discovery range. The command references an .xml
file (DiscoveryProfile.xml) which is a protocol definition associated with the discovery range. Enter the ranges either using an XML
file, CSV file, or by specifying the range. For more information about DiscoveryProfile.xml, RangeList.xml, and RangeList.csv files, see
Creating a Discovery Profile Input File and Specifying IPs, Ranges, or Host Names Using XML or CSV Files.
Commands:

•   PS> Add-DiscoveryRange –Profile <DiscoveryProfile.xml> -Range <range>
•   PS> Add-DiscoveryRange –Profile <DiscoveryProfile.xml> -RangeList <RangeList.xml>
•   PS> Add-DiscoveryRange –Profile <DiscoveryProfile.xml> -RangeListCSV <RangeList.csv>

Examples:

•   PS> Add-DiscoveryRange –Profile .\Samples\DiscoveryProfile.xml -Range 10.35.0.124
•   PS> Add-DiscoveryRange –Profile .\Samples\DiscoveryProfile.xml -RangeList .\Samples
    \RangeList.xml
•   PS> Add-DiscoveryRange –Profile .\Samples\DiscoveryProfile.xml -RangeListCSV .\Samples
    \RangeList.csv

Editing a discovery range
Description: The Set-ModifyDiscoveryRange command allows to edit existing discovery ranges. This command targets the
existing specified discovery range(s) and replaces the protocol information with the information specified in the DiscoveryProfile.xml
file. For more information about the DiscoveryProfile.xml and RangeList.xml files, see Creating a Discovery Profile Input File and
Specifying IPs, Ranges, or Host names Using XML or CSV Files.
Commands:

•   PS> Set-ModifyDiscoveryRange                –Profile <DiscoveryProfile.xml> -Range <range>
•   PS> Set-ModifyDiscoveryRange                –Profile <DiscoveryProfile.xml> -RangeList <RangeList.xml>

Examples:

•   PS>Set-ModifyDiscoveryRange               –Profile .\Samples\DiscoveryProfile.xml -Range 10.35.1.23
•   PS> Set-ModifyDiscoveryRange                –Profile .\Samples\DiscoveryProfile.xml -RangeList .
    \Samples\RangeList.xml

Removing a discovery range
Description: The Remove-DiscoveryRange command allows you to remove a discovery range. Enter the ranges either using an
XML file or by specifying the range. For more information about the RangeList.xml file, see Specifying IPs, Ranges, or Host Names
Using XML or CSV Files.
Commands:

•   PS> Remove-DiscoveryRange -Range <range>
•   PS> Remove-DiscoveryRange -RangeList <rangelist.xml>

Examples:

•   PS> Remove-DiscoveryRange-Range 10.35.0.1, 10.120.1.2
•   PS> Remove-DiscoveryRange -RangeList .\Samples\RangeList.xml

Creating a discovery range group
Description: The Add-DiscoveryRangeGroup command allows you to create a discovery range group. A discovery range group
can either contain a range of IPs, individual IPs, or host names under it. This enables you to modify protocols settings for the group



382
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 384 of 388


and all the ranges it contains. You can maintain different sets of protocols for different types of devices in your network. With ranges
not in a group, you have to edit each range individually to change the protocols which are active, the time out or retry values, or
credentials used with each protocol. Each discovery range group can only have one corresponding subnet. The subnet for a group is
read from the DiscoveryProfile.xml file and not from the Rangelist.xml or RangeList.csv file. If required, create multiple groups for
each subnet. For more information about DiscoveryProfile.xml, Rangelist.xml, and RangeList.csv files, see Creating a Discovery
Profile Input File and Specifying IPs, Ranges, or Host names Using XML or CSV Files.
Command:

•   PS> Add-DiscoveryRangeGroup –Profile <DiscoveryProfile.xml> -GroupName <group name> -
    RangeList <Rangelist.xml>
•   PS> Add-DiscoveryRangeGroup –Profile <DiscoveryProfile.xml> -GroupName <group name> -
    RangeListCSV <Rangelist.csv>

Examples:

•   PS> Add-DiscoveryRangeGroup –Profile .\Samples\DiscoveryProfile.xml -GroupName Group1 -
    RangeList .\Samples\rangelist.xml
•   PS> Add-DiscoveryRangeGroup –Profile .\Samples\DiscoveryProfile.xml -GroupName Group1 -
    RangeListCSV .\Samples\rangelist.csv

Editing a discovery range group
Description: The Set-ModifyDiscoveryRangeGroup command allows you to edit an existing discovery range group. You can
change the protocols for the discovery range group by specifying a DiscoveryProfile.xml file which changes the current protocol
settings for the specified group. For information about the DiscoveryProfile.xml file, see Creating a Discovery Profile Input File.
Command:
PS> Set-ModifyDiscoveryRangeGroup -GroupName <groupname> –Profile <DiscoveryProfile.xml> -
AddRangeList <rangelist .xml or .csv file>

Example:

•   Change a discovery range group’s discovery profile and add new ranges to the discovery range group using an XML file:
    PS> Set-ModifyDiscoveryRangeGroup -GroupName WebServers-TX -Profile .\samples
    \snmp_only.xml -AddRangeList .\samples\new_ranges.xml
•   Change a discovery range group’s discovery profile and add new ranges to the discovery range group using a CSV file:
    PS> Set-ModifyDiscoveryRangeGroup -GroupName WebServers-TX -Profile .\samples
    \snmp_only.xml -AddRangeListCSV .\samples\new_ranges.csv
•   Add new ranges to a discovery range group using an XML file (retaining the previously discovered profile):
    PS> Set-ModifyDiscoveryRangeGroup -GroupName WebServers-TX -AddRangeList .\samples
    \new_ranges.xml
•   Add new ranges to a discovery range group using a CSV file (retaining the previously discovered profile):
    PS> Set-ModifyDiscoveryRangeGroup -GroupName WebServers-TX -AddRangeListCSV .\samples
    \new_ranges.csv

Removing a discovery range group
Description: The Remove-DiscoveryRangeGroup command allows to you to remove a discovery range group.
Command:
PS>Remove-DiscoveryRangeGroup -GroupName <groupname>

Example:
PS>Remove-DiscoveryRangeGroup -GroupName Group1

Enabling a discovery range or discovery range group
Description: The Set-EnableDiscoveryRange command allows you to enable a discovery range or a discovery range group.
Enter the ranges either using an XML file or by specifying the range. For information about the RangeList.xml file, see Specifying IPs,
Ranges, or Host names Using XML or CSV Files.



                                                                                                                                    383
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 385 of 388


Commands:

•   PS> Set-EnableDiscoveryRange -Range <range>
•   PS> Set-EnableDiscoveryRange -RangeList <RangeList.xml>
•   PS> Set-EnableDiscoveryRangeGroup -GroupName <groupname>

Examples:

•   PS> Set-EnableDiscoveryRange -Range 10.35.1.3, 10.2.3.1
•   PS> Set-EnableDiscoveryRange -RangeList .\Samples\RangeList.xml
•   PS> Set-EnableDiscoveryRangeGroup -GroupName Group1

Disabling a discovery range or discovery range group
Description: The Set-DisableDiscoveryRange command allows you to disable a discovery range or a discovery range group.
Enter the ranges either by using an XML file or by specifying the range. For information about the RangeList.xml file, see Specifying
IPs, Ranges, or Host names Using XML or CSV Files.
Commands:

•   PS> Set-DisableDiscoveryRange -Range <range>
•   PS> Set-DisableDiscoveryRange -RangeList <RangeList.xml>
•   PS> Set-DisableDiscoveryRangeGroup -GroupName <groupname>

Examples:

•   PS> Set-DisableDiscoveryRange -Range 10.35.1.3
•   PS> Set-DisableDiscoveryRange -RangeList .\Samples\RangeList.xml
•   PS> Set-DisableDiscoveryRangeGroup -GroupName Group1

Creating a discovery exclude range
Description: The Add-DiscoveryExcludeRange command allows you to add an exclude range. Enter the ranges either by using
an XML file or by specifying the range. For information about the RangeList.xml file, see Specifying IPs, Ranges, or Host Names
Using XML or CSV Files.
Commands:

•   PS> Add-DiscoveryExcludeRange -Range <range>
•   PS> Add-DiscoveryExcludeRange -RangeList <RangeList.xml>

Examples:

•   PS> Add-DiscoveryExcludeRange -Range 10.35.12.1
•   PS> Add-DiscoveryExcludeRange -RangeList .\Samples\RangeList.xml

Removing a discovery exclude range
Description: The Remove-DiscoveryExcludeRange command allows you to remove an exclude range. Enter the ranges either
by using an XML file or by specifying the range. For information about the RangeList.xml file, see Specifying IPs, Ranges, or Host
Names Using XML or CSV Files.
Commands:

•   PS> Remove-DiscoveryExcludeRange -Range <range>
•   PS> Remove-DiscoveryExcludeRange -RangeList <RangeList.xml>

Examples:




384
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 386 of 388


•   PS> Remove-DiscoveryExcludeRange -Range 10.35.12.1
•   PS> Remove-DiscoveryExcludeRange -RangeList .\Samples\RangeList.xml

Running discovery, inventory, and status polling tasks
Description: The Set-RunDiscovery, Set-RunInventory, Set-RunDiscoveryInventory, and Set-RunStatusPoll
commands allows you to perform discovery, inventory, and status polling on a discovery range, discovery range group, or devices. For
range and range groups, enter the ranges either using an XML file or by specifying the range. For more information about the
RangeList.xml file, see Specifying IPs, Ranges, or Host Names Using XML or CSV Files. For devices, enter the name of the device as
displayed in the device tree. Multiple device names must be separated by a comma.
Commands:

•   PS> Set-RunDiscovery -DeviceName <device 1>,<device 2>,...,<device N>
•   PS> Set-RunDiscovery -Range <rangename>
•   PS> Set-RunDiscovery -GroupName <rangeGroupName>
•   PS> Set-RunDiscovery -RangeList <rangelist.xml>
•   PS> Set-RunInventory -DeviceName <device 1>,<device 2>,...,<device N>
•   PS> Set-RunInventory -Range <rangename>
•   PS> Set-RunInventory -GroupName <rangeGroupName>
•   PS> Set-RunInventory -RangeList <rangelist.xml>
•   PS> Set-RunDiscoveryInventory -DeviceName <device 1>,<device 2>,...,<device N>
•   PS> Set-RunDiscoveryInventory -Range <rangename>
•   PS> Set-RunDiscoveryInventory -GroupName <rangeGroupName>
•   PS> Set-RunDiscoveryInventory -RangeList <rangelist.xml>
•   Set-RunStatusPoll -DeviceName <device 1>,<device 2>,...,<device N>
•   PS> Set-RunStatusPoll -Range <rangename>
•   PS> Set-RunStatusPoll -GroupName <rangeGroupName>
•   PS> Set-RunStatusPoll -RangeList <rangelist.xml>

Examples:

•   PS> Set-RunDiscovery -Range 10.23.23.1
•   PS> Set-RunInventory -GroupName MyServers
•   PS> Set-RunDiscoveryInventory -RangeList .\Samples\RangeList.xml
•   PS> Set-RunStatusPoll -DeviceName MyZen

Removing devices
Description: The Remove-Device command allows you to remove devices from the device tree.
Command:

•   PS> Remove-Device -DeviceName <device 1>,<device 2>,...,<device N>

Example:

•   PS> Remove-Device -DeviceName Server1,RAC1

Retrieving the status execution progress of a discovery range
Description: The Get-DiscoveryStatus command allows you to get the progress of a discovery range. Enter the ranges either
by using an XML file or by specifying the range. For more information about the RangeList.xml file, see Specifying IPs, Ranges, or
Host Names Using XML or CSV Files.
Commands:



                                                                                                                                385
          Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 387 of 388


•   PS> Get-DiscoveryStatus —Range <rangeName>
•   PS> Get-Discovery -RangeList <RangeList.xml>
•   PS> Get-Discovery -GroupName <group name>

Examples:

•   PS> Get-DiscoveryStatus —Range 10.35.2.1
•   PS> Get-Discovery -RangeList .\Samples\RangeList.xml
•   PS> Get-Discovery -GroupName Group1

Stopping discovery range or group tasks
Description: For any range, only one type of task, such as discovery, discovery and inventory, or status polling, can run at a given
time. The Set-StopTask command allows you to stop a task associated with a discovery range or the tasks associated with the
ranges belonging to a discovery range group.
Commands:

•   PS> Set-StopTask -Range <rangename>
•   PS> Set-StopTask -GroupName <groupname>

Examples:

•   PS> Set-StopTask -Range 10.35.1.12
•   PS> Set-StopTask -GroupName Group1

Creating a custom device group
Description: The Add-CustomGroup command allows you to create a custom device group in the device tree. If required, you can
add devices to the group after it is created.
      NOTE: By using OpenManage Essentials CLI, you can only create static groups which contain a finite list of servers. You
      can create dynamic groups based on queries by using the OpenManage Essentials console. For more information, see
      Creating a New Group.

Commands:

•   PS> Add-CustomGroup –GroupName <groupName>
•   PS> Add-CustomGroup –GroupName <groupName> –DeviceList <DeviceList.xml>
•   PS> Add-CustomGroup –GroupName <groupName> -Devices <comma separated list of devices>

Examples:

•   PS> Add-CustomGroup –GroupName MyServers –DeviceList .\Samples\devicelist.xml
•   PS> Add-CustomGroup –GroupName MyServers –Devices PE2900-WK28-ZMD, PWR-CODE.US.DELL.COM,
    HYPERVISOR, M80504-W2K8

Example of a DeviceList.xml file:
<DeviceList>
 <Device Name="PE2900-WK28-ZMD"/>
 <Device Name="PWR-CODE.US.DELL.COM"/>
 <Device Name="HYPERVISOR"/>
 <Device Name="M80504-W2K8"/>
</DeviceList>

Adding devices to a custom group
Description: The Add-DevicesToCustomGroup command allows you to add devices to an existing group. To add the devices to
the group, either use an XML file or list the devices and separate them using a comma.
Commands:



386
           Case 6:20-cv-00479-ADA Document 31-3 Filed 10/05/20 Page 388 of 388


•    PS> Add-DevicesToCustomGroup –GroupName <groupName> -DeviceList <devicelist.xml>
•    PS> Add-DevicesToCustomGroup –GroupName <groupName> -Devices <comma separated list of
     devices>

Examples:
PS> Add-DevicesToCustomGroup –GroupName MyServers –DeviceList .\Samples\DeviceList.xml

or
PS> Add-DevicesToCustomGroup –GroupName MyServers –Devices PE2900-WK28-ZMD, PWR-
CODE.US.DELL.COM, HYPERVISOR, M80504-W2K8

Example of a DeviceList.xml file:
<DeviceList>
 <Device Name="PE2900-WK28-ZMD"/>
 <Device Name="PWR-CODE.US.DELL.COM"/>
 <Device Name="HYPERVISOR"/>
 <Device Name="M80504-W2K8"/>
</DeviceList>

Deleting a custom device group
Description: The Remove-CustomGroup command allows you to remove a group from the root node.
Command:
PS> Remove-CustomGroup –GroupName <groupName>

Example:
PS> Remove-CustomGroup –GroupName MyServers




                                                                                               387
